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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA



In re                                                    Jointly Administered under
                                                             Case No. 08-45257
         Petters Company, Inc., et al.,
                                                           Court File No. 08-45257
                                Debtors.
                                                              Court File Nos.:
         (includes:
         Petters Group Worldwide, LLC;                        08-45258 (KHS)
         PC Funding, LLC;                                     08-45326 (KHS)
         Thousand Lakes, LLC;                                 08-45327 (KHS)
         SPF Funding, LLC;                                    08-45328 (KHS)
         PL Ltd., Inc.;                                       08-45329 (KHS)
         Edge One LLC;                                        08-45330 (KHS)
         MGC Finance, Inc.;                                   08-45331 (KHS)
         PAC Funding, LLC;                                    08-45371 (KHS)
         Palm Beach Finance Holdings, Inc.)                   08-45392 (KHS)

                                                             Chapter 11 Cases
                                                         Judge Kathleen H. Sanberg

Douglas A. Kelley, in his capacity as the
Trustee of the PCI Liquidating Trust,

                                           Plaintiff,

    v.                                                      ADV. NO. 10-04301

Opportunity Finance, LLC, et al.,

                                      Defendants.


           MEMORANDUM OF LAW ON BEHALF OF DOUGLAS A. KELLEY,
          IN HIS CAPACITY AS TRUSTEE OF THE PCI LIQUIDATING TRUST,
         IN OPPOSITION TO DZ BANK’S MOTION FOR SUMMARY JUDGMENT
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                                 PRELIMINARY STATEMENT

       DZ Bank’s motion for summary judgment is grounded in two assertions subject to material

factual dispute and, accordingly, should be denied.

       First, DZ Bank asserts that it acted as a “mere conduit” for $101 million that was transferred

from Debtor PC Funding into DZ Bank’s Collection Account, and then subsequently released to

Autobahn Funding, the captive conduit facility set up by, operated by, and that generated profits

solely for, DZ Bank. DZ Bank’s argument that it acted as a “mere conduit,” rather than as a

transferee of the $776 million that PC Funding sent to DZ Bank’s Collection Account, is belied by

the factual record: the governing documents expressly state that DZ Bank had “sole dominion and

control” over the Collection Account; DZ Bank’s own employees referred to the account as “the

DZ Bank Collection Account” and “our” account; and not a single dollar could be paid out of the

account without DZ Bank’s approval. Moreover, DZ Bank itself set up the account in its own

name so that money could flow into the account for DZ Bank’s benefit—to pay its fees, reduce its

exposure to liability, and acquire insurance for its protection.

       DZ Bank attempts to evade the plain language of the agreements and the parties’ actual

conduct by arguing that Autobahn, and not DZ Bank, was the real lender and real recipient of the

funds. But that contention is belied by DZ Bank’s own repeated assertions in this case that DZ

Bank was the lender, and that PC Funding paid DZ Bank to satisfy the obligations of DZ Bank’s

borrower (Opportunity Finance Securitization). In all events, DZ Bank ignores the fact that it

dispersed hundreds of millions of dollars from the account, mostly to enable additional loans to be

made to PC Funding, that never went anywhere near Autobahn. DZ Bank, plainly, was not a mere

pass-through.

       Moreover, this Court’s decisions establish that the “mere conduit” defense—which DZ

Bank waived by failing to raise as an affirmative defense in its answer—cannot be invoked if the
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defendant cannot establish it acted in good faith. DZ Bank makes no mention of the good faith

requirement, and for good reason: DZ Bank’s employees knew that PC Funding did not receive a

single dollar from legitimate retailers. Recognizing this “huge open item”—which meant that the

principal guard against fraud was wholly absent—DZ Bank’s employees chose to hide the fact

from their own supervisors in Germany, a step that DZ Bank’s own credit officer on the deal

termed a “material omission.”

       Second, DZ Bank argues that there are no predicate creditors of PC Funding, and thus that

the Trustee lacks standing to bring fraudulent transfer claims against DZ Bank. Again, the factual

record is wholly at odds with DZ Bank’s position: discovery has confirmed that there are several

predicate creditors of PC Funding, and thus that the Trustee can assert fraudulent transfer claims

against DZ Bank under Section 544(b) of the Bankruptcy Code. As an initial matter, there is no

need to make this inquiry because the Trustee himself is a hypothetical creditor under Section

544(a) with standing to bring fraudulent transfer claims under state law. Moreover, there is no

dispute that (i) every dollar PC Funding paid to DZ Bank first came from PCI, and (ii) PCI had

plenty of creditors, and therefore the Trustee has standing to avoid transfers to DZ Bank that it

received as a subsequent transferee of PCI.

       Once the inquiry is made, however, the facts confirm that PC Funding had pre-bankruptcy

creditors of its own, several of which are identified in the complaint. These creditors, all of which

lost money through the operation of Petters’ Ponzi scheme, (i) have valid tort claims against PC

Funding, which substantially aided the Ponzi scheme by raising hundreds of millions of dollars

that were injected into the scheme, and (ii) may pursue claims against PC Funding because it was

an alter ego of PCI. The factual record demonstrates that PC Funding was wholly owned by PCI,

was operated by PCI to carry out the fraud, and maintained no independence, corporate formalities,



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or adequate capitalization. Contrary to DZ Bank’s assertion, it would be fundamentally unfair to

treat PC Funding as if it were a separate functioning entity.

          DZ Bank’s 992-page submission fails to demonstrate an absence of factual disputes

regarding the elements central to its assertions. To the contrary, the extensive factual record

demonstrates that DZ Bank’s defenses lack merit. The motion for summary judgment should be

denied.

                             COUNTERSTATEMENT OF FACTS1

I.        PARTIES AND RELEVANT ENTITIES

          A.    DZ Bank and Autobahn Funding Company LLC

          DZ Bank is a commercial bank organized under the laws of Germany. Mem. 2. 2 To

increase its revenues, DZ Bank established an Asset Securitization Group (“ASG”) to operate as

an “asset-backed lender.”3 ASG established Autobahn Funding Company LLC (“Autobahn”) as

a captive lending conduit4 and “off-balance sheet vehicle” as part of a “capital treatment strategy.”5

Autobahn had no employees, operations, or physical location separate from DZ Bank’s,6 did not




          1
           At the January 23, 2019 Omnibus Conference, DZ Bank acknowledged it should seek
summary judgment solely where facts are undisputed and that a “Rule 56.1 statement [] would
facilitate a determinative motion.” No. 08-45257, Dkt. 4134 at 11:25-12:7. DZ Bank did not
provide a Rule 56.1 statement.
         2
           DZ Bank’s Memorandum of Law is cited herein as “Mem. __”.
         3
           Ex. T-1 (Deposition of Oliver d’Oelsnitz dated November 3, 2018 (“d’Oelsnitz Tr.)) at
15:21-16:15; Ex. T-2 (Deposition of Vincent Salerno dated September 26, 2018 (“Salerno Tr.)) at
32:9-16.
         4
           See Ex. T-3 (Deposition of Francine Farragher dated Oct. 2, 2018 (“DZ Bank 30(b)(6)
Tr.”)) at 113:2-5 (“[W]e consider [Autobahn] ours . . . because . . . ASG set it up.”).
         5
           Ex. T-2 (Salerno Tr.) at 133:10-18; 134:3-4.
         6
           See, e.g., Ex. T-4 (Deposition of W. Barefoot Bankhead dated September 16, 2019
(“Bankhead Tr.”)) at 170:18-21; 172:3-5; Ex. T-5 (Deposition of Nancy O’Connor dated October
17, 2018 (“O’Connor Tr.”)) at 69:25-70:10.


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have a credit committee, and did not originate or perform diligence on loans7—DZ Bank

performed these functions for Autobahn.8 DZ Bank’s employees have testified that there was no

meaningful distinction between DZ Bank and Autobahn.9

       B.      Debtors PCI and PC Funding

       Tom Petters and his associates operated Petters Company, Inc. (“PCI”), along with its

wholly-owned, special-purpose entity (“SPE”) subsidiaries, including PC Funding LLC (“PC

Funding”), as one of the largest Ponzi schemes in history. See In re Petters Co., 506 B.R. 784,

790 (Bankr. D. Minn. 2013). Like other PCI SPEs, PC Funding was established to receive cash

infusions that funded the Ponzi scheme.10

II.    THE OPERATION OF THE PONZI SCHEME

       Tom Petters induced investors to lend funds to PCI and, in the case of investor and former-

Defendant Opportunity Finance LLC (“OppFin”),11 to lend funds to PC Funding, by representing

that the funds would finance the purchase, and resale at markup, of goods consisting primarily of

electronics to Sam’s Club, BJ’s, Rex’s, and Boscov’s (the “Retailers”). See In re Petters Co., 506

B.R. at 800-01. The Retailers would then supposedly fund the receivable created by their

acceptance of the goods by submitting payment to PC Funding, which would, in turn, transfer the



       7
          See Ex. T-1 (d’Oelsnitz Tr.) at 169:17-20; Ex. T-6 (Deposition of Patrick Preece dated
October 18, 2018 (“Preece Tr.”)) at 247:3-14.
        8
          See, e.g., Ex. T-5 (O’Connor Tr.) at 70:4-10 (DZ Bank credit group served as Autobahn
credit group).
        9
           Ex. T-7 (Testimony of Patrick Preece at Petters’ Criminal Trial dated Nov. 12, 2009
(“Preece Trial Tr.”)) at 1867:5-7; Ex. T-3 (DZ Bank 30(b)(6) Tr.) at 112:18-113:5; Ex. T-2
(Salerno Tr.) at 32:9-14; Ex. T-5 (O’Connor Tr.) at 69:25-70:10.
        10
            Ex. T-8 (Deposition of Deanna Coleman dated Nov. 15, 2018 (“Coleman Tr.”)) at
249:15-25; 308:19-309:2.
        11
           OppFin and various of its affiliates were originally defendants in this action. The Trustee
settled with the OppFin defendants and the claims against them were dismissed.


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principal and interest due on the loan back to OppFin or an entity chosen by OppFin, which was

generally DZ Bank. The terms of each individual loan were evidenced by promissory notes. Id.

at 802.

          In reality, PCI bought no goods from suppliers and sold no goods to Retailers. 12 Instead,

PC Funding routed the funds it received from OppFin to sham suppliers like Nationwide

International Resources (“Nationwide”) and Enchanted Family Buying Company (“Enchanted,”

and generally, “Vendors”), which were operated by, inter alia, Petters’ co-conspirators Michael

Catain (Nationwide) and Larry Reynolds (Enchanted). The Vendors routed the funds received

from PC Funding directly to PCI13 (less a laundering “commission”).14 PCI siphoned a profit from

those funds for itself, then sent the remaining money back to investors or to their dedicated SPEs.

When an Opportunity Finance promissory note came due, PCI sent funds to PC Funding; when

another investor’s note was due, PCI routed funds to that investor or to its SPE. Thus PCI paid its

investors with other investors’ funds (or sometimes the same investor’s funds).15 To be clear, these

transactions did not involve actual suppliers of goods or goods themselves, or any Retailers who

agreed to purchase any goods.16

III.      THE OPPORTUNITY FINANCE FACILITY

          A.     The Facility

          In 2001, OppFin sought to increase the volume of its investment with Petters by obtaining

a credit facility, which was ultimately provided by DZ Bank in the revolving amount of $100



          12
             Ex. T-8 (Coleman Tr.) at 364:20-368:16.
          13
             Id. at 376:25-379:9.
          14
             Id. at 247:8-248:4.
          15
             Id. at 249:15-25; 376:25-379:9.
          16
             See id. at 376:17-379:9.


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million (the “Opportunity Finance Facility” or “Facility”), and memorialized in certain lending

documents, including the Receivables Loan Security Agreement (“RLSA”).17                  Opportunity

Finance established a wholly-owned subsidiary, Opportunity Finance Securitization, LLC

(“OFS”), to serve as borrower under the Opportunity Finance Facility.18

       B.      DZ Bank Acted as the Lender of the Opportunity Finance Facility

       The factual record indicates that, contrary to DZ Bank’s current claims, see Mem. 5-6, DZ

Bank acted as lender under the Opportunity Finance Facility. DZ Bank has described itself as the

lender throughout this litigation. In connection with its partially successful Motion for Judgment

on the Pleadings (“12(c) Motion”), Dkt. 122, DZ Bank stated at least a dozen times in briefing and

at argument that DZ Bank was the lender to OFS. See Appendix at 1 (“DZ Bank was a lender”);

id. at 2 (“DZ Bank likewise extended a credit line to [OFS]”); id. at 3 (“[S]o no matter how the

trustee might want to hedge his pleadings . . . DZ Bank was getting paid by PC Funding for loans

that it made to -- that DZ Bank made.”). DZ Bank makes similar admissions in its Answer to the

Fourth Amended Complaint (“FAC”). See Appendix at 4 (“DZ Bank loaned funds to” OFS); id

(“DZ Bank made loans to” OFS); see also Argument § I.B, infra at 20-22.

       The factual record supports the position DZ Bank has taken throughout the litigation—i.e.

that it acted as the lender. DZ Bank earned all the interest owed by OFS above the specified

commercial paper (“CP”) rate,19 and captured a non-use fee of 0.40% on any unused portion of the




       17
            See Ex. T-9 (DZB001200) at -1203; DZ Ex. 10 (RLSA).
       18
            See Ex. T-10 (DZB019159) at -61; Ex. T-11 (DZB041876).
         19
            Ex. T-6 (Preece Tr.) at 48:22-50:16 (“[DZ Bank] earned a program fee that could be akin
to an – to interest. . . . [T]he commercial paper rate is, [sic] that’s passed through to the commercial
paper investors, and the program fee of 300 basis points is multiplied by the outstanding loan
balance . . . .”).


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Facility.20 By contrast, Autobahn—which DZ Bank now claims was the lender—used money

obtained by DZ Bank to repay CP investors,21 thus netting $0 from the Opportunity Finance

Facility. It was also DZ Bank—and not Autobahn—that bore the full credit risk associated with

the loans extended to OppFin because DZ Bank could be required, under the Asset Purchase

Agreement (“APA”), to take over all of Autobahn’s obligations in connection with the Facility at

any time.22 In addition, the RLSA—the central credit document for the Opportunity Finance

Facility, which DZ Bank signed on Autobahn’s behalf23—describes Autobahn as “a Lender,”24

and defines the term “Lender” as “Autobahn and/or any other Person (including, without

limitation, any present or future Affiliate of DZ Bank) that agrees, pursuant to the pertinent

Assignment and Acceptance, to make Loans secured by Pledged Assets . . . .”25

       C.      DZ Bank Appointed Itself to Act as Collateral Agent

       DZ Bank argues that, as Collateral Agent, it functioned as a mere administrator and “mere

conduit” for transfers from PC Funding, and cannot be liable as a transferee. In this case, however,

DZ Bank made the choice to serve as Collateral Agent, rather than, as was typical, relying on a




       20
           DZ Ex. 10 (RLSA) at -4148, -4152; Ex. T-12 (DZB001353) at -54.
       21
            Ex. T-13 (Expert Report of W. Barefoot Bankhead dated July 5, 2019 (“Bankhead
Rpt.”)) ¶¶ 41-44.
        22
           DZ Ex. 7 (APA dated December 28, 2001) § 2.02(a) (DZ Bank required to “purchase
from [Autobahn], without recourse to [Autobahn], in accordance with its respective Percentage,
the Percentage Interests that [Autobahn] . . . offers to such Purchaser for sale.”); id (-41547) (DZ
Bank interest was 100%); see also Ex. T-14 (DZB057852) at -64 (DZ Bank, as “Liquidity Provider
committed to purchasing the entire asset interest from Autobahn (including the balance of any
defaulted assets)”) (emphasis added).
        23
           DZ Ex. 10 (RLSA) at -4209-10.
        24
           Id. (Cover Page) (emphasis added).
        25
           Id. at -4128 (emphasis added).


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third party.26 In fact, out of 22 lending facilities originated by ASG, DZ Bank acted as Collateral

Agent for just one—the Opportunity Finance Facility.27

IV.    THE DZ BANK COLLECTION ACCOUNT

       PC Funding repaid the promissory notes executed with OppFin by transferring funds into

the DZ Bank Collection Account. On this motion, DZ Bank argues that “OFS owned the account

and the funds deposited in the account.” Mem. 6. The documentary evidence, as well as DZ

Bank’s own actions and statements, demonstrates conclusively that DZ Bank owned and had

dominion and control over that account and the funds in it. This is consistent with DZ Bank’s own

statements during this litigation that the Collection Account belonged to DZ Bank and was

established for its benefit. See e.g., 12(c) Motion at 8-9 (“[The DZ Bank Collection Account] was

opened . . . for the benefit of DZ Bank” and proceeds in the PC Funding account “were used in part

to repay the amounts that [OFS] owed DZ Bank by making transfers into DZ Bank’s bank account

at U.S. Bank.”); 10-4301, Dkt. 166, 12(c) Hearing Tr. dated November 30, 2015, at 50:4-10

(“[T]he collection account is defined as the account that is set up for the benefit of DZ Bank.”)

(emphases added).

       The RLSA’s definition of “Collection Account,” on which DZ Bank relies, makes clear

DZ Bank’s control over and ownership of the account: the Collection Account is “in the name of

and under the sole dominion and control of the Collateral Agent [DZ Bank] for the benefit of the


       26
           See Ex. T-15 (DZB057972) at -81 (DZ Bank Credit Risk Management manual listing
“Collateral Agent” as an example of “Third Party Involvement”).
        27
           See Ex. T-14 (DZB057852) at -869-925 (quarterly reviews for 21 facilities, for all of
which DZ Bank did not serve as Collateral Agent, which was typically played by uninterested,
third-party depository institution such as Bank of America or JPMorgan Chase); see also Ex. T-1
(d’Oelsnitz Tr.) at 171:20-24; Ex. T-16 (DZB041920) at -34-35 (“In conjunction with the Conduit
Facility, the Company will transfer all original loan files for outstanding and newly originated
loans to a third-party financial institution (the ‘Collateral Agent’) acceptable to the Lender.”).


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Secured Parties [DZ Bank, Autobahn, Royal].”28 DZ Bank’s expert acknowledged that “sole”

referred exclusively to DZ Bank,29 and that DZ Bank, as security interest holder, was the owner of

the account.30 DZ Bank’s own employees referred to the Collection Account as the “DZ Bank

Collection Account” and “our” account.31 Language in the definition that funds in the Collection

Account “from time to time shall constitute the property and assets of [OFS]”32 supports the

conclusion that funds on deposit are, by default, the property and assets of DZ Bank, in whose

name the account was created.33 Funds would constitute the property of OFS “from time to time”

so that specific burdens, like collecting any applicable taxes, could be allocated contractually to

the borrower.

       The evidence also shows that DZ Bank possessed ultimate authority to control transfers

out of the DZ Bank Collection Account to fund loans to OFS. Section 2.05 of the RLSA—which

contains the waterfall34 upon which DZ Bank bases its “mere conduit” argument (the

“Waterfall”)—expressly provides that “no funds shall be transferred from the Collection Account”




       28
            See DZ Ex. 10 (RLSA) § 1.01, at -4116.
       29
            Ex. T-4 (Bankhead Tr.) at 288:5-8. Mr. Bankhead also admitted that, although his report
refers to the Collection Account as the “Collateral Agent Collection Account”—rather than the
“DZ Bank Collection Account”—he had never seen that term anywhere but his own report. See
id. at 49:24-50:3.
         30
            Id. at 294:14-19.
         31
            See, e.g., Ex. T-17 (DZB043555) (“interest paid to DZ Bank Collection Account”);
Ex. T-18 (DZB045346) (“amount of principal and interest sent to DZ BANK’s Collection
Account”); Ex. T-19 (DZB001179) at -81 (“receivables payments into the DZ BANK collection
account”); DZB002686 (“[W]e have to consent to a re-direction of funds to any other account
outside our Collection Account . . . .”).
         32
            DZ Ex. 10 (RLSA) § 1.01, at -4116 (emphasis added).
         33
            Id.
         34
            Id. § 2.05(c).


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without DZ Bank’s written consent.35 Contrary to DZ Bank’s assertion that it was only OppFin

that prepared transfer instructions, see Mem. at 8-9, there are numerous instances of instructions

issued by DZ Bank.36 And unlike OppFin’s instructions, which were subject to DZ Bank’s

approval, DZ Bank neither required nor received the consent of any other party when directing use

of funds in its account.37

       This course of conduct is consistent with the language of the Collection Account Securities

Account Agreement (“CASAA”), the agreement between U.S. Bank (which maintained the

account), DZ Bank, OppFin, and OFS that governs the DZ Bank Collection Account: under the

“Control” provision, U.S. Bank must comply with any “instructions directing disposition of funds

in the Account originated by the Collateral Agent, on behalf of the Secured Parties, without further

consent of the Borrower or Servicer.”38 Like the RLSA, the CASAA makes clear DZ Bank’s

ownership of the account. Multiple times, the CASAA states that the Collection Account is to be

established “in the name of the Collateral Agent.”39 As to ownership of the account’s contents,

DZ Bank owned everything on deposit in its account. U.S. Bank agreed that DZ Bank would




       35
           RLSA § 2.05. DZ Bank’s assertion that it “reviewed and approved” transfer requests
“in its capacity as the Collateral Agent” is contrary to the RLSA, which provides that DZ Bank
approved these transfer requests as Agent of the Lender (as that term is defined in the RLSA). See
Mem. at 9. In fact, the “Waterfall” provision’s nine subparts never use the term “Collateral Agent.”
See DZ Ex. 10 (RLSA) §§ 2.05(c)(i)-(ix).
        36
           See, e.g., Ex. T-20 (DZB009150); T-20A (DZB009193); T-20B (DZB009237); T-20C
(DZB009290).
        37
           See id.
        38
           DZ Ex. 8 (CASAA) ¶ 4.
        39
           Id. at -58. That OFS granted DZ Bank “a security interest . . . in all of [OFS]’s right,
title and interest in and to the Account, all funds held in the Account and all income from the
investment of funds in the Account and all proceeds of the foregoing” is immaterial. Id. One’s
grant of a blanket security interest in its “right, title and interest,” if it exists, has no bearing on
whether one has any such “right, title and interest.”


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exercise rights over all financial assets in the account, which by definition comprised each item of

property (including securities and cash) in the account.40 For the avoidance of any doubt, the

parties agreed that the CASAA “shall give no rights to any other party other than the Secured

Parties,” which did not include OppFin or OFS.41 In sum, the primary document governing the

account defined DZ Bank as account owner, gave it all rights to, and benefits of, anything on

deposit, and allowed it to move funds freely.

V.      DZ BANK COLLECTION ACCOUNT TRANSFERS

        A.     The Evidence Shows That None of the Funds Transferred from PC Funding
               to the DZ Bank Collection Account Originated From Legitimate Activity

        During the life of the Facility, PC Funding transferred $776 million into the DZ Bank

Collection Account, all of which had, in turn, been transferred first from the PCI operating

account.42 DZ Bank’s expert conceded that he could not identify any evidence that the funds

transferred from PCI to PC Funding, or PC Funding to DZ Bank, originated with a Retailer,43 and

further conceded that he conducted no analysis to determine whether any transfer into PCI

originated from a legitimate source.44 By contrast, the Trust’s expert, Theodore Martens of

PricewaterhouseCoopers (“PwC”), performed a transfer-by-transfer analysis that concluded the

transfers from PCI to PC Funding, and PC Funding to DZ Bank, were not sourced from legitimate

activity.45



        40
           Id. at -59-61.
        41
           Id. at -65.
        42
           Ex. T-8 (Coleman Tr.) at 378:17-379:9; Ex. T-21 (Expert Report of Theodore Martens
dated April 26, 2019 (“Martens Rpt.”) and Exs. H, Q, and U to the Report) ¶¶ 10, 35 & fig.1.
        43
           Ex. T-4 (Bankhead Tr.) at 194:17-195:17.
        44
            Id. at 272:13-20; 275:24-276:6 (“[W]e didn’t do an analysis to determine if any
transaction was legitimate.”).
        45
           Ex. T-21 (Martens Rpt.) ¶¶ 50-54.


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       B.      The Recipients of Transfers From the DZ Bank Collection Account

               1.      Transfers to PC Funding

       Of the $776 million transferred from PC Funding to DZ Bank, DZ Bank transferred more

than $500 million back to PC Funding in the form of additional loans.46 DZ Bank had discretion

over these reinvestments. The RLSA provided that the “Borrower may, with the written consent

of [DZ Bank], request that the Custodian withdraws from the Collection Account and deposits into

. . . an Approved Distributor SPV Collection Account (for further transfer to an Approved

Manufacturer) . . . .”47 Moreover, no later than August 22, 2002, when it learned that OppFin and

OFS were in default of Section 2.23 of the RLSA for failing to direct or cause Retailer receivable

payments to be made directly to PC Funding, DZ Bank had absolute authority to decline to provide

any further funds under the Facility. See also DZ Ex. 10 (RLSA) §§ 7.01(c), (d), and (j) (additional

provisions breached by the payment default).48

               2.      Other Transfers

       Of the $776 million that PC Funding paid to the DZ Bank Collection Account,

(i) $101,691,408 was paid to an Autobahn account (virtually all of it after amortization of the

Opportunity Finance Facility had commenced); (ii) at least $570,984 was paid to Royal Sun

Alliance (“RSA”) for premiums on the $50 million first-loss policy that insured DZ Bank against,

inter alia, losses on the Facility due to fraud; and (iii) $3,360,419 was paid to an account in the

name of DZ Bank.49 These amounts comprise all funds paid from the DZ Bank Collection Account


       46
          Id. fig.1 & Ex. T-21 (Martens Rpt. Ex. H) (showing $581 million transferred from the
DZ Bank Collection Account to PC Funding).
       47
          DZ Ex. 10 (RLSA) § 2.05(f) (emphasis added).
       48
          Ex. T-22 (DZB000892) (letter from DZ Bank to OppFin reserving right to exercise
remedies in light of failure of Retailers to make payments directly to PC Funding).
       49
          Ex. T-21 (Martens Report) ¶¶ 40-42.


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to the Secured Parties for whom DZ Bank purported to act as Collateral Agent. 50 Additionally,

DZ Bank transferred from the DZ Bank Collection Account to OppFin and OFS approximately

$94 million. OppFin, in its capacity as Servicer, requested transfers to OppFin and OFS, but DZ

Bank made final determinations of the amounts to pay to them—indeed, the $94 million that DZ

Bank transferred to OppFin and OFS was nearly $2 million less than the amount requested by

OppFin.51

VI.    DZ BANK’S BAD FAITH FAILURE TO FOLLOW UP ON RED FLAGS OF
       FRAUD

       When the Facility was first proposed, ASG vice president Mike Plunkett wrote, “Don’t

waste my f**king time with that piece of s**t deal.”52 The facts that emerged over the course of

the transaction were consistent with that reaction. DZ Bank was aware of numerous red flags of

irregular or fraudulent activity in connection with the Opportunity Finance Facility and the

transactions it purportedly funded. Rather than investigate and resolve these red flags, however,

DZ Bank continued to lend money into the Ponzi scheme for years, and continued to accept

payment out of the main churn of the scheme for even longer. Through this conduct, DZ Bank

helped perpetuate a Ponzi scheme that ultimately cost investors billions of dollars in losses.

       Retailers Made No Payments to PC Funding. To mitigate the fraud risk that “[p]ayments

on receivables made by retailers [would be] misappropriated by either Petters or [OppFin],”53 DZ

Bank structured the entire loan such that payments to PC Funding had to come directly from the



       50
          Id. at 10, fig. 1; DZ Ex. 10 (RLSA) at -4141.
       51
          Ex. T-4 (Bankhead Tr.) at 326:16-328:25.
       52
          Ex. T-23 (DZB017820) (asterisks added).
       53
          Ex. T-11 (DZB041876) at -77; see also Ex. T-25 (DZB053896) at -901. Notably, Patrick
Preece reported that ASG head Ken Bradt was worried that Opportunity Finance was “‘in on’ the
fraud.” Ex. T-26 (DZB059538).


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Retailers that purportedly were purchasing the goods.54 But DZ Bank discovered—no later than

August 2002—that not a single dollar was being paid from the Retailers to PC Funding. Instead,

every dollar that PC Funding received came directly from PCI. Jennifer Wikoff, DZ Bank’s head

of due diligence on the transaction, termed the payment flow a “huge open item.”55

       Because DZ Bank did not have PCI’s bank account information,56 it could not possibly

know whether funds transferred from PCI to PC Funding, and then to DZ Bank, originated from

Retailers or from any legitimate source. While that question could be answered with one or two

phone calls to the purported Retailers—since all transactions were supposedly completed with one

of only four identified Retailers—DZ Bank chose not to pick up the phone or conduct any other

reasonable inquiry. And rather than alert DZ Bank management in Germany about this

fundamental breach, in December 2002, DZ Bank’s employees in New York affirmatively and

knowingly misrepresented that OppFin “has performed to expectations under the Program, with no

breach of any performance or financial covenants to date.”57 A DZ Bank credit officer agreed

that this failure to disclose the issue was a “material omission.”58

       Refusing Inspection of Collateral. As would be expected, DZ Bank’s Operations Manual

required the bank to “[c]onfirm that DZ has exactly what it thinks it has in terms of collateral” and

to undertake “direct, independent confirmation of the receivables with obligors.”59 Consistent with



       54
              DZ Ex. 10 (RLSA) § 2.23; see also Ex. T-27 (DZB004335) (Credit Agreement) at -4338
(PC Funding and PCI required to “direct [Retailers] to make payments . . . directly to [PC Funding]
. . . .”).
           55
              Ex. T-28 (DZB059533).
           56
              Ex. T-8 (Coleman Tr.) at 400:6-9.
           57
              Ex. T-19 (DZB001179) at -80 (emphasis added).
           58
              Ex. T-5 (O’Connor Tr.) at 125:11-20.
           59
              Ex. T-30 (DZB056085) (DZ Bank Operations Manual) at -202, -193, -203; see also Ex.
T-31 (DZB065695) at -706, -724; Ex. T-14 (DZB057852) (report showing obligor confirmations


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this, ASG vice president Patrick Preece testified that DZ Bank would typically “step on the

goods”—i.e. inspect them—to “make sure that they exist.”60

       But DZ Bank was not permitted to inspect the inventory that collateralized its loans, and

was told not to contact the Retailers whose receivables collateralized their loans.61 Rather than

follow up on this red flag , DZ Bank obtained a $50 million first-loss policy that transferred the

fraud risk to RSA. As Mr. Preece testified at Petters’ criminal trial, DZ Bank proceeded with the

transaction due to an “insurance wrap by a company called [RSA], a large insurance company,

that would take any of that risk.”62 When it became necessary to replace RSA as insurer, DZ Bank

sought to replace the RSA policy—which covered credit and fraud risk—with a policy that

covered only fraud risk.63 As Judge Kishel has explained, “had DZ Bank pushed to verify the

collateral much earlier and more firmly as a diligent purchase order financer would have, it would

have revealed an unmistakable red flag that could not reasonably be ignored.” In re Petters Co.,

506 B.R. at 841.




for ASG loan deals); see also Ex. T-32 (DZB040676) at -78 (one potential insurer noted that “[i]t
would seem that it would be relatively easy to verify the [Retailer] receivables.”).
        60
           Ex. T-7 (Preece Trial Tr.) at 1870:1-14; see also Ex. T-33 (Deposition of Jennifer Wikoff
dated Nov. 29, 2018 (“Wikoff Tr.”)) at 38:2-15.
        61
           Ex. T-7 (Preece Trial Tr.) at 1870:4-6 (“Q. Now, when you first were dealing with Petters
Company, Inc., were you allowed to step on the goods? A. No, we were not.”); see also id.
1873:13-25; T-8 (Coleman Tr.) at 393:14-394:25, 395:2-19; Ex. T-34 (PCI_S_SC_OppFin_
0032715) at -16.
        62
            Ex. T-7 (Preece Trial Tr.) at 1870:1-14 (emphasis added); see also Ex. T-35
(DZB057221) at -22 (DZ Bank “could not confirm our collateral in this deal and that is the reason
we brought in [RSA].”).
        63
           DZ Bank’s pursuit of a policy limited to fraud risk was highly unusual. One potential
insurer noted suspiciously, “blanket ‘fraud’ is not an area that is typically covered by traditional
crime policies,” and that “[i]t would seem that it would be relatively easy to verify the receivables.”
Ex. T-32 (DZB040676) at -78-79.


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       Vendor Irregularities. DZ Bank’s October 2001 credit application attached materials from

PCI that listed, as PCI’s suppliers, such household names as Sony, General Electric, Sharp,

Maytag, and AT&T.64 But by no later than December 28, 2001—the date it executed the RLSA—

DZ Bank knew that none of PCI’s suppliers were the major international brands PCI touted.

Instead, PCI claimed to obtain goods solely from no-name aggregators that were listed in the RLSA

as “approved sellers.”65 After ignoring this discrepancy for more than a year, in March 2003 DZ

Bank expressly questioned “the existence of opportunity’s vendors,”66 yet the record reflects that

DZ Bank’s only follow-up was to review D&B reports for Nationwide and Universal Capital—

i.e., just two of six Vendors—which reports raised additional red flags concerning Nationwide’s

suspended license67 and Universal Capital’s shared current and former addresses with PCI.68

        Unexplained Interest Rates. OFS borrowed from DZ Bank at effective rates of 4-5%,69

yet OppFin re-lent those funds to PC Funding at annualized interest rates of 30-42%.70 The record

nowhere indicates that DZ Bank investigated why PCI could not borrow at market interest rates,




       64
           Ex. T-9 (DZB001200) at -35.
       65
           DZ Ex. 10 (RLSA) Schedule II at -4226.
        66
           Ex. T-36 (DZB059498).
        67
           Id.
        68
           Id.; compare Ex. T-37 (DZB059526) (showing Universal’s then-current address as 4400
Baker Rd. and former address as 11610 Wayzata Blvd.) with Ex. T-38 (DZB059500) (showing
PCI’s then-current address as 4400 Baker Rd.) and Ex. T-39 (DZB000095) at -162 (showing PCI’s
former address as 11610 Wayzata Blvd.).
        69
           OFS borrowed at 2.35% above the prevailing Commercial Paper Rate. See Ex. T-40
(DZB018811) (RLSA Ex. C) at -15. At all relevant times, the Commercial Paper Rate was
between 1 and 2%. See 3-Month AA Financial Commercial Paper Rate, Fed. Bank of St. Louis,
available at https://fred.stlouisfed.org/series/DCPF3M (last visited February 7, 2020).
        70
           See Ex. T-41 (DZB045366) (DZ Bank tracking sheet showing monthly interest of 2.50%
and 3.50%).


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given both loans were collateralized by the same underlying transactions.71 Indeed, DZ Bank’s

fraud insurance broker observed that “the margin on Petters’ products sold to a wholesaler like

Sam’s Cub [sic] would not appear to be able to support this cost of financing.”72

       Implausible Sale Volumes. DZ Bank obtained an April 2003 D&B report for Retailer

Boscov’s that showed companywide accounts payable of $19.7 million on February 2, 2002,73 of

which over 70% ($13.9 million) would have been owing to PC Funding alone.74

       Lack of Dilution. As of July 2002, DZ Bank apparently accepted, without inquiry, that

$1.4 billion of transactions, comprised mainly of the purchase and sale of electronics equipment,

had been completed without any dilution—i.e., payments by the purported retailers of less than

the full price of the purchased goods for such reasons as broken or defective merchandise. That is

effectively impossible.75 Indeed, Preece testified that this volume of goods transactions always




       71
            Cf. Ex. T-32 (DZB040676) at -77, -79 (attributing the fact that “the financing
Opportunity provides is expensive relative to other traditional sources” to a “historic business
relationship,” but noting that due diligence to confirm retailer payments “would have pushed
Opportunity Finance into the category of a more traditional lender and their fees to Petters would
not be acceptable at that point”).
        72
           Id. at -77; see also Ex. T-25 (DZB053896) at -905 (DZ Bank management asking “[w]hat
is the added value of Opportunity Finance?”); Ex. T-42 (DZB058241) (DZ Bank management
stating “I still don’t understand what Petters is all doing and where they make money.”)
        73
           Ex. T-43 (DZB001051) at -63.
        74
           Compare T-43 (DZB001051) at -63 (showing companywide accounts payable of $19.75
million as of February 2, 2002) with T-44 (DZB051979) (showing $13.90 million in outstanding
accounts receivable as of February 2, 2002) and T-46A (DZB009654) at -64 (showing $13.90
million in outstanding as of January 31, 2002). The same D&B Report showed that Boscov’s
purchasing history did not match what Boscov’s was purportedly purchasing from Petters.
Compare T-43 (DZB001051) at -55-57 (showing no single Boscov credit for electronic goods
above $2 million in the preceding 12 months) with T-44 (DZB051979) (showing 30 different
purported sales of over $2 million in electronic goods to Boscov’s between May 2001 and
December 2002).
        75
           See Ex. T-45 (Deposition of Thomas J. Petters dated Dec. 11, 2018 (“Petters Tr.”)) at
259:16-22 (“Q. And so if a company financed hundreds of deals with PCI, it would be implausible


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involves breakage of goods.76

       Impossible Margins. DZ Bank deal spreadsheets indicated that the gross margin for more

than 100 goods transactions was precisely 13%, a result that is essentially impossible across

individually negotiated deals involving different sellers, purchasers, and goods ranging from

electronics to clothes to golf equipment.77

       Tom Petters’ Criminal History. DZ Bank knew that, in January 2003, Petters tried to seal

court records of a criminal charge immediately after learning DZ Bank requested that information

in a background check.78 The background check uncovered that criminal charge and another case

charging Petters with four counts of felony theft and forgery.79

                                          ARGUMENT

I.     DZ BANK’S “MERE CONDUIT” DEFENSE IS PROCEDURALLY BARRED

       A.      DZ Bank Has Waived Any “Mere Conduit” Affirmative Defense

       “[Federal Rule of Civil Procedure] 8(c) . . . requires that affirmative defenses be pleaded.

In general, failure to do so constitutes a waiver of that affirmative defense.” H & R Block Enter.

v. Short, 2006 WL 3437491, at *6 (D. Minn. Nov. 29, 2006).80 DZ Bank’s “mere conduit” defense


that there would be no dilution or problems across any of those deals? A. I -- I would agree with
that consensus.”).
         76
            Ex. T-6 (Preece Tr.) at 187:5-7.
         77
             See Exs. T-44 and T-46 (DZB051979, DZB051973) (spreadsheets); Ex. T-47
(Deposition of Bruce Miller dated October 4, 2019 (“Miller Tr.”)) at 38:18-22 (conceding that PCI
represented each transaction was individually negotiated).
         78
            See Ex. T-48 (DZB056774) (“Background check on Tom Petters in process” as of Jan.
28, 2003); T-48A (DZB000547) (two weeks later, Petters authorizes release of information);
T-48B (OpFin-0000011) (background check uncovers Petters’ Jan. 31, 2003 petition to seal
criminal case)).
         79
            See Ex T-48 (DZB056774); T-48B (OpFin_0000011); T-48C (DZB013618) at -19
(listing four felony charges).
         80
            The examples in Rule 8(c) of affirmative defenses “is not intended to be exhaustive.”
5 Wright & Miller, Fed. Prac. & Proc. § 1271 (3d ed.); see also H & R Block, 2006 WL 3437491
at *6 (“unclean hands” defense, which is not listed in Rule 8(c), was waived).

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is an affirmative defense. See In re Petters Co., 557 B.R. 711, 731 (Bankr. D. Minn. 2016)

(Sanberg, J.). Yet DZ Bank failed to plead this defense in any of its answers to the Trustee’s

complaints. See, e.g., Answer and Defenses of [DZ Bank] to Fourth Amended Complaint, Dkt.

241 ¶¶ 499-525 (pleading 27 other affirmative defenses). DZ Bank therefore waived its “mere

conduit” defense.

       Furthermore, DZ Bank may not now amend its Answer. Under Rule 16(b), DZ Bank would

require leave of this Court, but would be unable to demonstrate the diligence necessary to meet

the “good cause” standard necessary to obtain such relief at this stage. See Sherman v. Winco

Fireworks, Inc., 532 F.3d 709, 715-17 (8th Cir. 2008). In Sherman, the Eighth Circuit affirmed

waiver of an affirmative defense where the defendant sought leave to amend (i) “two and a half

years after the suit was filed”; (ii) almost 18 months after the amendment deadline; (iii) eight

months after defendant “was actually aware of the [affirmative] defense’s applicability”; (iv) a

month after discovery closed; and (v) a month after raising the defense on summary judgment. Id.

at 717. Even if DZ Bank moved to amend its Answer today (which it has not done), it would be

(i) a decade after the suit was filed (and nearly three years after the Fourth Amended Complaint

was filed);81 (ii) well over two years after the amendment deadline;82 (iii) more than a year after

informing the Court that DZ Bank might raise the defense; 83 (iv) more than three months after

discovery closed; and (v) nearly two months after raising the defense on summary judgment. A

motion to amend would therefore be futile.




       81
            See No. 10-4301, Dkt. 1 (Sept. 30, 2010); Dkt. 233 (Mar. 6, 2017).
       82
            Pursuant to F.R.C.P. 15(a)(1)(A), DZ Bank’s deadline to amend its Answer was 21 days
after filing its Answer to the Fourth Amended Complaint, or May 26, 2017.
         83
            See No. 08-45257, Dkt. 4134 at 11:11-22 (Jan. 23, 2019) (previewing potential “mere
conduit” summary judgment motion).

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        B.        DZ Bank Is Estopped From Arguing That It Was a “Mere Conduit”

        DZ Bank’s “mere conduit” defense relies on establishing that Autobahn—not DZ Bank—

was the lender to OFS, and that Autobahn—wholly to the exclusion of DZ Bank—was the “actual

transferee” for funds paid into the DZ Bank Collection Account. See Mem. 1, 9. Before this

Motion, however, DZ Bank argued repeatedly, over a course of years, that DZ Bank was both the

lender under the Facility and transferee for repayments. See generally Appendix. DZ Bank is

therefore estopped from claiming it was not the lender under the Facility or transferee for

repayments.

        Judicial estoppel “prevents a party from prevailing in one phase of a case on an argument

and then relying on a contradictory argument to prevail in another phase.” Opportunity Fin., LLC

v. Kelley, 822 F.3d 451, 456 (8th Cir. 2016) (quoting New Hampshire v. Maine, 532 U.S. 742, 749

(2001)). The Supreme Court has adopted three, non-exhaustive, equitable factors for evaluating

an estoppel claim: (i) “a party’s later position must be clearly inconsistent with its earlier position”;

(ii) “whether the party has succeeded in persuading a court to accept that party’s earlier position”;

and (iii) “whether the party seeking to assert an inconsistent position would derive an unfair

advantage or impose an unfair detriment on the opposing party if not estopped.” New Hampshire,

532 U.S. at 750-51; see also OppFin, 822 F.3d at 456-57 (discussing New Hampshire factors).

        DZ Bank filed its 12(c) Motion on May 13, 2015. Dkt. 122. This Court agreed with DZ

Bank’s argument that any transfers DZ Bank took from OppFin84 were for value, finding it was

“undisputed” that (i) “there was a creditor-debtor relationship between DZ Bank and [OppFin]”

and (ii) “Opportunity Finance used funds from the PC Funding account to satisfy antecedent debt




        84
             The Court did not differentiate between Opportunity Finance and its SPE, OFS.


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owed to DZ Bank.” Dkt. 218 at 14-15.85 The Court relied upon admissions in DZ Bank’s Answer

to the Second Amended Complaint, Dkt. 121, for both propositions, see Dkt. 218 at 15, nn. 67, 68.

In obtaining this favorable result, DZ Bank’s briefing and argument made no fewer than a dozen

separate statements that DZ Bank was the lender under the Facility. See, e.g., Appendix at 2 (e.g.,

“Although the Trustee is reluctant to use the word ‘loan’ in his complaint, the agreements are

explicit that loans are precisely what are being tendered by [OppFin] and DZ Bank, respectively,

and that the payments back to them were for interest and principal.”) (emphasis added).

       DZ Bank’s about-face is a textbook case for estoppel. DZ Bank “deliberately chang[ed]

positions according to the exigencies of the moment,” New Hampshire, 532 U.S. at 743. This

Court expressly relied upon DZ Bank’s prior representations, see Dkt. 218 at 14-15. And DZ

Bank’s “unfair advantage” and the Trustee’s “unfair detriment” are plain: having obtained relief

by claiming it received transfers in its capacity as a lender, DZ Bank now seeks to evade the

consequences of accepting those very same transfers by denying it did so or that it was a lender.

DZ Bank even introduces its Motion by claiming the Trustee “inexplicably” failed to sue

Autobahn. Mem. 1. The explanation, of course, is that DZ Bank said it was the lender and

transferee. DZ Bank is thus estopped from contradicting its representations that (i) it accepted

transfers from PC Funding (ii) in its capacity as lender under the Facility.

       DZ Bank’s admissions in its Answer to the Trustee’s Fourth Amended Complaint are also

“in the nature of judicial admissions binding upon the parties, unless withdrawn or amended.” Mo.

Housing Dev. Comm’n v. Brice, 919 F.2d 1306, 1314 (8th Cir. 1990) (quotation omitted)); see also

Dahhane v. Stanton, 2016 WL 4257536, at *3 (D. Minn. Aug. 12, 2016) (admission in Answer




       85
       Order on [DZ Bank’s] Fed. R. Civ. P. 12(c) Motion for Judgment on the Pleadings, dated
December 1, 2016 (“12(c) Order”).

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“is binding . . . even when the admitting party later submits evidence contradicting

its admission.”). The Answer to the FAC repeatedly admits that DZ Bank was the lender to OFS.

See, e.g., Appendix at 4 (“DZ Bank loaned funds to [OFS]”); id. (“DZ Bank made loans to [OFS]

in connection with the loans that Opportunity Finance made to PC Funding.”); id. (“DZ Bank

began to loan funds to [OFS] in January 2002.”). These binding admissions are sufficient to award

summary judgment to the Trustee that DZ Bank was the lender and transferee of repayments under

the Facility. See Mo. Housing, 919 F.2d at 1315 (“[A]dmissions in the pleadings are binding on

the parties and may support summary judgment against the party making such admissions.”). DZ

Bank is therefore estopped by its Answer from contradicting its statements that it was the lender

and transferee.

II.    DZ BANK WAS NOT A “MERE CONDUIT”

       DZ Bank devotes most of its “mere conduit” argument to legal standards and little more

than a paragraph to facts—consisting of a short description of a handful of RLSA provisions.

Mem. 18. The full factual record, however, demonstrates that DZ Bank was no “mere conduit.”

Far from performing ministerial distribution of funds, DZ Bank engineered the entire transaction

to give itself full control over those funds, and every dollar distributed according to the Waterfall

benefited DZ Bank. DZ Bank did not have to appoint itself Collateral Agent and place itself

directly in the cash flow—it did so to protect its lucrative lending arrangement.                See

Counterstatement of Facts § III.C, supra at 7-8. Furthermore, DZ Bank continued to collect

revenues and transfers associated with the $100 million Facility despite multiple alarming signs of

fraud, and DZ Bank’s failures to investigate those “red flags” precludes the showing of good faith

necessary to sustain a “mere conduit” defense.

       It is important to clarify that, even if DZ Bank’s “mere conduit” affirmative defense had

any merit (which, for the reasons set forth here, it does not), it would apply—as DZ Bank
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acknowledges—only to the $101,691,408 transferred from DZ Bank to Autobahn. DZ Bank’s

Motion does not address the other approximately $600 million in fraudulent transfers that PC

Funding made to DZ Bank, and DZ Bank therefore cannot obtain judgment dismissing the

Trustee’s claims arising from those transfers. See Mem. 10.

       A.      DZ Bank Cannot Be a Mere Conduit for Funds Used to Repay DZ Bank’s
               Own Loan

       DZ Bank’s argument and authority make clear that a bank cannot be a mere conduit for

funds used to pay back that bank’s own loan, because such funds plainly benefit the lending bank.

See, e.g., Bonded Fin. Servs., Inc. v. European American Bank, 838 F.2d 890, 893-94 (7th Cir.

1988) (“[The bank] received nothing from Bonded that it could call its own; the Bank was not

Bonded’s creditor, and [transferor] owed the Bank as much as ever.”) (emphasis added); see also

In re Big Apple Volkswagen, LLC, 2016 WL 1069303, at *16 (S.D.N.Y. Mar. 17, 2016) (gathering

cases that bank is initial transferee of payment in satisfaction of debt to bank).

       As discussed in Argument § I.B, supra at 20-22, and illustrated in the Appendix, DZ Bank

has repeatedly characterized itself—and not Autobahn—as the lender in connection with the

Opportunity Finance Facility, including in DZ Bank’s 12(c) Motion, Answers to the Second and

Fourth Amended Complaints, and in oral arguments before this Court, and DZ Bank is estopped

from denying this fact. See id. To the extent transfers into the DZ Bank Collection Account

satisfied obligations under the Opportunity Finance Facility, they are transfers that benefitted DZ

Bank as the lender. At the very least, DZ Bank’s prior representations to this Court raise an issue

of material fact as to whether transfers to DZ Bank were for its benefit, which precludes summary

judgment on this defense. See, e.g., In re Bauer, 318 B.R. 697, 702 (Bankr. D. Minn. 2005)

(transferee is mere conduit where transfer is made through “a mere innocent conduit that receives

no beneficial interest from the transfer”) (emphasis added) (quoting In re Curran V. Nielsen Co.,


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1995 WL 711268, *4 (Bankr. D. Minn. 1995)).

       B.     DZ Bank Cannot Be a Mere Conduit Because It Had Significant Discretion
              Over the Funds at Issue and Benefited From Each Fraudulent Transfer

              1.      The RLSA Upon Which DZ Bank Relies, Along With Other
                      Transaction Documents, Establish That DZ Bank Controlled the DZ
                      Bank Collection Account

       DZ Bank’s current position—that the DZ Bank Collection Account belonged to OppFin,

see, e.g., Mem. 8—is contrary to the contemporaneous record and the testimony of DZ Bank’s

own expert, and should be rejected as a made-for-litigation gambit. The RLSA defines the

Collection Account as under the “sole dominion and control” of DZ Bank86—which phrasing

matches precisely the language of the “mere conduit” standard used in DZ Bank’s authority (and

Mr. Bankhead confirmed that “sole” referred to DZ Bank87). See Mem. 14. The Waterfall on

which DZ Bank bases much of its argument prohibits transfers from the DZ Bank Collection

Account absent DZ Bank’s written consent.88 Contrary to DZ Bank’s assertion that it was only

OppFin that prepared transfer instructions, see Mem. at 8-9, there are numerous instances of

instructions issued by DZ Bank.89 Mr. Bankhead even conceded that, as security interest holder,

DZ Bank was the owner of the account.90 And, tellingly, DZ Bank’s employees repeatedly referred

to the Collection Account as the “DZ Bank Collection Account” and “our” account.             See

Counterstatement of Facts § IV, supra at 8-9, n.31. By contrast, the record includes no instances

where DZ Bank personnel refer to the DZ Bank Collection Account as belonging to OppFin. DZ

Bank plainly controlled the DZ Bank Collection Account. DZ Bank’s Motion is therefore founded


       86
        DZ Ex. 10 (RLSA) § 1.01, at 7-8.
       87
        See Ex. T-4 (Bankhead Tr.) at 287:22-288:8.
     88
        DZ Ex. 10 (RLSA) § 2.05 at -4148.
     89
        See, e.g., Ex. T-20 (DZB009150); T-20A(DZB009193); T-20B (DZB009237); T-20C
(DZB009290).
     90
        Ex. T-4 (Bankhead Tr.) at 294:14-19.

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upon a premise that is contrary to fact.

                 2.     Consistent with the “Sole Discretion and Control” Provided to DZ
                        Bank in the Documents, It Exercised Actual Control Over the Funds
                        in Its Collection Account

       Pointing to the Waterfall (section 2.05 of the RLSA), DZ Bank argues that it must have

been a mere conduit because it was not free to use money in the Collection Account “as it wished.”

Mem. 17. As already explained, DZ Bank is fighting against language in the governing document

expressly stating that it had “sole dominion and control” over the account—purposeful language,

no doubt, given that the applicable legal standard here is the “dominion and control” test. See

Mem. 14. Moreover, the facts that DZ Bank chooses not to cite demonstrate that it had actual

control over the funds in the Collection Account, and that it exercised that control throughout the

years that it lent money to OFS.

       First, and most telling, of the $776.4 million that PC Funding transferred into the Collection

Account, DZ Bank distributed only $200.8 million—barely more than one-quarter—pursuant to

the Waterfall. DZ Bank transferred the vast majority of the funds—more than $500 million—back

to PC Funding, in the form of further extensions of credit.91 Lest there be any question, each

decision to make a transfer to PC Funding was entirely within DZ Bank’s control: each time

Opportunity Finance requested that money be sent to PC Funding, DZ Bank had to approve the

transfer.92 Moreover, no later than August 22, 2002, DZ Bank knew that Opportunity Finance was

in breach of the RLSA because payments to PC Funding were not coming from the Retailers. See

Counterstatement of Facts § VI, supra at 13-14. At any time thereafter, DZ Bank could have




       91
            See Ex. T-21 (Martens Rpt.) at 10, fig. 1.
       92
            See DZ Ex. 10 (RLSA) § 2.05.


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amortized the credit line, putting an end to any further extensions of credit.93 But for nearly a year,

DZ Bank approved more than 100 additional transfers to PC Funding.94 DZ Bank was not “‘merely

an agent who has no legal authority to stop the principal from doing what he or she likes with the

funds at issue.’” See In re Lacina, 451 B.R. 485, 492 (Bankr. D. Minn. 2011) (quoting In re

Hurtado, 342 F.3d 528, 534 (6th Cir. 2003)). To the contrary, DZ Bank had an unfettered right to

refuse to make these transfers.

       Second, even with respect to the minority of payments made pursuant to the Waterfall, DZ

Bank had the final say on how much to distribute, and to whom. For example, DZ Bank made

distributions that differed from OppFin’s calculations by approximately $2 million.95 Plainly, DZ

Bank had the authority to determine which payments were appropriate, and which were not.

       In re Brooke Corp., 458 B.R. 579 (Bankr. D. Kan. 2011), upon which DZ Bank relies, does

not address similar facts. Brooke held that a bank acting as administrative agent for participant

banks in a loan syndicate—accepting payments solely to be distributed to the other banks—was a

mere conduit when acting in that capacity, as opposed to when receiving payment on loans it

extended as a bank. Id. at 590-91. In that case, the governing documents stated that each

participant bank “will be considered for all purposes the legal and equitable owner” of its share of

the loan. Id. at 586. And the agent bank had no discretion with respect to distribution of loan

payments. Id. 587. Here, in stark contrast, (i) DZ Bank already has conceded, countless times,

that it was the lending bank, and (ii) DZ Bank, as described just above, routinely exercised

discretion over disbursement of funds in the Collection Account. DZ Bank set up the transaction



       93
          See Ex. T-22 (DZB000892) (letter from DZ Bank to OppFin reserving right to exercise
remedies in light of failure of Retailers to make payments directly to PC Funding).
       94
          See Ex. T-21 (Martens Rpt.) Ex. C.
       95
          Ex. T-4 (Bankhead Tr.) at 327:14-328:5.

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so that it would benefit from funds flowing into its Collection Account, and so that it would control

the flow of funds out of that account. Unlike the administrative agent in Brooke, DZ Bank did not

act as a pass-through that obtained no benefits from the vast majority of payments made by the

borrower.96

               3.      DZ Bank Set Up the Transaction So the Payment Flow Would Benefit
                       DZ Bank

       DZ Bank’s own authorities recognize that the “mere conduit” affirmative defense seeks to

resolve the inequity of subjecting “mere stakeholders, bailees, and intermediaries to liability,

where they had never stood to gain personally from the funds momentarily in their possession.”

See also In re Bauer, 318 B.R. at 702 (quotation omitted); In re ATM Fin. Svcs., LLC, 446 B.R.

564, 570 (M.D. Fla. 2011) (“[T]he purpose of the mere conduit or control test is to avoid unduly

harsh outcomes for unwitting recipients.”). But here, DZ Bank structured the transaction so that

all funds flowed into the DZ Bank Collection Account, which benefited DZ Bank by mitigating

the risk that Petters, OppFin, or another party might misappropriate principal, interest, and fees.

An entity situated in the middle of a transaction it established to benefit itself is no mere conduit.

See In re Hypnotic Taxi, LLC, 2017 WL 4464876, at *10 (E.D.N.Y. Oct. 4, 2017) (holding that

the “mere conduit doctrine is inapplicable” where defendant “was on all sides of the transfer” and

“controlled every aspect of this transaction for his benefit”).




       96
          DZ Bank contends that it must have been a mere conduit because, like the defendant in
Brooke, it acted as an “administrator.” See Mem. 19-21. As the factual record makes clear, DZ
Bank’s status as an administrator captures only a fraction of its involvement in this transaction,
which DZ Bank structured. Moreover, rather than cite the facts of the transaction at issue here,
DZ Bank relies on certain third-party sources that describe generally how an ABCP conduit
functions, in order to argue that the administrator of the loan syndicate in In re Brooke and DZ
Bank are similar. These sources—which are, in any case, non-produced hearsay—are irrelevant
because they do not address how DZ Bank performed its functions with respect to the Opportunity
Finance Facility, and should be disregarded. See, e.g., DZ Exs. 4, 20, 30, 31, 41, 43.

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       DZ Bank benefited in numerous other concrete ways as well. In fact, every dollar

transferred from the DZ Bank Collection Account pursuant to the Waterfall benefitted DZ Bank

directly. First, transfers to DZ Bank itself to pay fees and interest obviously benefited DZ Bank.

See Counterstatement of Facts § V.B.2, supra at 12-13. Second, all transfers to Autobahn reduced

DZ Bank’s liability because, under the APA, DZ Bank took on 100% of the credit risk associated

with the loans extended to OppFin, such that “it was a pass-through of the economics to the

bank.”97 See id. III.B, supra at 7; In re Whitacre Sunbelt, Inc., 200 B.R. 422, 426 (N.D. Ga. 1996)

(“[H]e did use [the money] for his own benefit—to pay off a debt that he personally guarant[e]ed.

Therefore, he cannot be protected as a mere conduit . . . .”). And, third, they were used to pay the

insurance premiums on the RSA first-loss policy, which named DZ Bank as beneficiary. See

Counterstatement of Facts V.B.2, supra at 12. DZ Bank thus benefited in multiple, substantial

ways from the funds it distributed.

                 4.     DZ Bank Could Not Be a “Mere Conduit” for Funds Paid to Its Own
                        Captive Conduit, Autobahn

       DZ Bank’s contention that it was a conduit for the $101 million that was paid to Autobahn,

see Mem. 13, is belied by the facts reviewed above. In any event, even if DZ Bank had simply

passed through $101 million to Autobahn (out of the $776 million that PC Funding deposited in

the DZ Bank Collection Account), that would not confer “mere conduit” status on DZ Bank

because, as the factual record demonstrates, Autobahn was, for all intents and purposes, part of

DZ Bank. DZ Bank could not be a conduit to itself.

       DZ Bank tries to paint a picture of Autobahn as a meaningfully separate entity. But the




       97
            Ex. T-2 (Salerno Tr.) at 135:2-12; see also DZ Ex. 7 (APA) § 2.02, at 36.


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facts demonstrate otherwise. Autobahn had no employees of its own,98 and the record offers no

evidence of separate office or operations—even Autobahn’s monthly bank account statements

were sent to DZ Bank.99 One of Autobahn’s nominally-independent directors from Lord Securities

was the same “Rent-a-Director”100 that PCI installed at its wholly-owned SPE, PC Funding.101

And DZ Bank operated Autobahn solely to make money for DZ Bank—Autobahn itself did not

profit from the transaction with OppFin;102 it was a vehicle used by DZ Bank to access liquidity

from commercial paper purchasers solely so DZ Bank could profit from the deal.103 Autobahn did

not originate loans, or perform diligence on borrowers, or make credit determinations—all of that

was done by DZ Bank.104 Witness testimony makes clear that Autobahn was nothing more than

an “off-balance sheet vehicle” and a “capital treatment strategy”105 and that there was no

meaningful distinction between DZ Bank and Autobahn.106 The market recognized that Autobahn


       98
            See, e.g., Ex. T-4 (Bankhead Tr.) at 170:18-21 (“Q. Your understanding is that Mr.
Preece doesn’t work for Autobahn, right? A. I don’t recall there being any employees at
Autobahn.”).
        99
           See, e.g., DZ Exs. 35, 38 (showing statements addressed to Stacey Rolsing at DZ Bank).
        100
             See Ex. T-49 (PCI_S_SC_OppFin_0004685) (“[D]o we have the name and contact
information for the Rent-a-Director . . . ?”).
        101
            See Ex. T-50 (DZB173548) at -59 (naming Benjamin Abedine as Manager); Ex. T-51
(DZB002786) (indicating Benjamin Abedine is a Director of PC Funding); Ex. T-52 (Deposition
of Thomas Hay dated Dec. 6, 2018 (“Hay Tr.”)) at 272:9-23.
        102
            See Ex. T-13 (Bankhead Rpt.) ¶¶ 41-43; see also id. ¶ 86 (the $101,691,407.94 was only
“for distribution to the commercial paper holders”).
        103
            See Ex. T-2 (Salerno Tr.) at 133:10-134:4. See also Counterstatement of Facts § III.B,
supra at 6-7 (evidence of fees and interest-like income earned by DZ Bank).
        104
             See Ex. T-1 (d’Oelsnitz Tr.) at 169:17-20 (“The credit process was internal at DZ
Bank.”); Ex. T-6 (Preece Tr.) at 247:3-14 (approval came from DZ Bank board in Germany).
        105
            Ex. T-2 (Salerno Tr.) at 133:10-134:4.
        106
             Ex. T-7 (Preece Trial Tr.) at 1867:5-7 (Preece was “the head of . . . the commercial
paper conduit at DZ Bank”); Ex. T-3 (DZ Bank 30(b)(6) Tr.) at 112:18-113:5 (“A. ASG’s multi-
seller conduit, yes, because we set it up. ASG set it up.”); Ex. T-2 (Salerno Tr.) at 32:9-14 (“We
lend money against portfolios of assets, not to companies themselves.”); Ex. T-5 (O’Connor Tr.)
at 69:25-70:10 (Autobahn had no separate employees or separate credit group).


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effectively was DZ Bank, as reflected in DZ Bank’s own documents107 and the ratings agency

reports submitted by DZ Bank on this motion.108

       The transaction documents also reflect this reality. DZ Bank signed the RLSA for both

itself and Autobahn.109 The definition of “Lender” under the RLSA encompasses any affiliate of

DZ Bank that agreed “to make Loans secured by Pledged Assets,”110 which DZ Bank did by

entering into the Asset Purchase Agreement.111 And DZ Bank signed that Asset Purchase

Agreement—to which only Autobahn and DZ Bank are parties—for both Autobahn and DZ

Bank.112

       The bottom line is that Autobahn and DZ Bank were effectively one and the same—

everyone knew and openly conceded that. At the very least, there are significant issues of material


       107
             For example, DZ Bank’s internal credit applications provide that DZ Bank loaned
money to Opportunity Finance through Autobahn. See, e.g., Ex. T-19 (DZB001179) at -80 (“DZ
BANK, through [Autobahn], provided a five year $100 million” facility); id. at -83 (“DZ BANK,
through its multi-seller conduit [Autobahn] . . . , provided a five year $100 million revolving
commercial paper warehouse facility . . . .”); Ex. T-53 (DZB040825) at -25 (“DZ Bank’s conduit,
[Autobahn], closed a $100.0 million” facility); Ex. T-54 (DZB055810) (“The name of DZ Bank’s
conduit is Autobahn . . . .”); Ex. T-55 (DZB001131) at -31 (“DZ Bank’s Autobahn conducts
business that is, in some major respects, different from other bank’s [sic] commercial paper
conduits.”); id. at -32 (“Our clients want to work with a large, dependable bank with strong
securitization experience, with which they can do ‘one stop shopping,’ i.e., the entire deal. . . . As
a result of the size of our clients and their portfolio of receivables, we must arrange and do entire
transactions for our customers.”); id. at -31-33 (referring to “DZ Bank’s exposure,” “DZ Bank’s
position,” “DZ Bank’s risk in the deal,” “DZ Bank’s conduit,” the “weighted average risk” of “DZ
Bank’s ASG portfolio of transactions,” “[o]ur clients,” “[o]ur customers,” “[o]ur deals”).
        108
            See, e.g., DZ Ex. 4 at -91 (“[DZ Bank’s] $2.0 billion 4(2) commercial paper vehicle,
[Autobahn] . . . .”); DZ Ex. 13 at -46 (“Because of the significant role played by DZ Bank as
principal liquidity and credit enhancement provider, the Prime-1 rating assigned to Autobahn is
closely correlated with DZ Bank’s Prime-1 rating.”); DZ Ex. 30 at -50 (same); DZ Ex. 41 at -37
(same); DZ Ex. 43 at 1 (“[DZ Bank]’s . . . commercial paper (CP) program, Autobahn . . . .”).
        109
            See DZ Ex. 10 (RLSA) at -4208-09.
        110
            See id. §1.01 at 19.
        111
            See DZ Ex. 7 (APA) at -41547 (signature page indicating DZ Bank’s 100% Percentage
Interest).
        112
            See id. at -41548.

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fact as to whether DZ Bank and Autobahn are functionally separate entities.

        C.       The “Mere Conduit” Defense Is Not Available to DZ Bank Because There
                 Is Substantial Evidence That DZ Bank Acted in Bad Faith

        As this Court has observed, “parties who received the property but who did not exercise

control over it would be mere conduits . . . if they acted without bad faith and were innocent

participants in the underlying fraudulent activity.” Kelley v. McDonald, 2018 Bankr. LEXIS 117,

at *13 (Bankr. D. Minn. Jan. 17, 2018) (emphasis added) (Sanberg, J.) (citing IBT Int’l, Inc. v.

Northern, 408 F.3d 689, 703 (11th Cir. 2005)). In IBT, the Eleventh Circuit explained that the

“conduit rule presumes that the facilitator of funds acts without bad faith, and is simply an innocent

participant to the underlying fraud.” 408 F.3d at 705; see also In re Bauer, 318 B.R. 697, 702.

DZ Bank ignores this element of the mere conduit defense because there is no question that DZ

Bank’s good faith is, at least, a matter of material factual dispute. Indeed, discovery revealed

myriad examples of DZ Bank’s bad faith:

       To prevent fraud, DZ Bank structured the loan transaction so that Retailers would pay PC
        Funding directly. Yet, no later than August 2002 (and likely much earlier), DZ Bank knew
        that none of the payments to PC Funding came from Retailers. ASG’s due diligence chief
        recognized this failure as a “huge open item.”113 Rather than cut off the loan or contact a
        purported Retailer, DZ Bank employees misled their supervisors in Germany by asserting
        that the loan was operating as required. See Counterstatement of Facts § VI, supra at 13-
        14.

       PCI purported to obtain goods from such recognized suppliers as Sony, GE, Sharp, and
        Maytag. Yet, from the outset, DZ Bank knew that PCI was (supposedly) buying goods
        from obscure, no-name Vendors. When, a year later, DZ Bank looked at two of the six
        Vendors, it discovered that one was not authorized to do business, and the other shared
        addresses with PCI. Rather than investigate further, DZ Bank continued to ignore PCI’s
        initial falsehoods and failed to follow-up on these newly-discovered red flags. See id.




        113
              Ex. T-28 (DZB059533).

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       DZ Bank knew, from the outset, that it was not permitted to inspect the purported collateral,
        which ran afoul of its own lending requirements. See In re Model Imperial, Inc., 250 B.R.
        776, 799 (S.D. Fla. 2000) (rejecting good faith defense in part because defendant’s
        “conduct was inconsistent with industry practices and in violation of its own written
        policies and procedures”). To compensate for this inexplicable limitation, DZ Bank
        obtained insurance that covered both credit- and fraud-related losses. When the insurer
        was downgraded, DZ Bank sought to replace only the fraud coverage.
        See Counterstatement of Facts § VI, supra at 14-15.

        Other examples abound:        DZ Bank repeatedly received reports of zero dilution on

transactions involving billions of dollars of electronics merchandise; DZ Bank records reflect one

hundred transactions—most consecutive—with exactly the same gross margin despite wide

variations in buyer, seller, and goods (TV sets, clothes, golf equipment); and DZ Bank knew, in

January 2003, that Tom Petters tried to seal records of a criminal charge immediately after learning

DZ Bank had requested that very information. See id.; see also id. for additional failures to pursue

red flags in connection with the Facility and underlying goods transactions.

        A transferee of funds fails to act in good faith if it is on “inquiry notice” that the transfers

were made with “fraudulent purpose” but fails to perform a “diligent investigation” into the

relevant red flag. See In re Bayou Group, LLC, 439 B.R. 284, 310-14 (S.D.N.Y. 2010). To

determine inquiry notice, the Eighth Circuit looks to “what [the defendant] objectively ‘knew or

should have known,’” rather than “actual knowledge from a subjective standpoint.” In re Sherman,

67 F.3d 1348, 1355 (8th Cir. 1995) (quotation omitted); see also Zayed v. Buysse, 2012 WL

12893882, at *22 (D. Minn. Sept. 27, 2012) (“[A] transferee is on inquiry notice when he has

sufficient facts to question whether the transfer was made for a fraudulent purpose or whether the

transferor was insolvent.”). The factual record amply demonstrates that DZ Bank failed to act in

good faith by ignoring signs of fraud and forgoing common-sense investigatory steps in favor of

its lending relationship and the attendant profits. DZ Bank’s failure to meet its burden of

demonstrating good faith is an independent reason that its “mere conduit” defense fails.

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III.   DZ BANK FEES ARE SUBJECT TO FRAUDULENT TRANSFER CLAIMS

       DZ Bank asserts in passing that any claim against DZ Bank for the $3.36 million in fees

that were paid from the DZ Bank Collection Account to a separate DZ Bank account must fail

because “DZ Bank provided reasonably equivalent value for the transfers.” Mem. 22. DZ Bank’s

assertion is fundamentally incorrect for at least two reasons.

       First, payments into the DZ Bank Collection Account were made directly by PC

Funding. See Counterstatement of Facts § V.A, supra at 11. Although PC Funding may have

directed those payments to DZ Bank in order to reduce PC Funding’s debt to OppFin, PC Funding

itself did not owe any money to DZ Bank. See id. § III.A, supra at 5-6. Thus, the mere fact that

DZ Bank shifted $3.36 million from its Collection Account to another account in DZ Bank’s name

does not immunize those funds from fraudulent transfer claims by PC Funding. See 11 U.S.C.

§ 548(a)(1)(B)(i) (“if the debtor . . . received less than a reasonably equivalent value in exchange”)

(emphasis added); In re Whaley, 229 B.R. 767, 775 (Bankr. D. Minn. 1999) (reasonably-equivalent

value is with respect to “what the Debtor received” not to any “non-debtor third party”).

       Second, even if these payments were, for purposes of argument only, treated as transfers

from OppFin to DZ Bank, DZ Bank would have a defense as a subsequent transferee only if it took

those transfers in good faith. 11 U.S.C. § 550(b)(1); see also 12(c) Order at 15 (“Good faith under

§ 550”). There is ample evidence that DZ Bank acted in bad faith when it accepted these

payments. See Counterstatement of Facts § VI, supra at 13-18. As DZ Bank has done throughout

its motion, it simply ignores this good faith element in making this argument.




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IV.    DZ BANK’S ASSERTIONS REGARDING THE LACK OF PREDICATE
       CREDITORS ARE IRRELEVANT AND CONTRARY TO THE FACTUAL
       RECORD

       DZ Bank seeks summary judgment on the grounds that the Trustee can raise no material

issue of fact as to the existence of a “predicate creditor,” i.e. “one with a right to payment from the

debtor.” Mem. 23. Once again, DZ Bank’s argument is based on facts that do not exist—discovery

has confirmed that there were several predicate creditors of PC Funding (“Predicate Creditors”),

including at least five that were specifically identified in the Fourth Amended Complaint. A

predicate creditor’s claim need not exist at the time of the transfers, but may arise at any time up

to or including the petition date. See 11 U.S.C. § 544 (incorporating state law); Minnesota Uniform

Fraudulent Transfer Act (“MUFTA”) § 513.44 (actual or constructive fraudulent transfers voidable

as to present or future creditors); id. § 513.45 (constructive fraudulent transfers voidable as to

present creditors). The evidence demonstrates that there were creditors of PC Funding both at the

time DZ Bank received transfers from PC Funding and in the years following those transfers.114

       Before addressing these Predicate Creditors, it should be acknowledged that the Trustee’s

claims against DZ Bank would survive even in the absence of such creditors. As set forth just

below, the Trustee has standing to pursue claims as a hypothetical creditor under Section 544(a)

of the Code, regardless of whether there were independent predicate creditors. Additionally, there

is no dispute that the Trustee can pursue claims against DZ Bank as a subsequent transferee of

PCI, as to which the existence of predicate creditors is beyond dispute.



       114
           DZ Bank asserts incorrectly that “[i]t is undisputed that these alleged Predicate Creditors
are not creditors of PC Funding.” Mem. 10. Of course, the Trustee disputes this assertion. And
the case DZ Bank cites in support of its assertion says no such thing. Judge Kishel wrote that,
apart from OppFin, PC Funding did not have “consensual, contractual creditors.” See In re Petters
Co., 550 B.R. 438, 446 (Bankr. D. Minn. 2016) (Kishel, J.). Judge Kishel did not address either
tort claims or claims based upon veil piercing, and thus did not conclude that PC Funding did not
have any predicate creditors.

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       A.      Predicate Creditors of PC Funding Are Not Required for the Trustee to
               Assert Fraudulent Transfer Claims Against DZ Bank

               1.      The Trustee Has Standing to Bring Claims Under Section 544(a)

       DZ Bank’s predicate creditor argument fails as a matter of law because the Trustee has

standing to bring claims under Section 544(a) and Minn. Stat. § 513.44(a) even absent any actual

predicate creditors of PC Funding.

       Section 544(a) grants to the Trustee the right to avoid any transfer of property of the debtor

that is voidable by several types of creditors as of the commencement of the case “whether or not

such a creditor exists.” 11 U.S.C. § 544(a)(1), (2) (emphasis added); see also 11 U.S.C. § 544(a)(3)

(granting trustee the right to avoid transfers by a bona fide purchaser of real property “whether or

not such a purchaser exists”). In other words, the Trustee need not identify an actual predicate

creditor from which to source avoidance powers, because the Bankruptcy Code, under Section

544(a), provides the Trustee with a hypothetical creditor from which the Trustee may derive

standing to assert fraudulent transfer claims under state law, as of the petition date. See Zilkha

Energy Co. v. Leighton, 920 F.2d 1520, 1523 (10th Cir. 1990) (“To understand the full import of

§ 544, one must first understand the power of a bankruptcy trustee to stand in the shoes of an

hypothetical creditor of the debtor to effect a recovery from a third party. Simply stated, from the

reservoir of equitable powers granted to the trustee to maximize the bankruptcy estate, Congress

has fashioned a legal fiction. Not only is a trustee empowered to stand in the shoes of a debtor to

set aside transfers to third parties, but the fiction permits the trustee also to assume the guise of a

creditor with a judgment against the debtor. Under that guise, the trustee may invoke whatever

remedies provided by state law to judgment lien creditors to satisfy judgments against the




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debtor.”).115

        Looking to state law, Minn. Stat. § 513.44(a) provides that an actual or constructive

fraudulent transfer “is voidable as to a creditor, whether the creditor’s claim arose before or after

the transfer was made.” (Emphasis added.) This provision therefore allows a creditor whose claim

against the debtor arose after the challenged transfer, including a creditor that comes into existence

(as a creature of the Bankruptcy Code) on the petition date, to seek to avoid the antecedent transfer.

In turn, the plain language of the Bankruptcy Code allows the Trustee to do under federal law

whatever the hypothetical creditor could have done under state law.116 United States v. Ron Pair

Enter., Inc., 489 U.S. 235, 242 (1989) (plain meaning of the Bankruptcy Code “should be

conclusive, except in the rare cases in which the literal application [] will produce a result

demonstrably at odds with the intentions of its drafters” (internal quotation omitted)).



        115
            This operation of Section 544(a) is well established. See Belford v. Cantavero (In re
Bassett), 221 B.R. 49, 52-53 (Bankr. D. Conn. 1998) (“As a hypothetical lien creditor under
Section 544(a)(1), the Trustee enjoys rights under, inter alia, Connecticut state fraudulent transfer
law . . . .”); Kleven v. Stewart (In re Myers), 320 B.R. 667, 670 (Bankr. N.D. Ind. 2005)
(“Exercising the rights and powers of the hypothetical lien creditor, the trustee could have
challenged the transactions through § 544(a).”); Goscienski v. Larosa (In re Montclair Homes),
200 B.R. 84, 94 (Bankr. E.D.N.Y. 1996) (allowing a creditor acting on behalf of the bankruptcy
trustee to use the trustee’s hypothetical status as a judgment lienholder to assert a fraudulent
conveyance action under the NY DCL, thus gaining the benefit of the NY DCL’s six-year
reachback period); see also 5 Collier on Bankruptcy P 544.03 (16th ed. 2019) (“As the Court of
Appeals for the Second Circuit has explained, section 544(a)(1) ‘gives the trustee in bankruptcy
the status of a hypothetical judgment lien creditor … [who] extends credit to the debtor at the time
of filing [of a bankruptcy petition] and, at that moment, obtains a judicial lien on all property in
which the debtor has any interest that could be reached by a creditor.’ This status arises whether
or not such a creditor actually exists.”) (citing Musso v. Ostashko, 468 F.3d 99 (2d Cir. 2006)).
        116
            Under Minn. Stat. § 513.41, fraudulent transfer claims, including those under Minn.
Stat. § 513.44(a), may be asserted by any “Creditor” holding a “Claim”, which includes “a right
to payment, whether or not the right is reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured.”
Minn. Stat. § 513.41 (emphasis added). Thus, it is clear that the three hypothetical creditors
enumerated in section 544(a) of the Bankruptcy Code could have, hypothetically, asserted the
fraudulent transfer claims asserted by the Trustee here.

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       Therefore, even assuming there were no actual predicate creditors of PC Funding—which,

as discussed below, there were—under the plain language of the Bankruptcy Code and MUFTA,

the Trustee has standing to bring any claim that could have been brought under Minn. Stat.

§ 513.44(a) by a creditor existing on the petition date, including the actual and constructive

fraudulent transfer claims at issue here. For this reason alone, summary judgment on the predicate

creditor issue should be denied.

               2.      The Trustee Can Assert Claims Against DZ Bank as a Subsequent
                       Transferee of PCI

       There is no meaningful dispute that the Predicate Creditors have direct claims against PCI.

Cf. Transcript of Jury Trial Vol. V at 865:17-867:13, Dkt. No. 135, Kelley v. Boosalis, No. 18-cv-

868 (D. Minn. Nov. 30, 2018) (Nelson, J.) (bench ruling that Interlachen was a predicate creditor

of PCI). Thus, even if DZ Bank could establish the absence of PC Funding creditors—which, as

explained below, it cannot—the Trustee’s standing to avoid transfers to PC Funding as an initial

transferee of PCI, and therefore to avoid transfers to DZ Bank from PC Funding as a subsequent

transferee of PCI, is not in dispute. See 11 U.S.C. § 550(a) (Trustee can recover from “any

immediate or mediate transferee of such initial transferee.”).

       B.      There Are Predicate Creditors of PC Funding

               1.      PCI Creditors Can Pierce the Corporate Veil Between PCI and PC
                       Funding

       Each of the Predicate Creditors has direct tort claims against PCI. See Argument § IV.A.2,

supra at 37. Because PC Funding was merely an alter ego of PCI, such that there was no real

separation between the two entities, the Predicate Creditors’ tort claims against PCI are tort claims

against PC Funding as well.

       DZ Bank accepts that a corporate veil may be pierced by satisfying the fact-intensive

criteria for “insider reverse veil piercing.” Mem. 24 (citing Kelley v. Opportunity Fin., LLC, 561

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B.R. 738, 750 (Bankr. D. Minn. 2016)); see also 561 B.R. at 753 (“Whether to pierce the corporate

veil is primarily a question of fact.”). In re Intelefilm Corp., 301 B.R. 327 (Bankr. D. Minn. 2003)

(Kishel, J.), on which DZ Bank relies, provides that the two criteria for veil-piercing are

(i) “whether [the entities] maintained the integrity of a separate existence for the corporation,” and

(ii) “whether the shareholder-owners operated the corporation as a constructive fraud or in an

unjust manner, in a way detrimental to the claimant.” Id. at 331 (internal quotation marks omitted).

       Each of these criteria is clearly satisfied. As to corporate separateness, DZ Bank does not

challenge PC Funding’s inadequate capitalization,117 its insolvency at all relevant times,118 or that

PCI siphoned funds from PC Funding by laundering them through sham Vendors that circulated

the funds back to PCI. See Counterstatement of Facts § II, supra at 4-5. Nor does DZ Bank

address the lack of corporate formalities between PCI and PC Funding. Former PC Funding board

member Thomas Hay testified that PC Funding’s supposed board of directors, to which he, Petters,

and a third director119 were named, held no elections or meetings,120 that Mr. Hay never met that

third director,121 that PC Funding “was nonexistent, virtually,” and that he was “essentially a

director in name only.”122 Furthermore, Petters acted as PC Funding’s “sole governor, President,

CEO, and CFO.” In re Petters Co., 506 B.R. at 809. Thus, it is not surprising that this Court


       117
            See, e.g., Ex. T-56 (Testimony of Theodore Martens at substantive consolidation
hearing dated Dec. 12, 2011 (“Martens Hearing Tr.”)) at 249:19-20 (“A. . . . [T]here was little, if
any, capitalization in the SPE’s.”)); see also In re Petters Co., 506 B.R. at 810 (PC Funding was
“substantially dependent upon PCI to stay in business”).
       118
           Ex. T-21 (Martens Report) ¶¶ 57-59.
       119
           See Ex. T-52 (Hay Tr.) at 272:5-23.
       120
           See id. at 264:17-265:24.
       121
            See id. at 272:9-23. As noted by Judge Kishel, counsel for PCI referred to the
“nominally-independent director” as a “Rent-a-Director.” In re Petters Co., 506 B.R. at 809 n.35.
       122
           Ex. T-52 (Hay Tr.) at 266:10-21; see also Ex. T-57 (Deposition of Jon Sabes dated July
7, 2011 (“Sabes Tr.”)) at 88:14-90:4.


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concluded that “Tom Petters and PCI controlled the way the SPEs operated, both de facto and de

jure.” Id. at 809 n.35. And this Court subsequently held that proof of the foregoing alone is

sufficient to pierce the corporate veil. See Kelley, 561 B.R. at 753.123

       DZ Bank likewise cannot meaningfully challenge the second criterion—that PCI operated

PC Funding as a fraud, and that creditors of PCI—like the Predicate Creditors—were harmed when

PCI illicitly sent their money to SPEs, like PC Funding, not to buy the represented goods, but

rather simply to pay other lenders. See Counterstatement of Facts § II, supra at 4-5 (PC Funding

channeled millions through the Ponzi scheme). In exactly the same fashion, creditors of the SPEs,

like PC Funding, were harmed when their money flowed into PCI—rather than to the represented

vendors—to pay PCI’s other lenders. In Intelefilm, Judge Kishel found that the second criterion

may be met by “false pretense or misrepresentation as to the identity of the real party-beneficiary

with whom the creditor was dealing—i.e. the shareholder-owner in an individual capacity, rather

than the flimsily-constituted corporation.” 301 B.R. at 331-32. DZ Bank cannot dispute that

Petters was the “real party-beneficiary” with whom OppFin “was dealing,” because Petters

continually misappropriated funds provided to PC Funding to be laundered through sham Vendors

and circulated back to PCI. See Counterstatement of Facts § II, supra at 4-5; see also Kelley, 561

B.R. at 753 (finding conduct of Petters and PCI evidenced a lack of “true separateness between

PCI and [PC Funding]”).

       Urban v. American Legion Post 184, 695 N.W. 2d 153 (Minn. 2005), which states that the

second criterion simply requires proof of “injustice or fundamental unfairness,” id. at 162, is no




       123
           Contrary to DZ Bank’s assertion, the Trustee does not claim that the Predicate Creditors’
claims against PC Funding arise from substantive consolidation. Mem. 23. But the factual
findings in this Court’s substantive consolidation opinion demonstrate that there was no separation
between PCI and PC Funding. See In re Petters Co., 506 B.R. at 800-11.

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more helpful to DZ Bank. Urban instructs that this element is satisfied “in circumstances where

the formalities of corporate existence are disregarded by one seeking to use it,” to the point that

“corporate existence cannot be allowed to shield the individual from liability.” Id. at 162

(emphasis added). Again, DZ Bank does not attempt to argue that PCI and PC Funding observed

corporate separateness, nor challenge that the primary purpose of each entity was to perpetrate a

fraud.    And neither Intelefilm nor Urban supports DZ Bank’s argument that “injustice or

fundamental unfairness” requires something more than the joint operation of a massive Ponzi

scheme. See Mem. 24-25.

         Tellingly, in an attempt to bolster its curious assertion that PCI was not using PC Funding

to achieve unjust and fundamentally unfair ends, DZ Bank invokes facts that are demonstrably

false. First, DZ Bank asserts that “there is no evidence” that proceeds of the Predicate Creditors’

loans were transferred to PC Funding. Mem. 25. But in several instances, there can be no question

that the identified Predicate Creditors were the source of funds transferred from PCI to PC

Funding. For example:

        On December 5, 2002, Acorn124 (through RedTagBiz, Inc.) transferred approximately $8.7
         million to PCI. The same day, PCI sent approximately $13.3 million to PC Funding. But
         because PCI’s highest possible account balance that day—assuming all deposits into PCI’s
         account on December 5, 2002 were made before any withdrawals—was approximately
         $17.7 million, some portion of Acorn’s money necessarily funded the transfers from PCI
         to PC Funding.125




          “Acorn” is Acorn Capital Group, LLC. FAC ¶ 187. Acorn’s successor servicer is Asset
         124

Based Resource Group LLC. Id. ¶ 188.
      125
          See Ex. T-21 (Martens Rpt.) Ex. U at 75.

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       On April 18, 2008, Interlachen126 and Lancelot127 (through its SPE) together transferred a
        total of $72.6 million to PCI.128 Other transfers to PCI that day totaled less than $50,000.129
        The same day, PCI sent approximately $13.3 million to PC Funding.130 Because PCI began
        that day with a balance of less than $900,000,131 there can be no question that
        Interlachen/Lancelot’s money funded the transfer from PCI to PC Funding.

Other examples of transfers from PCI to PC Funding closely following PCI’s receipt of funds from

Predicate Creditors include: (i) Lancelot’s July 2, 2002 transfer (through another entity) of

$1,025,000 to PCI, followed by PCI’s transfer, that day and the next, of over $3.6 million to PC

Funding;132 and (ii) Ark Discovery’s133 October 17, 2007 transfer (through its SPE) of

approximately $15 million to fraudulent Vendors Nationwide134 and Enchanted135 which, the same

day, transferred more than $41 million to PCI,136 which, in turn transferred $5.48 million to PC

Funding.137

        Second, DZ Bank maintains that “there is no evidence that PC Funding assisted PCI in

defrauding the alleged Predicate Creditors.” Mem. 25-26. Again, there is ample and unchallenged

evidence that PC Funding assisted PCI in perpetrating the Ponzi scheme. Petters and PCI used PC

Funding as an integral instrument of the fraud, in which capacity PC Funding accepted hundreds


        126
           “Interlachen” is Interlachen Harriet Investments Limited. See FAC ¶ 194.
       127
           “Lancelot” includes Lancelot Investors Fund, L.P., Lancelot Investors Fund II, L.P.,
Lancelot Investors Fund, Ltd., and related entities. See id. ¶ 187.
       128
           See T-58 (Interim Report of PricewaterhouseCoopers) Ex. 10 at 1.
       129
           Id.
       130
           Id.
       131
           Ex. T-59 (Kelley_DZ_00063488) (April 2008 Bank Statement for PCI account number
1959018 at M&I Bank) at -91.
       132
           See T-21 (Martens Rpt.) Ex. U at 25.
       133
           “Ark Discovery” is Ark Discovery II LP. FAC ¶ 189.
       134
           See T-60 (Kelley_DZ_00053853) at -54.
       135
           See T-61 (Kelley_DZ_00040184) at -84.
       136
           See T-62 (Kelley_DZ_00068673) at -73-75; T-60 (Kelley_DZ_00053853) at -58;
T-61 (Kelley_DZ_00040184) at -90.
       137
           See T-62 (Kelley_DZ_00068673) at -79; T-63 (Kelley_DZ_00057335) at -41.

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of millions in fraudulently induced transfers and provided those funds to the sham Vendors, who

laundered them and sent them back to PCI. See Counterstatement of Facts § II, supra at 4-5. Those

funds benefited Petters personally and perpetuated the Ponzi scheme by repaying investors with

other investors’ funds. See id. At the same time, PC Funding accepted transfers from PCI—

transfers that had nothing to do with the payment of receivables by retailers—in order to pay PC

Funding’s lenders. See id. It would therefore be fundamentally unfair and unjust to hinder

recovery against PC Funding by giving effect to a corporate separateness that the two entities

themselves purposely disregarded to advance the fraud.

               2.      Predicate Creditors Have Tort Claims Directly Against PC Funding

       In addition to their claims against PC Funding as an alter ego of PCI, the Predicate

Creditors have direct claims against PC Funding for aiding and abetting, and conspiring to commit,

fraud and conversion. DZ Bank’s legal arguments are insufficient to dismiss these claims, which

find ample support in the factual record.

       Under Minnesota law, aiding and abetting a tort requires (1) a primary tort; (2) the

defendant’s knowledge that the primary tortfeasor is breaching a duty; and (3) substantial

assistance in or encouragement of the breach. See Zayed v. Assoc. Bank, N.A., 779 F.3d 727, 733

(8th Cir. 2015). Civil conspiracy under Minnesota law requires “(1) two or more persons; (2) an

object to be accomplished; (3) a meeting of the minds on the object or course of action to be taken;

(4) the commission of one or more unlawful overt acts; and (5) damages as the proximate result of

the conspiracy.” ECTG Ltd. v. O’Shaughnessy, 2014 WL 6684982, at *4 (D. Minn. Nov. 25, 2014)

(quotation marks omitted).

       The Predicate Creditors plainly have aiding and abetting fraud claims against PC Funding.




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First, it is clear that they have primary fraud claims against PCI.138 The evidence shows that each

of the Predicate Creditors was fraudulently induced to provide funds to PCI and (in some instances)

SPEs set up and operated by PCI, and was damaged as a result. Interlachen loaned $60 million to

PCI in April 2008 on the fraudulent basis that the funds would finance goods transactions,139 and

the loan was never repaid.140 Acorn Capital Group, LLC (“Acorn”) was similarly “provided with

certain false information” and also holds unpaid promissory notes. See Mem. 11. Lancelot was

never told that its transaction documents were phony,141 and DZ Bank does not dispute that

Lancelot’s loans were not fully repaid.142 Ark Discovery loaned funds to PCI in 2007 and 2008,

and there are no facts suggesting Petters treated Ark Discovery’s funds differently from any other

funds invested in the Ponzi Scheme.143 And Theodore Deikel testified that Petters fraudulently



       138
            DZ Bank’s argument that the Predicate Creditors did not rely on representations made
by PC Funding is wholly beside the point; that is not an element of an aiding and abetting claim.
        139
            See Ex. T-64 (Deposition of Lance Breiland dated Feb. 27, 2019 (“Breiland Tr.”)) at
195:11-22 (“Q. Now, when -- when Interlachen lent $60 million to PCI in April of 2018 [sic], was
it ever told that PCI would use the money being loaned in this way? A. No, absolutely not. Q.
You were told that Petters was going to use the money to purchase TVs, right? A. That’s correct.”).
        140
            See id. at 222:23-223:6 (“Q. [Interlachen] lost its entire $60 million? . . . THE
WITNESS: Yes, that’s correct.”); Ex. T-65 (Interlachen Proof of Claim); Ex. T-66 (Findings of
Fact, Conclusions of Law and Order Confirming the Second Amended Chapter 11 Plan of
Liquidation Dated April 8, 2016) (“Confirmation Order”) at 38 (“[T]he Interlachen Claim shall be
Allowed as a Class 3 Claim in the amount of $60,000,000”).
        141
            See Ex. T-8 (Coleman Tr.) at 164:15-22 (“Q. . . . Did Lancelot ever know that -- did
you ever tell Lancelot the documents you were preparing were fake? A. No.”).
        142
            See Ex. T-67 (Lancelot Proofs of Claim); T-66 (Confirmation Order) at 37 (“Lancelot
will have an Allowed Class 3 General Unsecured Claim in the amount of $764,620,000.00 . . . .”).
DZ Bank argues that Lancelot CEO Greg Bell was aware of Petters’ fraud, Mem. 12, but ignores
that Bell’s knowledge of the Ponzi scheme is in dispute. See Ex. T-68 (Deposition of Ron Peterson
dated Feb. 7, 2019 (“Peterson Tr.”)) at 46:4-16 (“A. . . . “[W]e could never establish that Bell had
such knowledge. And Bell denie[d] that he had such knowledge when I interviewed him.”).
        143
            See Ex. T-69 (Ark Discovery Proofs of Claim and supporting documents); T-66
(Confirmation Order) at 38 (“the Ark Discovery Claim will be Allowed as a Class 3 General
Unsecured Claim in the aggregate amount of $107,207,101.00”).


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represented that Mr. Deikel’s $10 million loan would finance electronics transactions, and that he

suffered damages when the loan was not repaid.144

       Second, there can be no question that PC Funding—for which Petters served as sole

governor, President, CEO, and CFO—knew of PCI’s fraudulent conduct. And, third, PC Funding

substantially assisted the fraudulent scheme by knowingly misdirecting funds to sham Vendors,

who laundered the money and sent it directly to PCI (rather than using the money to purchase grey

market goods) to benefit Petters and perpetuate the Ponzi scheme. See Counterstatement of Facts

§ II, supra at 4-5. In fact, DZ Bank’s expert Andrew Richmond opined that PC Funding created

fictitious documents, and lied to outside parties, to conceal the Ponzi scheme,145 and that Petters

and his co-conspirators used the corporate structure of Petters’ companies to mask the fraud.146

       Contrary to DZ Bank’s claim, it is irrelevant whether the Predicate Creditors “dealt” with

PC Funding, Mem. 30; as in any aiding and abetting case, there is no requirement that PC

Funding’s substantial assistance include direct communications with the targets of the fraud. See

Zayed, 779 F.3d at 733 (elements of aiding and abetting claim do not include that victim must

establish direct contact with alleged tortfeasor).

       With respect to conspiracy, the record also establishes that PC Funding conspired with PCI,

the sham Vendors, Michael Catain, Larry Reynolds, the other SPEs, and others to operate the Ponzi

scheme. Mr. Richmond opined that the Vendors were “entities operated by co-conspirators who




       144
           See T-70 (Deposition of Theodore Deikel dated December 28, 2018 (“Deikel Tr.”)) at
206:7-207:22. DZ Bank’s assertion that Mr. Deikel loaned funds to Petters “solely on the basis of
the unrelated success” of a prior transaction is disputed, at best, because it is inconsistent with Mr.
Deikel’s testimony that he was defrauded. See Mem. 11.
       145
           Ex. T-71 (Report of Andrew Richmond dated July 5, 2019) ¶¶ 114-17.
       146
           Id. ¶¶ 81-85.


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were actively assisting in the execution and concealment of the fraud,”147 and “the involvement

and close coordination of these external third parties was critical to the execution and concealment

of the Petters fraud scheme.”148 Indeed, Catain and Reynolds pleaded guilty to conspiracy to

commit money laundering in connection with their role in the Ponzi scheme.149 Certainly, this

conduct satisfies all of the requirements for a conspiracy claim under Minnesota law. DZ Bank’s

assertion that PC Funding could not conspire with its owner, PCI, see Mem. 29—even if true—

ignores that the conspiracy involved these multiple players, within and outside of PCI. Similarly,

DZ Bank’s assertion that “no Predicate Creditor has a valid underlying tort claim,” id., is

unsupported, and belied by the evidence above that each Predicate Creditor was a victim of fraud.

       For the same reasons, PC Funding aided and abetted, and conspired to commit, conversion

of the Predicate Creditors’ funds. DZ Bank asserts that conversion does not apply to intangible

funds,150 citing TCI Business Capital, Inc. v. Five Star American Die Casting, LLC, 890 N.W. 2d

423 (Minn. Ct. App. 2017) and World Business Lenders, LLC v. Palen, 2017 U.S. Dist. LEXIS

91403 (D. Minn. June 13, 2017) (which bases its decision on TCI).151 DZ Bank fails to cite such

relevant contrary authority as De Castro v. Castro, 2018 WL 6026089 (D. Minn. Nov. 16, 2018),

which notes that TCI’s discussion was dicta and finds that TCI’s view is “misaligned with modern

day e-commerce” and would “insulate from liability conversion perpetrated online, using credit



       147
            Id. ¶ 15.
       148
            Id. ¶ 78.
        149
            Id. ¶¶ 76-77.
        150
            DZ Bank also asserts that none of the Predicate Creditors had a property interest in PC
Funding. Mem. 28-29. Once again, that simply is not a requirement of a claim that PC Funding
aided and abetted, or conspired to commit, conversion.
        151
            World Business identifies three reported cases from this District that apply conversion
to intangible funds, but followed TCI because TCI reviewed Minnesota Supreme Court cases that
address conversion. See 2017 U.S. Dist. LEXIS 91403 at *19. But none of those cases addresses
conversion in the context of intangible funds. See id. (gathering five cases).

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cards, or any other myriad form of electronic payments.” Id. at *6; see also Cobb v. PayLease

LLC, 34 F. Supp. 3d 976, 988 (D. Minn. 2014) (“Cobb has adequately pled a conversion claim

based upon PayLease’s alleged retention of six-days’ worth of interest on the $25 fee.”). And in

In re Polaroid, 543 B.R. 888 (Bankr. D. Minn. 2016) (Kishel, J.), Judge Kishel characterized the

misuse of funds by a Ponzi scheme as a “permanent conversion” that “invariably occurs when a

Ponzi scheme is prolonged through the rolling fraud of the classic structure.” Id. at 909 n.34.

                                         CONCLUSION

       For the foregoing reasons, the Trustee respectfully requests an Order denying DZ Bank’s

motion for summary judgment in its entirety.

 DATED: February 7, 2020                          BALLARD SPAHR LLP

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                                              APPENDIX

              DZ BANK ADMISSIONS AND REPRESENTATIONS TO THE COURT

         Citation                                       DZ Bank Representation


                    DZ Bank Motion for Judgment on the Pleadings Under Rule 12(c)


Moving Brief (Dkt. 122)      “It is undisputed that DZ Bank was a lender and that the payments that it
Page 1                       received constituted repayments of ordinary principal and interest on the loans
                             that it made. Indeed, the Trustee’s allegations specifically acknowledge that
                             DZ Bank provided financing and that the transfers that DZ Bank received
                             were repayments of that financing.”

Moving Brief (Dkt. 122)      “Opportunity Finance obtained financing from DZ Bank. Opportunity
Page 7                       Finance used the funds borrowed from DZ Bank to fund, in part, the loans to
                             PC Funding.”

Moving Brief (Dkt. 122)      “Section 2.01(a) of the Receivables Loan Agreement provides that DZ Bank
Page 7                       shall ‘make loans to the Borrower secured by Pledged Assets from time to
                             time during the period from the date hereof until the earlier of the Early
                             Amortization Commencement Date or the Facility Maturity Date.’”

Moving Brief (Dkt. 122)      “Pursuant to Section 2.02(c) of the Receivables Loan Agreement, as well as
Pages 7-8                    the Fee Letter from DZ Bank to OF Securitization, the Yield Rate for the loan
                             between DZ Bank and Opportunity Finance was the non-CP rate (i.e., the
                             London Interbank Offered Rate — as reported during the Fixed Period — plus
                             an applicable margin of 2.35 percent).”

Moving Brief (Dkt. 122)      “In connection with the Receivables Agreement, Opportunity Finance formed
Page 8                       a wholly owned, special purpose entity— OF Securitization — to serve as the
                             borrower of funds from DZ Bank.”

Moving Brief (Dkt. 122)      “Pursuant to Section 2.24, a Collection Account was opened at U.S. Bank for
Page 8                       the benefit of DZ Bank.”




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         Citation                                      DZ Bank Representation

Moving Brief (Dkt. 122)     “In early 2002, DZ Bank began to make loans to OF Securitization. In turn,
Page 9                      Opportunity Finance extended loans to PC Funding in accordance with the
                            terms of the Credit Agreement. As Opportunity Finance received repayment
                            of the loans by transfer into the PC Funding account, pursuant to Section 2.23
                            of the Receivables Loan Agreement, those repayment proceeds were used in
                            part to repay the amounts that OF Securitization owed DZ Bank by making
                            transfers into DZ Bank’s bank account at U.S. Bank. From 2002 to 2003, DZ
                            Bank received principal and interest repayments for its loans to OF
                            Securitization.”

Moving Brief (Dkt. 122)     “Pursuant to Section 2.01 of the Receivables Loan Agreement, DZ Bank’s
Page 9                      loan matured the earlier of December 28, 2006 or when any Early
                            Amortization Event occurred. In May 2003, Opportunity Finance triggered an
                            informal amortization, and it ceased requesting new loan originations under
                            the Receivables Loan Agreement.”

Moving Brief (Dkt. 122)     “Opportunity Finance made loans to PC Funding. DZ Bank likewise extended
Page 19                     a credit line to OF Securitization.”

Moving Brief (Dkt. 122)     “Although the Trustee is reluctant to use the word ‘loan’ in his complaint, the
Page 20, fn. 20             agreements are explicit that loans are precisely what are being tendered by
                            Opportunity Financing and DZ Bank, respectively, and that the payments back
                            to them were for interest and principal.”

Reply Brief (Dkt. 160)      “The Trustee’s admissions and the agreements establish that there was a direct
Page 4                      lending relationship among DZ Bank, Opportunity Finance and PC Funding,
                            and the transfers to DZ Bank all concerned repayment of antecedent debt due
                            and owing DZ Bank.”

Reply Brief (Dkt. 160)      “Further, it is undisputed that DZ Bank was a senior lender for the loans to PC
Page 23                     Funding. Opportunity Finance obtained financing from DZ Bank and used the
                            funds that it borrowed from DZ Bank to fund, in part, the loans to PC Funding.
                            In connection with the Receivables Agreement, Opportunity Finance formed
                            OF Securitization, a wholly owned, special purpose entity, to serve as the
                            borrower of funds from DZ Bank. In early 2002, DZ Bank began to make
                            loans to OF Securitization.”

Reply Brief (Dkt. 160)      “Further, the agreements incorporated into the Complaint and Answer
Page 25                     establish the direct connection between DZ Bank and PC Funding based on a
                            tripartite lending relationship.”




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         Citation                                        DZ Bank Representation

Motion Hearing Transcript     “ . . . under Section 2.23 of the receivables loan and security agreement, which
(Dkt. 166)                    is Exhibit A to DZ’s answer, Opportunity and borrower, and the borrower is
Pages 49-50                   Opportunity Finance Securitization, shall direct each Opportunity loan
                              borrower, which is defined as PC Funding and its related approved distributor
                              to remit all funds payable in respect to all Opportunity loans, i.e. the loans
                              made to PC Funding, to the collection account, and the collection account is
                              defined as the account that is setup for the benefit of DZ Bank.”

Motion Hearing Transcript     “ . . . so no matter how the trustee might want to hedge his pleadings, the way
(Dkt. 166)                    things worked here is that DZ Bank was getting paid by PC Funding for loans
Pages 49-50                   that it made to -- that DZ Bank made. It was getting paid principal and
                              interest.”


                                 DZ Bank’s Answers to the Complaints:
                                     Second Amended Complaint


Ans. to Second Amended        Admits that “DZ Bank made loans to Opportunity Finance to provide
Complaint (Dkt. 42)           financing for Opportunity Finance loans to PC Funding.”
Paragraph 115

Ans. to Second Amended        “Opportunity Finance obtained financing from DZ Bank. Opportunity Finance
Complaint (Dkt. 42)           entered into the Receivables Loan Agreement with DZ Bank, Autobahn
Paragraph 311                 Funding Company LLC, U.S. Bank and Royal Indemnity Company.
                              Opportunity Finance used the funds borrowed from DZ Bank to finance the
                              loans that it made to PC Funding.”

Ans. to Second Amended        “In accordance with the Receivables Loan Agreement, Opportunity Finance
Complaint (Dkt. 42)           formed a wholly-owned, special-purpose entity – Opportunity Finance
Paragraph 312                 Securitization, LLC (“OF Securitization”) – to serve as the borrower of funds
                              from DZ Bank.”

Ans. to Second Amended        “. . . the Yield Rate (i.e., interest rate) for the loan between DZ Bank and
Complaint (Dkt. 42)           Opportunity Finance was the non-CP rate (i.e., the London Interbank Offered
Paragraph 314                 Rate – as reported during the Fixed Period – plus an applicable margin of
                              2.35%).”

Ans. to Second Amended        “DZ Bank began to loan funds to OF Securitization in early 2002, and
Complaint (Dkt. 42)           Opportunity Finance in turn began to extend secured loans to PC Funding in
Paragraph 315                 accordance with the terms of the Credit Agreement.”




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        Citation                                      DZ Bank Representation

Ans. to Second Amended     “In May 2003, Opportunity Finance and Opportunity Finance Securitization
Complaint (Dkt. 42)        entered an informal amortization, and ceased requesting new loan originations
Paragraph 315              under the Receivables Loan Agreement. By August 2003, all the outstanding
                           loans by DZ Bank had been repaid.”


                              DZ Bank’s Answers to the Complaints:
                             Fourth Amended (Operative) Complaint


Ans. to Fourth Amended     Admits that “(i) DZ Bank loaned funds to Opportunity Finance Securitization
Complaint (Dkt. 241)       in accordance with the terms of the Receivables Loan Agreement during the
Paragraph 102              period January 2002 through May 2003, (ii) Opportunity Finance loaned funds
                           to PC Funding during that same time period in accordance with the terms of
                           the Credit Agreement and (iii) Opportunity Finance Securitization repaid the
                           principal and interest due on its loans.”

Ans. to Fourth Amended     Admits that “DZ Bank made loans to Opportunity Finance Securitization in
Complaint (Dkt. 241)       connection with the loans that Opportunity Finance made to PC Funding.”
Paragraph 172

Ans. to Fourth Amended     “Opportunity Finance obtained financing from DZ Bank. Opportunity Finance
Complaint (Dkt. 241)       entered into the Receivables Loan Agreement with DZ Bank, Autobahn
Paragraph 491              Funding Company LLC, Opportunity Finance Securitization, U.S. Bank and
                           Royal Indemnity Company. Opportunity Finance used the funds that
                           Opportunity Finance Securitization borrowed from DZ Bank to finance, in
                           part, the loans that it made to PC Funding.”

Ans. to Fourth Amended     “In accordance with the Receivables Loan Agreement and consistent with
Complaint (Dkt. 241)       national industry practice, Opportunity Finance formed a wholly-owned, SPE
Paragraph 492              – Opportunity Finance Securitization – to be the borrower of funds from DZ
                           Bank.”

Ans. to Fourth Amended     “. . . the Yield Rate (i.e., interest rate) for the loan from DZ Bank to
Complaint (Dkt. 241)       Opportunity Finance Securitization was the non-CP rate (i.e., the London
Paragraph 494              Interbank Offered Rate – as reported during the applicable period – plus an
                           applicable margin of 2.35%).”

Ans. to Fourth Amended     “DZ Bank began to loan funds to Opportunity Finance Securitization in
Complaint (Dkt. 241)       January 2002, and Opportunity Finance in turn extended secured loans to PC
Paragraph 495              Funding in accordance with the terms of the Credit Agreement.”




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        Citation                                     DZ Bank Representation

Ans. to Fourth Amended     “In May 2003, Opportunity Finance and Opportunity Finance Securitization
Complaint (Dkt. 241)       entered an informal amortization arrangement with respect to the loan from
Paragraph 498              DZ Bank, and ceased requesting new loan originations under the Receivables
                           Loan Agreement. By August 2003, Opportunity Finance Securitization had
                           repaid all the outstanding loans to DZ Bank.”




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                          UNITED STATES BANKRUPTCY COURT
                               DISTRICT OF MINNESOTA



In re                                                   Jointly Administered under
                                                            Case No. 08-45257
         Petters Company, Inc., et al.,
                                                          Court File No. 08-45257
                                Debtors.
                                                              Court File Nos.:
         (includes:
         Petters Group Worldwide, LLC;                       08-45258 (KHS)
         PC Funding, LLC;                                    08-45326 (KHS)
         Thousand Lakes, LLC;                                08-45327 (KHS)
         SPF Funding, LLC;                                   08-45328 (KHS)
         PL Ltd., Inc.;                                      08-45329 (KHS)
         Edge One LLC;                                       08-45330 (KHS)
         MGC Finance, Inc.;                                  08-45331 (KHS)
         PAC Funding, LLC;                                   08-45371 (KHS)
         Palm Beach Finance Holdings, Inc.)                  08-45392 (KHS)

                                                             Chapter 11 Cases
                                                         Judge Kathleen H. Sanberg

Douglas A. Kelley, in his capacity as the
Trustee of the PCI Liquidating Trust,

                                           Plaintiff,

    v.                                                     ADV. NO. 10-04301

Opportunity Finance, LLC, et al.,

                                      Defendants.


               DECLARATION OF ROBERT S. LOIGMAN IN SUPPORT OF
                 TRUSTEE DOUGLAS A. KELLEY’S OPPOSITION TO
                  DZ BANK’S MOTION FOR SUMMARY JUDGMENT
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       I, Robert S. Loigman, state and declare as follows:

       1.      I am a partner at Quinn Emanuel Urquhart & Sullivan, LLP, and am admitted pro

hac vice to represent Plaintiff Douglas A. Kelley, in his capacity as Trustee of the PCI Liquidating

Trust (“Plaintiff” or “Trustee”), in this action. I make this Declaration in opposition to DZ Bank’s

Motion for Summary Judgment to put certain relevant documents before the Court.

       2.      Attached as Exhibit T-1 is a true and correct copy of excerpts from the deposition

transcript of Oliver d’Oelsnitz dated December 3, 2018.

       3.      Attached as Exhibit T-2 is a true and correct copy of excerpts from the deposition

transcript of Vincent Salerno dated September 26, 2018.

       4.      Attached as Exhibit T-3 is a true and correct copy of excerpts from the deposition

transcript of Francine M. Farragher dated October 2, 2018.

       5.      Attached as Exhibit T-4 is a true and correct copy of excerpts from the deposition

transcript of Wallace Barefoot Bankhead dated September 16, 2019.

       6.      Attached as Exhibit T-5 is a true and correct copy of excerpts from the deposition

transcript of Nancy O’Connor dated October 17, 2018.

       7.      Attached as Exhibit T-6 is a true and correct copy of excerpts from the deposition

transcript of Patrick Preece dated October 18, 2018.

       8.      Attached as Exhibit T-7 is a true and correct copy of excerpts from Volume XI of

the transcript of the jury trial of Tom Petters, dated November 12, 2009, containing the testimony

of Patrick Preece.

       9.      Attached as Exhibit T-8 is a true and correct copy of excerpts from the deposition

transcript of Deanna Coleman dated November 15, 2018.
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       10.    Attached as Exhibit T-9 is a true and correct copy of a Credit Application dated

October 17, 2001, with the beginning Bates-stamp DZB001200.

       11.    Attached as Exhibit T-10 is a true and correct copy of a memorandum from Mayer,

Brown & Platt dated December 28, 2001, with the beginning Bates-stamp DZB019159.

       12.    Attached as Exhibit T-11 is a true and correct copy of a DZ Bank Fraud Insurance

Policy Memorandum, undated, with the beginning Bates-stamp DZB041876.

       13.    Attached as Exhibit T-12 is a true and correct copy of a Fee Letter dated December

28, 2001, with the beginning Bates-stamp DZB001353.

       14.    Attached as Exhibit T-13 is a true and correct copy of excerpts from the Expert

Report of W. Barefoot Bankhead, dated July 5, 2019.

       15.    Attached as Exhibit T-14 is a true and correct copy of an email from Christine

Ogden to Nancy O’Connor and Wolfgang Bollmann, dated August 26, 2003, with attachment,

with the beginning Bates-stamp DZB057852.

       16.    Attached as Exhibit T-15 is a true and correct copy of document titled “Credit Risk

Management” dated May 2002, with the beginning Bates-stamp DZB057972.

       17.    Attached as Exhibit T-16 is a true and correct copy of a memorandum titled

“$100,000,000 Trade Finance Loan-Backed Commercial Paper Conduit Facility” dated September

2001, with the beginning Bates-stamp DZB041920.

       18.    Attached as Exhibit T-17 is a true and correct copy of a DZ Bank Cash Receipts

Testing analysis dated August 22, 2002, with the beginning Bates-stamp DZB043555.

       19.    Attached as Exhibit T-18 is a true and correct copy of a memorandum titled

“Opportunity Finance - Due Diligence Site Review” dated August 26, 2002, with the beginning

Bates-stamp DZB045346.



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       20.     Attached as Exhibit T-19 is a true and correct copy of a Credit Application dated

December 12, 2002, with the beginning Bates-stamp DZB001179.

       21.     Attached as Exhibit T-20 are true and correct copies of wire instructions dated

October 9, 2002, November 12, 2002, December 10, 2002, and January 10, 2003, with the

beginning Bates-stamps DZB009150, DZB009193, DZB009237, and DZB009290, respectively.

       22.     Attached as Exhibit T-21 is a true and correct copy of the Expert Report of

Theodore F. Martens, dated April 25, 2019, and Exhibits H and Q, and excerpts of Exhibit U, to

that Report.

       23.     Attached as Exhibit T-22 is a true and correct copy of a letter from Patrick Preece

to Jon Sabes dated January 8, 2003, with the beginning Bates-stamp DZB000892.

       24.     Attached as Exhibit T-23 is a true and correct copy of an email from Michael

Plunkett to Patrick Preece and Richard Wisniewski dated September 28, 2001, with the beginning

Bates-stamp DZB017820.

       25.     Exhibit T-24 is intentionally omitted.

       26.     Attached as Exhibit T-25 is a true and correct copy of a Credit Application dated

August 26, 2003, with the beginning Bates-stamp DZB053896.

       27.     Attached as Exhibit T-26 is a true and correct copy of an email from Patrick Preece

to Vincent Salerno dated March 7, 2003, and forwarded by Salerno to Jennifer Wikoff on January

14, 2004, with the beginning Bates-stamp DZB059538.

       28.     Attached as Exhibit T-27 is a true and correct copy of a Credit Agreement between

PC Funding, LLC and Opportunity Finance, LLC dated December 17, 2001, with the beginning

Bates-stamp DZB004335.




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       29.     Attached as Exhibit T-28 is a true and correct copy of an email from Jennifer

Wikoff to Vincent Salerno and Howard O’Brien dated February 20, 2003, and forwarded by

Salerno to Wikoff on January 14, 2004, with the beginning Bates-stamp DZB059533.

       30.     Exhibit T-29 is intentionally omitted.

       31.     Attached as Exhibit T-30 is a true and correct copy of excerpts of DZ Bank’s North

America Operations Manual for the Asset Securitization Group dated January 22, 2001, with the

beginning Bates-stamp DZB056085.

       32.     Attached as Exhibit T-31 is a true and correct copy of an email from Christine

Ogden to Wolfgang Bollmann and Nancy O’Connor dated January 13, 2005, with attachment,

with the beginning Bates-stamp DZB065695.

       33.     Attached as Exhibit T-32 is a true and correct copy of a memorandum from Robert

Benvenuto to Jon Sabes, Patrick Preece, and Vincent Salerno regarding “Fraud Insurance

Questions” dated January 17, 2003, with the beginning Bates-stamp DZB040676.

       34.     Attached as Exhibit T-33 is a true and correct copy of excerpts from the deposition

transcript of Jennifer Wikoff dated November 29, 2018.

       35.     Attached as Exhibit T-34 is a true and correct copy of a letter from Simon Root to

Jon    Sabes    dated     December      13,    2001,     with   the    beginning     Bates-stamp

PCI_S_SC_OppFin_0032715.

       36.     Attached as Exhibit T-35 is a true and correct copy of an email chain between

Nancy O’Connor and Patrick Preece, dated July 10 to 11, 2003, with the beginning Bates-stamp

DZB057221.

       37.     Attached as Exhibit T-36 is a true and correct copy of an email from Teresa

Zariczny to Jennifer Wikoff and Howard O’Brien, dated March 3, 2003, forwarded by Wikoff to



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Vincent Salerno and Patrick Preece on March 3, 2003, and forwarded by Salerno to Wikoff on

January 14, 2004, with the beginning Bates-stamp DZB059498.

       38.    Attached as Exhibit T-37 is a true and correct copy of an email from Jennifer

Wikoff to Kenneth Bradt and Patrick Preece dated March 5, 2003, forwarded by Wikoff to Vincent

Salerno and Teresa Zariczny on March 6, 2003, and forwarded by Salerno to Wikoff on January

14, 2004, with the beginning Bates-stamp DZB059526.

       39.    Attached as Exhibit T-38 is a true and correct copy of an email from Jennifer

Wikoff to Kenneth Bradt and Patrick Preece dated March 5, 2003, forwarded by Wikoff to Vincent

Salerno and Teresa Zariczny on March 6, 2003, and forwarded by Salerno to Wikoff on January

14, 2004, with the beginning Bates-stamp DZB059500.

       40.    Attached as Exhibit T-39 is a true and correct copy of excerpts of a Risk Profile

Report prepared by 1stWest Financial Corporation dated March 13, 2003, with the beginning

Bates-stamp DZB000095.

       41.    Attached as Exhibit T-40 is a true and correct copy of Exhibit C to the RLSA,1 with

the beginning Bates-stamp DZB018811.

       42.    Attached as Exhibit T-41 is a true and correct copy of an excerpt of a spreadsheet

titled Opportunity Finance LLC Portfolio Data and dated December 31, 2002, with the Bates-

stamp DZB045366.

       43.    Attached as Exhibit T-42 is a true and correct copy of an email from Wolfgang

Bollmann to Nancy O’Connor dated September 11, 2003, with the beginning Bates-stamp

DZB058241.



       1
         Capitalized terms and abbreviations used herein have the same meaning as in the
Trustee’s Memorandum of Law in accompanying Memorandum of Law dated February 7, 2020.

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       44.    Attached as Exhibit T-43 is a true and correct copy of a Dun & Bradstreet report on

Boscov’s Department Store, LLC dated April 7, 2003, with the beginning Bates-stamp

DZB001051.

       45.    Attached as Exhibit T-44 is a true and correct copy of excerpts of a spreadsheet

titled Opportunity Finance LLC Portfolio Data and dated December 31, 2002, with the Bates-

stamp DZB051979.

       46.    Attached as Exhibit T-45 is a true and correct copy of excerpts from the deposition

transcript of Thomas Petters dated December 11, 2018.

       47.    Attached as Exhibit T-46 are true and correct copies of (i) excerpts of a spreadsheet

titled Opportunity Finance LLC Portfolio Data dated June 13, 2002, with the Bates-stamp

DZB051973, and (ii) a Compliance Worksheet for the Asset Securitization Group dated January

31, 2002, with the beginning Bates-stamp DZB009654.

       48.    Attached as Exhibit T-47 is a true and correct copy of excerpts from the deposition

transcript of Bruce Miller dated October 4, 2019.

       49.    Attached as Exhibit T-48 are true and correct copies of (i) an email from Patrick

Preece to Kenneth Bradt, et al. dated January 28, 2003, with the beginning Bates-stamp

DZB056774; (ii) a fax from Teresa Zariczny to Kelli Clayton dated February 12, 2003, with the

beginning Bates-stamp DZB000547, with attachment; (iii) an email from Clayton to Zariczny

dated February 19, 2003, forwarded by Zariczny to Patrick Preece, et al. on February 19, 2003,

and forwarded by Vincent Salerno to Jon Sabes on February 20, 2003, with the beginning Bates-

stamp OpFin-00000011; and (iv) a letter from Steven J. Meshbesher, Esq. to Patrick Preece with

attachment dated February 21, 2003, with the beginning Bates-stamp DZB013618.




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       50.    Attached as Exhibit T-49 is a true and correct copy of an email exchange between

Jon Sabes, Heather Thayer, and Simon Root dated December 12 to 13, 2001, with the beginning

Bates-stamp PCI_S_SC_OppFin_0004685.

       51.    Attached as Exhibit T-50 is a true and correct copy of Autobahn’s Amended and

Restated Limited Liability Company Operating Agreement dated July 10, 2008, with the beginning

Bates-stamp DZB173548.

       52.    Attached as Exhibit T-51 is a true and correct copy of a Written Action in Lieu of

Meeting by the Board of Governors of PC Funding dated December 17, 2001, with the beginning

Bates-stamp DZB002786.

       53.    Attached as Exhibit T-52 is a true and correct copy of excerpts from the deposition

transcript of Thomas Hay dated December 6, 2018.

       54.    Attached as Exhibit T-53 is a true and correct copy of an internal DZ Bank

memorandum referencing “Opportunity Finance, LLC – Request for $70.0 mio Increase in

Commercial Paper Program” dated April 18, 2002, with the beginning Bates-stamp DZB040825.

       55.    Attached as Exhibit T-54 is a true and correct copy of an email from Patrick Preece

to Paul Joshi, et al. dated August 28, 2002, with the beginning Bates-stamp DZB055810.

       56.    Attached as Exhibit T-55 is a true and correct copy of a memorandum from Kenneth

Bradt to Wolfgang Bannmann and DZ Bank’s Credit Committee dated March 13, 2002, with the

beginning Bates-stamp DZB001131.

       57.    Attached as Exhibit T-56 is a true and correct copy of excerpts from the transcript

of the first day of the Substantive Consolidation hearing dated December 12, 2011, containing the

testimony of Theodore F. Martens.




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       58.     Attached as Exhibit T-57 is a true and correct copy of excerpts from the deposition

transcript of Jon Sabes dated July 7, 2011.

       59.     Attached as Exhibit T-58 is a true and correct copy of Exhibit 10 to the PwC Interim

Report, dated December 15, 2010.

       60.     Attached as Exhibit T-59 is a true and correct copy of an M&I Bank account

statement for PCI dated April 30, 2008, with the beginning Bates-stamp Kelley_DZ_00063488.

       61.     Attached as Exhibit T-60 is a true and correct copy of a First Regional Bank account

statement for Nationwide International Resources Inc. dated October 31, 2007, with the beginning

Bates-stamp Kelley_DZ_00053853.

       62.     Attached as Exhibit T-61 is a true and correct copy of an Anchor Bank, N.A.

account statement for Enchanted Family Buying Company dated October 19, 2007, with the

beginning Bates-stamp Kelley_DZ_00040184.

       63.     Attached as Exhibit T-62 is a true and correct copy of an M&I Bank Money

Transfer Statement for Petters Company Inc. dated October 17, 2007, with the beginning Bates-

stamp Kelley_DZ_00068673.

       64.     Attached as Exhibit T-63 is a true and correct copy of an M&I Bank account

statement for PCI dated October 31, 2007, with the beginning Bates-stamp Kelley_DZ_00057335.

       65.     Attached as Exhibit T-64 is a true and correct copy of excerpts from the deposition

transcript of Lance Breiland dated February 27, 2019.

       66.     Attached as Exhibit T-65 is a true and correct copy of a Proof of Claim filed by

Interlachen dated December 28, 2009.




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       67.    Attached as Exhibit T-66 is a true and correct copy of the Findings of Fact,

Conclusions of Law and Order Confirming the Second Amended Chapter 11 Plan of Liquidation

Dated April 8, 2016, No. 08-45257, Dkt. 3305.

       68.    Attached as Exhibit T-67 are true and correct copies of excerpts of Proofs of Claim

filed by Lancelot Investors Fund, LP, Lancelot Investors Fund II, L.P., and Lancelot Investors

Fund, Ltd. dated April 20, 2009, and a Proof of Claim filed by RWB Services LLC dated April

20, 2009.

       69.    Attached as Exhibit T-68 is a true and correct copy of excerpts from the deposition

transcript of Ronald Peterson dated February 7, 2019

       70.    Attached as Exhibit T-69 are true and correct copies of Proofs of Claim filed by

Ark Discovery II, LP dated December 11, 2008, October 2, 2009, and December 12, 2012.

       71.    Attached as Exhibit T-70 is a true and correct copy of excerpts from the deposition

transcript of Theodore Deikel dated December 28, 2018.

       72.    Attached as Exhibit T-71 is a true and correct copy of excerpts from the Expert

Report of Andrew D. Richmond, dated July 5, 2019.

       I declare under penalty of perjury that the foregoing is true and correct.

 DATED: February 7, 2020
                                            By: /s/ Robert S. Loigman
                                                Robert S. Loigman (pro hac vice)
                                                Quinn Emanuel Urquhart & Sullivan, LLP
                                                51 Madison Avenue, 22nd Floor
                                                New York, New York 10010-1601
                                                Telephone: (212) 849-7000
                                                Fax: (212) 849-7100
                                                www.quinnemanuel.com

                                                     Attorney for Douglas A. Kelley, in his
                                                     capacity as Trustee of the PCI Liquidating
                                                     Trust



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                                                                                Page 1
 1               UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MINNESOTA
 2   __________________________________________________
 3   Petters Company, Inc., et al.,
 4                  Debtors,                 Court File Nos.:
     (includes:
 5   Petters Group Worldwide, LLC;           08-45258(KHS)
     PC Funding, LLC;                        08-45326(KHS)
 6   Thousand Lakes, LLC;                    08-45327(KHS)
     SPF Funding, LLC;                       08-45328(KHS)
 7   PL Ltd., Inc.;                          08-45329(KHS)
     Edge One, LLC;                          08-45330(KHS)
 8   MGC Finance, Inc;                       08-45331(KHS)
     PAC Funding, LLC;                       08-45371(KHS)
 9   Palm Beach Finance Holdings, Inc.)      08-45392(KHS)
     --------------------------------------------------
10
     Douglas A. Kelley, in his capacity as the
11   Trustee of the PCI Liquidating Trust,
12                  Plaintiff,
     vs.                              ADV. NO. 10-04301
13
     Opportunity Finance, LLC, Opportunity Finance
14   Securitization, LLC; Opportunity Finance
     Securitization II, LLC; Opportunity Finance
15   Securitization III, LLC; International Investment
     Opportunities, LLC, Sabes Family Foundation;
16   Sabes Minnesota Limited Partnership; Robert W.
     Sabes; Janet F. Sabes; Jon R. Sabes; Steven
17   Sabes; Deutsche Zentrlgenossenschaftbank AG;
     and The Minneapolis Foundation,
18
                    Defendants.
19   __________________________________________________
20                  VIDEOTAPED DEPOSITION OF
                        OLIVER D'OELSNITZ
21
                          London, United Kingdom
22                       Monday, December 3, 2018
23
     Reported by:
24   LEAH M. WILLERSDORF - AVR, MBIVR, QRR2*,
     International Participating Member NCRA)
25   Job No. 150588

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                                                                               Page 16
 1                      (O. D'OELSNITZ - 12/03/2018)
 2   primary reason for my going -- being appointed branch
 3   manager and being sent to New York was the fact that
 4   the bank was not making any money, so they were
 5   participating in deals that were originated by other
 6   banks, they were generating an income base but their
 7   costs were equal to that base, and that was an ongoing
 8   problem that New York had.
 9             When I came, I had a mandate to correct that
10   situation and I had ideas of how to do that, and they
11   consisted of bringing on origination teams, such as
12   ASG, originating for ourselves, earning fee income in
13   addition to the interest income and the fees that one
14   typically makes by lending, through lending, and,
15   yeah, that was my motivation.
16             Q.      So your performance when you came to
17   New York would have been gauged by, among other
18   things, whether you could increase the profitability
19   of the New York office?
20             A.      My performance would have been measured on
21   the basis of how well I ran the branch, yeah.                          Oddly,
22   the Germans were not as focused on the bottom line but
23   they did have a problem when the bottom line became
24   negative.
25             Q.      You said that one of the primary drivers

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                                                                              Page 169
 1                      (O. D'OELSNITZ - 12/03/2018)
 2   that are put in place were for the benefit of the
 3   conduit structure, not the bank.
 4   BY MR. NOSKOV:
 5             Q.      And conduit was an agent of DZ Bank,
 6   correct?
 7                     MR. HAVELES:              Objection; mischaracterizes
 8   the record.
 9                     THE WITNESS:              Yeah, I don't know that
10   I would agree with that representation "agent."                          We
11   used Autobahn.            We were arrangers of facilities, and
12   Autobahn was a facility that was created by DZ Bank
13   but it's very, very careful -- we were very careful at
14   the time to define the role that we played in
15   Autobahn.
16   BY MR. NOSKOV:
17             Q.      Was there a credit committee at Autobahn
18   that approved these transactions?
19             A.      No.      The credit process was internal at
20   DZ Bank.
21             Q.      So any credit facility that was put in
22   place was put in with the approval of the credit
23   committee at DZ Bank?
24             A.      Actually, I should be careful there
25   because there was a custodial responsible for

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                                                                              Page 171
 1                      (O. D'OELSNITZ - 12/03/2018)
 2             Q.      My question is, as part of this
 3   transaction, did DZ Bank make any money?
 4             A.      DZ Bank would have made money as an
 5   arranger of these transactions, yes.
 6             Q.      And so how would they make money as an
 7   arranger in these transactions?
 8             A.      Well --
 9                     MR. HAVELES:            Are you now asking generally
10   or as to Opportunity Finance?
11                     MR. NOSKOV:            Generally.
12                     MR. HAVELES:            Okay.
13                     THE WITNESS:            Generally, they would
14   structure the transaction and they would make
15   arrangements that the transaction was put in place in
16   order to ensure that a client would be given access to
17   the proceeds raised by the commercial paper issued by
18   Autobahn.
19   BY MR. NOSKOV:
20             Q.      And did DZ Bank act as a collateral agent
21   under the agreements?
22             A.      I can't recall specifically, but I do not
23   believe that we were collateral agent on the ASG
24   transactions.
25                     MR. NOSKOV:            Let's take a look at

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                                                                                Page 1
 1
 2               UNITED STATES BANKRUPTCY COURT
 3                   DISTRICT OF MINNESOTA
 4                        No. 08-45257
 5    In Re:     Petters Company, Inc., et al.,
 6    Debtors.
 7    (includes:                                             Court File Nos.
      Petters Group Worldwide, LLC;                          08-45258 (KHS)
 8    PC Funding, LLC;                                       08-45326 (KHS)
      Thousand Lakes, LLC;                                   08-45327 (KHS)
 9    SPF Funding, LLC;                                      08-45328 (KHS)
      PL Ltd., Inc.;                                         08-45329 (KHS)
10    Edge One LLC;                                          08-45330 (KHS)
      MGC Finance, Inc.;                                     08-45331 (KHS)
11    PAC Funding, LLC;                                      08-45371 (KHS)
      Palm Beach Finance
12    Holdings, Inc.)                                        08-45392 (KHS)
13
14    DOUGLAS A. KELLEY, in his capacity as the
      Trustee of the PCI Liquidating Trust,
15               Plaintiff,
16         vs.
17    OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
      SECURITIZATION, LLC; OPPORTUNITY FINANCE
18    SECURITIZATION II, LLC; OPPORTUNITY FINANCE
      SECURITIZATION III, LLC; INTERNATIONAL
19    INVESTMENT OPPORTUNITIES, LLC; SABES FAMILY
      FOUNDATION; SABES MINNESOTA LIMITED
20    PARTNERSHIP; ROBERT W. SABES; JANET F. SABES;
      JON R. SABES; STEVEN SABES; DEUTSCHE
21    ZENTRALGENOSSENSCHAFTBANK AG; and the
      MINNEAPOLIS FOUNDATION,
22               Defendants.
23    ADV. NO. 10-04301
24             Deposition of VINCENT SALERNO
25    JOB NO. 148370

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                                                                               Page 32
 1                             VINCENT SALERNO
 2     BY MR. NOSKOV:
 3            Q.      And sometimes those assets would be
 4     unsecured obligations?
 5            A.      Correct.          Or there could be part
 6     assets underneath those loans.                          But our loan
 7     was collateralized by a portfolio of
 8     receivables.
 9            Q.      And why was it important for all of
10     the loans to be secured by receivables?
11            A.      That was the nature of our business.
12     We're asset-backed lenders.                       We lend money
13     against portfolios of assets, not to companies
14     themselves.        So we don't take the credit risk
15     of the company, we take the credit risk of the
16     portfolio.
17            Q.      So to do that, you analyzed the
18     portfolio, correct?
19            A.      Yes.
20            Q.      And you want to understand the
21     quality of the assets, correct?
22            A.      Correct.
23            Q.      It's important for you to understand
24     the quality of the assets because if there's a
25     default on the loan obligation, you would end

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                                                                                   Page 133
 1                             VINCENT SALERNO
 2     can discuss that amongst --
 3            A.      Okay.
 4            Q.      You see DZ Bank is listed as agent
 5     and as collateral agent?
 6            A.      I do see that.
 7            Q.      And Autobahn Funding Company is
 8     listed as lender?
 9            A.      That is correct.
10            Q.      What's the relationship between
11     Autobahn Funding Company and DZ Bank?
12            A.      So DZ Bank would fund its loans
13     through an off-balance sheet vehicle called the
14     commercial paper conduit.                       DZ would act as
15     administrator to that conduit.                          It's the
16     conduit that would actually issue short-term
17     notes to fund the loans being made to various
18     counterparties.
19            Q.      So the Autobahn Funding Company is
20     just a vehicle used by DZ Bank to -- for the
21     purposes of this particular loan?
22                             MR. HERSCHLEIN:                 Object to form.
23                             THE WITNESS:              No.          Our entire
24            portfolio was funded through Autobahn
25            Funding Company.               DZ Bank would provide

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                                                                                     Page 134
 1                             VINCENT SALERNO
 2             certain support to the conduit in order to
 3             be able to issue the notes.                            It was a
 4             capital treatment strategy.
 5     BY MR. NOSKOV:
 6             Q.     Understood.            And Autobahn Funding
 7     Company did not have its own separate decision
 8     makers, did it?
 9             A.     DZ Bank acted as its administrator.
10     It made those decisions basically for it.                                 The
11     bank didn't own Autobahn Funding Company.
12             Q.     Who owned Autobahn Funding Company?
13             A.     I believe Lord Securities, a
14     third-party administrator, basically owned
15     Autobahn Funding Company.
16             Q.     And who collected the interest on the
17     loan?
18             A.     Autobahn Funding Company was the
19     lender.
20             Q.     So it collected the -- the interest
21     on the loan?
22             A.     Correct, it was payable to Autobahn
23     Funding Company as the lender.
24             Q.     And how did DZ Bank receive money
25     from the transaction?

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                                                                                   Page 135
 1                             VINCENT SALERNO
 2            A.      If I recall correctly, the bank would
 3     get its -- its economics through the liquidity
 4     facility that it provided.
 5                             So every loan facility written
 6     by the conduit had to have a backstop
 7     commitment from a creditworthy entity.                              So if
 8     there was a disruption in the CP market, the
 9     bank would then take it the loan onto its books
10     so CP holders could be made whole.                             So
11     effectively, it was a pass-through of the
12     economics to the bank.
13            Q.      Were you involved in negotiating this
14     agreement?
15            A.      Yes.
16            Q.      Did you have counsel as part of this
17     discussion?
18            A.      Yes.
19            Q.      Who was your counsel?
20            A.      Kay Schoaler.
21            Q.      Do you recall that pursuant to this
22     agreement two accounts were created to
23     facilitate the flow of funds?
24            A.      I do recall there being separate
25     collection accounts.

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                                                                                Page 1
 1                        F. FARRAGHER
 2              UNITED STATES BANKRUPTCY COURT
 3                  DISTRICT OF MINNESOTA
 4                       NO. 08-45257
 5    In Re:    Petters Company, Inc., et al.
      Debtors.
 6    (Includes:                            Court File Nos.
      Petters Group Worldwide, LLC;         08-45258 (KHS)
 7    PC Funding, LLC;                      08-45326 (KHS)
      Thousand Lakes, LLC;                  08-45327 (KHS)
 8    SPF Funding, LLC;                     08-45328 (KHS)
      PL Ltd., Inc.;                        08-45329 (KHS)
 9    Edge One LLC;                         08-45330 (KHS)
      MGC Finance, Inc.;                    08-45331 (KHS)
10    PAC Funding, LLC;                     08-45371 (KHS)
      Palm Beach Finance
11    Holdings, Inc.)                       08-45392 (KSH)
12    DOUGLAS A. KELLEY, in his capacity as the
      Trustee of the PCI Liquidating Trust,
13               Plaintiff,
           vs.
14    OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
      SECURITIZATION, LLC; OPPORTUNITY FINANCE
15    SECURITIZATION II, LLC; OPPORTUNITY FINANCE
      SECURITIZATION III, LC; INTERNATIONAL
16    INVESTMENT OPPORTUNITIES, LLC; SABES FAMILY
      FOUNDATION; SABES MINNESOTA LIMITED
17    PARTNERSHIP; ROBERT W. SABES; JANET F. SABES;
      JON R. SABES; STEVEN SABES; DEUTSCHE
18    ZENTRALGENOSSENSCHAFTBANK AG; and the
      MINNEAPOLIS FOUNDATION,
19               Defendants.
20    ADV. NO. 10-04301
21    VIDEOTAPED DEPOSITION OF FRANCINE M. FARRAGHER
22                   New York, New York
23                    October 2, 2018
24    Reported by:
      KATHY S. KLEPFER, RMR, RPR, CRR, CLR
25    JOB NO. 148371

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                                                                               Page 112
 1                                F. FARRAGHER
 2          A.       It's likely, yes.
 3          Q.       Okay.      I wanted to ask you one other
 4    thing.     From that first paragraph that I just
 5    read that begins "ASG seeks approval," it refers
 6    to a multi-seller conduit.
 7          A.       Yes.
 8          Q.       Can you -- can you explain what that
 9    is?
10          A.       Autobahn lends to a number of
11    different sellers.              Currently, we have 27 in the
12    portfolio, so it's a multi-seller conduit.
13          Q.       And what is -- what does "seller"
14    refer to in this context?
15          A.       It would be the originator who sold
16    their receivables to an ultimate borrower that's
17    an SPV.        That's the borrower of our facility.
18          Q.       Okay.      And sorry, it refers to -- it
19    says, "ASG seeks approval to provide, through
20    its multi-seller conduit..."
21                   I assume "its" there refers to ASG?
22          A.       Yes.
23          Q.       Okay.      So its -- the multi-seller
24    conduit Autobahn Funding Company, LLC is its,
25    ASG's, multi-seller conduit?

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                                                                               Page 113
 1                                F. FARRAGHER
 2         A.        Well, we consider it ours, yes.
 3         Q.        "Ours" meaning?
 4         A.        ASG's multi-seller conduit, yes,
 5    because we set it up.                ASG set it up.
 6         Q.        Okay.      And this credit application was
 7    ultimately approved?               The credit facility was
 8    issued?
 9         A.        This was signed off by New York
10    branch.        I don't have anything here indicating
11    Frankfurt.
12                   MR. HAVELES:            I'll stipulate there is
13         a separate piece of paper from Frankfurt
14         approving this loan.
15                   MR. WALDMAN:            Okay.
16                   MR. HAVELES:            That we have produced.
17                   MR. WALDMAN:            Approving this credit
18         application?
19                   MR. HAVELES:            Yes.
20                   MR. WALDMAN:            Okay.        That's helpful.
21         I'm not sure if we found it, but we'll look
22         again.
23                   MR. HAVELES:            You can call my good
24         friend Mr. Chiachetti after the deposition.
25         We'll be happy to point you to the document.

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;                    2#34# ,            7                                         !       1    8
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         3           #           7                                                !       1    8
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/          -- *%          2#3 &'% #34#            <&() 69 % > &
"         3 <4#4%4(# +(2 2'                 (4#    <(&6 &3H
                               5       $      '
;                             ?        $     9 #: +(2
                                       $     ( %9    =2 '%4(# 4', 3(
          2#3 &'% #3, 69 # +(2                ':     =2 '%4(#        #3 +(2
          & < & %( 4%          ' %9        M I     #: -(.. % & .
           --(2#%,M 4< %9 %J' %9                  % &), %9 % %9 %J'
          69 %      J) & < &&4#            %( 4# )+ & *(&%        ' %9
!         -(.. % & .              #% -(.. -%4(#          --(2#%H
/                   5     $
"         A             % )         . % )        & *9& '      %9 %
                     <     2'      %9      % &) %(3 + M I         #:
;    -(.. -%4(#         --(2#%,M 64.. +(2 2#3 &'% #3 69 %
      --(2#%         ) & < &&4#            %(H
                     + 2#3 &'% #34#              6(2.3 0      +(2J&
     & < &&4#       %( 69 %        J) & < &&4#          %(    ' %9
     -(.. % & .           #% -(.. -%4(#            --(2#%
          A         : +            >    +(2      > & '   #    #+0(3+,
!    (%9 & %9 # 4# +(2& & *(&%, & < & %( %9 %                         --(2#%
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      ' %9     -(.. % & .           #% -(.. -%4(#        --(2#%H
                      3(#J% 0 .4 >         '(
           A        43     #+0(3+ 4#'%&2-% +(2 %( & < & %(
!    %9     --(2#%     ' %9      -(.. % & .          #% -(.. -%4(#
/     --(2#%H
"                     3(#J% %94#: %9 &          6 &      #+
     4#'%&2-%4(#'              3(#J% & - .. 69 %         .. -()) #%'
;     #3    34%' 6 &       ) 3    (# %9     & *(&%, 02% 6          .6 +'
     %&+ %( 34'%4# 24'9 0 %6             # %9     %6( -(.. -%4(#
      --(2#%' 64%9 '() %94#             %9 % 6 ' < )4.4 & %( 2'
           A        ( +(2 :#(6 69( <4&'% 2' 3 %9                % &)
     M-(.. % & .           #% -(.. -%4(#        --(2#%M 4#
     -(## -%4(# 64%9 +(2& & *(&%H
!                     3( #(%
/          A          &    +(2 %9     *&4#-4* . 3& <% & (< +(2&
"    & *(&%H
                    ()     (< %9        &.+ ' -%4(#' (# )+
;    =2 .4<4- %4(#', 0 -: &(2#3, %94# ' (< %9 %
     # %2& , 02%          6 '    ''4'% 3 4# 3& <%4#           %9
     & *(&%
           A        : +         #3 4# . % & *(&%4(#' (< %9
     & *(&% 69 &       +(2 34'-2'' 4% )' '* -4<4- %( %94'
     - ' , 6 &      +(2 %9       *&4#-4* . 3& <% & (< %9('
!    *(&%4(#' (< %9           & *(&%H
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                        ( +(2 '          %9 %H
                          '
           A            (6, 4' 4% +(2& *('4%4(# %9 %                    I      #:
!     #3      2%(0 9#         &    -()*. % .+ ' * & %              <&()       -9
/    (%9 &H
"                       I       #: 4' %9        3)4#4'%& %(& (<
      2%(0 9#             2%(0 9# 4'           ' * & %         #%4%+,
;    ' * & %        .       .     #%4%+,    '% 0.4'9 3 <(& %9
     *2&*('      (< & 4'4#           <2#3'
                          0 .4 >      %9 + & 4'          <2#3' (#.+ <(&            I
         #:         3(#J% :#(6 %9 % %( 0                 <(& - &% 4#, 02%
     %9 % 6 ' %9            *2&*('       (< %9       '% 0.4'9) #% (<
     %9 % -(#324%                 % 4' (6# 3 0+          (&3       -2&4%4 ',
!    4' )+ 2#3 &'% #34# ,                 #3 4'         ' * & %        #%4%+
/     % 4'      3)4#4'% & 3           #3 ) #         3 0+      I     #:
"     9 %J' )+ 2#3 &'% #34#
           A            (2& 2#3 &'% #34#            4' %9 %        &      &   -
;    3( '#J% 6(&: <(&              2%(0 9#, &4 9%H
                          3(#J% & - .. %9 &             0 4#       #+
      )*.(+     '       %     2%(0 9#
           A            ( 69 #       &     &    -    ' 43 %9 % 9 J' %9
     9    3 (< %9         -(#324%, %9          -()) &-4 . * * &
     -(#324%        %     I       #:, %9 % 6(2.3 9 >            %( 0      4# 94'
!    - * -4%+        '      #     )*.(+     (<      I     #:, &4 9%H
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                        .((: 3 %9&(2 9 %9('             0 #:
     '% % ) #%' %( '            69 &     %9    * +) #%' - )        <&(),
     & % 4. &' (& (%9 &64'
!          A          4 9%        4 9%        ( (#     (< %9    %94# '
/    +(2 6(2.3 9 >         (0' &> 3 4' 694-9 (< %9('
"    * +) #%', 4<        #+, - )        <&() & % 4. &', &4 9%H
                        6(2.3 9 >        (0' &> 3 %9 % 4< 4% 6 '
;     > 4. 0.        (# %9     64&     %& #'< & 4#'%&2-%4(#' (&
     3 #(% 3 4# %9         0 #: '% % ) #%
           A          #3 +(2 6(2.3        .'( 9 >       (0' &> 3
     69 %9 &        #+ (< %9('       4#-()4#       64& ' 6 &     <&()
     & % 4. &' %9 % ) %-9 3 %9('                %9 % *2&*(&% 3.+
     0 -: 3 %9        (**(&%2#4%+ .( #', &4 9%H
!                     ''2)4#      %9    ' )    -(#34%4(#'
/    ) #%4(# 3 4# %9           *&4(&     #'6 &
"          A         # & >4 64#        %9      B     --(2#%
     4#<(&) %4(#, 343 +(2 <4#3                >43 #-     (<     '4# .
;    * +) #% & - 4> 3 4#%( %9                      B     --(2#% %9 %
     - )   <&()      @J',      ('-(>J',        EJ' (&      )J'     .20H
                        343 #(% <&()           64&     %& #'< & (&
     3 #(%4(# (#         0 #: '% % ) #%
           A         : +        #3 '( +(2 343#J% (0' &>
     '4# .     %& #'< & %(             %9 % -(#'%4%2% 3 (#           (<
!    %9    & % 4. & & - 4> 0. ' 43 #%4<4 3 4#
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     -(## -%4(# 64%9           #   **(&%2#4%+ .( #, &4 9%H
                     (% <&() %9         4#<(&) %4(#       > 4. 0.
     (#        %9 % 6        .((: 3    %, 694-9,         4#, 6 ' D2'%
!    %9    0 #: '% % ) #% #(% %4(#              #3 %9     64&
/    %& #'< & 4#'%&2-%4(#'
"          A         #3 +(2        .'( 343     #   # .+'4' (< %9
      2#34#     0 #:         --(2#%, &4 9%H
;                        '
           A         #3 +(2        .'( & >4 6 3 %9 %         --(2#%
     32&4#     %9    & . > #% * &4(3H
                         '
           A         #3 <(& %9 %         --(2#%, +(2 343#J% '
      #+    >43 #-       (<    #+ * +) #%' -()4#          4# <&()
!    & % 4. & %9 % 6 '             ''(-4 % 3 64%9        #+ (< %9
/     **(&%2#4%+ .( #', 343 +(2H
"                        3(#J% & - .. %9 % 6          343
           A          ( 4% 6(2.3 0        -(&& -% %( ' +,
;    6(2.3#J% 4%, %9 %, %( %9               0 '% (< +(2&
     :#(6. 3        , #(%       '4# .    (#    (< %9     %& #'< &'
     <&()           %(         2#34#    694-9 6 ' ) 3        4#
     -(## -%4(# 64%9 %9               **(&%2#4%+ .( #' 6 ' <&()
     )(# +       # & % 3 0+ %9          4#% #3 3 & % 4. &
     & - 4> 0. 'H
!                        3(#J% :#(6 %9 % +(2 - # ' + %9 %
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                       '       &() %9 %         3%     --(2#% 4#%(
     %9     B       --(2#%
           A          ( +(2 3(#J% :#(6 69 %9 & 4# < -%
!    %9('      * +) #%' 6 &         4#> '%) #%' 0+        -(&# 4#           ,
/    3( +(2H
"                      3(#J% :#(6 9(6 )2-9 (< 4% 6 ',                  #3
     9 > #J% 3(#          %9    # .+'4' 4< %9 + 6 & , 9(6 .(#
;    6 &    %9 + %9 & , 69 % (%9 & %& #' -%4(#' 6 &                        4#
     %9 %      --(2#% 0 '43 ' %9           %& #'< &' %(           , 69 %
     (%9 & <2#3' 6 &           4# %9        3%       --(2#% (%9 &
     %9 # <&()        B
           A         (, 64%9 & '* -% %( %9             %& #'< &, %9 %
      **&(E4) % .+ K              )4..4(# %& #'< & <&()             3%
!    694-9 4' -(## -% 3 %(             -(&#,     &    +(2    0.    %(
/    % '%4<+ 69 %9 &           #+        #+ *(&%4(# (< %9 % 6 '
"    .    4%4) %     %& #'< & %(            H
                       9 > #J% 0       #    0.   %( 3( 6(&: %(
;    %( % '%4<+ %9 %           #+ %& #' -%4(# 6 ' .           4%4) %
      #.+ %& #' -%4(#' 64%9 .               4%4) %       #%4%4 '
           A          9 # +(2 ' + +(2 9 > #J% 0              #    0.      %(
     3( %9      6(&:, 4' %9 % 0 - 2'             +(2J&    )4''4#       '()
     3(-2) #%' %9 % +(2 6(2.3 #                 3 %( 0      0.    %( ) :
     %9 % 3 % &)4# %4(#H
!                     9 % 6(2.3 0        * &% (< 4%
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           A         #3 %9 +J&       0 #: '% % ) #%', &4 9%H
                      '
           A         #3 +(2      .'( 9 >       0 #:    --(2#% '2**(&%
!    <(&       3%     4F, &4 9%H
/                    .'( 9 >      0 #:     --(2#% '2**(&% <(&
"        3%    H
           A         9 %J' 69 %J' .4'% 3             % %9    %(* (< %9
;    *
                     9 %J' 69 % %9              + ', %9 %J' 69 %
     %9    3 '-&4*%4(# 4'
           A         ( +(2 343 9 >             3%      4F 3(-2) #%'
      > 4. 0.       <(& +(2 %( & >4 6, &4 9%H
                      3(#J% & - .. 4<               4% 3( '#J% ' +
!        3(#J% & - .. 69 % 0 #:            --(2#% '* -4<4- ..+ (&
/    4< %94' 4' )(&           %9 # (#     0 #:      --(2#%        3(#J%
"    & - ..
           A         : +        2% '4%%4#       9 &    %(3 +, +(2
;    - #J% % .. )         69 %9 & %9       K        )4..4(#       %9 %
     %9    %& #'< &' <&()           3%     4# -(## -%4(# 64%9
      -(&#, 69 %9 & %9('            6 &    .    4%4) %      %& #'< &'
     (& #(%, &4 9%H
                      - ##(%
           A        #3 64%9 & '* -% %( %9 % K                  )4..4(#,
!    +(2 343 #(       # .+'4' %( 3 % &)4#             69 %9 & 4% 6 '
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     .   4%4) % , 343 +(2H
                                  ?      $    0D -%4(#              ': 3      #3
            #'6 & 3
!                         )   #, 6       343#J% 3(          #   # .+'4' %(
/    3 % &)4#        4<       #+ %& #' -%4(# 6 ' .                  4%4) %
"     9 % 4#<(&) %4(# 6 '#J%                  > 4. 0.                   4#, 4%
     6 ' D2'%        ' .      4%4) %         #%4%4 ' 6 &            3 <4# 3, (<
;    694-9         3%      6 ' (#
           A            + %9       6 +, 3( +(2 2#3 &'% #3 %9 %
     %9 &      - )         *(4#% 4# %4)            69 #      4#      &92% ) 3
     * +) #%' (2% (< %9                 ' . ' (< 4%' &              .    '% %    %(
     * + 0 -:        )(2#%' %9 % 4% 9 3 & - 4> 3 <&()
     <&() 4#> '%(&'H                  43 +(2 2#3 &'% #3 %9 %H
!                       + & -(.. -%4(# 4' %9 %,
/    *('%      -=24'4%4(#, %9 % %9 &                   6 &      ' . ' (<
"    - &% 4#        '' %', 4#-.234#               &    .    '% %             9 %J'
      ..       & - ..              3(#J% :#(6 69 % %9                *&(-      3'
;    6 &    2' 3 <(&, (#.+ &                 34#      '()    34'-2''4(#,
     0 .4 >        4#      3 *('4%4(#,            0(2% %9               %9    )(#4 '
     %9 % 6 &        * 43 ) 3                %9       )(2#% * 43          #3 %9
     )(#4 ' %9 % 6 &               ) 3    (# ' . ' (< %9                 '' %'
           A            ( +(2 :#(6 4<             #+ (< %9          *&(-      3' (<
     %9('      &    .     '% %        ' . ' 6 &        ' #% 0 -: %(              H
!                       < %9 + 6 &           ' #% %(            H
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     3()4#4(#       #3 -(#%&(. 6 ' 64%9 %9                  -(.. % & .
          #%   '        6 ' 64%9        I     #:      ' -(.. % & .          #%
     <(& %9     0 # <4% (< %9              ' -2& 3 * &%4 '
!         A         : +             ( 3( '    I       #: 9 >      '(.
/    3()4#4(#       #3 -(#%&(., (& 3(              .. %9&         (< %9('
"    * &%4 ' 9 >        '(.         3()4#4(#      #3 -(#%&(.H
                    I       #:,      ' 4' &       3 9 &
;         A             % )         ': +(2 %( %2&# %( %9            *
      #34#     64%9
                     J) '(&&+, 69 % *                 H
          A                 H


                                ?      $      -%4(#          ! (# 4%H
!                                5     $      '
/                               ?      $     9 #: +(2
"                   5       $
          A          ( 3( +(2 '             69 &          -%4(#      !
;    '% &%' 4# %9           )433.      (< *       H
                        '
          A          #3 - # +(2 &            3 %9      . '% ' #% #-        (<
       -%4(#         ! 4# %9          <4&'% * &        & *9H
                    M ( <2#3' '9 .. 0              %& #'< && 3 <&()
     %9     (.. -%4(#           --(2#%      E- *% 4#        --(&3 #-     64%9
!    %94'      -%4(#            !      (%64%9'% #34#           #+ (%9 &
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           A              # +(2 % .. )          69 % %9      0(E M &4) &+
      .4 #%      #<(&) %4(#M )               #'H
                                  ?      $     0D -%4(#        (2#3 %4(#
!                         3( #(% :#(6 69 %                    #: 4#% #3 3
/    4% %( )        #
"          A            #3    .'( 4# %94' 0(E 4% .4'%'
      **(&%2#4%+            4# #- ,                 % 3( ' #(% .4'%
;     **(&%2#4%+            4# #-         -2&4%4F %4(#, &4 9%H
                        ( ' #(%
           A            #3    **(&%2#4%+           4# #- ,       6 ' %9
     ' &>4- & (# %94' .( #, &4 9%H
                          '
           A            #3        %94#:,     ' +(2 % '%4<4 3,         I      #:
!    9 3       * &< -% 3 ' -2&4%+ 4#% & '% 4# %9
/    -(.. -%4(#           --(2#%, &4 9%H
"                       9         )+ 2#3 &'% #34#         4' %9     (6# &
     9 ' %9     * &< -% 3 ' -2&4%+ 4#% & '% 4#                      - '9
;     --(2#%
           A              % )         ': +(2 %( %2&# %( * &         & *9
     ""
                          &   & *9 ""H          # )+ & *(&%, -(&& -%H
           A            # +(2& & *(&%
                        ( +(2 '          4# %9      ' -(#3 ' #% #-        +(2
!    ' + %9 %, M **(&%2#4%+                   4# #-    '20'% #%4> .+
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     <(&    (&&(64#           '     2&*.2' ' 4# %9        (#%9.+
       )4%% #-          *(&%' %(% . ; ,!;/              ,M &4 9%H
                      '
!          A        #3 %9         )(#%9.+ & )4%% #-       & *(&%'        &
/    #(% %9 )' .> ' %9             64&   %& #'< & & =2 '%',
"    &4 9%H
                    9 +       &    #(%
;          A        (, 4# %94' - ' , %9            64&    %& #'< &
     & =2 '%' %9 % 6 &             ' #% %(            #: 6(2.3 9 >
     34& -% 3 * +) #%' (<             0(2% K ; /" )4..4(#,
     &4 9%H
                      '
           A        #3 %9 % 34<< &' <&() %9              K; ,!; ,
!    0+    .)('% K      )4..4(#, &4 9%H
/                     '
"          A        ( +(2 -(#'43 & %9 % %( 0                #
     4)) % &4 . 34<< & #- H
;                     '
           A        (     * &- #% 4#          . #34#      && #     ) #%
     4' 4)) % &4 .H
                      * #3'          )   #, <(& (2& *2&*(' ', 6
     343#J% '* #3         .(% (< %4)         %&+4#    %( 43 #%4<+
     %9    34<< & #-
!          A        (6, %9        )(#%9.+ & )4%% #-         & *(&%',
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     %9('     9 >    - .-2. %4(#' (< )(# + %9 % ) + 0
     (6 3     #3 <     ' %( > &4(2' * &%4 ' %( %9                    ,
     &4 9%H
!                      '
/         A           #3 %9('      - .-2. %4(#' +(2 ' 43 6 &
"    *&4) &4.+ * &<(&) 3 0+               **(&%2#4%+      4# #- 7 4'
     %9 % &4 9%H
;                      '
          A           #3 %9 + - .-2. %          69 % )4 9% 0
     0(&&(64#        0 '   '2&*.2' %( 0         * 43 %(      **(&%2#4%+
      4# #-          -2&4%4F %4(#H
                       '
          A           ( %9     *2&*('      (< %9('     )(#%9.+
!    & )4%% #-        & *(&%' 4' %( ' % <(&%9 9(6 )2-9
/    -(2.3 0        (6 3 %(       -9 * &%+H
"                     9 %J' (#       (< %9     *2&*(' ', + '
          A           #3 4# %94' - ' , %9             )(2#% %9 % 6 '
;     -%2 ..+ 34'%&402% 3 %( %9                * &%4 ' 343 #(%
     ) %-9 %9         )(2#% %9 % 6 ' ' % <(&%9 4# %9
     )(#%9.+ & )4%% #-            & *(&%', &4 9%H
                      (2J&     % .:4#       0(2% 4# %94' - '         %9
      ; )4..4(# > &'2' %9             ;    )4..4(#H
          A           4 9%
!                      ', %9 %J' -(&& -%
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           A         #3 4# <((%#(%         ;", +(2 ' +, M ' (<
     %9    & *(&% 3 % , 3(-2) #% %4(# 9 ' #(% 0                   #
     43 #%4<4 3 %(         E*. 4# %94' 34<< & #- ,M &4 9%H
!                     '
/          A         43 +(2      > & 3 % &)4#        69 %9 &      I      #:
"    9 3    > & 3 #4 3 6&4%% # -(#' #% <(&                #+
     %& #'< &' %9 % 6 &           & =2 '% 3 64%9 & '* -% %(
;    0(&&(64#       0 '    '2&*.2' 'H
                      3(#J% & - ..
           A         43 +(2      > & 3 % &)4#        4<   I     #: 9 3
     & - .-2. % 3         #+ (< %9       )(2#%' & =2 '% 3 0+
      **(&%2#4%+       4# #-        #3 %9 # * 43 (2% %9
      )(2#%' %9 % 4% 9 3 - .-2. % 3H
!                     3(#J% & - ..
/          A         (2    .'( <(2#3 %9 %                 #:    #3
"     (+ . 6 &       * 43 )(&       %9 # %9     & )4%% #-       & *(&%'
     4#34- % 3, &4 9%H
;                     '
           A         #3 +(2 -(2.3#J%          E*. 4# 69+ %9 %
     9 ** # 3       4%9 &, &4 9%H
                     (&& -%
           A         43 +(2      > & 3 % &)4#        4<   I     #:
     & - .-2. % 3 %9           )(2#%' %9 % 6 &          4# %9
!    )(#%9.+ & )4%% #-           & *(&%'H
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                       3(#J% & - ..
           A          ' %9           #%, 343    I     #: 9 >     %9
      2%9(&4%+ %( & - .-2. %                )(2#%'       #3 3 % &)4#
!    69 % %9        -(&& -%        )(2#% 6 ' <(& %9        )(#%9.+
/    * +) #%'H
"                     I     #: 9 3 %(       **&(>     %9    %& #'< &'
      ( %( %9         E% #% %9 % %9 + 34'            &    3 64%9 %9
;     )(2#%, 69 %9 & %9 + & - .-2. % 3 (& 9 3 4%
     & - .-2. % 3,             3(#J% :#(6, 02% %9 + - &% 4#.+
     6(2.3 9 >        9 3 %9         04.4%+ %( 9 >        4%
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                                                                                 Page 1
 1
 2              UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF MINNESOTA
 3                        No. 08-45257
      -----------------------------------------------x
 4    IN RE: PETTERS COMPANY, INC., et al.
                             Debtors.
 5    (Includes:                         Court File Nos.
      Petters Group Worldwide, LLC;        08-45258 (KHS)
 6    PC Funding, LLC;                     08-45326 (KHS)
      Thousand Lakes, LLC;                 08-45327 (KHS)
 7    SPF Funding, LLC;                    08-45328 (KHS)
      PL Ltd., Inc.;                       08-45329 (KHS)
 8    Edge One LLC;                        08-45330 (KHS)
      MGC Finance, Inc.;                   08-45331 (KHS)
 9    PAC Funding, LLC;                    08-45371 (KHS)
      Palm Beach Finance Holdings, Inc.) 08-45392 (KSH)
10    DOUGLAS A. KELLEY, in his capacity as the
      Trustee of the PCI Liquidating Trust,
11                           Plaintiff,
            v.
12    OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
      SECURITIZATION, LLC; OPPORTUNITY FINANCE
13    SECURITIZATION II, LLC; OPPORTUNITY FINANCE
      SECURITIZATION III, LC; INTERNATIONAL INVESTMENT
14    OPPORTUNITIES, LLC; SABES FAMILY FOUNDATION; SABES
      MINNESOTA LIMITED PARTNERSHIP; ROBERT W. SABES;
15    JANET F. SABES; JON R. SABES; STEVEN SABES;
      DEUTSCHE ZENTRALGENOSSENSCHAFTBANK AG; AND THE
16    MINNEAPOLIS FOUNDATION,
                             Defendants.
17    -----------------------------------------------x
18         VIDEOTAPED DEPOSITION OF NANCY O’CONNOR
19                         Volume I
20             New York, New York
21             Wednesday, October 17, 2018
22
23    Reported by:
24    Amy A. Rivera, CSR, RPR, CLR
25    JOB NO. 148373
                           TSG Reporting - Worldwide   877-702-9580
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                                                                                Page 69
 1                                  NANCY O'CONNOR
 2            A.        No.
 3            Q.        What was the collateral underlying DZ
 4    Bank's loan in these transactions?
 5                      MR. HAVELES:             Objection.
 6            Mischaracterizes the document.
 7            Q.        I'm asking generally, what was the
 8    collateral that under -- that was underlying DZ
 9    Bank's loan?
10                      MR. HAVELES:             Objection.
11            Mischaracterizes the document.
12                      Alex, if you want me to explain it, I
13            will, but otherwise, I'm limited to just
14            objecting.
15                      MR. TSCHUMI:             Sure, you can explain
16            it.
17                      MR. HAVELES:             The document
18            specifically says the lender here is
19            Autobahn Funding Company, not DZ Bank.
20            Q.        What was the relationship between
21    Autobahn and DZ Bank?
22            A.        Autobahn was the commercial paper
23    issuer.        DZ Bank had an administrative agreement
24    in place to manage it.
25            Q.        Did Autobahn have separate employees

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                                                                                Page 70
 1                                  NANCY O'CONNOR
 2    from DZ Bank?
 3            A.       Not to my -- not to my knowledge.
 4            Q.       Did Autobahn have a credit group?
 5            A.       Yes.
 6            Q.       That being the same credit group as DZ
 7    Bank?
 8            A.       The business unit.
 9            Q.       Of DZ Bank?
10            A.       Yes.
11            Q.       Though not reflected in this diagram,
12    do you recall whether the eventual structure of
13    the diagram -- of the transaction incorporated a
14    special purpose entity?
15            A.       I -- I don't recall.
16            Q.       Do you recall whether a special
17    purpose entity owned by PCI in the name of "PC
18    Funding" would make payments to sellers to
19    purchase goods?
20            A.       I don't recall.
21            Q.       Do you see where it's marked "8," it
22    says:     "The retailer pays on the account
23    receivable directly to the financing source,"
24    correct?
25            A.       Correct.

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                                                                               Page 125
 1                                  NANCY O'CONNOR
 2            Q.       As a credit officer reviewing this
 3    document and having a history of reading credit
 4    applications, does that represent the material
 5    omission?
 6                     MR. HAVELES:              In what document now are
 7            you asking is it a material omission?
 8                     Are you speaking in the abstract or
 9            are you speaking about something in
10            particular?
11            Q.       Did certain DZ Bank employees' failure
12    to mention that funds were not flowing as intended
13    under the transaction structure of the deal, did
14    that constitute a material omission in the
15    December 12, 2002 credit application?
16            A.       In my personal opinion, yes.
17            Q.       And why is that?
18            A.       Because you wanted to be sure that the
19    client is adhering to the documentation as it was
20    signed by them and relied upon by the bank.
21            Q.       And why is it important to know that
22    the client is adhering to the intended structure
23    and documentation of the deal?
24            A.       Because part of what they did in the
25    asset securitization group was structure the

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                                                                                 Page 1
1                                CONFIDENTIAL
2             UNITED STATES BANKRUPTCY COURT
                    DISTRICT OF MINNESOTA
3                        No. 08-45257
     -----------------------------------------------x
4    IN RE: PETTERS COMPANY, INC., et al.
                            Debtors.
5    (Includes:                         Court File Nos.
     Petters Group Worldwide, LLC;        08-45258 (KHS)
6    PC Funding, LLC;                     08-45326 (KHS)
     Thousand Lakes, LLC;                 08-45327 (KHS)
7    SPF Funding, LLC;                    08-45328 (KHS)
     PL Ltd., Inc.;                       08-45329 (KHS)
8    Edge One LLC;                        08-45330 (KHS)
     MGC Finance, Inc.;                   08-45331 (KHS)
9    PAC Funding, LLC;                    08-45371 (KHS)
     Palm Beach Finance Holdings, Inc.) 08-45392 (KSH)
10   DOUGLAS A. KELLEY, in his capacity as the
     Trustee of the PCI Liquidating Trust,
11                          Plaintiff,
           v.
12   OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
     SECURITIZATION, LLC; OPPORTUNITY FINANCE
13   SECURITIZATION II, LLC; OPPORTUNITY FINANCE
     SECURITIZATION III, LC; INTERNATIONAL INVESTMENT
14   OPPORTUNITIES, LLC; SABES FAMILY FOUNDATION; SABES
     MINNESOTA LIMITED PARTNERSHIP; ROBERT W. SABES;
15   JANET F. SABES; JON R. SABES; STEVEN SABES;
     DEUTSCHE ZENTRALGENOSSENSCHAFTBANK AG; AND THE
16   MINNEAPOLIS FOUNDATION,
                            Defendants.
17   -----------------------------------------------x
18         VIDEOTAPED DEPOSITION OF PATRICK PREECE
19             New York, New York
20             Thursday, October 18, 2018
21
22
23
24   Reported by: Amy A. Rivera, CSR, RPR, CLR
25   Job No: 148374


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                                                                                Page 48
1                    PATRICK PREECE - CONFIDENTIAL
2            Q.       And were a number of those trade
3    receivables based?
4            A.       There were a couple of trade
5    receivables, I believe.
6            Q.       Okay.     Were a number of -- and if I'm
7    asking about the same thing, let me know, but
8    were -- well, let me ask it this way:                 Did -- did
9    ASG also provide financing to transactions
10   involving the purchase and sale of goods?
11           A.      I believe they did.
12           Q.      Okay.      Do you remember how often that
13   kind of transaction was financed?
14           A.      I don't.
15           Q.      I want to talk a little bit just about
16   how ASG made money for DZ Bank.
17                   When ASG provided financing to a
18   borrower, how did ASG or how did DZ Bank earn
19   revenue on that financing?
20           A.      Can you say it a different way?
21           Q.      Sure.
22                   Let's say ASG provided, say, a
23   revolving credit line to a borrower.                Were there
24   fees that were paid to DZ Bank in connection with
25   providing that revolving credit line?


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1                    PATRICK PREECE - CONFIDENTIAL
2            A.      There were.
3            Q.      Okay.      What -- what sort of -- I
4    know -- was there an up-front fee?
5            A.      It depended on the transaction.
6    Sometimes there was an up-front fee.                Sometimes it
7    was just a program fee.
8            Q.      Okay.      What's the difference between
9    those two?
10           A.      A up-front fee is paid up front, and a
11   program fee would be paid on a monthly, quarterly,
12   biannually basis, depending on how much you use
13   the -- the facility that was put in place.
14           Q.      Are there any other fees that ASG
15   would charge to the borrower that you can think
16   of?
17           A.      Amendment fees, nonuse fees.
18                   I can't recall anything else.
19           Q.      Was -- did ASG earn interest from the
20   borrower on drawdowns from revolving credit lines?
21           A.      They earned a program fee that could
22   be akin to an -- to interest.
23           Q.      Okay.      And how does a program fee
24   work?
25           A.      If you're being charged commercial


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1                    PATRICK PREECE - CONFIDENTIAL
2    paper plus 300 basis points on a transaction,
3    whatever the commercial paper rate is, that's
4    passed through to the commercial paper investors,
5    and the program fee of 300 basis points is
6    multiplied by the outstanding loan balance, and
7    it's then adjusted for whether it's a one-month
8    period or an annual period or a one-week period,
9    and it's calculated that way, and that's the cost
10   of -- that's the cost of the -- to the customer.
11           Q.      And it varied between -- it varied
12   from transaction to transaction as to whether a
13   program fee might be charged, or were they charged
14   on all transactions?
15           A.      We charged a program fee on
16   everything.
17           Q.      Okay.      Any other revenue sources that
18   you can think of that ASG would earn in connection
19   with providing financing to a borrower?
20           A.      Not off the top of my head.
21           Q.      Where did you go when you left -- let
22   me ask it this way:          Did you -- did you leave DZ
23   Bank in connection with the fact that you had had
24   to bring arbitration against them?
25           A.      I did.


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1                    PATRICK PREECE - CONFIDENTIAL
2    goods are purchased as is, or was it referring to
3    the notion that goods were never broken over the
4    course of the transactions?
5             A.      I -- I couldn't tell you.             I don't
6    recall.
7             Q.      Assuming that dilution refers
8    specifically to breakage of goods, would you find
9    it unusual that across $600 million of goods
10   transactions there would never be a single
11   instance of breakage?
12                    MR. HERSCHLEIN:         Object to --
13                    MR. CHIACHETTI:         Objection.
14           Mischaracterizes.           Speculation.
15                    MR. HERSCHLEIN:         Object to form.
16                    MR. WALDMAN:        I'm talking about the
17           document.
18           A.       Based on the way this is written, it
19   is my assumption not that there wasn't any
20   breakage, but that the clients would have bought
21   it at a deep enough discount that it would have
22   been built in.        It would have been on an as-is
23   basis.
24                    That would have been my assumption
25   based on reading this.


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                                                                               Page 187
1                    PATRICK PREECE - CONFIDENTIAL
2            Q.       Okay.     What's the source of your
3    saying that that would be your assumption?
4            A.       Because there's always some dilution.
5    There's always -- on 600 million, there would
6    always be at least -- there would always be at
7    least some breakage of goods, but there would
8    never be any dilution in the receivable.                  The
9    receivable itself would be paid in full based on
10   the contractual terms of whatever they were.
11                   So that's why my assumption is it was
12   on an as-is -- purchased on an as-is basis at a
13   deep discount.
14           Q.      Do you -- on a -- do you have a sense
15   of, say, across $600 million worth of -- or let me
16   ask it this way:          Do you have a sense of what
17   percentage of goods across, say, a -- what
18   percentage of goods in a typical purchase and sale
19   transaction might be subject to dilution --
20   subject to -- sorry -- let me ask it this way:
21   Subject to the kind of breakage that you're
22   talking about?
23                   MR. HERSCHLEIN:         Object to form.
24                   MR. CHIACHETTI:         Objection.      Lack of
25           foundation.        Speculation.


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                                                                               Page 247
1                    PATRICK PREECE - CONFIDENTIAL
2            A.       I don't understand your question.
3            Q.       Let me ask it this way:           The -- the
4    paragraph indicates that the five-year facility is
5    provided by Autobahn, right?
6            A.       Correct.
7            Q.      Okay.      Before Autobahn could provide
8    that facility, Autobahn, presumably, needed
9    approval, right?
10           A.      Correct.
11           Q.      Okay.      And that approval would come
12   from DZ Bank's board -- ultimate approval would
13   come from DZ Bank's board located in Germany?
14           A.      Correct.
15           Q.      That's my question.
16                   In general, do you know whether
17   Autobahn was able to extend the credit lines
18   without getting approval from DZ Bank?
19                   MR. CHIACHETTI:         Objection.
20           Speculation.
21           A.      I don't know if it's ever happened.
22   That wasn't the process.
23           Q.      As far as you know, it's never
24   happened?
25           A.      As far as I know.


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 1                          UNITED STATES DISTRICT COURT
                                DISTRICT OF MINNESOTA
 2
        -----------------------------------------------------------
 3                                        )
         UNITED STATES OF AMERICA,        ) File No. 08 CR 364
 4                                        )           (RHK/JJK)
                 Plaintiff,               )
 5                                        )
         vs.                              ) Saint Paul, Minnesota
 6                                        ) November 12, 2009
         THOMAS JOSEPH PETTERS,           ) 9:00 a.m.
 7                                        )
                 Defendant.               )
 8                                        )
        -----------------------------------------------------------
 9
                BEFORE THE HONORABLE RICHARD H. KYLE and a Jury
10                     UNITED STATES DISTRICT COURT JUDGE
                            (JURY TRIAL - VOLUME XI)
11
        APPEARANCES
12       For the Plaintiff:              UNITED STATES ATTORNEY
                                         JOHN R. MARTI, AUSA
13                                       JOSEPH T. DIXON, III, AUSA
                                         TIMOTHY C. RANK, AUSA
14                                       300 South Fourth Street
                                         Suite 600
15                                       Minneapolis, Minnesota 55415

16        For the Defendant:             FELHABER LARSON FENLON & VOGT PA
                                         JON M. HOPEMAN, ESQ.
17                                       ERIC J. RIENSCHE, ESQ.
                                         220 South Sixth Street
18                                       Suite 2200
                                         Minneapolis, Minnesota
19                                       55402-4504

20                                       ENGH LAW OFFICE
                                         PAUL C. ENGH, ESQ.
21                                       220 South Sixth Street
                                         Suite 215
22                                       Minneapolis, Minnesota        55402

23

24

25



                            CARLA R. BEBAULT, CRR, FCRR
                                 (651) 848-1220
Case
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 1                   And we'll start your testimony by asking you to

 2      give us your full name and if you would spell your last

 3      name.

 4                   THE WITNESS:     Patrick Francis Preece.        P as in

 5      Patrick, R-E-E-C-E.

 6                   THE COURT:     Mr. Dixon, you may proceed.

 7                              DIRECT EXAMINATION

 8      BY MR. DIXON:

 9      Q.   Good morning, Mr. Preece.

10      A.   Good morning.

11      Q.   And if you would speak into the microphone, we have a

12      court reporter over there.

13      A.   Okay.

14      Q.   Mr. Preece, where do you live?

15      A.   I live in Greenwich, Connecticut.

16      Q.   And where do you work?

17      A.   At DZ Bank.

18      Q.   And, sir, what is DZ Bank?

19      A.   DZ Bank is Deutsche Zentral-Genossenschaftsbank.

20      Q.   I think you're going to have to slow down and spell that

21      for our court reporter.

22      A.   I actually couldn't spell that for you.            I'll give you a

23      business card.      It's a German cooperative which means it's a

24      central bank for the German Cooperative Sector, which means

25      it's owned by 1230 other German banks.



                             CARLA R. BEBAULT, RPR, FCRR
                                  (651) 848-1220
Case
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 1      Q.   Okay.    And they have an American subsidiary; is that

 2      right?

 3      A.   It is.    And that's why it goes by DZ Bank.           It's much

 4      more simple.

 5      Q.   And what do you do for a living?

 6      A.   I am the head of the conduit, the commercial paper

 7      conduit at DZ Bank.

 8      Q.   How long have you worked for DZ Bank?

 9      A.   Since April 1st, 2000.

10      Q.   And at some point in approximately 2001, did you begin

11      looking at a partnership opportunity investing in Petters

12      Company, Inc.?

13      A.   It was actually a financing through Opportunity Finance,

14      which was then financing Petters, Incorporated.

15      Q.   So as I understand it, DZ Bank was going to invest in

16      Opportunity Finance, which in turn invested in Petters

17      Company, Inc.?

18      A.   Yes, sir.     But you say "financing" and we were actually

19      providing financing to.        We weren't actually investing in

20      the company, but providing financing to Opportunity Finance,

21      which would in turn finance Petters.

22      Q.   And what do you mean by the distinction there?

23      A.   One is you actually make an investment in a company.

24      The other is you actually finance the assets.              One is debt

25      and one is equity.



                             CARLA R. BEBAULT, RPR, FCRR
                                  (651) 848-1220
Case
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 1      Q.   And you were providing debt?

 2      A.   Debt.

 3      Q.   And did you at some point in late 2001 travel to Petters

 4      Company, Inc., in Minnesota?

 5      A.   Yes, as part of our due diligence on the transaction we

 6      met with both Opportunity Finance and then went over to

 7      Petters Company.

 8      Q.   And who, if you recall, did you meet with at Petters

 9      Company, Inc.?

10      A.   The only person I remember at this point meeting is Tom

11      Petters.

12      Q.   Were there other people there?

13      A.   I am sure there were other people there.             I don't

14      remember.     The gentleman that did most of the talking was

15      Tom Petters.

16      Q.   And what do you recall the description of the investment

17      of Opportunity Finance in Petters Company, Inc., what was

18      the business?

19      A.   Again, it was the financing of a business, not the

20      investment.     But what they were doing was -- my

21      understanding of what they were doing, is that they would

22      purchase very large volumes of goods from distributors of

23      Sony, Mont Blanc, whatever it was, and then they would,

24      because of the buying discount, be able to divert the goods

25      to a Costco, Sam's, Wal-Mart, and make a profit by doing



                             CARLA R. BEBAULT, RPR, FCRR
                                  (651) 848-1220
Case
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 1      that.

 2      Q.   And do you recall sort of specific recitation of

 3      retailers they had relationships with?

 4      A.   Yes.    Boscov's, BJ's, Costco.        It was the large discount

 5      warehouse entities.

 6      Q.   And so Mr. Petters was telling you he had relationships

 7      with those retailers?

 8      A.   Absolutely.

 9      Q.   And do you remember who the suppliers of these goods

10      were to Petters Company, Inc.?

11      A.   There was a company called Enchanted.            I can't remember

12      the other one.      I can't remember it.

13      Q.   Does the word NIR or Nationwide --

14      A.   Nationwide was the other one.

15      Q.   And did you -- do you do these kinds of financings often

16      in your business?

17      A.   We do not do necessarily diverted goods financings in

18      our business, but we do a multitude of different commercial

19      paper programs for different companies.

20      Q.   And when you finance the purchase and sale of goods, do

21      you typically do due diligence on the goods?

22      A.   Absolutely.
             Absolutely .

23      Q.   And what do you mean by "due diligence"?

24      A.   What we tend to do is we tend to check the purchase

25      orders.     Sometimes we actually contact the retailers.             We



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 1      check the warehouses to make sure that the goods are there

 2      and our attorneys were able to step on the goods and make

 3      sure that they exist.

 4      Q.   Now, when you first were dealing with Petters Company,

 5      Inc., were you allowed to step on the goods?

 6      A.   No, we were not.

 7      Q.   Did you decide to go forward with the financing

 8      nevertheless?

 9      A.   What we were able to do, the transaction that was

10      presented to us had an insurance wrap by a company called

11      Royal & Son Alliance,
                    Alliance, a large insurance company, that would

12      take any of that risk.        So to me that was then their

13      position to get comfortable or not get comfortable with

14      whether they could look at the goods or not.

15      Q.   And so you decided to go forward with the financing?

16      A.   Yes.

17      Q.   I'm going to ask you if you know the name Deanna Munson?

18      A.   I've met Deanna once before, yes.

19      Q.   Do you know who she was or what she did?

20      A.   I know she was high up within Petters.            I'm not exactly

21      sure what she did.

22      Q.   And what about Bob White?         Do you know the name Bob

23      White?

24      A.   I met the Bob White once.         I'm not sure what he did

25      either.



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 1      Q.   Now, at some point what kind of financing did you or did

 2      Opportunity Finance, with your assistance, provide Petters

 3      Company, Inc.?

 4      A.   What we provided Opportunity Finance with was a trade

 5      receivable revolving credit facility where as long as they

 6      had eligible assets, we would finance it.             What then

 7      Opportunity Finance was supposed to be doing is then

 8      purchasing receivables from Petters Company that were

 9      receivables from the warehouse lines.            I'm sorry, the big

10      warehouse companies.

11      Q.   The retailers?

12      A.   The retailers, the Boscov's, the BJ's, people of that

13      nature.

14      Q.   How big was the credit facility you, DZ Bank, provided

15      to Opportunity Finance?

16      A.   $100 million.

17      Q.   And that went forward in 2002?

18      A.   2002, yes.

19      Q.   Now, at some point was there an issue where the

20      insurance essentially went away?

21      A.   The -- there was a trigger.         A trigger meaning it can

22      stop the transaction.        There was a trigger based on the

23      rating of Royal & Son Alliance, and the rating of Royal &

24      Son Alliance started to decrease.           And so, therefore, Royal

25      & Son Alliance called the trigger on the transaction itself.



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 1      Q.   And so as a result of the problem with the insurance,

 2      did DZ Bank want to take different steps to protect itself

 3      on its financing?

 4      A.   What we had -- we had to make the decision at that point

 5      on whether we were willing to do the transaction without the

 6      insurance or not.       So that's what we were deciding at that

 7      point.

 8      Q.   If you didn't have insurance, what did you want to do?

 9      A.   If I didn't have insurance, then the risk of

10      investigating whether the goods existed or not existed was

11      then our risk.      And we wanted to be able to -- then we had

12      to revisit the whole idea of whether we could search for the

13      goods and see if they existed or not.

14      Q.   Step on the goods?

15      A.   Step on the goods.

16      Q.   And so what did you do to try to be able to step on the

17      goods?

18      A.   We, again, requested from Mr. Petters the ability to go

19      to the warehouse companies, the Enchanted, the sellers, and

20      see the goods.      We asked whether we could contact the

21      retailers and verify the receivables.            These are the things

22      that we requested.

23      Q.   Did you actually have a meeting with Mr. Petters?

24      A.   I did.

25      Q.   And tell me where was that.



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 1      A.   That meeting was in Las Vegas during the CES, the

 2      Consumer Electronics Show.

 3      Q.   This is February of 2003?

 4      A.   It would be 2003, yes.

 5      Q.   And so describe the meeting you had with him.

 6      A.   It was in his suite, and I was with John Sabes, and the

 7      three of us talked about how DZ Bank could get comfortable

 8      moving forward with financing this -- the Opportunity

 9      Finance deal without the wrap.          And --

10      Q.   You said "wrap".       You're talking the insurance?

11      A.   I'm sorry.     The insurance.      We call it a wrap.       The

12      insurance on the transaction.

13      Q.   And so you asked to step on the goods?

14      A.   I asked Mr. Petters for access to the inventory.

15      Q.   And what was his response?

16      A.   His response was that -- can I use a direct quote?

17      There's profanity in it.

18                   THE COURT:     We've heard a little of that before.

19                   THE WITNESS:     All right.     He said that GE Capital

20      had fucked up his situation before by searching warehouses,

21      and that he didn't want that to happen again.              He didn't

22      want his relations to be fucked up with the retailers.

23      BY MR. DIXON:

24      Q.   And he didn't want you to step on the goods?

25      A.   He did not want that, no.



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 1      Q.   Did he describe to you or give you an analogy as to how

 2      PCI finances worked?

 3      A.   He said that he understood that, you know, the financing

 4      was a little erratic that he had had; and he made the

 5      example of -- he said it was like the difference in

 6      infrastructure between Colorado Springs, Colorado and

 7      Denver, Colorado.       He said one had time to plan everything

 8      out and the infrastructure worked.           The other one just built

 9      roads as they built roads.         And he said unfortunately that's

10      how his financing was.        He got investor money where he could

11      get investor money, and that it was kind of screwed up right

12      now, and that he was working very seriously to try to get

13      everything straightened out.

14      Q.   So Denver had straight roads and Colorado Springs didn't

15      have straight roads?

16      A.   To tell you the truth, I don't remember.             I have never

17      been to either city.        I don't remember which one was the

18      screwed up one and which one was the right one.              Just the

19      analogy stuck with me that one was really screwed up and

20      that's how his financing was, and one was very clean.

21      Q.   Which he did not have?

22      A.   Which he did not have.        But he promised that he was

23      going to get there, and he was going to get me to a place

24      where I could see the goods and he would get me comfortable

25      with this project.



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 1      Q.   And did he ever fulfill his promise to do that?

 2      A.   No.

 3      Q.   And so what did DZ Bank do with its financing?

 4      A.   So DZ Bank -- when the wrap went away, DZ Bank went

 5      away.

 6                   MR. DIXON:     No further questions.

 7                              CROSS-EXAMINATION

 8      BY MR. ENGH:

 9      Q.   Good morning, Mr. Preece.

10      A.   Good morning.

11      Q.   Let me start at the beginning here.           You were asked by

12      the Sabes family -- I assume it was John?

13      A.   Yes.

14      Q.   To fund their entity, which was in turn funding

15      Mr. Petters; is that correct?

16      A.   Correct.

17      Q.   And what happened is, is that they were loaning money to

18      Petters for a higher rate than you were going to charge

19      them; is that correct?

20      A.   They were loaning money at a higher rate to Mr. Petters

21      than I was charging the Opportunity Finance Company, yes.

22      Q.   So there was what they call in your business a "spread"

23      involved; isn't that right?

24      A.   Absolutely.

25      Q.   And that's where the Sabeses were making their money,



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 1      provided all the deals worked out; isn't that correct?

 2      A.   Absolutely.

 3      Q.   What, if you remember, was your interest rate back in

 4      2001 when you first started here?

 5      A.   It was commercial paper plus somewhere between 250, 300

 6      basis points.

 7      Q.   Why don't you tell us all what a basis point is.

 8      A.   I'm sorry.     A hundred basis points is 1 percent.           So it

 9      would be commercial paper plus somewhere between 2 and a

10      half and 3 percent.

11      Q.   I realize it's ten years ago but do you remember what

12      commercial paper was going for in about 2001?

13      A.   Not off the top of my head, I'm sorry.

14      Q.   Can you give us an estimate?          I don't want you to guess,

15      but as best you can do it.

16      A.   It was fairly low, as I recall; 3 percent maybe.

17      Q.   Do you remember what the Sabeses were charging

18      Mr. Petters for money?

19      A.   I don't remember what the Sabeses were charging.

20      Q.   So the initial deal had security for you in the form of

21      insurance; is that right?

22      A.   Um-hum.

23                   THE COURT:     Is that a yes?

24                   THE WITNESS:     I'm sorry, yes.

25      BY MR. ENGH:



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 1      Q.   So that if something happened, at least you would be

 2      covered with the value of goods being reimbursed; is that

 3      right?

 4      A.   Yes.

 5      Q.   Which is the purpose, as we all know, of insurance;

 6      right?

 7      A.   Correct.

 8      Q.   Were you aware that the Sabeses had a pre-existing

 9      relationship with Mr. Petters and had been doing business

10      with him before then or not?

11      A.   Yes.

12      Q.   Was it John Sabes alone whom you dealt with, do you

13      remember, or was it Bob?

14      A.   Ninety-five percent of the time.           I had met all three

15      Sabeses, the father Bob, the brother Steve, and the other

16      brother John.      But primarily it was John Sabes.

17      Q.   So what happened here is that you couldn't get

18      confirmation of the goods.         You had some problems with an

19      insurance company and you backed out; is that right?

20      A.   Correct.

21      Q.   The insurance company you mentioned had a rating

22      problem?

23      A.   Correct.

24      Q.   Would that mean that there was -- well, why don't you

25      tell me what it is rather than me asking you.



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 1      A.   What a rating problem is?

 2      Q.   What was their rating problem?

 3      A.   They were, I believe, double A minus rated when we took

 4      them on; and then they had quite a few problem deals that

 5      they had to pay out on and they were in a free fall, so to

 6      speak, where they had gone down to a plus, then a single A,

 7      then A minus, and I believe it was triple B, triple B plus

 8      that gave us a problem.

 9      Q.   So you had a concern that they wouldn't be able to back

10      up a loss should a loss occur?

11      A.   Correct.     That's why you have rating triggers in the

12      transaction because if I count on an insurance wrap and the

13      insurance wrap is no longer viable, then I don't have it.

14      Q.   And at that point Deutsche Bank got out of the

15      transaction?

16      A.   Well, it's DZ Bank.

17      Q.   DZ Bank.     I didn't even want to try to pronounce it.

18      A.   It's different from Deutsche Bank.           But, yes, then we

19      got out of the transaction.

20      Q.   You were fully paid?

21      A.   Yes.

22      Q.   Sabeses made sure all was right with you; is that

23      correct?

24      A.   Yes.

25      Q.   Did you have another relationship with a hedge fund that



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 1      was run by Marlon Quan?

 2      A.   Yes, we do.

 3      Q.   When did that develop, if you remember?

 4      A.   2007.

 5      Q.   Were you aware that Marlon Quan was funding Petters

 6      receivables, as well?

 7      A.   Yes.

 8      Q.   Did you ever disclose that you were the senior lender

 9      for Marlon Quan's hedge fund?

10      A.   Disclose to who?

11      Q.   Were you required to disclose that to anyone, do you

12      remember?

13      A.   Are you talking about anybody to do with this trial?

14      Q.   Right.

15      A.   Yes, I did disclose it, I believe.

16      Q.   And to whom did you disclose it to?

17      A.   Mr. Dixon, I believe.

18      Q.   Mr. Quan ran Acorn Capital; is that right?

19      A.   Yes.

20      Q.   You -- your company, after you got out of working with

21      the Sabeses, found an attractive deal to do with Petters for

22      Polaroid, did you not?

23      A.   Correct.

24      Q.   You were interested in stepping on Polaroid goods that

25      were sold to the big-box retailers; is that right?



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 1      A.   Correct.

 2      Q.   And who was the salesman that you talked to about this

 3      Polaroid opportunity that you took on?

 4      A.   Salesman.     What do you mean by "salesman"?

 5      Q.   Did Petters pitch this deal to you for Polaroid or did

 6      someone else from his operation?

 7      A.   John Sabes was the one who came to us on the transaction

 8      from Opportunity Finance.

 9      Q.   So he was -- his hedge fund was funding Polaroid and,

10      again, you funded him so he could fund Polaroid?

11      A.   Technically I don't think his company is a hedge fund.

12      But, yes, his company was the one that approached us to fund

13      him to then, in turn, fund Petters.

14      Q.   So despite your concerns about insurance in the past,

15      you renewed your funding around 2004?

16      A.   Yes.     But if you also understand that, you know, the

17      fact that we were able to look at the goods on Polaroid was

18      the difference between the two transactions.

19      Q.   Right.    I was going to ask you about that.           You were

20      able to inspect the goods?

21      A.   Yes.

22      Q.   And that included DVD products?

23      A.   Yes.     Mr. Petters used a third party logistics company,

24      I believe out of California, that would be the one that

25      would take in all the goods from China.            And we were able to



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 1      go out there and see warehouses full of DVDs, TVs, and

 2      actually open up some of the -- some of the boxes and see

 3      the DVD players and the TVs.

 4      Q.   And your understanding is once they got to California

 5      from China, then they were shipped to the distribution

 6      centers for the various big-box retailers?

 7      A.   If you mean the distribution centers for Sam's Club?

 8      Q.   Correct.

 9      A.   Yes.

10      Q.   And he was doing business with Best Buy at this time,

11      too, right?

12      A.   Best Buy wasn't the predominant person we were told that

13      they were doing business with.

14      Q.   And you recall that the DVDs were selling for about $200

15      a pop?

16      A.   Yes, they were.

17      Q.   You were impressed with the product?

18      A.   I was.    It was difficult to get one.          Best Buy was out

19      of them all the time.

20      Q.   Sold like hot cakes?

21      A.   Exactly.

22      Q.   You also were aware that Petters was basically the -- at

23      least in your perception -- was the salesman for the

24      company; is that right?

25      A.   Salesman for Petters?



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 1      Q.   Yeah, he was the sales guy.

 2      A.   That was my understanding.

 3      Q.   And the details were left to people like Deanna Coleman,

 4      Bob White?

 5      A.   See, I don't really know who the details were left to.

 6      All I know is that it was -- the transaction -- to me,

 7      Mr. Petters was the heart and soul.           I don't know what they

 8      actually did, Deanna Munson and Bob White.

 9      Q.   Well, did you have a conversation with the FBI in

10      mid-October?      October 14th, 2009, did they interview you, do

11      you recall?

12      A.   By phone.     I'm not sure of the date.

13      Q.   Well, I represent to you that it's the 14th.

14      A.   Okay.

15      Q.   There's no dispute there.         Did you tell the FBI then

16      that you found Petters to be bright and that he knew enough

17      to cut the deal?

18      A.   Oh, I thought him to be very bright.

19      Q.   And he could close the deal, right?

20      A.   I was sure that he was a good salesman, yes.

21      Q.   But the details he left to others?

22      A.   Again, I wouldn't know.

23                   MR. ENGH:     Fair enough.     Thank you.     No further

24      questions.

25                   MR. DIXON:     Nothing further.



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                                                                                 Page 1
 1               UNITED STATES BANKRUPTCY COURT
                       DISTRICT OF MINNESOTA
 2                          No. 08-45257
     -----------------------------------------------x
 3   IN RE: PETTERS COMPANY, INC., et al.
 4                 Debtors.
 5   (Includes:                          Court File Nos.
     Petters Group Worldwide, LLC;        08-45258 (KHS)
 6   PC Funding, LLC;                     08-45326 (KHS)
     Thousand Lakes, LLC;                 08-45327 (KHS)
 7   SPF Funding, LLC;                    08-45328 (KHS)
     PL Ltd., Inc.;                       08-45329 (KHS)
 8   Edge One LLC;                        08-45330 (KHS)
     MGC Finance, Inc.;                   08-45331 (KHS)
 9   PAC Funding, LLC;                    08-45371 (KHS)
     Palm Beach Finance Holdings, Inc.) 08-45392 (KHS)
10   DOUGLAS A. KELLEY, in his capacity
     as the Trustee of the PCI Liquidating Trust,
11
                        Plaintiff,
12
          v.
13
     OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
14   SECURITIZATION, LLC; OPPORTUNITY FINANCE
     SECURITIZATION II, LLC; OPPORTUNITY FINANCE
15   SECURITIZATION III, LC; INTERNATIONAL INVESTMENT
     OPPORTUNITIES, LLC; SABES FAMILY FOUNDATION;
16   SABES MINNESOTA LIMITED PARTNERSHIP;
     ROBERT W. SABES; JANET F. SABES; JON R. SABES;
17   STEVEN SABES; DEUTSCHE ZENTRALGENOSSENSCHAFTBANK
     AG; AND THE MINNEAPOLIS FOUNDATION,
18
                        Defendants.
19
     -----------------------------------------------x
20
21             VIDEOTAPED DEPOSITION OF DEANNA COLEMAN
                       Minneapolis, Minnesota
22                  Thursday, November 15, 2018
23
24
     Reported by: Amy L. Larson, RPR
25   Job No. 150538

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 1                                           COLEMAN
 2    A.   Or purchase order, I mean.
 3    Q.   When you say at the end, this is referring to
 4         2008?
 5    A.   Yes.
 6    Q.   Prior to 2008, did that situation exist with
 7         Opportunity Finance and Mr. Sabes?
 8    A.   Well, the one with Jon Sabes about the wire,
 9         that was prior to that, but yeah,
10         otherwise --
11    Q.   I'm talking about when you -- the story you
12         just told about making up which notes were
13         being paid --
14    A.   No.
15    Q.   Okay.      What about with respect to Lancelot?
16         Did Lancelot ever know that -- did you ever
17         tell Lancelot the documents you were
18         preparing were fake?
19    A.   No.
20    Q.   Did Lancelot ever know or any representatives
21         of Lancelot ever know the documents were
22         fake?
23                             MR. TSCHUMI:              Objection;
24         speculation.
25                             THE WITNESS:              I don't know that

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 1                                           COLEMAN
 2    A.   Yes, it would be the -- the difference of
 3         what PC Funding was not providing.
 4    Q.   Okay.      And do you know what that percentage
 5         was that PC Funding was providing, do you
 6         recall, rather?
 7    A.   I don't.
 8    Q.   Okay.      And who would make the arrangements to
 9         transfer funds into the PC Funding account?
10    A.   I would.
11    Q.   And typically when did you do that?
12    A.   It would have to be done before Steve would
13         wire the funds to the vendor.
14    Q.   Okay.      So then the -- Mr. Sabes or
15         Opportunity Finance have funds wired from the
16         PC Funding account to the vendors; is that
17         correct?
18    A.   Correct.
19    Q.   And then what happened?
20    A.   Then sometimes the same day or the next day
21         the vendor would wire the money back to the
22         Petters Company, Inc.
23    Q.   A hundred percent?
24    A.   Less their commission.
25    Q.   And what was the typical commission that they

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 1                                           COLEMAN
 2         received?
 3    A.   Oh, it was like half -- I don't remember
 4         offhand.       If it was like a half percent.
 5    Q.   Okay.      And then what was the payment terms in
 6         terms of when was the money supposed to be
 7         repaid to Opportunity Finance?
 8    A.   It was on the promissory note, so most of
 9         them were 60 days, some were 90 days.
10    Q.   And for the 60 to 90 days when Opportunity --
11         when Petters Company had the money back from
12         the vendor, what did -- what did the Petters
13         Company do with that money before it repaid
14         Opportunity Finance?
15    A.   Sometimes pay another note to PC Funding, use
16         their own money to pay off another note,
17         sometimes pay other investors.
18    Q.   And did you use it for intercorporate
19         transfers as well?
20                             MR. TSCHUMI:              Objection to form.
21                             THE WITNESS:              Some of it, a little
22         bit of it.
23    BY MR. HAVELES:
24    Q.   Well, did you keep track as to how much money
25         from any investor was used for intercorporate

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 1                                           COLEMAN
 2         transfers, when you say a little bit of it?
 3                             MR. TSCHUMI:              Objection to form.
 4                             THE WITNESS:              Well, Sabes's dollar
 5         amounts was always in the millions.
 6                             MR. HAVELES:              Yes.
 7                             THE WITNESS:              And when I sent
 8         money to the other companies, usually it was
 9         less than that, quite a business less than
10         that.      So if we did use part of the money for
11         another company, it would be very little, a
12         portion of it.            Most of it went to pay other
13         investors.
14    BY MR. HAVELES:
15    Q.   And what money would you use to send money to
16         PC Funding when the 60- to 90-day period
17         expired?
18    A.   Other investors.
19    Q.   Or the PC Funding money itself, if you held
20         on to it, because you said --
21    A.   No, we didn't hold -- not when it expired.
22         We didn't hold it for 60 to 90 days.
23    Q.   Okay.      Did you use new money from PC Funding
24         to pay old money to PC Funding?
25    A.   Yes.

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 1                                           COLEMAN
 2    Q.   Is that one of his banks?
 3    A.   Yes.
 4    Q.   Okay.      Is this the -- a typical exchange that
 5         you had with Mr. Reynolds?
 6    A.   Sometimes, yeah.
 7    Q.   When you say, "Sometimes," what would
 8         occasion you to have an e-mail exchange like
 9         this with him?
10    A.   An e-mail or verbal, just telling him what
11         he's getting in.
12    Q.   It's more than telling him what to get in,
13         correct?
14                             MR. TSCHUMI:              Objection to form.
15                             THE WITNESS:              And telling him what
16         he's going to be severing.                        I guess, I'm
17         not --
18    BY MR. HAVELES:
19    Q.   Don't you always say what he's supposed to
20         wire back?
21    A.   Yes.
22    Q.   Okay.      So after he gets the money, you're
23         telling him what you respect -- expect to
24         receive back from him sometime in the next 24
25         hours?

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 1                                           COLEMAN
 2    A.   Correct.
 3    Q.   Did you ever disclose to anyone at
 4         Opportunity Finance that monies that went --
 5         that were sent to Nationwide or Enchanted by
 6         PC Funding were returned to you within 24 --
 7         returned to the Petters Company within 24
 8         hours?
 9    A.   No.
10                             MR. TSCHUMI:              Objection to form.
11    BY MR. HAVELES:
12    Q.   Do you know if anyone at the Petters Company
13         ever advised anyone at Opportunity Finance
14         about that practice?
15                             MR. TSCHUMI:              Objection to form,
16         speculation.
17                             THE WITNESS:              I don't.
18    BY MR. HAVELES:
19    Q.   Let me ask you to look at Exhibit 34.
20         Exhibit 34 is an e-mail from Debbie Lindstrom
21         to Barry Smith dated July 8, 2002, with
22         copies to Richard Menczynski and to you.                          It
23         bears the Bate numbers POF70408-001 [sic]
24         through 0002.
25                       Do you recall this e-mail exchange?

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 1                                           COLEMAN
 2         you going to mark it?                   That's all I'm asking.
 3                             MR. TSCHUMI:              Yeah, could we
 4         please mark this as Exhibit 79.
 5                             (Whereupon, Exhibit 79 was
 6                             marked for identification.)
 7    BY MR. TSCHUMI:
 8    Q.   And it's a little bit confusing because
 9         there's pagination at the very bottom, but
10         some of the pagination is also in the middle,
11         so if you could ignore the pagination at the
12         bottom, I'll try to reference to the other
13         pages that correspond with the line numbers.
14                       Would you mind turning to what is
15         page 127.
16    A.   (Complies.)
17    Q.   And the page at the bottom for that will be
18         page 11, actually.                Maybe that's the easiest
19         way.
20                       And you were asked a series of
21         questions and gave a series of answers that
22         were the following:
23                       "Tell us -- would you give us sort
24         of a ballpark of the total amount of supposed
25         business that PCI did, how much of it was

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 2         real goods as opposed to phony deals?                           You
 3         don't need to include RedTag in that, just
 4         PCI?"
 5                       You respond:              "Dollar amounts I
 6         couldn't; percentage-wise, I'd say probably
 7         at least 99 percent of the goods were all
 8         fake.
 9                       "And these were supposed PCI
10         transactions, right?
11                       "Right, 98 percent.                     I mean, there
12         was pretty much all of them were fake.                           I
13         mean there was some real deals, but
14         dollar-wise compared to what was real and
15         what was fake, it was pretty high."
16                       Did you give that testimony?
17    A.   I did.
18    Q.   And was it true and correct when you gave it?
19    A.   Yes.
20    Q.   And were the real PCI deals for substantially
21         smaller amounts than the fake deals?
22                             MR. HAVELES:              Objection; vague.
23                             THE WITNESS:              Yes.
24    BY MR. TSCHUMI:
25    Q.   So if 99 percent of the deals were fake, it's

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 2         safe to say that much less than 1 percent of
 3         PCI's purported revenue was real?
 4    A.   Probably even less than that.                              I mean, if you
 5         look at all the purchase orders and all the
 6         notes that were rolling, it was -- yeah,
 7         there was, like, very little.
 8    Q.   And when PCI did real transactions, it didn't
 9         do them with vendors like Nationwide
10         Enchanted, After the Second Millennium,
11         Universal, correct?
12    A.   Correct.
13    Q.   Sony purchase order -- or spreadsheet that
14         bears the name Nationwide, Enchanted, After
15         the Second Millennium, or Universal would
16         have reflected fake transactions, correct?
17    A.   Yes.
18    Q.   And I believe we looked at one, which was
19         Exhibit 5, if you mind pulling that out.
20    A.   (Complies.)
21    Q.   And this is a spreadsheet sent by
22         Sandy Indahl to you and Bob White.                              The
23         e-mail had subject line, "PCI Funding Audit,"
24         and it has an attached spreadsheet with a
25         list of Opportunity Finance notes.

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 2                       And do you see there's a column that
 3         says Purchased From?
 4    A.   The writing is, like, so small.
 5    Q.   Well, about two-thirds of the way --
 6    A.   I know you read it to me, but I don't
 7         remember what all you read off.
 8    Q.   Two-thirds the way across the page, it says
 9         Purchased From and then below it has in caps
10         Nationwide, Universal, Parr Group, Enchanted
11         Millennium, and I think those are all of the
12         names in the column of Purchased From.
13                       I know it's small, but can you --
14         can you see that?
15    A.   Merchandise -- I'm sorry, what did you say it
16         was?
17    Q.   So -- so it only contains a list of goods
18         purportedly purchased from Nationwide,
19         Universal, Parr Group, After the Second
20         Millennium, and Enchanted?
21    A.   I don't know what page you're looking at.
22         Can you just point it out to me?
23    Q.   I'm sorry.          Just the first page of the
24         attachment.
25    A.   Okay.      And where was it?

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 1                                           COLEMAN
 2    Q.   Two-thirds across the page there's a column
 3         that says Purchased From?
 4    A.   I see the merchandise -- okay, Purchased
 5         From, yes, yup, I see that.
 6    Q.   And then it has the list of vendors that I
 7         gave previously, correct?
 8    A.   Nation -- yes.
 9    Q.   And as you said before, those vendors did not
10         engage in real transactions with PCI,
11         correct?
12    A.   Correct.
13    Q.   So nothing on this spreadsheet of PC Funding
14         purported deals would have been real,
15         correct?
16    A.   Correct.
17    Q.   And if you look at the e-mail to which that
18         spreadsheet was attached, there's a reference
19         to audit confirmations and it says, "Is
20         Steven Sabes the person who could sign for
21         Opportunity Finance?"                   And it also says --
22         Sandy Indahl says, "I will need your
23         signature on the AR confirm and Steven's on
24         the debt confirm."
25                       This doesn't reflect that the

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 2    A.   Yes.
 3    Q.   So you were knowledgeable about its deals, or
 4         purported deals?
 5    A.   Yes.
 6    Q.   And so you would have known that PCI didn't
 7         have substantial revenue?
 8                             MR. HAVELES:              Objection;
 9         foundation.
10                             THE WITNESS:              Correct.
11                             MR. HAVELES:              Calls for
12         speculation.
13    BY MR. TSCHUMI:
14    Q.   And you would have known that PCI had massive
15         debts?
16                             MR. HAVELES:              Objection; vague.
17                             THE WITNESS:              Yes.
18    BY MR. TSCHUMI:
19    Q.   And that those debts exceeded assets -- its
20         assets at all times you were there?
21                             MR. HAVELES:              Objection;
22         foundation.
23                             THE WITNESS:              Yes.
24    BY MR. TSCHUMI:
25    Q.   In a typical PC Funding deal, PC Funding

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 2         would transfer investor money to Nationwide
 3         to pay for -- pay for purported goods to
 4         start the transaction, correct?
 5    A.   Yes.
 6    Q.   And Nationwide would send that money back to
 7         PCI's operating account as M&I Bank?
 8    A.   Yes.
 9    Q.   And that money would be used to pay other
10         investors or to pay out other PC Funding
11         deals that were maturing, correct?
12                             MR. HAVELES:              Objection; compound.
13                             THE WITNESS:              Would pay other
14         investors -- I'm not sure what you mean by
15         "PC Funding deals."
16    BY MR. TSCHUMI:
17    Q.   Well, Opportunity Finance money that
18         eventually came into PCI's general operating
19         account after hitting the vendor accounts
20         could be used to pay Opportunity Finance
21         deals, right?
22    A.   To pay their notes back, yes.                              Yes.
23    Q.   And it could be used to pay other investors
24         as well?
25    A.   Correct.

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 2    Q.   And the length of these loans was 60 to 90
 3         days you testified?
 4    A.   Yes.
 5    Q.   And over the course of that time, you would
 6         have received funding for many other deals?
 7                             MR. HAVELES:              Objection; vague, no
 8         foundation.
 9                             THE WITNESS:              From other investors
10         or for PCI, yes.
11    BY MR. TSCHUMI:
12    Q.   And you would have paid off a number of deals
13         as well?
14    A.   Yes.
15                             MR. HAVELES:              Objection; vague.
16    BY MR. TSCHUMI:
17    Q.   When PC Funding paid Opportunity Finance or
18         DZ Bank, that would have necessarily been
19         other investors money, correct?
20                             MR. HAVELES:              Objection; no
21         foundation.
22                             THE WITNESS:              Yes.
23    BY MR. TSCHUMI:
24    Q.   And it would have originated from the PCI
25         account at M&I Bank, correct?

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 2                             MR. HAVELES:              Objection; no
 3         foundation.
 4                             THE WITNESS:              Or whatever bank
 5         account PCI had, yes.
 6    BY MR. TSCHUMI:
 7    Q.   It would not be from payments received from
 8         retailers, correct?
 9    A.   No.
10    Q.   DZ Bank's counsel asked you a number of
11         questions about what are called intercompany
12         transfers.
13                       Do you recall being asked about
14         that?
15    A.   Yes.
16    Q.   And those are transfers of PCI money to other
17         companies controlled by Tom Petters?
18    A.   Yes.
19    Q.   Would you turn to the consolidation
20         transcript page 119, and I'll try to give
21         you --
22                             MR. HAVELES:              Is that the
23         transcript 119?
24                             MR. TSCHUMI:              Yes.         Transcript
25         119, which would be --

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 2         roughly the same dollar amount as the loan or
 3         a little bit higher than the loan, and then I
 4         had to make sure there was enough profit in
 5         there for the interest rate that we were
 6         paying to come up with the purchase order
 7         price from the big-box retailers.
 8    Q.   And how did you make sure that the -- that
 9         the spread was enough to cover that?
10    A.   I just figured out the -- the profit on it
11         and then the interest rate that we were
12         paying over the 60 days or 90 days to make
13         sure it covered it.
14    Q.   Did PCI tell its investors and their lenders
15         that they weren't allowed to inspect
16         inventory?
17    A.   I think Tom would use that excuse every once
18         in awhile, that they weren't allowed.                           I
19         don't think a lot of them -- a lot of them
20         didn't ask.
21    Q.   And Tom did this because there was no
22         inventory to inspect, right?
23    A.   Correct.
24    Q.   To your knowledge, did either Opportunity
25         Finance or its lender, DZ Bank, inspect

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 1                                           COLEMAN
 2         inventory on PCI deals?
 3                             MR. HAVELES:              Objection;
 4         foundation.
 5                             THE WITNESS:              No.
 6    BY MR. TSCHUMI:
 7    Q.   Because they couldn't have?
 8    A.   There was no inventory to inspect.
 9    Q.   And if investors or their lenders went to
10         visit Nationwide's warehouse, would they have
11         covered that there was a fraud?
12    A.   Yes.
13                             MR. HAVELES:              Objection;
14         foundation, speculation.
15    BY MR. TSCHUMI:
16    Q.   Why?
17    A.   A couple of the warehouses that we used had
18         absolutely nothing in them.                         They were just
19         empty warehouses.               A couple of the other
20         warehouses that we used, the addresses had
21         very little merchandise.
22    Q.   And what -- and what little merchandise they
23         had wouldn't have matched the description on
24         any purchase orders, right?
25    A.   No.

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 2    Q.   To your knowledge, did PCI tell investors and
 3         their lenders that they were not allowed to
 4         contact retailers?
 5                             MR. HAVELES:              Objection;
 6         foundation.
 7                             THE WITNESS:              Did PCI --
 8    BY MR. TSCHUMI:
 9    Q.   Well, did anyone at PCI?
10                             MR. HAVELES:              Objection;
11         foundation.
12                             THE WITNESS:              There again, I don't
13         know if Tom told them or not.                              I'm sure Tom
14         did tell them that they weren't allowed to.
15    BY MR. TSCHUMI:
16    Q.   And the only lender who contacted a retailer,
17         which was GE Capital, found out that there
18         was a fraud, correct?
19    A.   Correct.
20    Q.   To your knowledge, did anyone at PCI tell
21         investors and their lenders that retailers
22         couldn't make payments directly into the SPE
23         accounts?
24                             MR. HAVELES:              Objection;
25         foundation.

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 1                                           COLEMAN
 2    BY MR. TSCHUMI:
 3    Q.   It was not the sale price for the purported
 4         sales, correct?
 5    A.   Correct.
 6    Q.   Neither Opportunity Finance nor its lender,
 7         DZ Bank, received M&I Bank statements for the
 8         PCI operating account, correct?
 9    A.   Correct.
10    Q.   If they had seen it, would they have covered
11         that there was a fraud?
12                             MR. HAVELES:              Objection; calls for
13         speculation, foundation.
14                             THE WITNESS:              Yes.
15    BY MR. TSCHUMI:
16    Q.   And you discussed generating false wire
17         confirmations for M&I Bank?
18    A.   Yes.
19    Q.   Investors and their lenders never received
20         those directly from M&I Bank, correct?
21    A.   Correct.
22    Q.   To your knowledge, did Opportunity Finance or
23         its lender, DZ Bank, contact M&I Bank to
24         confirm the wire transfers purportedly
25         received from retailers?

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                EXPERT REPORT OF W. BAREFOOT BANKHEAD
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             Opportunity Loans. See Exhibit A for a summary of the Autobahn Loans and

             underlying commercial paper issued and rolled.

         40. DZ Bank did not provide any funding or loans to Opportunity Finance or Opportunity

             Finance Securitization during the Relevant Period.


       Opportunity Finance Securitization repaid Autobahn, not DZ Bank, $99,300,000 in
       principal for the Autobahn Loans and paid $2,391,408 for interest on the commercial
       paper, for a total of $101,691,408 in payments from the Collateral Agent Collection
       Account to the Autobahn Account.

         41. Under the terms of the RLSA, Opportunity Finance Securitization owed interest on

             the Autobahn Loans. 44 Based on my analysis, Opportunity Finance Securitization

             paid a portion of the interest on the Autobahn Loans from the Collateral Agent

             Collection Account to the Autobahn Account at U.S. Bank. 45 It is my understanding

             that these payments were to pay interest due to the underlying holders of the

             commercial paper (the “Commercial Paper Interest”). Opportunity Finance

             Securitization transferred the remaining portion of the interest on the Autobahn Loans

             from the Collateral Agent Collection Account to a DZ Bank account. 46 It is my

             understanding the transfer of that portion of the interest was in payment of the

             program fees due to DZ Bank as Agent and Collateral Agent. See Section V.C for

             additional details regarding the program fees paid to DZ Bank.




44
   RLSA, Section 1.01, Bates No. DZB004110 - D2B004145; RLSA, Section 2.05(a), Bates No. DZB004148;
RLSA, Section 2.07(a), Bates No. DZB004152; and Fee Letter, Section 4, Bates No. DZB001354.
45
   Payments were made from the Collateral Agent Collection Account through an intermediary account at U.S. Bank
(account             1827) prior to being sent to the Autobahn Account. I noted that the payments from the
Collateral Agent Collection Account to the intermediary account were higher than the amounts in the Autobahn
Account by $3,243. As of the report date, documentation has not been identified to explain this difference.
46
   Based on the Collateral Agent Collection Account, payments are made to DZ Bank account               3876. See
Section V.C for more details regarding payments from the Collateral Agent Collection Account to DZ Bank.

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           42. To quantify the monies that Opportunity Finance Securitization paid Autobahn for

               interest during the Relevant Period, I analyzed both the Collateral Agent Collection

               Account and the Autobahn Account. Throughout the Relevant Period, Opportunity

               Finance Securitization paid the Commercial Paper Interest to Autobahn on each

               commercial paper maturity date. Beginning on May 16, 2003, Opportunity Finance

               Securitization also began repaying Autobahn the principal amount of the Autobahn

               Loans, which was then used to retire the commercial paper issued. Opportunity

               Finance Securitization made its final payment to Autobahn, including principal and

               interest, on August 5, 2003.

           43. Based on my analysis, Opportunity Finance Securitization paid a total of

               $101,691,408 from the Collateral Agent Collection Account to the Autobahn Account

               during the Relevant Period. This amount consisted of $99,300,000 for the repayment

               of principal of the Autobahn Loans and $2,391,408 for Commercial Paper Interest.

               Notably, Mr. Martens agrees the total amount of payments for principal and interest

               was $101,691,408 but incorrectly stated that payment was made to a “DZ

               Bank/Autobahn” account rather than to the Autobahn Account. 47 See Exhibit B for

               details related to the commercial paper payments to the Autobahn Account.


        Opportunity Finance Securitization paid $3,360,419 in fees from the Collateral Agent
        Collection Account to DZ Bank.

           44. As discussed in Section V.B, Opportunity Finance Securitization paid the

               Commercial Paper Interest on the Autobahn Loans from the Collateral Agent

               Collection Account to the Autobahn Account for the benefit of the commercial paper



47
     The Martens Report, para. 39.

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            holders. It is my understanding that the remaining interest was transferred to DZ

            Bank for the payment of program fees for serving as Agent and Collateral Agent.

            Based on the deposition testimony of Patrick Preece (Vice President, DZ Bank), DZ

            Bank “earned a program fee that could be akin to an – to interest.” Specifically, “the

            commercial paper rate is, [sic] that’s passed through to the commercial paper

            investors, and the program fee of 300 basis points is multiplied by the outstanding

            loan balance” and paid on a monthly basis. 48 Also, under the terms of the RLSA,

            Opportunity Finance Securitization owed DZ Bank a non-use fee of 0.40 percent on

            the portion of the $100,000,000 Facility that was not used. 49

         45. To quantify the amount of program and non-use fees paid to DZ Bank during the

            Relevant Period, I analyzed both the Collateral Agent Collection Account and the

            Monthly Remittance Reports. Consistent with the RLSA and the Fee Letter,

            Opportunity Finance Securitization paid $3,234,266 in program fees and $126,153 in

            non-use fees to DZ Bank from the Collateral Agent Collection Account during the

            Relevant Period for a total of $3,360,419. See Exhibit C for details related to the fee

            payments made to DZ Bank.


       In order to close the RLSA, Opportunity Finance Securitization paid $525,000 in
       structuring fees to DZ Bank from an Opportunity Finance checking account and not
       from the Collateral Agent Collection Account.

         46. Opportunity Finance Securitization was required to pay DZ Bank certain structuring

            fees to close the RLSA, 50 which based on my analysis included an upfront fee, a due


48
   Deposition of Patrick Preece, October 18, 2018, pg. 48:22 - 50:16.
49
   RLSA, Section 2.05(a), Bates No. DZB004148; RLSA, Section 2.07(a), Bates No. DZB004152; and Fee Letter,
Section 2, Bates No. DZB001353 - DZB001354.
50
   RLSA, Section 2.07(a), Bates No. DZB004152 and Fee Letter, Section 1, Bates No. DZB001353.


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               amount of money transferred to DZ Bank as $150,388,858.50. The transfers to and

               from a bank account substantively controlled by Opportunity Finance should not be

               misconstrued as payments to DZ Bank or Autobahn, as this amount does not in any

               way reflect the amount of money actually paid to either party.

           86. Based on my analysis, I determined that Opportunity Finance Securitization paid DZ

               Bank $3,234,266 for program fees and $126,153 for non-use fees through the

               Collateral Agent Collection Account. Opportunity Finance Securitization paid

               $101,691,408 for principal repayment and interest from the Collateral Agent

               Collection Account to the Autobahn Account for distribution to the commercial paper

               holders. See Section V.B - Section V.D for additional details regarding the amounts

               paid to DZ Bank and Autobahn.

         d) Contradictions with Prior Reports and Testimony

           87. As noted in the Martens Report, PwC was retained by the Trustee in November 2008

               to perform various forensic accounting services related to this matter, 103 and Mr.

               Martens was the partner assigned to oversee the services performed by PwC. Mr.

               Martens has since written numerous expert reports and testified on various occasions

               as to the amounts and recipients of transfers from PCI. Specifically, Mr. Martens

               prepared a report dated December 15, 2010 in connection with a receivership and

               bankruptcy proceeding (the “PwC Interim Report”), 104 which quantified the amount

               of funding transferred to and from Opportunity Finance. For illustrative purposes and

               to highlight key discrepancies in Mr. Martens’ treatment of the transfer of funds, I




103
      The Martens Report, para. 3.
104
      The PwC Interim Report, December 15, 2010, Court File No. 08-45257.

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                 controlled by Opportunity Finance principals.” 108 However, in the Martens Report,

                 Mr. Martens is now opining that these payments were sent to DZ Bank.

             92. The contradictions within Mr. Martens’ own reports demonstrate that the Martens

                 Report, his portrayal of DZ Bank’s relationship with Opportunity Finance and his

                 ultimate conclusions are erroneous and unreliable.

VI. CONCLUDING REMARKS

             93. The opinions expressed in this report are based on my work to date. I may amend or

                 supplement this report should additional documents or information become available

                 to me. Should Counsel request, I may create demonstrative exhibits from documents,

                 data and sources referred to in this report to aid my testimony at trial.



             July 5, 2019




             ____________________________________

             W. Barefoot Bankhead




  108
        The PwC Interim Report, December 15, 2010, Court File No. 08-45257, para. 188.

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                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

In re                                                    Jointly Administered under
                                                             Case No. 08-45257

        Petters Company, Inc., et al.,                     Court File No. 08-45257

                               Debtors.
                                                               Court File Nos.:
        (includes:
        Petters Group Worldwide, LLC;                          08-45258 (KHS)
        PC Funding, LLC;                                       08-45326 (KHS)
        Thousand Lakes, LLC;                                   08-45327 (KHS)
        SPF Funding, LLC;                                      08-45328 (KHS)
        PL Ltd., Inc.;                                         08-45329 (KHS)
        Edge One LLC;                                          08-45330 (KHS)
        MGC Finance, Inc.;                                     08-45331 (KHS)
        PAC Funding, LLC;                                      08-45371 (KHS)
        Palm Beach Finance Holdings, Inc.)                     08-45392 (KHS)

                                                              Chapter 11 Cases
                                                          Judge Kathleen H. Sanberg


Douglas A. Kelley, in his capacity as the
PCI Liquidating Trustee for the PCI
Liquidating Trust,
                             Plaintiff,
v.                                                             ADV. NO. 10-04301
Opportunity Finance, LLC; Opportunity
Finance Securitization, LLC; Opportunity Finance
Securitization II, LLC; Opportunity Finance
Securitization III, LLC; International Investment
Opportunities, LLC; Sabes Family Foundation; Sabes
Minnesota Limited Partnership; Robert W. Sabes;
Janet F. Sabes; Jon R. Sabes; Steven Sabes;
Deutsche Zentralgenossenschaftsbank AG; and
The Minneapolis Foundation
                             Defendants.


                        EXPERT REPORT OF THEODORE F. MARTENS
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I.      MY QUALIFICATIONS

        1.     I am a retired PricewaterhouseCoopers LLP (“PwC” or “we” or “our”) partner

working under an extension to perform client consulting services in the Forensics practice at PwC.

I am the partner who was assigned responsibility for the forensic and accounting investigation

performed by PwC of the matters related to Petters Company, Inc. (“PCI”), Petters Group

Worldwide, LLC (“PGW”), Thomas J. Petters (“Petters”), and affiliated and related entities

(collectively, the “Petters Entities”) beginning in 2008. All work in connection with this matter

has been performed under my review and supervision.          I have continued to work on this

assignment, along with members of the original engagement team, since retiring from PwC in

2012.

        2.     I have been a Certified Public Accountant since 1981, and I also possess the

American Institute of Certified Public Accountants Financial Forensics Certificate. During the

course of my professional career, I have audited many public and private companies including

tobacco and food manufacturers, insurance companies, private and trust banks, securities

brokerages and options dealers, and law firms. Since 1994, I have served as a member of the

faculty of The National Judicial College. In this capacity I teach accounting, auditing, and other

financial statement related topics to Federal and State Court Judges. I have worked on many fraud

investigations during my career, including fraud involving Ponzi schemes. My curriculum vitae

is attached to this report as Exhibit A.


II.     PWC ENGAGEMENT

        3.     PwC was retained by Douglas A. Kelley (“Kelley”) of the law firm Kelley, Wolter

& Scott, P.A., in November 2008 to assist in his former role as the court-appointed Receiver of




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Petters and Petters related entities (the “Receiver”). PwC was engaged to perform various forensic

accounting and tax-related services in connection with the massive fraud and Ponzi scheme

designed and orchestrated principally by Petters and business organizations that he controlled (the

“Petters Ponzi Scheme”). In September 2010, PwC was engaged by Kelley in his former role as

the court-appointed Chapter 11 Trustee (the “Trustee”) of PCI and related entities. The services

to be provided to the Trustee were a continuation of those provided to the Receiver. Following

the April 15, 2016 order confirming the Second Amended Chapter 11 Plan of Liquidation, PwC

was engaged by Kelley, in his role as Liquidating Trustee of the PCI Liquidating Trust (the

“Liquidating Trustee”), to continue performing forensic accounting related services and to provide

expert services and testimony in connection with ongoing adversary proceedings. My hourly rate

is $650.

       4.      The scope of PwC's services is more thoroughly described in the PwC Interim

Report, filed with the Court on December 15, 2010 (the “Interim Report”) (Case No. 08-45257,

Docket No. 808). Among the services PwC provided the Trustee in connection with the Petters

Ponzi Scheme was to identify the individuals and entities that advanced funds to PCI and related

entities in the course of the Ponzi scheme and to determine the transfers PCI made to these and

other individuals and entities in furtherance of the Ponzi scheme. The process PwC undertook to

identify these persons and entities and to determine the transfers made to them in furtherance of

the Ponzi scheme is discussed in the Interim Report and my Affidavit regarding (1) the Existence

of the Petters Ponzi Scheme and (2) the Identification of Persons and Entities that Received

Transfers in Furtherance of the Ponzi Scheme filed in the private investor proceedings (the




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"Martens Ponzi Affidavit").1

        5.       I also testified on behalf of the Trustee at the evidentiary hearing on the Trustee’s

motion for substantive consolidation of PCI and PCI’s special purpose entities (“SPEs”) in the

Debtors’ bankruptcy proceeding, Case No. 08-45257, on December 12 and 13, 2011. In addition,

I testified on behalf of the Trustee at the hearing on the Trustee’s request for substantive

consolidation of PCI and PGW on April 12, 2016. At the evidentiary hearings, I offered my

opinion that Petters ran a Ponzi scheme and described my assessment of the factors that Courts

may consider when ordering the substantive consolidation of the Debtors.

        6.       PwC’s services were performed and this report was prepared solely in connection

with the above-captioned proceeding. PwC performed the services and developed the report for

the use and benefit of the Liquidating Trustee and disclaims any contractual or other responsibility

to others based on their access to or use of this report and the information contained herein. Our

work was limited to the procedures and analyses described herein and was based only on the

information made available through April 25, 2019. Accordingly, changes in circumstances after

this date could affect the findings outlined in this report.


III.    EXECUTIVE SUMMARY

        A.       Analysis of Transfers to DZ Bank

        7.       With respect to the above referenced adversary proceeding, I was asked to quantify

and identify the source of payments made to Defendant Deutsche Zentralgenossenschaftsbank AG

(“DZ Bank”) in furtherance of the Petters Ponzi Scheme. Specifically, I was tasked with


1
 The Martens Ponzi Affidavit was filed in connection with several Private Investor (as defined in the Interim
Report) adversary proceedings. See, for example, the adversary proceeding involving defendant Alan Charap (Adv.
No. 10-04229, Docket No. 17).




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identifying transfers to DZ Bank made in connection with the financial relationship existing

between DZ Bank, Opportunity Finance, LLC (“Opportunity Finance”), and Opportunity Finance

Securitization, LLC (“Opportunity Finance Securitization”) under the Receivables Loan and

Security Agreement (“RLSA”) dated December 28, 2001.2

        8.      Under the terms of the RLSA, Opportunity Finance and Opportunity Finance

Securitization could borrow funds from DZ Bank to either “fund or refinance the advance of a

portion of the Opportunity Loan [(as defined in the RLSA)] related thereto.”3 Accordingly, DZ

Bank provided funds that were applied toward the principal investment amounts on a number of

promissory notes executed between Opportunity Finance and one of PCI’s special purpose entities

(“SPEs”), PC Funding, LLC (“PC Funding”). DZ Bank received direct payments from PC

Funding upon the maturity of these PC Funding notes and certain notes executed between

Opportunity Finance and another PCI SPE, SPF Funding, LLC (“SPF Funding”).

        9.      According to the RLSA and Term Sheet (as defined later in this report), the

maximum facility amount was $100,000,000.00 and the minimum amount of each individual loan

was $1,000,000.00.4 Borrowings were requested by written Notices of Borrowing5, copies of

which were identified in the DZ Bank document production. The DZ Bank document production

also contained copies of Borrowing Base Certificates (as defined in the RLSA) prepared in

connection with each borrowing.          The Borrowing Base Certificates included the following

information relevant to this analysis: (1) Loans Requested by Borrower, (2) Reinvestment



2
  Additional parties to the RLSA included Autobahn Funding Company, LLC (“Autobahn”), Royal Indemnity
Company, and U.S. Bank National Association. See DZB003396.
3
  See DZB003431, Section 2.01(b).
4
  See DZB000497 and DZB003431, Section 2.01.
5
  See DZB003432, Section 2.02(b).




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Withdrawals6, and (3) Release of Borrowing Base Surplus to the Borrower7. As further described

in this report, PwC relied on available bank transaction data, Notices of Borrowing, Borrowing

Base Certificates, and additional supporting documentation identified in the DZ Bank production

in order to quantify total transfers to DZ Bank.

          10.      Based on the analyses described in the subsequent paragraphs, PwC determined

that PC Funding transferred $776,409,483.50 to the DZ Bank Collection Account (as defined later

in this report) on account of the DZ Bank Related Notes (as defined later in this report). In

connection with these notes, PC Funding received a total of $626,020,625.00 directly from DZ

Bank ($44,794,750.00 from DZ Bank/Autobahn and $581,225,875.00 from the DZ Bank

Collection Account).         The net transfers from PC Funding to DZ Bank, accordingly, total

$150,388,858.50. In connection with the RLSA, DZ Bank transferred additional loan amounts

totaling $58,505,250.00 to Opportunity Finance ($54,505,250.00 from DZ Bank/Autobahn and

$4,000,000.00 from the DZ Bank Collection Account) and additional loan amounts totaling

$879,375.00 to Opportunity Finance Securitization. The Opportunity Finance entities, however,

transferred a net of only $20,979,375.00 to PC Funding (consisting of $26,879,375.00 transferred

from the Opportunity Finance entities to PC Funding less $5,900,000.00 transferred from PC

Funding to Opportunity Finance Securitization). If the net transfers from the Opportunity Finance

entities to PC Funding are included with amounts that DZ Bank transferred to PC Funding, then

net transfers from PC Funding to DZ Bank total $129,409,483.50. Of the $776,409,483.50

transferred to DZ Bank from PC Funding, $716,000,000.00 was on account of principal under the

DZ Bank Related Notes, and $60,409,483.50 was on account of interest income under the DZ


6
    See DZB003437, Section 2.05(f).
7
    See DZB003437, Section 2.05(e).




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Bank Related Notes. A chart summarizing the flow of funds and results of the analysis performed

by PwC is included in Figure 1 below, and the transfer amounts included within Figure 1 are

detailed in the subsequent paragraphs and exhibits to this Expert Report:




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Figure 1:



                        DZ Bank / Autobahn                                     $54,505,250.00 1




                                                                  $4,600,000.00 4
                                                                                                  Opportunity Finance, LLC
                                               3
                             $105,051,827.07                      $1,500,000.00 5
                  2
 $44,794,750.00



                              DZ Bank                                 $89,866,778.94 6              Opportunity Finance
                         Collection Account                           $4,000,000.00   7             Securitization, LLC



                       $581,225,875.00 8
                                                                  $163,038.40 10
                                                                  $1,328,040.89 11
                                                                                                        Fees / Other
                                   $776,409,483.50 9




                            PC Funding                                                                             $5,900,000.00 12
                                                                                                            13
                                                                                            $3,079,375.00
                         Collection Account
                                                                       $23,800,000.00 14



                       $84,151,383.34 15

                                   $861,012,666.84 16



                      Petters Company, Inc.
                              (PCI)



         1                            9
           See Exhibit J.               See Exhibits C and F.                               Legend
         2                            10
           See Exhibit I.                See Exhibit S.
         3                            11
           See Exhibits Q and R.         See Exhibit T.                                              Lender (DZ Bank)
         4                            12
           See Exhibit M.                See Exhibit L.
         5                            13
           See Exhibit N.                See Exhibit K.                                              Investor
         6                            14
           See Exhibit O.                See Exhibit K.
         7                            15
           See Exhibit P.                See Exhibits C and E.                                       PCI Entity
         8                            16
           See Exhibit H.                See Exhibits C and D.




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       B.      Potential Sources of Funds Transferred to DZ Bank

       11.     In addition to quantifying transfers to DZ Bank, this report addresses the essential

elements regarding the absence of a reasonably equivalent value received by PC Funding for the

transfers it made to DZ Bank. In particular, to the extent Bank Data (as defined later in this report)

was available, PwC analyzed each of the transfers from PC Funding to DZ Bank to determine

whether the funds paid to DZ Bank were part of the rolling churn of the Petters Ponzi Scheme or,

in the alternative, might be associated with real (non-fraudulent) sales transactions.

       12.     To do so, PwC analyzed the transactional activity occurring on and around the dates

of the transfers to DZ Bank to determine if the transfers were sourced by real sales transactions.

The approach PwC undertook to trace the potential sources of funding is outlined in the subsequent

paragraphs. Based on the documentation identified and analyzed to date, PwC concluded that

there is no evidence to indicate that the source of the transfers to DZ Bank related to real PCI sales

transactions. Rather, the transfers to DZ Bank appear to have been associated with the serial churn

of funds observed in connection with the Petters Ponzi Scheme.

       C.      Financial Condition of PCI and PC Funding at the Time of the Transfers to

                DZ Bank

       13.     Further, I was asked to assess the financial condition of PCI and PC Funding at the

time that PC Funding made each transfer to DZ Bank. A separate expert report on insolvency

dated October 30, 2017 has been prepared detailing the methodology, financial statement

documentation considered, and related procedures employed in support of my opinions regarding

the financial condition of PCI as of each year-end (my “Insolvency Expert Report”). In summary,

it is my opinion that PCI was insolvent by December 31, 1996 at the latest and never emerged



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from insolvency. Therefore, PCI was insolvent throughout the duration of the transfers to DZ

Bank. Although not directly related to this particular matter, I also opined that PGW was insolvent

by December 31, 2002 at the latest and never emerged from insolvency.

       14.     I have also assessed the financial condition of PC Funding to determine whether

PC Funding was insolvent on the dates of each transfer to DZ Bank. The methodology, financial

statement documentation considered, and related procedures employed in connection with this

analysis are described further in this report. In summary, it is my opinion that PC Funding was

insolvent by January 7, 2002 at the latest and never emerged from insolvency through December

31, 2003, the date of the last PC Funding balance sheet analyzed. Therefore, PC Funding was

insolvent throughout the duration of the transfers to DZ Bank. And even ignoring corporate

separateness between the above entities, considered together, they were insolvent by January 7,

2002 at the latest and never emerged from insolvency through December 31, 2003.


IV.    DOCUMENTS CONSIDERED

       15.     To quantify and identify the source of transfers to DZ Bank, PwC leveraged the

extensive inventory of available bank statements, cancelled checks, deposit slips, intra-bank

account transfers (i.e., transfers between different bank accounts at the same banking institution)

and/or wire transfer details (collectively defined as “Bank Data”), accounting record data, hard

copy documentation, and electronically stored information that has been collected and preserved

throughout the duration of the Petters proceedings. The breadth and extent of PwC’s information

gathering and preservation efforts is more fully discussed in the Interim Report at paragraphs 60-

121. A subset of paragraphs 60-121, which have been revised to include additional information

gathered by PwC subsequent to the preparation of the Interim Report, can be found in Appendix 1




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of the Martens Ponzi Affidavit. PwC also considered relevant documentation produced to the

Liquidating Trustee by DZ Bank in connection with this adversary proceeding (i.e., Bates ranges

DZB000001 – DZB224449).

        16.      In forming my opinions regarding the transfers and source of funds transferred to

DZ Bank, I considered documents and information relevant to this adversary proceeding including,

but not limited to, the following:

                      a. Available Bank Data for accounts held by PCI, PC Funding, and DZ Bank,

                          including: (1) PCI Account Number 1959018 at M&I Bank (the “PCI M&I

                          Account”), (2) PC Funding Account Number 33398720 at US Bank (the

                          “PC Funding Collection Account”), and (3) DZ Bank Account Number

                          33398730 at US Bank (the “DZ Bank Collection Account”);

                      b. The Receivables Loan and Security Agreement (previously defined as the

                          “RLSA”) dated December 28, 2001 found in the DZ Bank document

                          production;8

                      c. The Opportunity Finance, LLC Commercial Paper Revolving Warehouse

                          Facility Preliminary Term Sheet (“Term Sheet”) dated October 12, 2001

                          found in the DZ Bank document production;9 and

                      d. Borrowing Base Certificates, Notices of Borrowing, Commercial Paper

                          Remittance Reports, and DZ Bank Monthly Fee Statements found in the DZ

                          Bank document production.10


8
  See DZB003396 - DZB003499.
9
  See DZB000496 - DZB000511.
10
   Bates numbers of the specific documents relied upon and considered are incorporated by reference within the
body of and exhibits to this Expert Report.




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       17.     To assess PCI’s financial condition at the time of each transfer to DZ Bank, PwC

considered the documentation referenced in my Insolvency Expert Report.               To assess PC

Funding’s financial condition at the time of each transfer to DZ Bank, PwC considered

QuickBooks financial statements (i.e., balance sheets) generated as of December 31, 2001, January

7, 2002 (i.e., the date of the first PC Funding note), December 31, 2002, and December 31, 2003,

which reflected PC Funding’s assets (both fraudulent and non-fraudulent) and liabilities

(collectively the “PC Funding Balance Sheets”).


V.     THE PETTERS PONZI SCHEME

       A.      Existence of a Ponzi Scheme

       18.     A Ponzi scheme is an investment fraud in which returns to existing investors are

paid with money from new investors or the same investor. Typically, investors are enticed with

promises of abnormally high or fast returns with little or no risk. In such a scheme, the perpetrators

of the fraud generally focus on obtaining new investments to make required payments to earlier

stage investors and to fund their personal expenses. Other common attributes of entities engaged

in a Ponzi scheme include: legitimate business activity generating operating losses and negative

cash flows; failure to prepare financial statements; economically interdependent operations

evidenced by significant intercompany cash transfers; and sustained activities that are highly

dependent on an increasing supply of funds.

       19.     In the Interim Report and Martens Ponzi Affidavit, I opined that Petters ran a Ponzi

scheme. There were numerous indicators that Petters ran a Ponzi scheme. These indicators are

further described in the Interim Report, the Martens Ponzi Affidavit, and are summarized below:

             a. A large portion of the money raised by and invested in PCI went directly to two




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           “vendors” who purported to supply the merchandise: Nationwide International

           Resources (“NIR”) and Enchanted Family Buying Company (“Enchanted”).

           Neither of these entities ever actually bought or sold electronic goods in the

           amounts indicated on the invoices and purchase orders. Rather, the principals of

           NIR and Enchanted, Michael Catain (“Catain”) and Larry Reynolds

           (“Reynolds”), respectively, deducted commissions and routed substantially all of

           the remaining money received back to PCI, as confirmed through bank

           transaction activity.   Both Catain and Reynolds pled guilty to crimes in

           connection with their involvement in the Petters Ponzi Scheme.

        b. Investments were either sent directly to PCI or funneled to PCI through the

           purported vendors, such as NIR and Enchanted. The pattern of paying old

           investment notes with funds coming in from new notes existed throughout the

           time-frame during which transactional bank activity is available.

        c. PwC noted that the PCI M&I Account had substantial daily cash transactions but

           minimal daily balances. It was common to have tens of millions of dollars being

           deposited into the PCI M&I Account on any given day, and to have those funds

           withdrawn the same day or on the following day.

        d. Another factor evidenced in the Petters Ponzi Scheme, which is consistent with

           that of other Ponzi schemes, is unreasonably high rates of return promised to

           investors. The interest rates on the notes with respect to a particular investor were

           typically higher in the earlier years of the Petters Ponzi Scheme and slowly

           declined over time.




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                 e. PwC identified multiple instances in which investors rolled their investments into

                      new notes with PCI, rather than receiving payments of principal and interest upon

                      maturity of notes. This enabled PCI to substantially reduce the amount of money

                      needed to pay off existing notes and better manage its cash flow, thus enabling

                      the furtherance of the Petters Ponzi Scheme. Deanna Coleman (“Coleman”)

                      testified that she or Petters called investors to ask them to roll their notes.11 The

                      rolling of notes continued throughout the duration of the Petters Ponzi Scheme.

           B.       Overview of the Petters Ponzi Scheme

           20.      PCI originally engaged in financing activities substantiated by promissory notes

(both secured and unsecured) with individuals, entities, or investment funds (“Private Investors”).

Although the level of promissory note documentation varied among the Private Investors, the

substance of the notes was in large part the same.                    Promissory notes typically contained

information including the following: note number, start date, amount, borrower, holder,

interest/profit sharing amount or rate, and maturity date. The amount of documentation varied by

promissory note as (1) some notes were personally guaranteed by Petters, (2) some notes were

documented as secured with the underlying inventory purportedly purchased with the borrowed

funds, and (3) some notes had purchase orders from PCI to the vendor (e.g., NIR or Enchanted)

and from the customer (e.g., Costco) to PCI attached as additional documentation.

           21.      In 2001, the PCI financing model shifted toward large, investment funds (one of

which was Opportunity Finance). Petters formed eight special purpose entities (SPEs) to serve as

pass-through entities for the financing activities of these large investment funds, seven of which


11
     Deanna Coleman trial transcript dated November 2, 2009, at 648:4-23.




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were structured as subsidiaries of PCI: (1) MGC Finance, Inc.; (2) PL Ltd., Inc. (“PL Ltd.”);12 (3)

SPF Funding, LLC; (4) PC Funding, LLC; (5) Edge One, LLC (“Edge One”); (6) PAC Funding,

LLC (“PAC Funding”); (7) Thousand Lakes, LLC (“Thousand Lakes”); and (8) Palm Beach

Finance Holdings, Inc. (“Palm Beach”).13 The SPEs were formed at various points in time and

each SPE was aligned with a specific investment fund. For example, SPF Funding and PC Funding

were the SPEs aligned with Opportunity Finance. All cash funding from and payments to

Opportunity Finance (and DZ Bank) were solely processed through SPF Funding and PC Funding.

         C.       Procedures Performed to Identify Entities that Received Transfers in

                   Furtherance of the Petters Ponzi Scheme

         22.      The timeline of activity for each SPE ranged between 2001 and 2008. Investment

funds financed a percentage of up to 100% of the purported inventory transaction, while PCI

financed the remaining portion, if any, of the purported transaction. A purported transaction

typically included a purchase order from PCI to a vendor, and then another purchase order from a

“big box” retailer to PCI. Promissory notes detailed the financing amount, start date, maturity

date, borrower (i.e., SPE), and lender/holder (i.e., investor). Similar to some Private Investors, the

SPE promissory notes were documented to be secured with the underlying electronics inventory

purportedly purchased with the investor’s cash funding.

         23.      The purchase orders for the purported transactions often contained identical

information. As such, the electronics inventory purportedly purchased from NIR, Enchanted and



12
   PL Ltd., Inc. was used twice throughout the duration of the Petters Ponzi Scheme. For the period 2001 - 2007, it
was utilized for the investments of Epsilon Investment Management, LLC; during 2008, it was utilized for the
investments of the Elistone Fund.
13
   Palm Beach Finance Holdings, Inc. was owned 100% by Petters.




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other vendors was the same inventory purportedly sold to a retailer. Exhibit 34 of the Interim

Report provides examples of two purchase orders – one from PCI to the vendor and one from the

customer to PCI. A review of SPE promissory notes, Petters Entities company records (“Company

Records”), and bank transaction activity indicated that potential vendors included, but were not

limited to: (1) NIR; (2) Enchanted; (3) After the Second Millennium; (4) Apex Digital; (5)

Universal Capital, Inc. (“Universal Capital”); (6) International Buying Service, Inc.; (7) Lectronix;

(8) Nationwide Gig; (9) PAR Group/DRP; (10) Universal Assets, LLC; and (11) Chicago Buying

Company.

       24.     PwC performed detailed analyses for each investment fund and associated SPE in

order to quantify the Net Cash Position of each investor. Net Cash Position is defined as cash in

(principal amounts invested) less cash out (payments, including principal, interest, and

commissions, if applicable).

       D.      Procedures Performed to Calculate the Net Cash Position of PCI Investors

       25.     The following procedures were performed for each SPE in order to analyze and

report on each investor’s Net Cash Position:

                   a. PwC conducted informational interviews with Petters Entities personnel to

                       better understand the SPE process and available documents.

                   b. PwC analyzed notes tracking spreadsheets created and updated by PCI

                       personnel for each SPE. Exhibit 35 of the Interim Report provides an

                       example of a spreadsheet created and updated by PCI personnel for a SPE.

                   c. PwC analyzed PCI QuickBooks accounting data, specifically cash, notes

                       payable, accrued interest, accounts receivable, sales, and cost of goods sold.




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                   Though the accounting data provided useful information, PwC did not rely

                   solely on accounting records as the information was often incomplete,

                   inaccurate, and aggregated by account rather than by SPE.

                d. PwC performed targeted searches in the Stratify Legal Discovery Service

                   (“Stratify”) database (as further described in the Interim Report) to identify

                   promissory notes not tracked by PCI personnel. The document repository

                   hosted by Stratify has since been transferred to and is currently hosted in

                   the Micro Focus platform.

                e. PwC analyzed investor records received from Lancelot Investment

                   Management, LLC (“Lancelot”) and Epsilon Investment Management,

                   LLC (“Epsilon”), which tracked notes payable activity with PCI. PCI

                   personnel provided the records that were received from these investors.

                f. PwC reviewed spreadsheets created and updated by Coleman to track

                   activity for the PCI M&I Account. Exhibit 36 of the Interim Report

                   provides an example of a spreadsheet created and updated by Coleman.

                g. PwC developed a semi-automated process to trace the notes payable

                   information identified above to the available bank transaction data. The

                   methodology relied on a number of factors including dates, amounts,

                   Payors, and Payees. The results of this process were further analyzed to

                   determine the reliability of the matched transactions. Refer to the Interim

                   Report (paragraphs 87-100) for further details.

                h. In tracing investments and payments, PwC identified Payor and Payee




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                      combinations and then searched the Bank Data to identify transactions with

                      the same Payor/Payee combinations not previously captured in another SPE

                      analysis. PwC conducted targeted searches within Stratify to identify the

                      purposes of these transactions.

                   i. PwC reviewed the promissory notes to confirm the start date, maturity date,

                      amount, and interest rate for each note identified.

       26.     Exhibit 37 of the Interim Report provides a general overview of the process utilized

to achieve the objectives described in the preceding paragraph. The information contained within

Company Records was traced to bank transaction activity to the extent available in order to report

the volume and amounts of financing and payments for each investor.

       27.     While preparing the notes payable analyses for each SPE, PwC gained an

understanding of the note-related flow of funds used in connection with each SPE, as well as the

specific bank accounts involved. The flow of funds varied in level of complexity among the SPEs

and oftentimes different flows were utilized for the same SPE over the years. Although there were

variations, the general flow of funds was as follows:




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Figure 2:


                                                   Investor
                                                (Lender/ Holder)



                                                      Step 1:                         Step 5:
                                                   Transfer note                 Transfer principal
                                                      amount                       plus interest




                                     Special Purpose Entity (SPE)
                                                   (Borrower)



                                                      Step 2:
                                                   Transfer note
                                                      amount

                                                                                             Step 4:
               Step 6:
                                                                                          Transfer sales
            Transfer PCI
                                                                                              price
               “profit”

                                                    Vendor



                                                      Step 3:
                                             Transfer note amount less
                                                    commission

                                             NIR commission ~ 0.05%
                                          Enchanted commission ~ 0.025%
                                             Other Vendors ~ Unknown




                                          Petters Company, Inc.


                       a. Step 1: Typically the investor sent funds to a SPE bank account (refer to

                           Step 1 in Figure 2 above). Each of the SPEs had a bank account(s)

                           (“Restricted    Account”)         that   was   used   for    cash      receipts   and

                           disbursements. These Restricted Accounts were most often controlled by




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                        the investors, not Petters. Typically, agreements14 were executed by and

                        among the investor (i.e., creditor), the SPE and/or PCI (i.e., customer), and

                        the banking institution (i.e., custodian) that stipulated controls, limitations,

                        and agreements among the parties regarding the Restricted Account. These

                        agreements set forth the general procedures by which deposits could be

                        made into, and funds withdrawn from, the respective Restricted

                        Accounts. In general, these agreements stipulated that the investor had full

                        control of the account and that funds deposited into the Restricted Account

                        could only be disbursed to, at the direction of, or with the approval of, the

                        investor or its Administrative Agent, if applicable.

                     b. Step 2: Typically, funds were subsequently transferred by the investor from

                        the Restricted Account to the vendor (most commonly NIR and Enchanted).

                        NIR and Enchanted received a commission as a percentage of each principal

                        investment amount it received.

                     c. Step 3: NIR and Enchanted often commingled funding for several inventory

                        transactions and sent the aggregate amount (funding less commission) to

                        PCI.

                     d. Step 4: When the promissory note matured, PCI made payment(s) to the

                        investor controlled Restricted Account for the sales amount (the amount

                        purportedly paid by the “big box” retailer for the electronics



14
  Agreement types included Depository Account Pledge Agreement, Account Control Agreement, Deposit Pledge
and Account Control Agreement, Blocked Account Agreement, Lockbox Account Agreement, and Collateral
Account Agreement.




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                      inventory). However, the funds all came from PCI, and there was no

                      evidence of any payments from “big box” retailers. As the investors

                      controlled the accounts, they knew that all transfers came from PCI.

                  e. Step 5: The amount referenced in Step 4 was usually greater than the

                      principal and accrued interest due on the note, and did not originate from

                      the intended retailer source as contemplated by the transaction structure. As

                      a result, the investor withdrew funds from the Restricted Account in the

                      amount of the principal and accrued interest on the note.

                  f. Step 6: The difference between the amount transferred by PCI to the

                      Restricted Account and the amount withdrawn by the investor as repayment

                      of principal and interest was returned to PCI as the purported “profit”

                      associated with the purported transaction on which the note was based. As

                      the Restricted Accounts were controlled by the investors, the transfer from

                      PCI to the SPE’s Restricted Account was a transfer made by PCI to the

                      investor.


VI.    PROCEDURES PERFORMED TO QUANTIFY TRANSFERS TO DZ BANK

       28.    With respect to this DZ Bank adversary proceeding, I was asked by the Liquidating

Trustee and his counsel to quantify and identify the source of payments made to DZ Bank in

furtherance of the Petters Ponzi Scheme. Included below are the procedures performed in order

to quantify transfers to DZ Bank.

       A.      Notes between PC Funding/SPF Funding and Opportunity Finance

       29.    As described above, Petters formed eight special purpose entities (SPEs), seven of



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which were owned 100% by PCI,15 to serve as pass-through entities for the financing activities of

several large investment funds. PC Funding was formed on December 17, 2001 as a SPE through

which Opportunity Finance invested in PCI. Opportunity Finance’s initial investment in PCI

through PC Funding was on January 7, 2002 (ten days after the execution of the RLSA with DZ

Bank). In total, 546 notes were executed between Opportunity Finance and PC Funding, with 542

notes paid in full and four notes open as of September 30, 2008. Annual interest rates on these

notes ranged from 14% to 30%, with investment amounts ranging from $1.2 million to $5.9

million. Of the 546 PC Funding notes, 204 notes were funded (either wholly or in part) by transfers

from DZ Bank. Further, upon the maturity of the 204 notes funded by DZ Bank, the payments of

principal and interest were transferred directly to DZ Bank through PC Funding’s bank account.

            30.      Prior to the formation of PC Funding, Opportunity Finance invested in PCI through

another SPE, SPF Funding. SPF Funding was formed on March 14, 2001 under the name Petters

Finance, LLC16 and served as the vehicle for investments made by or on behalf of Opportunity

Finance, the Sabes Family Foundation, and the Minneapolis Foundation. In total, 167 notes were

executed between the various parties and SPF Funding, until investing ceased in 2007.

Opportunity Finance’s initial investment in PCI through SPF Funding was on May 11, 2001, and

continued through March 14, 2005. Annual interest rates on the Opportunity Finance notes were

as high as 42% in 2001, and declined over time to 14%, with individual investments ranging from

$900,000 to $6 million. In total, Opportunity Finance, the Sabes Family Foundation, and the

Minneapolis Foundation contributed approximately $234.6 million to SPF Funding and received

$287.3 million in principal and interest, for a net gain of approximately $52.7 million. Of the total


15
     One of the SPEs, Palm Beach Finance Holdings, Inc. was owned 100% by T. Petters.
16
     SPF Funding went by the name Petters Finance, LLC until October 6, 2004.




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167 SPF Funding notes, none were funded by transfers from DZ Bank. However, upon the

maturity of 28 SPF Funding notes coming due between January 2002 and April 2002, payments

on account of principal and interest under the SPF Funding notes were transferred directly to DZ

Bank through PC Funding’s bank account.

           31.   The flow of funds utilized by PC Funding and SPF Funding differed from the

general flow depicted in Figure 2 above, in that the transfer of the purported total cost of goods

(Step 2 above) included both the investment from Opportunity Finance and/or DZ Bank and a

portion of the cost contributed into the SPE account by PCI. PwC did not detect any specific

pattern in the amount of PCI’s contribution towards the total cost of the notes. Refer to Exhibit B-

1 for an example of the flow of funds typically used by PC Funding. Further, refer to Exhibit B-2

for a representative depiction of the flow of funds absent the fraudulent scheme employed by

Petters.

           32.   For purposes of quantifying transfers made to DZ Bank in furtherance of the Petters

Ponzi Scheme, PwC’s analysis focused only on transfers made in connection with the 204 PC

Funding and 28 SPF Funding notes for which payments were made to DZ Bank (the “DZ Bank

Related Notes”). A listing of the DZ Bank Related Notes containing note information such as start

date, maturity date, and interest rate, and a summary of note-related transfers is attached as Exhibit

C.

           B.    Note-related Transfers between PCI and PC Funding

           33.   In order to quantify and identify the source of transfers from PC Funding to DZ

Bank in connection with the DZ Bank Related Notes, PwC first quantified transfers made from

PCI to PC Funding upon the maturity of each note. When the term of a given DZ Bank Related




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Note was complete, and the payment of principal and interest was due, PCI would transfer the

purported “sales proceeds” back to PC Funding. Each individual transfer from PCI to PC Funding

in connection with the DZ Bank Related Notes is listed in Exhibit D. To prepare Exhibit D, PwC

relied on (1) available bank transaction data for PCI’s primary bank account at M&I Bank

(Account Number 1959018) (previously defined as the “PCI M&I Account”) and the PC Funding

collection account established at US Bank (Account Number 33398720) (previously defined as

the “PC Funding Collection Account”) and (2) prior notes payable analyses performed with respect

to PC Funding and SPF Funding notes as further described above and in the Interim Report. Based

on this analysis, it was determined that $861,012,666.84 was transferred from PCI to PC Funding

in connection with the DZ Bank Related Notes.

       34.    Any amounts transferred to the PC Funding account in excess of the principal and

interest due to Opportunity Finance on each note would then be transferred back to PCI as PCI’s

“profit” from the purported transaction. Each individual repayment of such “profit” from PC

Funding to PCI in connection with the DZ Bank Related Notes is listed on Exhibit E. To prepare

Exhibit E, PwC once again relied on available bank transaction data for the PCI M&I Account and

PC Funding Collection Account, as well as prior PC Funding and SPF Funding notes payable

analyses. Based on this analysis, it was determined that $84,151,383.34 was transferred from PC

Funding back to PCI in connection with the DZ Bank Related Notes.

       35.    In total, a net of $776,861,283.50 was transferred from PCI to PC Funding in

connection with the DZ Bank Related Notes (i.e., $861,012,666.84 transfers to PC Funding less

$84,151,383.34 repayments to PCI).




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       C.      Transfers from PC Funding to DZ Bank

       36.    Often on the same date as the transfer from PCI to PC Funding, the principal and

interest due on each of the DZ Bank Related Notes was then transferred from PC Funding directly

to DZ Bank. PwC relied on available bank transaction data for the PC Funding Collection Account

and the DZ Bank Collection Account established at US Bank (Account Number 33398730) to

quantify transfers from PC Funding to DZ Bank.

       37.    Based on this analysis, it was determined that $776,409,483.50 was transferred

from the PC Funding Collection Account to the DZ Bank Collection Account in connection with

the DZ Bank Related Notes. Of this amount, $716,000,000.00 represented the return of principal

on notes between Opportunity Finance and PC Funding/SPF Funding, and $60,409,483.50

represented interest income. The individual transfers from PC Funding to DZ Bank are listed on

Exhibit F.

       D.      Loan Advances and Borrowing Base Surplus Transfers from DZ Bank

       38.    To quantify the total amount advanced from DZ Bank under the terms of the RLSA,

and the method of transfer for each advance, the following procedures were performed:

                  a. PwC analyzed available bank transaction data for the PC Funding

                     Collection Account and DZ Bank Collection Account to determine the

                     source of the principal investments made to PC Funding in connection with

                     each DZ Bank Related Note.

                  b. PwC conducted targeted searches on the DZ Bank document production to

                     identify Borrowing Base Certificates prepared in connection with each of

                     the DZ Bank Related Notes. The Borrowing Base Certificates included the



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                   following information relevant to this analysis, each of which represents a

                   type of loan advance under the terms of the RLSA: (1) Loans Requested by

                   Borrower, (2) Reinvestment Withdrawals, and (3) Release of Borrowing

                   Base Surplus to the Borrower. An example of a Borrowing Base Certificate

                   is attached as Exhibit G and the remaining Borrowing Base Certificates

                   identified and relied upon are incorporated by Bates reference within

                   Exhibits H, I, J, M, and O as further described below.

                c. PwC also conducted targeted searches on the DZ Bank document

                   production to identify relevant Notices of Borrowing and copies of faxes

                   containing wire transfer instructions to quantify and further understand the

                   purpose of certain loan advances from DZ Bank. The specific documents

                   identified and relied upon are incorporated by Bates reference within

                   Exhibits H, I, J, M, and O as further described below.

                d. PwC compared the records identified in the DZ Bank document production

                   to the available bank transaction data and determined that the records

                   supported a consistent conclusion.       Based on this analysis, it was

                   determined that principal investments were transferred to PC Funding in

                   one of three ways:

                       i. From DZ Bank (from the DZ Bank Collection Account) directly

                          to the PC Funding Collection Account: PwC identified transfers

                          totaling $581,225,875.00 from the DZ Bank Collection Account to

                          the PC Funding Collection Account (see Exhibit H).




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                       ii. From DZ Bank (from a DZ Bank/Autobahn account) directly to

                           the PC Funding Collection Account: PwC identified transfers

                           totaling $44,794,750.00 from a DZ Bank/Autobahn account to the

                           PC Funding Collection Account (see Exhibit I).

                      iii. From DZ Bank (from a DZ Bank/Autobahn account) to

                           Opportunity Finance, and subsequently from an Opportunity

                           Finance or Opportunity Finance Securitization account to the PC

                           Funding Collection Account: PwC identified transfers totaling

                           $54,505,250.00 from a DZ Bank/Autobahn account to Opportunity

                           Finance (see Exhibit J). Further, it was determined that at least

                           $23,800,000.00 and $3,079,375.00 was subsequently transferred to

                           the PC Funding Collection Account from Opportunity Finance and

                           Opportunity Finance Securitization, respectively (see Exhibit K).

                e. Based on this analysis, it was also determined that a total of $5,900,000.00

                   was transferred to the PC Funding Collection account that was not applied

                   toward principal investments on any DZ Bank Related Notes. Based on an

                   analysis of the relevant Borrowing Base Certificates, the total amount of

                   $5,900,000.00 includes (1) $3,100,000.00 in excess funds received from

                   either the DZ Bank Collection Account or another DZ Bank/Autobahn

                   account that were not applied as principal investments on the PC Funding

                   notes, and (2) a $2,800,000.00 Borrowing Base Surplus amount transferred

                   to the PC Funding Collection Account as part of a larger $15,600,000.00




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                   transfer dated 6/17/2002.     As such, $5,900,000.00 was subsequently

                   transferred from the PC Funding Collection Account to an Opportunity

                   Finance Securitization account (see Exhibit L).

                f. PwC also identified additional transfers totaling $4,600,000.00 from the DZ

                   Bank Collection Account to Opportunity Finance (see Exhibit M) and

                   transfers totaling $1,500,000.00 from Opportunity Finance to the DZ Bank

                   Collection Account (see Exhibit N). Based on an analysis of the relevant

                   Borrowing Base Certificates, the total amount of $4,600,000.00 transferred

                   to Opportunity Finance includes (1) a $4,000,000.00 transfer of a loan

                   amount dated 1/8/2002 and (2) a $600,000.00 Borrowing Base Surplus

                   transfer dated 1/25/2002. Based on an analysis of the relevant Borrowing

                   Base Certificates, the total amount of $1,500,000.00 transferred to the DZ

                   Bank Collection Account includes (1) an $879,375.00 transfer of a loan

                   amount dated 1/24/2003 and (2) a $620,625.00 Borrowing Base Surplus

                   transfer dated 1/23/2003, both of which appear to be related to a

                   $1,500,000.00 transfer from the DZ Bank Collection Account to

                   Opportunity Finance Securitization on 1/23/2003 (included in Exhibit O).

                g. PwC also identified additional transfers totaling $89,866,778.94 from the

                   DZ Bank Collection Account to Opportunity Finance Securitization (see

                   Exhibit O) and transfers totaling $4,000,000.00 from Opportunity Finance

                   Securitization to the DZ Bank Collection Account (see Exhibit P). Based

                   on an analysis of the relevant Borrowing Base Certificates, the




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                   $89,866,778.94 transferred to Opportunity Finance Securitization consisted

                   of $88,987,403.94 in Borrowing Base Surplus transfers and $879,375.00 in

                   Loans Requested by the Borrower. Based on an analysis of the relevant

                   Borrowing Base Certificates, the total amount of $4,000,000.00 transferred

                   to the DZ Bank Collection Account includes (1) a $1,000,000.00 transfer

                   denoted as an “Other transfer into the Collection Account (OF investment)”

                   and (2) a $3,000,000.00 transfer, which appears to have been sent by

                   Opportunity Finance Securitization to cure a Borrowing Base Deficit

                   existing in the DZ Bank Collection Account.

                h. In total, PwC determined that PC Funding transferred $776,409,483.50 to

                   the DZ Bank Collection Account on account of the DZ Bank Related Notes.

                   In connection with these notes, PC Funding received a total of

                   $626,020,625.00 directly from DZ Bank ($44,794,750.00 from DZ

                   Bank/Autobahn and $581,225,875.00 from the DZ Bank Collection

                   Account). The net transfers from PC Funding to DZ Bank, accordingly,

                   total $150,388,858.50. In connection with the RLSA, DZ Bank transferred

                   additional loan amounts totaling $58,505,250.00 to Opportunity Finance

                   ($54,505,250.00 from DZ Bank/Autobahn and $4,000,000.00 from the DZ

                   Bank Collection Account) and additional loan amounts totaling

                   $879,375.00 to Opportunity Finance’s affiliate, Opportunity Finance

                   Securitization. The Opportunity Finance entities, however, transferred a net

                   of only $20,979,375.00 to PC Funding (consisting of $26,879,375.00




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                     transferred from the Opportunity Finance entities to PC Funding less

                     $5,900,000.00 transferred from PC Funding to Opportunity Finance

                     Securitization). If the net transfers from the Opportunity Finance entities to

                     PC Funding are included with amounts that DZ Bank transferred to PC

                     Funding, then net transfers from PC Funding to DZ Bank total

                     $129,409,483.50.

                  i. Of the $776,409,483.50 transferred to DZ Bank from PC Funding,

                     $716,000,000.00 was on account of principal under the DZ Bank Related

                     Notes, and $60,409,483.50 was on account of interest income under the DZ

                     Bank Related Notes.

       E.      Other Transfers to/from the DZ Bank Collection Account

       39.    In addition to the above-described note-related activity, the DZ Bank Collection

Account was also used to make subsequent transfers to DZ Bank/Autobahn accounts for the

payment of principal and interest owed on the issuance of commercial paper. PwC analyzed the

available bank transaction data for the DZ Bank Collection Account and determined that

$101,691,407.94 was subsequently transferred from the DZ Bank Collection Account to a DZ

Bank/Autobahn account, which consisted of the repayment of commercial paper principal

($99,300,000.00), plus applicable yield ($2,391,407.94). PwC compared the available bank

transaction data to Commercial Paper Remittance reports identified in the DZ Bank document

production and determined that the DZ Bank records supported a consistent conclusion. A

summary of the commercial paper principal and yield payments is attached as Exhibit Q, and the

Commercial Paper Remittance reports identified and relied upon are incorporated by Bates




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reference within Exhibit Q.

       40.    In accordance with the terms of the RLSA, applicable margin and non-use fees were

also owed to DZ Bank on a monthly basis in connection with Opportunity Finance’s borrowings.

PwC analyzed the available bank transaction data for the DZ Bank Collection Account and

determined that $3,360,419.13 was subsequently transferred from the DZ Bank Collection

Account to DZ Bank/Autobahn as payment of the applicable margin and non-use fees. PwC

compared the available bank transaction data to DZ Bank Monthly Fee Statements identified in

the DZ Bank document production and determined that the DZ Bank records supported a

consistent conclusion. A summary of the applicable margin and non-use fee payments is attached

as Exhibit R, and the DZ Bank Monthly Fee Statements identified and relied upon are incorporated

by Bates reference within Exhibit R.

       41.    A summary of the sweep activity into and out of the DZ Bank Collection Account,

supporting a net incoming sweep amount of $163,038.40, is attached as Exhibit S.

       42.    A summary of subsequent transfers from the DZ Bank Collection Account to other

non-DZ Bank-related payees is attached as Exhibit T. As shown in Exhibit T, DZ Bank made

subsequent transfers totaling $1,328,040.89 in connection with various fees and premiums to non-

DZ-Bank-related payees, including: at least $671,080.85 to Opportunity Finance representing

servicing fees; at least $570,984.20 to Royal Sun Alliance representing monthly insurance

premiums; at least $76,028.24 to US Bank N.A. for trust and other fees; and at least $9,947.60 to

US Bank DDA as custodian supplemental fees. For purposes of this analysis, reversals (i.e.,

outgoing payments where a subsequent incoming transfer was made by the recipient to reverse the

outgoing payment) were excluded.




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         F.         Other Payments to DZ Bank

         43.       PwC conducted targeted searches in the DZ Bank document production to identify

records detailing any additional payments made to DZ Bank in connection with the RLSA or DZ

Bank Related Notes and identified a preliminary Term Sheet dated October 12, 2001.17 The Term

Sheet outlines various transaction fees payable by Opportunity Finance to DZ Bank. In certain

instances, supporting documentation in the form of checks was also identified in support of

payments from Opportunity Finance to DZ Bank. The following fee types and payments from

Opportunity Finance to DZ Bank, totaling $525,000.00, were identified:

                                            Supporting Document
                   Description                                                  Amount
                                               Bates Number
              Upfront/Structuring Fee           DZB006661                    $450,000.0018
                Commitment Fee                  DZB001260                      $50,000.00
                Due Diligence Fee               DZB000515                     $25,000.00
                                                             Total            $525,000.00



VII.     CASH TRACING ANALYSIS

          A.        Procedures Performed to Assess the Potential Sources of Funds Transferred

                    from PCI to PC Funding

         44.       This section addresses the essential elements regarding the absence of a reasonably

equivalent value received by the debtor for the transfer(s) it made. In particular, PwC analyzed

each payment from PCI to PC Funding made in connection with the DZ Bank Related Notes for

purposes of identifying any components of payments made on debt that were contributed in

connection with real consummated underlying deals, even though their financing had been



17
  See DZB000496 - DZB000511.
18
  Total Upfront/Structuring Fee was $500,000.00; however, the $50,000.00 Commitment Fee was applied towards
the Upfront/Structuring Fee at closing per the Term Sheet, reducing the balance to $450,000.00.




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obtained through the inducement of a Ponzi scheme. In other words, PwC analyzed the sources

of the payments from PCI to PC Funding to determine whether the funds were sourced by real PCI

sales transactions.

       45.     To assess whether any of the payments from PCI to PC Funding were related to

real PCI sales transactions, bank transaction data for the PCI M&I Account was identified and

compiled to prepare cash tracing analyses for each payment to the PC Funding Collection Account.

For purposes of this report, PwC did not evaluate the uses of principal investments received from

DZ Bank/Autobahn, Opportunity Finance, or Opportunity Finance Securitization in connection

with the DZ Bank Related Notes given that all principal investment funding was transferred

directly to one or more fraudulent vendors by PC Funding.

       46.     The following procedures were performed to assess each transaction:

                      a. PwC analyzed all activity within the PCI M&I Account on the date of the

                         payment, including (1) the amount and volume of incoming and outgoing

                         transactions and (2) the beginning and ending balance of the account. To

                         the extent a positive beginning balance existed on the date of the payment,

                         PwC also assessed the prior dates(s) activity to determine the sources of

                         funds which comprised the beginning balance. In addition, if the ending

                         balance of the PCI M&I Account on the date of the payment was negative,

                         PwC analyzed transactions occurring on subsequent date(s) to assess the

                         potential source of the replenishment of the negative ending balance.

                      b. For each payment, up to five transactional days (prior and/or subsequent to

                         the transaction date) were assessed when evaluating the potential sources of




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                          the payments from PCI to PC Funding. To the extent the bank transaction

                          activity occurring during the five days (i.e., total “amount in” and/or

                          “amount out”), was insufficient to determine the potential source and/or use

                          of funds (i.e., was less than the transaction value), additional dates would

                          have been assessed, as required. From our experience working on the

                          Petters engagement for over ten years, we observed that the typical churn

                          of the Petters Ponzi Scheme was such that cash received on one day was

                          disbursed to other investors the same day or the day after. Thus, to the

                          extent a comparable transaction value was identified on the same date or the

                          date immediately prior or subsequent to the transaction being assessed, then

                          the analysis was limited to those select dates.

         47.     The bank transaction data lacked information that would allow PwC to determine

the exact timing of incoming and outgoing amounts on each day. Accordingly, transactional

activity was sorted by clear date, and/or check date, incoming transactions (descending), and

outgoing transactions (descending), in that order. To account for this limitation, account activity

and associated balances were assessed on a daily basis.

         48.     For purposes of preparing the cash tracing analyses described above, PwC also

categorized the payors/payees appearing in the PCI M&I Account based on observations made to

date with respect to each payor/payee’s transaction history and relationship with PCI. Regarding

any transactions categorized as intra-entity transactions (i.e., transactions to/from one PCI account

to another PCI account) and/or inter-company transactions19 (i.e., transactions between Petters-


19
  SPE-related inter-company activity, identified with references in the “Related Analysis” column, was excluded
from the subsequent cash tracing as the transactions in those accounts all relate to SPE note transactions.




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related entities) appearing on the cash tracing analyses, an additional cash tracing analysis of the

intra-entity/inter-company bank account disbursing the funds to PCI was prepared (to the extent

Bank Data was available). The same procedures used to trace the payments from PCI to PC

Funding were applied to the cash tracing of the intra-entity/inter-company transactions. PwC did

not prepare an intra-entity/inter-company cash tracing analysis when one of the following applied:

(1) no Bank Data was available for the relevant intra-entity/inter-company account; (2) bank

statements were available, but no supporting check/wire information was available to confirm

payors/payees; (3) bank statements and supporting check/wire details were available, but not in a

coded and traceable format; or (4) the intra-entity/inter-company transaction amount was less than

ten percent of the amount of the payment from PCI to PC Funding. PwC also did not trace intra-

entity/inter-company transactions beyond three bank accounts from the PCI M&I Account. In

these instances, targeted searches were conducted in the document repository hosted by Micro

Focus to determine the potential purpose of the transfer. The transactions researched are marked

with reference to a footnote describing the results of the Micro Focus searches conducted.

       49.     For transactions with a payor/payee category designated as a “Vendor,”

“Unknown,” or “Other” where PwC was unable to determine the transaction history or relationship

with PCI based on historical observations, targeted searches were conducted in Micro Focus for

each transaction in an attempt to identify the originating or beneficiary party and/or potential

purpose of the transfer. The transactions researched are marked with reference to a footnote

describing the results of the Micro Focus searches conducted. PwC also identified whether the

transactions appearing on the schedules were part of prior analyses performed and reported on in

connection with this matter. In these instances, no additional research was deemed necessary.




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        B.      Assessment of the Potential Sources of Funds Transferred from PCI to PC

                Funding

       50.     As stated above, Opportunity Finance engaged in a total of 204 promissory notes

with PC Funding and a total of 28 promissory notes with SPF Funding, whereby the payment upon

maturity was made to DZ Bank (previously defined as the “DZ Bank Related Notes”). In total,

233 (i.e., 205 + 28) corresponding payments were made from PCI to PC Funding in connection

with the DZ Bank Related Notes (refer to Exhibit D). The payments from PCI to PC Funding

made in connection with the DZ Bank Related Notes ended in August 2003 at which time all

promissory notes were paid in full. The 233 transfers from PCI to PC Funding were each supported

by available Bank Data. As such, cash tracing analyses were prepared following the procedures

outlined above. The results of the cash tracing analyses are attached in Exhibit U.

       51.     As of the date of this report, PwC has found no support to indicate that the note-

related transfers from PCI to PC Funding (and ultimately from PC Funding to DZ Bank) were

related to or directly or indirectly funded by any real PCI sales transactions. As depicted in Exhibit

U, the majority of transfers into the PCI M&I Account on or around the dates of the transfers to

PC Funding came from other PCI SPEs, Private Investors, or fraudulent vendors (e.g., NIR or

Enchanted) as part of the serial churn of the Petters Ponzi Scheme. Any transfers into the PCI

M&I Account not from the aforementioned sources were researched and, to the extent necessary,

addressed in the footnotes to the Exhibit U schedules.

       52.     Following the procedures described above, PwC prepared additional intra-

entity/inter-company cash tracing analyses in connection with the transfers from PCI to PC

Funding. To the extent another intra-entity transaction or an inter-company transaction appeared




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in the intra-entity/inter-company tracing analyses, a subsequent tracing analysis was also prepared

using the same procedures described above. The results of the intra-entity/inter-company cash

tracing analyses are attached as Exhibit V. To the extent intra-entity/inter-company transfers were

observed in Exhibit U for which support was unavailable to perform supplemental cash tracing

analyses, PwC conducted searches in Micro Focus to determine the purpose of the transfer. The

results of any research performed are detailed in the footnotes to the Exhibit V schedules.

         53.     On certain of the cash tracing analyses included in Exhibits U and V, PwC noted

that payments from PCI to PC Funding were potentially sourced (in part) by funds received from

Bullet Distribution, Inc. (“Bullet”) and National Clothing Company, Inc.,20 entities from which

transfers were identified and described in the Supplemental Transfers Affidavit of Theodore F.

Martens dated June 18, 2015 (the “Supplemental Transfers Affidavit”)21 as potential PCI sales

transactions. Transfers from entities/individuals affiliated with the Bullet transactions, to include

James Stampfel and Bright Star, were also identified. Refer to the Supplemental Transfers

Affidavit paragraphs 96 – 100 for details regarding the Bullet transactions and paragraphs 78 – 86

for details regarding the Costco transactions. Based on the analyses performed in connection with

the Supplemental Transfers Affidavit and the PC Funding and SPF Funding notes, PwC found no

evidence that would suggest that the transfers made from PCI to PC Funding on account of the DZ

Bank Related Notes were related to the Bullet or Costco sales transactions. Further, we reviewed

the DZ Bank Related Notes and noted that the only retailers purportedly purchasing merchandise

from PCI were BJ’s, Boscov’s, Rex Stores Corporation (“Rex”), and Sam’s Club. None of the DZ


20
  National Clothing Company, Inc. is affiliated with Costco Wholesale Corporation (“Costco”).
21
  The Supplemental Transfers Affidavit was filed in connection with several Private Investor (as defined in the
Interim Report) adversary proceedings. See, for example, the adversary proceeding involving defendant Alan
Charap (Adv. No. 10-04229, Docket No. 24).




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Bank Related Notes referenced purported deals with Bullet or Costco.

       54.     Other sources of funds identified in the cash tracing analyses reflected in Exhibits

U and V include the following: (1) inter-company entities, such as Redtagbiz, Inc., E&M

Management, Inc., Fingerhut Direct Marketing, Inc., FAC Acquisition, LLC, Petters Group

Worldwide, LLC, Petters Company, LLC, 2J Group, Inc., uBid Inc., Petters International, LLC,

and Aaron Chang International, LLC; (2) related party entities, such as Onka Funding &

Management, LLC; (3) vendors, such as Quetico, LLC, Wanlida Corp., and Jaysport International,

Inc.; and (4) other third party entities including, but not limited to, Stayhealthy, Inc., Hampshire

Hills, LLC, Ciclon/Lone Star Sourcing, Technology Resource Group, Cash N Pawn, Marvin Leeds

Marketing Services, LLC, and Goyal Bros, Inc. As per the procedures described above, and when

Bank Data was available, subsequent cash tracing analyses were prepared to determine the

potential sources of transfers made from inter-company entities. Subsequent cash tracing analyses

prepared with respect to transfers from Redtagbiz, Inc. reflect additional transfers to/from other

third party entities not already listed above. Although potentially real purchase and/or sales

transactions may have occurred in accounts belonging to Redtagbiz, Inc. (i.e., a Petters entity that

conducted real business), PwC has found no evidence to date to suggest that the transfers made

from PCI to PC Funding on account of the DZ Bank Related Notes related to any real Redtagbiz,

Inc. purchases or sales transactions. Further, PwC has found no evidence to date to suggest that

transfers from any of the other entities listed above directly or indirectly relate to any transfers

made from PCI to PC Funding on account of the DZ Bank Related Notes and/or indicate that DZ

Bank received the proceeds of any potentially real sales transactions entered into by the entities.

The transfers from the entities listed above were dwarfed by transfers from PCI’s SPEs, Private




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Investors, and fraudulent vendors (e.g., NIR or Enchanted) and, at most, amounted to only a small

percentage of the transfers made from PCI to PC Funding on account of the DZ Bank Related

Notes. Deanna Coleman testified that, on occasion, Petters entities engaged in real deals with

vendors in small dollar amounts and quantities and, in doing so, secured real purchase orders from

those vendors. Coleman and Robert White later used those documents to create fictitious purchase

orders in much larger dollar amounts for use in acquiring funds from investors.22 She further

testified that “probably even less than [one percent]” of PCI’s purported revenue related to real

sales.23 Coleman’s testimony is consistent with the results of the analyses described above,

through which a limited number of potentially real PCI purchase/sales transactions have been

identified.


VIII.      ANALYSIS OF PCI’S AND PC FUNDING’S FINANCIAL CONDITION AT THE
           TIME OF THE TRANSFERS TO DZ BANK

            A.      Overview of Methodology

           55.     Per Minn. Stat. §513.42, “a debtor is insolvent if, at a fair valuation, the sum of the

debtor’s debts is greater than the sum of the debtor’s assets.” PwC analyzed PCI and PC Funding’s

year-end balance sheets in order to assess whether each entity’s liabilities exceeded its assets at

the time of the transfers from PC Funding to DZ Bank. As noted above, Minn Stat. §513.42

requires assets and liabilities to be calculated at a fair valuation when performing an insolvency

analysis; however, given the short term nature of PCI’s and PC Funding’s assets and liabilities,

and the absence of recorded and/or unrecorded intangible assets, PwC used the values of account




22
     Deanna Coleman deposition transcript dated November 15, 2018, page 113:10 – 115:8.
23
     Deanna Coleman deposition transcript dated November 15, 2018, page 364:17 – 366:7.




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balances as presented in contemporaneously prepared financial statements and did not believe it

necessary, nor appropriate, to make any fair market value adjustments.

         B.     Procedures Performed with Respect to PCI

         56.   A separate expert report on insolvency dated October 30, 2017 has been prepared

detailing the methodology, financial statement documentation considered, and related procedures

employed in support of my opinions regarding the financial condition of PCI as of each year-end

(previously defined as my “Insolvency Expert Report”). In summary, it is my opinion that PCI

was insolvent by December 31, 1996 at the latest and never emerged from insolvency. Therefore,

PCI was insolvent throughout the duration of the transfers to DZ Bank. Although not directly

related to this particular matter, I also opined that PGW was insolvent by December 31, 2002 at

the latest and never emerged from insolvency.

         C.     Procedures Performed with Respect to PC Funding

         57.   The financial condition of PC Funding was assessed using financial statements (i.e.,

balance sheets) sourced from the PC Funding QuickBooks accounting file. Using the reporting

tools within QuickBooks, PC Funding Balance Sheet reports were generated as of December 31,

2001, December 31, 2002, and December 31, 2003 (i.e., the years-ended during the time period

that transfers were made to DZ Bank in connection with the DZ Bank Related Notes). PwC noted

that there were no PC Funding account balances as of December 31, 2001 and, as such, generated

an additional PC Funding Balance Sheet as of January 7, 2002 (i.e., the date of the first PC Funding

note).

         58.   PwC created insolvency assessment schedules using account balances from the PC

Funding Balance Sheets identified in QuickBooks (see Exhibit W). Given our understanding of



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the nature of the Petters Ponzi Scheme and accounting for the fraudulent transactions, we

recognized that the PC Funding Balance Sheets included fictitious accounts receivable balances

that resulted from falsified purchases of goods, as PC Funding did not engage in actual inventory

and accounts receivable financing. Consistent with the approach taken in determining the financial

condition of PCI, to derive PC Funding’s true net asset/liability balance, PwC reduced total assets

per the source PC Funding Balance Sheets by the amount of fictitious accounts receivable balances

in determining “Adjusted Total Assets.”

       59.      The results of the insolvency assessment described above demonstrate that PC

Funding was insolvent by January 7, 2002 at the latest and never emerged from insolvency through

December 31, 2003, the date of the last PC Funding Balance Sheet analyzed. The results are

summarized in the table below, and show that PC Funding’s “Total Liabilities” exceed PC

Funding’s “Adjusted Total Assets” at the time transfers were made to DZ Bank.


          Date Analyzed       Exhibit Reference        Adjusted Assets Less Source Liabilities
             12/31/2001             N/A                                  $0
              1/7/2002              W-1                           $(4,454,442.02)
             12/31/2002             W-2                          $(181,900,316.37)
             12/31/2003             W-3                           $(43,573,500.00)



IX.    OTHER ANALYSES PERFORMED

        A.       Inter-relatedness of PCI and PCI’s SPEs

       60.      As mentioned earlier in this report, I testified at the evidentiary hearing on the

Trustee’s motion for substantive consolidation of PCI and PCI’s SPEs in the Debtors’ bankruptcy

proceeding, Case No. 08-4527, on December 12 and 13, 2011. Former Chief Bankruptcy Judge

Gregory F. Kishel subsequently ordered the substantive consolidation of PCI and PCI’s SPEs.




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During the hearing, I offered my opinion that Petters ran a Ponzi scheme and described my

assessment of the factors that Courts may consider when ordering the substantive consolidation of

related entities such as PCI and PCI’s SPEs. Among the factors I discussed were (1) the

commonality of ownership and control between PCI and PCI’s SPEs, (2) the execution of notes

and guarantees by Petters and Coleman, (3) the lack of independent governance among the entities,

(4) the commingling of funds between and among PCI and PCI’s SPEs and the failure to properly

account for intercompany transfers, (5) the lack of adequate capitalization upon the inception of

PCI and PCI’s SPEs, (6) the lack of functioning directors or officers, (7) the common domination

and control of PCI and PCI’s SPEs by Petters, Coleman, and Robert White, and (8) the common

source of cost of doing business. In connection with the above-listed factors, I also prepared and

submitted an Expert Report dated August 8, 2011 describing the procedures performed and

resulting observations with respect to the inter-relatedness of PCI and PCI’s SPEs (my “Sub-Con

Expert Report”). As described in my Sub-Con Expert Report, it is my opinion that:

              The SPEs’ “assets” were fictitious accounts receivables and inventory that

               resulted from fabricated purchase orders for non-existing electronic goods;

              The SPEs’ “operations” were limited to the purchasing of fictitious electronic

               goods inventory and its fictitious subsequent sale;

              PCI and the SPEs functioned as a single economic unit by commingling funds of

               multiple SPEs and investors, satisfying SPE debts with payments by PCI, which

               resulted in paying earlier investors with funds derived from later investors that

               were routed through PCI;




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                PCI and the SPEs did not engage in actual inventory and accounts receivable

                 financing, as represented to investors;

                PCI and the SPEs’ business operations produced little or no profits or earnings;

                PCI and the SPEs ultimately received funds from multiple investors;

                The SPEs do not have any assets other than nominal cash and bankruptcy

                 avoidance claims held by the SPEs in the aggregate amount of approximately

                 $31.2 billion; and

                It would be difficult and cost prohibitive to reconstruct the PCI and SPE

                 accounting records from inception.

       61.       Although not directly related to this particular matter, I also testified on behalf of

the Trustee at the April 12, 2016 hearing on the Trustee’s request for the substantive consolidation

of PCI and PGW. Former Chief Bankruptcy Judge Gregory F. Kishel subsequently ordered the

substantive consolidation of PCI and PGW.

        B.       Prior Analyses Performed with Respect to Creditors

       62.       The Liquidating Trustee and his counsel have also asked me to summarize prior

analyses performed by PwC with respect to the following creditors identified in the Fourth

Amended Complaint: (1) Lancelot Investors Fund, LP, (2) Acorn Capital Group, LLC, (3) Ark

Discovery II LP, (4) Interlachen Harriet Investments Ltd., and (5) Theodore Deikel.               The

procedures performed by PwC, and resulting observations, are summarized in the subsequent

paragraphs.




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Lancelot Investors Fund, LP

       63.     Thousand Lakes was formed on October 2, 2002, as the SPE through which

Lancelot Investment Management, LLC (“Lancelot”) invested in PCI. Greg Bell (“Bell”), founder

of Lancelot, was previously a managing director at Epsilon, which was managed by Steve

Stevanovich.

       64.     Lancelot served as the investment manager for Granite Investors Fund, LP

(“Granite”); Lancelot Investors Fund, LP; Lancelot Investors Fund II, LP; and Lancelot Investors

Fund, Ltd. Records available to PwC indicate that investment activity between Granite and PCI

began on November 28, 2001.

       65.     Three promissory notes were entered into between Granite and PCI prior to the

execution of a Master Loan Agreement (“Thousand Lakes MLA”), dated October 11, 2002,

between Thousand Lakes (as the Borrower), RWB Services, LLC (“RWB Services”) (as the

Administrative Agent) and Lancelot Investors Fund LP, Lancelot Investors Fund II LP, Lancelot

Investors Fund Ltd. and Granite (as the Initial Lenders). For notes executed under the Thousand

Lakes MLA, Thousand Lakes was the borrower. Assignment of notes was permitted to other

individuals/entities pursuant to the terms of this agreement. Annual interest rates on these notes

ranged from 18% to 42%, with most notes bearing a rate of 18%; investments ranged from

$500,000 to $37 million. In total, 496 notes were executed between the parties, with 423 paid in

full and 73 open as of September 30, 2008.

       66.     In addition to reviewing the hard copy data and ESI (as defined in the Interim

Report), PwC also reviewed PCI notes schedules created and maintained by Harold Katz (“Katz”),

Vice President at Lancelot. Katz periodically provided PCI personnel with his schedules to ensure




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Lancelot’s records agreed with PCI’s records. PwC noted the following differences between

Katz’s schedules and PCI records: (1) note numbers (Lancelot and PCI each had their own

numbering systems); (2) application of payments (payment amounts were applied differently to

each note); (3) start date; and (4) maturity dates. While the payments amounts were applied

differently to each note, the application of payments resulted in the same net payment for each

note. As a result, the calculated interest paid was the same for Katz’s schedules and Company

Records (as defined in the Interim Report).

         67.     Thousand Lakes followed the general flow of funds described in Figure 2 for the

majority of its investments, with the exception of the following two time periods: (1) initial

investments from November 28, 2001 through June 28, 2002, prior to the Thousand Lakes MLA,

and (2) investments beginning on February 26, 2008 through September 17, 2008. In both

instances, investments and payments were transferred directly to/from PCI and the investor.

Exhibits 7 and 8 of the Sub-Con Expert Report provide the flow of funds for Thousand Lakes.

         68.     PwC identified six bank accounts utilized by Thousand Lakes and RWB Services

to transfer its funds.24 PwC did not receive all of the bank transaction activity for each of the

Thousand Lakes Accounts, as these accounts were typically controlled by the underlying

investor(s). As a result, PwC assumed transactions from Thousand Lakes and RWB Services

accounts to purported vendors such as NIR and Enchanted were initially funded by corresponding

investments from Lancelot or related funds. PwC confirmed funding transactions to NIR and

Enchanted through a review of the NIR and Enchanted bank accounts. Similarly, PwC assumed

payments from PCI to Thousand Lakes or RWB Services ultimately were sent to the underlying


 The six accounts identified for this scheme were with Bank One; LaSalle Bank (two accounts); Banco Popular;
24

Charter One; and RBS Citizens (collectively, the “Thousand Lakes Accounts”).




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investor(s).25

         69.      During the period June 2004 through July 2007, PwC identified a large volume of

transactions where payments were sent and subsequently returned the same or next day.

Specifically, an analysis of bank transactions in which Thousand Lakes was the Payor or Payee

without an affiliated note identified 22 sets of reversals (44 transactions) where an amount

transferred to PCI was returned to Thousand Lakes on the same or next day.                                         The

incoming/outgoing amounts were approximately $94.3 million in aggregate.

         70.      Beginning in February 2008, Thousand Lakes and PCI engaged in a series of

roundtrip transactions, whereby approximately $1.3 billion of payments made to Thousand Lakes

upon maturity of notes were reinvested shortly thereafter in notes with PCI of similar value.26

         71.      In aggregate, Thousand Lakes’ investors invested approximately $8.8 billion and

were paid approximately $8.0 billion in principal and interest, resulting in a Net Cash Position of

$764.6 million in cash basis losses. Exhibit 67 of the Interim Report provides a summary of

activity by year. Further, as shown in Exhibit 68 of the Interim Report, PwC analyzed the

investment and payment activity by note.

Acorn Capital Group, LLC

         72.      Acorn Capital Group, LLC (“Acorn”) began investing in Petters Entities on June

21, 2001, with investments in RedtagBiz, Inc. (“RedtagBiz”). On May 10, 2001, Acorn provided

an open line of credit in the amount of $75 million to RedtagBiz, and then on March 1, 2003, the


25
   Similar assumptions were made with respect to investors who were determined to be net winners of the Petters
Ponzi Scheme. In the Trustee’s pursuit of recoveries from the net winners, documentation has been produced by
third parties supporting that the underlying investors did, in fact, transfer investments into and receive subsequent
payments from the SPE bank accounts.
26
   Katz and Bell both pled guilty to crimes in connection with their involvement in these transactions.




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line of credit was made available to other Petters Entities, including: PCI; Petters Group, LLC;27

Petters Company, LLC; Petters International, LLC; Petters Consumer Brands, LLC; RedtagBiz;

and such other affiliates and subsidiaries of PCI (per the credit agreement).

          73.     Acorn started directly investing with PCI on August 29, 2002. PAC Funding was

formed on November 3, 2004, as the entity through which Acorn invested in PCI. Bank accounts

for PAC Funding were not opened until early December 2004, as such, notes between Acorn and

PAC Funding started on February 8, 2005. All Acorn notes prior to this time were directly with

PCI.

          74.     On November 1, 2004, Acorn provided an open line of credit in the amount of $200

million to PAC Funding. Over the next several years, Acorn extended the term and increased the

amount of the line of credit to $300 million through multiple amendments. The line of credit was

secured by liens on the merchandise purportedly purchased from suppliers, including NIR and

Enchanted, and Petters’ personal guaranty. PAC Funding was purportedly using the loan proceeds

to purchase and resell merchandise purchased from the vendors. The notes were often assigned to

Stewardship Credit Arbitrage Fund, LLC (located in the United States) or Stewardship Credit

Arbitrage Fund, Ltd (located in Bermuda). Both of these funds invested in Acorn. In total, 169

notes were executed between Acorn and PCI (all are closed), and 539 notes were executed between

Acorn and PAC Funding, one of which was open as of September 30, 2008. Annual interest rates

on these notes ranged from 11% to 18% with most notes bearing a rate of 11% or 16%, and

investments ranged from approximately $1.7 million to $9.2 million.

          75.     In addition to reviewing transactions from the PCI M&I Account, PwC also



27
     PGW was formerly known as Petters Group, LLC.




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reviewed numerous bank accounts used for PCI and PAC Funding notes with Acorn. For each of

the note transactions with Acorn, the following three types of bank accounts were used.

               a. Blocked Account: Per the various credit agreements and notes documents between

                  Acorn and PCI/PAC Funding, 5%, 10%, or 20% of the note amount was required

                  to be deposited by PCI into a “blocked” account controlled by Acorn as collateral

                  for the transaction. After the note was paid off, the collateral was then returned to

                  PCI/PAC Funding.

               b. Lockbox Account: Account controlled by Acorn and was used to collect the

                  purported “sales price” of the goods, which came from the PCI M&I Account, as

                  well as to transfer the note amount plus interest to Acorn and PCI’s “profit” for

                  each note transaction.

               c. Operating Account: Account controlled by PCI/PAC Funding and used as a pass-

                  through account to transfer initial investments, “PCI profit,” and collateral to the

                  PCI M&I Account.

         76.      Refer to Exhibit 9 of the Sub-Con Expert Report for the Acorn flow of funds. This

flow of funds is different than the general flow depicted in Figure 2 above, as it involves transfers

between the three different SPE accounts listed above (Blocked, Lockbox, and Operating),28 as

well as the PCI M&I Account. In addition, unlike the other SPEs, initial investments did not flow

through NIR and Enchanted bank accounts. This flow of funds was similar for all Acorn notes

with PCI and PAC Funding, with one exception.                      Acorn’s initial investment was usually


28
  The different entity name on the bank accounts used for the scheme (i.e., RedtagBiz, PCI, PAC Funding) was
dependent on the date of the note. For certain notes, a combination of different entity accounts were used. For
example, the initial collateral for Note 200 was transferred into the PCI Blocked account, but the payment to Acorn
was made from the PAC Funding Lockbox account.




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transferred directly to the relevant Operating Account (depending on the time period) up until mid-

September 2004, and then it was transferred to the PCI M&I Account.

         77.      As of late February 2008, PAC Funding was in default with Acorn, and PAC

Funding requested that Acorn forbear from exercising remedies under their credit agreement and

the other loan documents in respect of such default. As such, PAC Funding (as the Borrower),

Petters (as the Guarantor) and Acorn (as the Lender) entered into a forbearance agreement, dated

February 29, 2008 (the “Forbearance Agreement”). Some key terms agreed upon by PAC Funding

and Acorn per the Forbearance Agreement were as follows:

         a. Execution of a promissory note between Acorn and Polaroid/Polaroid Consumer

               Electronics, LLC ( “PCE”) in the amount of $15 million;

         b. Exchange of approximately $112 million of promissory notes.                             Collateral (i.e.,

               purportedly high end electronics inventory) was used as security for the promissory

               notes, and PCI purportedly used the investments to purchase consumer electronics. The

               collateral for the “old” promissory notes was inventory purportedly purchased by BJ’s

               or Costco. The collateral for the “new” notes was inventory purportedly purchased by

               Boscov’s or Sam’s Club;29

         c. Acorn withdrew $6,695,070 from the PAC Funding Blocked Account, which was

               comprised of the accrued and unpaid interest on the PAC Funding outstanding notes as

               of February 26, 2008; and

         d. Acorn transferred $20,061,275 from the PAC Funding Blocked Account to the PCI



29
  BJ’s and Costco were late in paying for the purported purchases (i.e., PCI receivables), and as a result, the “old”
notes were past due and then switched for “new” notes where the purchaser of the inventory was Boscov’s and
Sam’s Club.




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             M&I Account, which represented the remaining PCI funds set aside as collateral for

             prior PAC Funding notes.

       78.      Per the Fifth Amendment to the Credit Agreement dated May 12, 2008, between

PAC Funding and Acorn, the principal of certain outstanding PAC Funding notes was rolled into

a note totaling $15,227,246 (“Scheduled Note”), with a maturity date of July 8, 2008. An interest

rate for the Scheduled Note was not stated in the Amendment. Interest totaling $574,629 and

principal of $15,227,246 on the Scheduled Note was paid in multiple transactions from May 13,

2008 through July 8, 2008.

       79.      In aggregate, Acorn invested approximately $2.5 billion and was paid

approximately $2.4 billion in principal and interest, resulting in a Net Cash Position of $138.3

million in cash basis losses. Exhibit 60 of the Interim Report provides a summary of activity by

year. Further, as shown in Exhibit 61 of the Interim Report, PwC analyzed the investment and

payment activity by note.

       80.      Beginning in March 2008, Acorn and PCI engaged in a series of “roundtrip”

transactions, whereby approximately $83 million of payments made to Acorn upon maturity of

notes were reinvested in notes with PCI of similar value. Refer to Exhibit 62 of the Interim Report

for a summary of these “roundtrip” transactions.

       81.      In addition to Acorn investments in PCI, Acorn also had investments with the

following entities: (1) Fingerhut Direct Marketing, Inc.; (2) Petters Company, LLC; (3) Petters

Consumer Brands (PCB1); (4) Petters Consumer Brands (PCB3); (5) Redtagbiz, Inc.; (6) Aaron

Chang International, LLC; (7) Petters Aircraft Leasing, LLC; (8) Petters Aviation, LLC; (9) Elite

Landings, LLC; (10) Polaroid Corporation; and (11) Polaroid Consumer Electronics, LLC. From




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2001 to 2008, Acorn invested approximately $2.8 billion in principal in these 11 entities. Please

refer to Exhibit 108 of the Interim Report for a summary timeline of the investment activity. In

total, Acorn’s Net Cash Position for all investment activity is $156.4 million in cash basis losses

(see Exhibit 109 of the Interim Report).

Ark Discovery II, LP

       82.        Edge One, LLC (previously defined as “Edge One”) was formed on May 7, 2007,

as the entity through which AtoZ Investors Fund, LP (“AtoZ”); Edge One Capital, LP (“Edge One

Capital”); and Ark Discovery II, LP (“Ark Discovery”) invested in PCI.             A Master Loan

Agreement (“Edge One MLA”) was entered into on July 5, 2007, among Edge One, AtoZ, and

AWB Services, LLC, and was subsequently amended on February 25, 2008, for the entity name

changes.

       83.        Investment activity began on October 1, 2007. Throughout the investment period

promissory notes specify Edge One as the “borrower” and either Edge One Capital or Ark

Discovery as the “lender.” In total, 29 notes were executed between the parties, with 6 paid in full

and 23 open as of September 30, 2008. Interest rates on the notes were typically 16.8% on an

annual basis, with several bearing a rate of 24.0%; and investment amounts ranged from $500,000

to $15 million.

       84.        Edge One followed the general flow of funds described above for its investments,

with a slight difference in the flow for the transfer of sales price (refer to Exhibit 15 of the Sub-

Con Expert Report). Instead of the sales price being transferred from PCI to the Edge One account

for the transfer of principal and interest to the underlying investor, PCI transferred the full sales

price to the investors directly. PCI’s profit on the deal was subsequently transferred from the




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investor to PCI via the Edge One account.

         85.      Edge One bank account statements were not available for this analysis as the

account was controlled by the investor. As a result, PwC assumed transactions from Edge One to

purported vendors, such as NIR and Enchanted, were initially funded by corresponding

investments from AtoZ, Edge One Capital, or Ark Discovery.                              PwC confirmed funding

transactions to NIR and Enchanted through a review of the NIR and Enchanted bank accounts.

Similarly, PwC assumed transfers of profit from Edge One to PCI originated from AtoZ, Edge

One Capital, or Ark Discovery.30

         86.      In aggregate, approximately $159.0 million in investments and $36.3 million in

payments of principal and interest were identified resulting in a Net Cash Position of $122.7

million in cash basis losses. Of the $36.3 million in payments, $32.9 million was applied to

principal and $3.4 million was applied to interest. Exhibit 55 of the Interim Report provides a

summary of activity by year. Further, as shown in Exhibit 56 of the Interim Report, PwC analyzed

the investment and payment activity by note. Based on the analysis conducted, Edge One was a

net loser in the amount of $122,707,100.

Interlachen Harriet Investments, Ltd.

         87.      Interlachen Harriet Investments, Ltd. (“Interlachen”) entered into one promissory

note with PCI and Petters for $60 million on April 18, 2008, with an annual interest rate of 40%.

Interlachen sent $50 million to the PCI M&I Account on April 18, 2008, and the remaining $10



30
  Similar assumptions were made with respect to investors who were determined to be net winners of the Petters
Ponzi Scheme. In the Trustee’s pursuit of recoveries from the net winners, documentation has been produced by
third-parties supporting that the underlying investors did, in fact, transfer investments into and receive subsequent
payments from the SPE bank accounts.




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million on April 22, 2008. Interlachen did not receive any payments on its note. Exhibit X is a

copy of this promissory note. Based on the analysis conducted, PwC determined Interlachen was

a net loser in the amount of $60,000,000.

Theodore Deikel

       88.      Theodore Deikel (“Deikel”) entered into two promissory notes totaling $13 million

with PCI and Petters: one in the amount of $3 million dated November 7, 2000 (with an annual

interest rate of 36%), and one in the amount of $10 million dated June 3, 2008 (with an annual

interest rate of 60%). Deikel received payments totaling $5,939,000.00 in connection with these

two notes. Exhibit Y provides a summary of Deikel’s note activity and the investment and

payment activity by note. Based on the analysis conducted, PwC determined that Deikel was a net

loser in the amount of $7,061,000.00. Further, as shown in Exhibit Y, PwC identified additional

net transfers of $938,456.60 to Petters/Group D, LLP, an entity determined to be affiliated with

Deikel; however, as of the date of this report, these transfers were not determined to have been

tied to any specific PCI or Petters notes.


X.     EXPERT OPINION

       89.      Based on the results of the procedures and related findings presented above, it is

my opinion that:

       a. PC Funding transferred $776,409,483.50 to the DZ Bank Collection Account on

             account of the DZ Bank Related Notes. In connection with these notes, PC Funding

             received a total of $626,020,625.00 directly from DZ Bank ($44,794,750.00 from DZ

             Bank/Autobahn and $581,225,875.00 from the DZ Bank Collection Account). The net

             transfers from PC Funding to DZ Bank, accordingly, total $150,388,858.50;



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    b. In connection with the RLSA, DZ Bank transferred additional loan amounts totaling

       $58,505,250.00 to Opportunity Finance ($54,505,250.00 from DZ Bank/Autobahn and

       $4,000,000.00 from the DZ Bank Collection Account) and additional loan amounts

       totaling $879,375.00 to Opportunity Finance’s affiliate, Opportunity Finance

       Securitization. The Opportunity Finance entities, however, transferred a net of only

       $20,979,375.00 to PC Funding (consisting of $26,879,375.00 transferred from the

       Opportunity Finance entities to PC Funding less $5,900,000.00 transferred from PC

       Funding to Opportunity Finance Securitization).        If the net transfers from the

       Opportunity Finance entities to PC Funding are included with amounts that DZ Bank

       transferred to PC Funding, then net transfers from PC Funding to DZ Bank total

       $129,409,483.50;

    c. Of the $776,409,483.50 transferred to DZ Bank from PC Funding, $716,000,000.00

       was on account of principal under the DZ Bank Related Notes, and $60,409,483.50 was

       on account of interest income under the DZ Bank Related Notes;

    d. Based on the documentation identified and analyzed to date, no evidence has been

       identified to indicate that the source of the transfers to DZ Bank related to real PCI

       sales transactions. Rather, the transfers to DZ Bank were funded by the serial churn of

       funds observed in connection with the Petters Ponzi Scheme;

    e. PCI was insolvent by December 31, 1996 at the latest and never emerged from

       insolvency and PC Funding was insolvent by January 7, 2002 at the latest and never

       emerged from insolvency through December 31, 2003. Therefore, both PCI and PC

       Funding were insolvent throughout the duration of the transfers to DZ Bank. To the




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       extent corporate separateness is disregarded, the conclusion is the same; and

    f. Our analysis confirmed the creditor status of five parties previously identified as

       creditors. Each one was a net loser of the Petters Ponzi Scheme: (1) Lancelot Investors

       Fund, LP, (2) Acorn Capital Group, LLC, (3) Ark Discovery II, LP, (4) Interlachen

       Harriet Investments, Ltd., and (5) Theodore Deikel.




    ________________________________
    Theodore F. Martens
    April 25, 2019




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                            EXHIBIT H
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                                                                                               EXHIBIT H
                                                                        Transfers from DZ Bank Collection Account to PC Funding 1



                                                                                                                                         Loan / Reinvestment    Borrowing Base          Total Amount             Source
Date                          Payor                            Payee                                           Memo                      Withdrawal Amount      Surplus Amount         (per bank data)       Bates Number 2
1/15/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ACCOUNT 33398720 IN CONNECTION WITH   $       1,500,000.00 $              -     $        1,500,000.00 DZB006698, DZB006689
                                                                                       1/15/02 FUNDING BETWEEN PETTERS COMPANY INC AND
                                                                                       NATIONWIDE INC TLR476
1/22/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ACCOUNT 33398720 IN CONNECTION WITH          2,300,000.00                -              2,300,000.00 DZB006757, DZB006729
                                                                                       1/22/02 FUNDING BETWEEN PETTERS COMPANY INC AND
                                                                                       NATIONWIDE INC TLR476
1/25/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ACCOUNT 33398720 IN CONNECTION WITH          4,100,000.00                -              4,100,000.00 DZB006807, DZB006776
                                                                                       1/25/02 FUNDING TLR476
 2/4/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ACCOUNT 33398720 IN CONNECTION WITH          5,600,000.00                -              5,600,000.00 DZB006877, DZB006843
                                                                                       2/4/02 FUNDING TLR476
2/11/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION            5,100,000.00                -              5,100,000.00 DZB006929, DZB006899
                                                                                       WITH FUNDING TLR476
2/22/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION            3,205,250.00                -              3,205,250.00 DZB006979, DZB006951
                                                                                       WITH FUNDING TLR476
2/28/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION            8,500,000.00                -              8,500,000.00 DZB007042, DZB007025
                                                                                       WITH FUNDING TLR476
 3/6/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION            4,050,000.00                -              4,050,000.00 DZB007085, DZB007071
                                                                                       WITH FUNDING TLR476
 3/8/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION            5,400,000.00                -              5,400,000.00 DZB007113, DZB007105
                                                                                       WITH FUNDING TLR476
3/13/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION           11,800,000.00                -             11,800,000.00 DZB007174, DZB007144
                                                                                       WITH FUNDING TLR476
3/18/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION            1,600,000.00                -              1,600,000.00 DZB007222, DZB007188
                                                                                       WITH FUNDING TLR476
3/26/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFERRED TO ACCOUNT 33398720 IN CONNECTION           10,000,000.00                -             10,000,000.00 DZB007277, DZB007259
                                                                                       WITH FUNDING TLR476
 4/1/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             3,400,000.00                -              3,400,000.00 DZB007325, DZB007302
                                                                                       THE 04/01/02; FUNDING TLR476
4/11/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             5,800,000.00                -              5,800,000.00 DZB007358, DZB007344
                                                                                       THE 04/11/02; FUNDING TLR476
4/26/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             7,400,000.00                -              7,400,000.00 DZB007420, DZB007392
                                                                                       THE 04/26/02; FUNDING TLR476
 5/3/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             6,000,000.00                -              6,000,000.00 DZB007501, DZB007474
                                                                                       THE 05/03/02; FUNDING TLR476
 5/9/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             9,700,000.00                -              9,700,000.00 DZB007551, DZB007518
                                                                                       THE 05/09/02; FUNDING TLR476
5/10/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             3,900,000.00                -              3,900,000.00 DZB007551, DZB007518
                                                                                       THE 05/10/02; FUNDING TLR476
5/10/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             2,500,000.00                -              2,500,000.00 DZB007551, DZB007518
                                                                                       THE 05/10/02; FUNDING TLR476
5/21/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH            14,900,000.00                -             14,900,000.00 DZB007612
                                                                                       THE 05/21/02; FUNDING TLR476
5/30/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH            16,500,000.00                -             16,500,000.00 DZB007698, DZB007673
                                                                                       THE 05/30/02; FUNDING TLR476
 6/6/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH            12,500,000.00                -             12,500,000.00 DZB007746, DZB007731
                                                                                       THE 06/06/02; FUNDING TLR476
6/17/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH            12,800,000.00        2,800,000.00          15,600,000.00 DZB007840, DZB007833,
                                                                                       THE 06/17/02; FUNDING TLR476                                                                                     DZB007812
6/26/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH            10,300,000.00                -             10,300,000.00 DZB007902, DZB007870
                                                                                       THE 06/26/02; FUNDING TLR476
 7/2/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             5,100,000.00                -              5,100,000.00 DZB007940, DZB007941
                                                                                       THE 07/02/02; FUNDING TRL476
7/11/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             9,800,000.00                -              9,800,000.00 DZB007998, DZB007990
                                                                                       THE 07/11/02; FUNDING TRL476
7/17/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH            11,400,000.00                -             11,400,000.00 DZB008052, DZB008038
                                                                                       THE 07/17/02; FUNDING TRL476
7/25/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             6,900,000.00                -              6,900,000.00 DZB008111, DZB008085
                                                                                       THE 07/25/02
 8/1/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             7,950,000.00                -              7,950,000.00 DZB008394, DZB008368
                                                                                       THE 08/01/02; FUNDING TLR476
 8/5/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             3,100,000.00                -              3,100,000.00 DZB008427, DZB008411
                                                                                       THE 08/05/02; FUNDING TLR476
 8/7/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             5,400,000.00                -              5,400,000.00 DZB008467, DZB008438
                                                                                       THE 08/07/02; FUNDING TLR476
8/14/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             7,300,000.00                -              7,300,000.00 DZB008502, DZB008478
                                                                                       THE 08/14/02; FUNDING TLR476
8/21/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER TO ANOTHER TRUST IN CONNECTION WITH             5,500,000.00                -              5,500,000.00 DZB008555, DZB008536
                                                                                       THE 08/21/02; FUNDING TLR476
8/22/2002 DZ BANK - COLLECTION ACCOUNT     PC FUNDING, LLC - COLLECTION ACCOUNT        TRANSFER FROM ANOTHER TRUST IN CONNECTION                3,900,000.00                -              3,900,000.00 DZB008588, DZB008570
                                                                                       WITH THE 08/22/02; FUNDING TLR476




                                                                                                                                                                                                                          Page 1 of 2
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                                                                                                                                           EXHIBIT H
                                                                                                                    Transfers from DZ Bank Collection Account to PC Funding 1



                                                                                                                                                                                              Loan / Reinvestment     Borrowing Base          Total Amount            Source
        Date                          Payor                                                       Payee                                                     Memo                              Withdrawal Amount       Surplus Amount         (per bank data)      Bates Number 2
        8/28/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     11,200,000.00                 -            11,200,000.00 DZB008655, DZB008615
                                                                                                                                    THE 08/28/02; FUNDING TLR476
          9/5/2002 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     8,000,000.00                    -           8,000,000.00 DZB010111, DZB010095
                                                                                                                                    THE 09/05/02; FUNDING TLR476
          9/9/2002 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     6,200,000.00                    -           6,200,000.00 DZB010086, DZB010069
                                                                                                                                    THE 09/09/02; FUNDING TLR476
        9/18/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     8,700,000.00                    -           8,700,000.00 DZB010046, DZB010018
                                                                                                                                    THE 09/18/02; FUNDING TLR476
        9/25/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    15,600,000.00                    -         15,600,000.00 DZB009966, DZB009958
                                                                                                                                    THE 09/25/02; FUNDING TLR476
        10/2/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    12,600,000.00                    -         12,600,000.00 DZB009935, DZB009910
                                                                                                                                    THE 10/02/02; FUNDING TLR476
       10/10/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    13,300,000.00                    -         13,300,000.00 DZB009868, DZB009845
                                                                                                                                    THE 10/10/02; FUNDING TLR476
       10/16/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    11,750,000.00                    -         11,750,000.00 DZB009841, DZB009816
                                                                                                                                    THE 10/16/02; FUNDING TLR476
       10/23/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    11,750,000.00                    -         11,750,000.00 DZB009772, DZB009761
                                                                                                                                    THE 10/23/02; FUNDING TLR476
       11/13/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    15,300,000.00                    -         15,300,000.00 DZB010576, DZB010564
                                                                                                                                    THE 11/12/02; FUNDING TLR476
       11/21/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     6,650,000.00                    -           6,650,000.00 DZB010524, DZB010509
                                                                                                                                    THE 11/21/02; FUNDING TLR476
        12/4/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     5,900,000.00                    -           5,900,000.00 DZB010434, DZB010420
                                                                                                                                    THE 12/04/02; FUNDING TLR476
       12/11/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    13,000,000.00                    -         13,000,000.00 DZB010383, DZB010375
                                                                                                                                    THE 12/11/02; FUNDING TLR476
       12/17/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     8,250,000.00                    -           8,250,000.00 DZB010322, DZB010314
                                                                                                                                    THE 12/17/02; FUNDING TLR476
       12/19/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     7,800,000.00                    -           7,800,000.00 DZB010289, DZB010273
                                                                                                                                    THE 12/19/02; FUNDING TLR476
       12/23/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     6,750,000.00                    -           6,750,000.00 DZB010239, DZB010221
                                                                                                                                    THE 12/23/02; FUNDING TLR476
       12/24/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    10,300,000.00                    -         10,300,000.00 DZB010204, DZB010197
                                                                                                                                    THE 12/24/02; FUNDING TLR476
       12/30/2002 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    10,750,000.00                    -         10,750,000.00 DZB010158, DZB010142
                                                                                                                                    THE 12/30/02; FUNDING TLR476
          1/8/2003 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    10,700,000.00                    -         10,700,000.00 DZB009080, DZB009056
                                                                                                                                    THE 01/08/03; FUNDING TLR476
        1/23/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    13,370,625.00                    -         13,370,625.00 DZB008974, DZB008957
                                                                                                                                    THE 01/23/03; FUNDING TLR476
          2/7/2003 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  PAID TO OUTGOING FED WIRE; MISCELLANEOUS                        16,850,000.00                    -         16,850,000.00 DZB008889, DZB008877
                                                                                                                                    DISBURSEMENT; PART OF FUNDING FOR 2/5/03 DAG476
        2/11/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    14,500,000.00                    -         14,500,000.00 DZB008847, DZB008835
                                                                                                                                    THE 02/11/03; FUNDING DAG476
        2/19/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    13,700,000.00                    -         13,700,000.00 DZB008790, DZB008773
                                                                                                                                    THE 02/19/03; FUNDING DAG476
        2/24/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     5,600,000.00                    -           5,600,000.00 DZB008732, DZB008715
                                                                                                                                    THE 02/24/03; FUNDING DAG476
        2/27/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    11,850,000.00                    -         11,850,000.00 DZB008700, DZB008704
                                                                                                                                    THE 02/26/03; FUNDING DAG476
        3/11/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    14,000,000.00                    -         14,000,000.00 DZB012558, DZB012540
                                                                                                                                    THE 03/11/03; FUNDING DAG476
        3/20/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     7,200,000.00                    -           7,200,000.00 DZB012493, DZB012474
                                                                                                                                    THE 03/20/03; FUNDING DAG476
        3/25/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     5,800,000.00                    -           5,800,000.00 DZB012458, DZB012434
                                                                                                                                    THE 03/25/03; FUNDING DAG476
          4/1/2003 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     8,600,000.00                    -           8,600,000.00 DZB012372, DZB012355
                                                                                                                                    THE 04/01/03; FUNDING DAG476
          4/8/2003 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                    11,900,000.00                    -         11,900,000.00 DZB012322, DZB012312
                                                                                                                                    THE 04/08/03; FUNDING DAG476
          4/9/2003 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     8,050,000.00                    -           8,050,000.00 DZB012301, DZB012269
                                                                                                                                    THE 04/09/03; FUNDING DAG476
        4/17/2003 DZ BANK - COLLECTION ACCOUNT                                PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     9,500,000.00                    -           9,500,000.00 DZB012205, DZB012192
                                                                                                                                    THE 04/17/03; FUNDING DAG476
          5/1/2003 DZ BANK - COLLECTION ACCOUNT                               PC FUNDING, LLC - COLLECTION ACCOUNT                  TRANSFER TO ANOTHER TRUST IN CONNECTION WITH                     7,800,000.00                    -           7,800,000.00 DZB012895, DZB012867
                                                                                                                                    THE 05/01/03; FUNDING DAG476
                                                                                                                                                                                Total        $     578,425,875.00 $         2,800,000.00 $    581,225,875.00

1
    Transaction details (i.e., date, payor, payee, memo, and amount) are sourced from available bank statements for DZ Bank Collection Account Number 33398730 at US Bank and PC Funding Collection Account Number 33398720 at US Bank.
2
    Includes the Bates Number of the corresponding Borrowing Base Report, Notice of Borrowing, and/or fax including wire transfer instructions found in the DZ Bank document production.




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                            EXHIBIT 4
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                                                                                   EXHIBIT Q
                                                        Transfers from DZ Bank Collection Account to DZ Bank / Autobahn 1
                                                                       Commercial Paper Principal and Yield


                                                                                                                                                                                Source
Date                             Payor                                  Payee                                                  Memo                         Amount          Bates Number 2
 3/1/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     REF: FUNDS WIRED TO US BANK NEW YORK FOR        $     164,989.50 DZB013801
                                                                                                        COMMERCIAL PAPER TLR476
 3/4/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   REF: FUNDS WIRED TO US BANK NY FOR COMMERCIAL           8,034.50 DZB013795
                                                                                                        PAPER TLR476
3/15/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     REF: FUNDS WIRED TO US BANK NY FOR COMMERCIAL          11,412.17 DZB013787
                                                                                                        PAPER TLR476
3/22/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     REF: FUNDS WIRED TO US BANK NY FOR COMMERCIAL           8,724.58 DZB013783
                                                                                                        PAPER TLR476
3/26/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   REF: FUNDS WIRED TO US BANK NY FOR COMMERCIAL           7,942.00 DZB013777
                                                                                                        PAPER TLR476
 4/5/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL             4,496.00 DZB013773
                                                                                                        PAPER TLR476
4/11/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL             3,126.34 DZB013769
                                                                                                        PAPER TLR476
4/23/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL            39,292.00 DZB013763
                                                                                                        PAPER TLR476
 5/3/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           205,685.11 DZB013759
                                                                                                        PAPER TLR476
5/31/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL            79,256.96 DZB013753
                                                                                                        PAPER TLR476
6/27/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           193,570.54 DZB013749
                                                                                                        PAPER TLR476
7/15/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL               207.99 DZB013745
                                                                                                        PAPER TLR476
7/25/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL            90,540.55 DZB013742
                                                                                                        PAPER TLR476
7/26/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL             1,566.57 DZB013739
                                                                                                        PAPER TLR476
8/22/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           214,542.35 DZB013733
                                                                                                        PAPER TLR476
9/24/2002 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL            96,209.15 N/A 4
                                                                                                        PAPER TLR476
10/25/2002 DZ BANK - COLLECTION ACCOUNT        DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           214,367.10 DZB013727
                                                                                                        PAPER TLR476
11/21/2002 DZ BANK - COLLECTION ACCOUNT        DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL            94,327.61 DZB013722
                                                                                                        PAPER TLR476
12/19/2002 DZ BANK - COLLECTION ACCOUNT        DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           234,874.49 DZB013716
                                                                                                        PAPER TLR476
1/17/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL            67,618.86 DZB013711
                                                                                                        PAPER TLR476
2/10/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           129,678.45 DZB013705
                                                                                                        PAPER TLR476
3/18/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           118,499.34 DZB013700
                                                                                                        PAPER TLR476
4/11/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL           115,116.47 DZB013695
                                                                                                        PAPER TLR476
5/16/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL         35,810,528.77 DZB013684
                                                                                                        PAPER TLR476
6/10/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL         23,813,188.50 DZB013672
                                                                                                        PAPER DAG476
6/24/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL          8,006,676.93 DZB013665
                                                                                                        PAPER DAG476
 7/8/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL          8,013,158.60 DZB013659
                                                                                                        PAPER DAG476
7/15/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL          7,431,579.20 DZB013654
                                                                                                        PAPER DAG476
7/22/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN 3                                     WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL          5,004,476.69 DZB013647
                                                                                                        PAPER DAG476
7/29/2003 DZ BANK - COLLECTION ACCOUNT         DZ BANK / AUTOBAHN   3                                   WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL          5,003,356.85 DZB013640
                                                                                                        PAPER DAG476




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                                                                                                                        EXHIBIT Q
                                                                                             Transfers from DZ Bank Collection Account to DZ Bank / Autobahn 1
                                                                                                            Commercial Paper Principal and Yield


                                                                                                                                                                                                                                        Source
     Date                             Payor                                                                   Payee                                                     Memo                                       Amount           Bates Number 2
      8/5/2003 DZ BANK - COLLECTION ACCOUNT                                      DZ BANK / AUTOBAHN 3                                            WIRE TRANSFER; TO US BANK NY FOR COMMERCIAL                        6,504,363.77 DZB013635
                                                                                                                                                 PAPER DAG476
                                                                                                                                                                                                        Total $   101,691,407.94

1
  Transaction details (i.e., date, payor, memo, and amount) are sourced from available bank statements for DZ Bank Collection Account Number 33398730 at US Bank.
2
  Includes the Bates Number of the corresponding Commercial Paper Remittance Report found in the DZ Bank document production.
3
  Transfer is assumed to be made to a DZ Bank / Autobahn account based on wire transfer request details included on the Commercial Paper Remittance Reports found in the DZ Bank document production.
4
  A corresponding Commercial Paper Remittance Report supporting this payment could not be located in the DZ Bank document production.




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                            EXHIBIT U
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Petters Company, Inc. (PCI)
PC Funding, LLC - Possible Sources and Uses of Funds
PCI M&I Bank (Account Number 1959018) 1

PC Funding Note Number - 032602-01 - $3,691,385.00 payment dated 7/3/2002



Clear Date                       Payor                                Payor Category 2                                     Payee                              Payee Category 2                      In Amount              Out Amount                Balance                                  Related Analysis 3
                                                                              Beginning Balance - 7/2/2002                                                                                                                                    $         927,352.46
7/2/2002      METRO GEM, INC.                               PRIVATE INVESTOR, SPE-LIKE           PCI                                                                                           $       5,500,000.00 $                     -           6,427,352.46     METRO GEM, INC.
7/2/2002      NATIONWIDE INTERNATIONAL                      VENDOR (FRAUDULENT)                  PCI                                                                                                   2,100,000.00                       -           8,527,352.46
              RESOURCES
7/2/2002      GRANITE INVESTORS FUND, LP                    LENDER (SPE)                                PCI                                                                                            1,025,000.00                      -             9,552,352.46    THOUSAND LAKES, LLC
7/2/2002      CORPORATE TRUST CTO                           SPE                                         PCI                                                                                              617,125.00                      -            10,169,477.46    METRO GEM CAPITAL FINANCE
7/2/2002      PCI                                                                                       PETTERS FINANCE LLC                       SPE                                                            -             3,116,430.45            7,053,047.01    SPF FUNDING
7/2/2002      PCI                                                                                       PC FUNDING, LLC - COLLECTION              SPE                                                            -               127,057.50            6,925,989.51    PC FUNDING, LLC
                                                                                                        ACCOUNT
7/2/2002      PCI                                                                                       METRO GEM, INC.                           PRIVATE INVESTOR, SPE-LIKE                                     -                30,058.00            6,895,931.51    METRO GEM, INC.
7/2/2002      PCI                                                                                       RON MUSICH                                PRIVATE INVESTOR / EMPLOYEE                                    -                15,000.00            6,880,931.51    RON MUSICH & ASSOCIATED ENTITIES
7/3/2002      NATIONWIDE INTERNATIONAL                      VENDOR (FRAUDULENT)                         PCI                                                                                            6,450,057.00                      -            13,330,988.51
              RESOURCES
7/3/2002      PETTERS FINANCE LLC                           SPE                                         PCI                                                                                              330,597.12                      -            13,661,585.63    SPF FUNDING
7/3/2002      PCI                                                                                       REDTAGBIZ, INC. (LOCKBOX)                 INTER-COMPANY (INVESTOR                                        -             4,408,029.86            9,253,555.77    REDTAGBIZ, INC. (ACORN)
                                                                                                                                                  RELATED)
7/3/2002      PCI                                                                                       PC FUNDING, LLC - COLLECTION              SPE                                                             -            3,691,385.00            5,562,170.77    PC FUNDING, LLC
                                                                                                        ACCOUNT
7/3/2002      PCI                                                                                       REDTAGBIZ, INC. (LOCKBOX)                 INTER-COMPANY (INVESTOR                                         -            3,602,712.47            1,959,458.30    REDTAGBIZ, INC. (ACORN)
                                                                                                                                                  RELATED)
7/3/2002      PCI                                                                                       EDGE BROOK, INC.                          PRIVATE INVESTOR                                               -               121,500.00            1,837,958.30    EDGE BROOK, INC.
7/3/2002      PCI                                                                                       THE OZER GROUP                            UNKNOWN                                                        -                10,000.00            1,827,958.30
                                                                                                                                                                                       TOTAL $        16,022,779.12 $         15,122,173.28

1
    Information is sourced from bank transactional data available as of the date of this report.
2
    Categories are based on observations made to date with respect to each payor/payee's transaction history and relationship with PCI. Categories are subject to change upon the receipt of new information and/or the performance of additional analysis subsequent to the date of this report.
3
    Information in this column identifies transactions related to prior analyses performed and reported on in connection with this matter.




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Petters Company, Inc. (PCI)
PC Funding, LLC - Possible Sources and Uses of Funds
PCI M&I Bank (Account Number 1959018) 1

PC Funding Note Number - 082102-01 - $6,512,864.40 payment dated 12/5/2002
PC Funding Note Number - 081402-01 - $3,463,808.25 payment dated 12/5/2002
PC Funding Note Number - 080702-02 - $3,309,972.60 payment dated 12/5/2002



    Clear Date                       Payor                                   Payor Category 2                                    Payee                                Payee Category 2                        In Amount                  Out Amount                 Balance                                    Related Analysis 3
                                                               Beginning Balance - 12/4/2002                                                                                                                                                                 $         115,267.69
12/4/2002        FAC ACQUISITION LLC             INTER-COMPANY                       PCI                                                                                                                $        2,100,000.00 4, 5 $                    -            2,215,267.69
12/4/2002        ENCHANTED FAMILY BUYING COMPANY VENDOR (FRAUDULENT)                 PCI                                                                                                                         2,088,000.00                           -            4,303,267.69

12/4/2002        LANCER PARTNERS, LTD.                          PRIVATE INVESTOR                              PCI                                                                                                1,000,000.00                           -             5,303,267.69     LANCER FINANCIAL SERVICES, LLC - COMBINED DEALS
                                                                                                                                                                                                                                                                                       (2010), LANCER PARTNERS
12/4/2002        MICHAEL SCOTT SMITH                            PRIVATE INVESTOR                              PCI                                                                                                  500,000.00                           -             5,803,267.69     LANCER FINANCIAL SERVICES, LLC - COMBINED DEALS
                                                                                                                                                                                                                                                                                       (2010), MICHAEL SMITH
12/4/2002        PCI                                                                             PETTERS ACCEPTANCE METRO                                SPE                                                                -                4,639,037.05             1,164,230.64     METRO GEM CAPITAL FINANCE
                                                                                                 CAPITAL COLLATERAL ACCOUNT
12/4/2002        PCI                                                                             PCI                                                     INTRA-ENTITY                                                       -                  580,000.00               584,230.64     BONUS FUNDING
12/4/2002        PCI                                                                             PC FUNDING, LLC - COLLECTION                            SPE                                                                -                  172,317.50               411,913.14     PC FUNDING, LLC
                                                                                                 ACCOUNT
12/5/2002        REDTAGBIZ, INC. (OPERATING)                    INTER-COMPANY (INVESTOR RELATED) PCI                                                                                                             4,426,073.25                           -             4,837,986.39     PAC FUNDING, LLC

12/5/2002        REDTAGBIZ, INC. (OPERATING)                    INTER-COMPANY (INVESTOR RELATED) PCI                                                                                                             4,253,637.50                           -             9,091,623.89     PAC FUNDING, LLC

12/5/2002        KENNETH S CHAIJ DBA             VENDOR (FRAUDULENT)                                          PCI                                                                                                4,236,900.00                           -            13,328,523.89
12/5/2002        ENCHANTED FAMILY BUYING COMPANY VENDOR (FRAUDULENT)                                          PCI                                                                                                2,097,900.00                           -            15,426,423.89

12/5/2002        NATIONWIDE INTERNATIONAL                       VENDOR (FRAUDULENT)                           PCI                                                                                                1,832,090.00                           -            17,258,513.89
                 RESOURCES
12/5/2002        PC FUNDING, LLC - COLLECTION                   SPE                                           PCI                                                                                                  229,972.60                           -            17,488,486.49     PC FUNDING, LLC
                 ACCOUNT
12/5/2002        PETTERS ACCEPTANCE METRO                       SPE                                           PCI                                                                                                  229,437.05                           -            17,717,923.54     METRO GEM CAPITAL FINANCE
                 CAPITAL COLLATERAL ACCOUNT
12/5/2002        PCI                                                                                          PC FUNDING, LLC - COLLECTION               SPE                                                                -                6,512,864.40            11,205,059.14     PC FUNDING, LLC
                                                                                                              ACCOUNT
12/5/2002        PCI                                                                                          PC FUNDING, LLC - COLLECTION               SPE                                                                -                3,463,808.25             7,741,250.89     PC FUNDING, LLC
                                                                                                              ACCOUNT
12/5/2002        PCI                                                                                          METRO GEM, INC.                            PRIVATE INVESTOR, SPE-LIKE                                         -                3,380,733.33             4,360,517.56     METRO GEM, INC.
12/5/2002        PCI                                                                                          PC FUNDING, LLC - COLLECTION               SPE                                                                -                3,309,972.60             1,050,544.96     PC FUNDING, LLC
                                                                                                              ACCOUNT
12/5/2002        PCI                                                                                          METRO GEM, INC.                            PRIVATE INVESTOR, SPE-LIKE                                       -                     43,680.00             1,006,864.96     METRO GEM, INC.
                                                                                                                                                                                               TOTAL $         22,994,010.40        $       22,102,413.13

1
    Information is sourced from bank transactional data available as of the date of this report.
2
    Categories are based on observations made to date with respect to each payor/payee's transaction history and relationship with PCI. Categories are subject to change upon the receipt of new information and/or the performance of additional analysis subsequent to the date of this report.
3
    Information in this column identifies transactions related to prior analyses performed and reported on in connection with this matter.
4
 Transaction relates to an inter-company/intra-entity bank account for which one of the following applies: 1) no bank data was received; 2) bank statements were available, but no supporting check/wire information was available to confirm payors/payees; or 3) bank statements and supporting check/wire details were not available in a
coded and traceable format. As such, an inter-company/intra-entity tracing analysis was not performed for this transaction.
5
  Targeted searches were conducted in the HPeD database using the available information for the transaction (i.e., transaction date, transaction amount, and payor/payee information, to the extent available) in an attempt to identify the originating or beneficiary party and/or purpose of the transfer. As of the date of this report, no support
has been identified to indicate that the transfer relates to a potentially real purchase and/or sales transaction.




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                                      CREDIT AGREEMENT

       THIS CREDIT AGREEMENT is entered into as of December 17, 2001, by PC
  FUNDING, LLC, a Delaware limited liability company ("Borrower"), and OPPORTUNITY
  FINANCE. LLC. a Delaware limited liability company ("Lender").

  1.     DEFINITIONS AND CERTAIN RULES OF CONSTRUCTION

         1.1    Definitions. For all purposes of this Agreement, capitalized terms used in this
  Agreement shall have (unless otherwise provided elsewhere in this Agreement) the following
  respective meanings when used herein:

         "Affiliate" shall mean, with respect to any Person, (a)each Person that. directly or
  indirectly, owns or controls, whether beneficially, or as a trustee, guardian or other fiduciary, 5%
  or more of the equity interests having ordinary voting power in the election of directors (or
  Persons having similar functions) of such Persons,(b)each Person that controls, is controlled by
  or is under common control with such Person.(c) each of such Person's officers, directors, joint
   enturers and partners, and (d) in the case of Borrower, the immediate family members. spouses
  and lineal descendants of individuals who are Affiliates of Borrower. For the purposes of this
  definition "control" of a Person shall mean the possession, directly or indirectly, of the power to
  direct or cause the direction of its management or policies, whether through the ownership of
  voting securities, by contract or otherwise: provided, that Lender is not an Affiliate of Borrower
  for any purpose.

         "Assigned Receivable" has the meaning set forth in the Sale Agreement.

         "Buyer" shall mean a purchaser of inventory pursuant to a Buyer Purchase Order.

         "Buyer Purchase Order" shall mean, with respect to any Receivables Sale financed by
  Lender under this Agreement, a purchase order or other similar agreement between Originator
  and a Buyer pursuant to which such Buyer agrees to purchase Inventory from Originator. Each
  Buyer Purchase Order shall be in form and substance satisfactory to Lender. For avoidance of
  doubt, Buyer Purchase Order does not include any Buyer purchase order or similar agreement
  issued to Originator which is not related to any Receivable assigned to Borrower pursuant to the
  Sale Agreement.

        "Change of Control Date" shall mean the date upon which Thomas J. Petters ceases to
   own and control directly or indirectly 100% of the outstanding capital stock or equity of both
   Borrower and Originator.

          "Code" shall mean the Uniform Commercial Code as the same may. from time to time,
   be enacted and in effect in the State of Minnesota.

         "Collateral" shall have the meaning assigned to it in the Security Aueement.

         "Event of Default" shall have the meaning assigned to it in Section 7.1.




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        "Facility Termination Date" shall mean the earlier of (i) March 31, 2006 and (ii) the
date this Agreement is terminated under Section 7.2(a)(i) or Section 7.3.

      "Fixed Yield" shall mean the "fixed yield dollar amount- as specified to be paid to
Lender as established in the Promissory Note for each Fixed Yield Loan.

      "Fixed Yield Loan" shall mean a Receivables Loan with respect to which the parties
have selected the Fixed Yield option under Section 2.1(a)(i)(C) and have an agreed upon Fixed
Yield pursuant to the related Promissory Note.

       "Interest Loan" shall mean a Receivables Loan with respect to which the parties have
selected the interest option under Section 2.1(a)(i)(C) and have agreed upon an interest rate
pursuant to the related Promissory Note.

      "Inventory" shall mean with respect to any Receivables Sale, all inventory or goods
purchased by Originator pursuant to an Originator Purchase Order, the sale, or contract for sale,
of which by Originator to a Buyer gives rise to the related Receivables.

        "Loan Documents" shall mean this Agreement, the Promissory Notes, the Security
 Agreement. and all other agreements, instruments, documents. agreements, and certificates
 delivered to Lender in connection with this Agreement or the transactions contemplated hereby,
 and all amendments, restatements, renewals, supplements and modifications of the foregoing.

        "Material Adverse Effect" shall mean a material adverse effect, including by reason of
 an effect on Originator, Thomas J. Petters or any other Affiliate of Borrower, on (a) the business,
 assets, operations, prospects or financial or other condition of Borrower or Originator; (b)the
 inability of Originator to conduct any purchase or sales of inventory in accordance with the
 applicable Originator Purchase Order and Buyer Purchase Order:(c) the inability of Borrower to
 pa\ any of the Receivables Loans or any of the other obligations in accordance with the terms of
 this Agreement;(d)the Collateral or Lender's liens on the Collateral or the priority of such liens;
 or (e) Lender's rights and remedies under this Agreement and the other Loan Documents.

        "Maximum Loan Amount" shall mean the amount equal to S500,000,000.00.

        "Originator" shall mean Petters Company. Inc.. a Minnesota corporation.

        "Originator Purchase Order" shall mean. with respect to any Receivables Sale
 financed by Lender under this Agreement, a purchase order or other similar agreement between
 Originator and a Seller pursuant to which Originator agrees to purchase from such Seller the
 goods or inventory to be sold by Originator pursuant to a Buyer Purchase Order. Each
 Originator Purchase Order shall be in form and substance satisfactory to Lender. For avoidance
 of doubt. Originator Purchase Order does not include any Originator purchase order which has
 not been assigned pursuant to the Sale Agreement.

       "Person" shall mean any individual, partnership, joint venture, trust, unincorporated
 organization, corporation, or government.

        "Promissory Note" shall have the meaning assigned to it in Section 2.1(b).


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         "Receivable" has the meaning set forth in the Sale Agreement.

        "Receivables Loan" shall mean a loan made pursuant to section 2.1 with respect to a
  Receivables Sale financed by Lender, and all accrued fees, interest and other obligations payable
  by Borrower to Lender with respect thereto.

          "Receivables Sale- shall mean a sale of Receivables by Originator to Borrower pursuant
  to the Sale Agreement.

         "Restricted Payment" shall mean, with respect to any Person, (a)the declaration or
  payment of any dividend; (b) any payment on account of the purchase, redemption or other
  retirement of such Person's stock or any warrants, options or other rights with respect to such
  stock;(c)any payment of management fees by such Person to any stockholder of such Person or
  their Affiliates other than reasonable advances or payments made in the ordinary course of
  business on account of salary and routine business expenses; and (d) payments on indebtedness
  permitted under Section 6.4 of this Agreement.

        "Sale Agreement" shall mean the Sale Agreement of even date herewith between
  Borrower and Originator.

        "Security Agreement" shall mean the Security Agreement of even date herewith
  between Borrower and Lender.

         "Seller" shall mean a seller of Inventory to Originator.

        "Servicing Agreement" shall mean the Servicing Agreement of even date herewith
  between Borrower and Originator.

  1.      AMOUNT AND TERMS OF CREDIT

          2.1     Advances. Subject to the terms and conditions hereof, Lender may, in its
  discretion, from time to time until the Facility Termination Date, make Receivables Loans to or
  for the benefit of Borrower as provided for in this Section 2.1. Each Receivables Loan shall be
  evidenced by a Promissory Note as defined in Section 2.1(b). The aggregate amount of
  Receivables Loans outstanding shall not exceed at any time the Maximum Loan Amount.

                (a)      Receivables Loan Proposals.

                         (i)      If Borrower proposes to enter into any Receivables Sale, Borrower
  may propose that Lender agree to make a Receivables Loan to finance the purchase price with
  respect to the Receivable(s) that is/are proposed to be purchased by Borrower. The loan proposal
  shall be in substantially the form of Exhibit A attached hereto and shall specify the (A)details of
  the Receivables Sale,(B)amount of the proposed Receivables Loan.(C) if the financing is to be
  on a Fixed Yield basis, the amount of the Fixed Yield with respect to that Receivables Sale or. if
  the financing is to be on an interest bearing basis, the interest rate applicable to the financing,(D)
  terms of the assignment, if required, of the Receivables Sale, and (E) the casualty and credit
  i nPirar.7:2                          •- the sale of goods giving ris.: to Receivable(s). Borrower
  shall also provide such other information as Lender shall reasonably require in its sole discretion.


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                         (ii)    Within one business day after Lender's receipt of a loan proposal.
 Lender will notify Borrower either in writing, by telephone or by e-mail if(A) Lender is willing
 to make a Receivables Loan with respect to the proposed Receivables Sale on the terms proposed
 by Borrower, (B) Lender is not willing to make a Receivables Loan with respect to such
 Receivables Sale, or (C) Lender would be willing to make a Receivables Loan with respect to
 the proposed Receivables Sale, but only with such modifications as specified in such notice.
 Lender shall have sole discretion to decide whether or not to agree to any loan proposal or to
 propose a loan for the proposed Receivables Sale on different terms, and Borrower shall have the
 right to accept or reject any such different terms.

              (b)      Promissory Notes. On the date of each Receivables Loan, Borrower shall
execute and deliver to Lender a note in the original principal amount of that Receivables Loan.
substantially in the form of Exhibit B hereto (each a "Promissory Note" and collectively the
"Promissory Notes). Each Promissory Note shall represent the obligation of Borrower to pay the
amount of the related Receivables Loan, which shall include the interest or Fixed Yield thereon
as prescribed in Section 2.4. Unless otherwise agreed with respect to a particular Receivables
Loan and set forth in the related Promissory Note. the due date of each Promissory Note shall be
on the earlier of (i) the 120th day after the date thereof (unless otherwise specified in the
Promissory Note), or (ii) the day upon which Borrower receives available funds from the
payment from the Buyer on the Receivables financed by the proceeds of such Promissory Note.
The Promissory Notes may be prepaid in whole or in part at any time, as provided therein.

               (c)     Reliance on Notices. Lender shall be entitled to rely upon any notice of
 Receivables Loan, any loan proposal and any similar notice believed by Lender to be signed by
 any authorized representatives of Borrower. Lender may assume that each person executing and
 delivering such a notice was duly authorized to do so. unless the responsible individual acting
 thereon for Lender has actual knowledge to the contrary.

               use of Proceeds; Payments from Buyers.
               '

               (a)     Use of Proceeds. Borrower must use the proceeds of each Receivables
 Loan solely for the purpose of paying the purchase price with respect to the associated
 Receivables Sale, as and when Borrower is required to pay such amounts in accordance with the
 terms of the Sale Agreement. No loan proceeds shall be disbursed by Borrower until Lender has
 authorized (in a writing, by e-mail or by telephone) the disbursement and all conditions
 precedent to the disbursement established by Lender have been satisfied. Such purchase price
 shall be disbursed by Borrower directly for the account of the Originator to the Seller under the
 applicable Originator Purchase Order and must not he paid to any other Person.

                 (h)     Payments from Buyers. Borrower and Originator shall direct Buyers to
 make payments, whether by check or by wire transfer, with respect to all Assigned Receivables
 directly to Borrower for deposit into such account or accounts of Borrower as may be mutually
 agreed by Borrower and Lender. In the event any such payment other than a wire transfer is
 received by Borrower or Originator from a Buyer with respect to an Assigned Receivable, such
 payment shall deposited only in such account or accounts of Borrower as may be mutually
 2,_7-eed to by Berrn've7 and Lend.-:-. In the event any fluy,:.r proposes to pay by wire transfer, the
 wire transfer Instructions shall direct the payment to such account or accounts of Borrower as


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  may be mutually agreed by Borrower and Lender. In the event that any payment in the form of a
  wire transfer is received by Originator or Borrower from such a Buyer, Originator, or Borrower,
  as the case may be, shall, by the next business day, wire transfer such payment to such account
  or accounts of Borrower. If a payment is deposited into an account with respect to which
  Lender's approvals are required to disburse funds, Lender agrees to grant its approval within one
  business day after such deposit to disbursements from such account in the following prioirty:

                (i)     to Lender, or such party or parties as Lender may direct, in an amount
         owed to Lender with respect to the Receivables Loan made and the Promissory Note
         issued in connection with such a Buyer Purchaser Order;

                (ii)    provided that no Event of Default then exists, to Servicer (as defined in the
         Servicer Agreement by and between the Originator and Borrower), in an amount owed to
         the Servicer pursuant to the Servicing. Agreement;

                (iii)   except as provided in (iv), and provided that no Event of Default then
         exists. to Borrower, or such party or parties as Borrower may direct, for the balance of
         such payment; and

                (iv)    if a case or proceeding shall have been commenced against a Buyer
        (a) under Title 11 of the United States Code or any other applicable federal, state or
         foreign bankruptcy or other similar law;(b) requesting the appointment of a custodian,
         receiver or trustee (or similar official) of a Buyer of any substantial part of its assets; or
        (c) requesting the winding-up or liquidation of the affairs of a Buyer, and such case or
         proceeding shall remain undismissed or unstayed for sixty (60) days or such court shall
         enter a decree or order granting the relief sought in such case or proceeding, then Lender
         may apply the balance of such payment to the payment of the then outstanding
         Promissory Notes due Lender for the purchase of any Receivable(s) related to such Buyer
         until such Promissory Notes are paid in full.

                (c)     Borrower acknowledges that each Promissory Note shall be due and
  payable on the due date set forth in such Promissory Note, which shall be the earlier of (i) the
      th
  120 day after the date thereof (unless otherwise specified in the Promissory Note), or (ii) the
  day upon which Borrower receives available funds from payment from the Buyer on the account
  of the Receivables Sale financed by such Promissory Note. Each such Promissory Note shall be
  due on such due date, whether or not Borrower shall have received payment from the Buyer
  under the Buyer Purchase Order related to such Promissory Note. It shall not be an Event of
  Default under this Agreement or the Loan Documents if a Buyer does not pay an underlying
  Assimed Recci\ able when due, provided the related Promissory Note is paid on or before its due
  date (it being acknowledged that Borrower has until the Promissory Note due date to receive
  payment from such Buyer or to otherwise pay the Promissory Note from other sources.

         2.3    Maturity of Receivables Loans. Unless sooner paid, all obligations with respect
  to each Receivables Loan shall be due and payable in full on the date specified in Promissory
  Note executed with respect to such Receivables Loan.




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        2.4    Fixed Yield and Interest; Late Payments. At the time Borrower pays each
Receivables  Loan,   Borrower shall also pay the Fixed Yield or interest with respect to such
Receivables Loan as provided in the related Promissory Note. In the event that Borrower fails to
pay when due any payment under a Promissory Note, interest shall accrue on the past due
payment from the due date until such payment is made (a) at the stated interest rate on an Interest
Loan, and (b) at the rate of twenty percent(20%) per annum from and after the due date of such
payment on a Fixed Yield loan. Notwithstanding anything to the contrary set forth in this
Section 2.4, if a court of competent jurisdiction determines in a final order that the Fixed Yield
or interest payable hereunder exceeds the highest rate of interest permissible under applicable
law, then for so long as the maximum lawful rate would be so exceeded, the Fixed Yield or
interest payable hereunder shall be equal to the maximum interest amount allowed under
applicable law.

        2.5    Loan Account; Etc. Lender shall maintain a loan account on its books to record
with respect to each Receivables Loan: (a) all Receivables Loans. (b) all payments made by
Borrower or otherwise received by Lender, and (c) all other debits and credits as provided in this
-    err.-mt with respect to each Receivables Loan or any other obligation. All entries in
Lender's loan account shall be made in accordance with Lender's customary accounting
practices as in effect from time to time and a copy of which will be provided to Originator or
Borrower upon request. Lender further agrees that, with respect to any disposition of goods in
connection with any Receivables Sale pursuant to a Buyer Purchase Order, Lender shall, upon
payment to it of all amounts due in connection with the related Receivables Loan, release its lien
on such assets in order to permit Originator to effect such disposition, and shall execute and
deliver to Borrower appropriate UCC-3 statements as reasonably requested by Borrower.

         2.6      Indemnity. Borrower shall, within ten (10) days of written demand therefore.
indemnify and hold harmless each of Lender and its Affiliates, and each of such person's
respective officers, directors, employees. attorneys. agents. representatives, successors, and
assigns (each, an -Indemnified Person"), from and against any and all suits, actions,
 proceedings, claims, damages, losses, liabilities and expenses (including attorneys' fees and
disbursements and other costs of investigation or defense, including, those incurred upon any
appeal) which may be instituted or asserted against or incurred, without limitation, by any such
Indemnified Person as the result of credit having been extended, suspended or terminated under
this Agreement and the other Loan Documents and the administration of such credit, and in
connection with or arising out of the transactions contemplated hereunder and thereunder and
any actions or failures to act in connection therewith, including any and all environmental
 liabilities, or any breaches by Borrower or any of its representations, warranties or covenants
 con::_ined in this Agreement. and !cf.:al cos-,s ,.- nd expenses arising out of or incurred in
                with disputes tmAveen or among any panics to any of the Loan Documents
(collectively, "Indemnified Liabilities-) except to the extent that any such suit, action,
 proceeding., claim, damage, loss, liability or expense results from that Indemnified Person's gross
 negligence or willful misconduct, as finally determined by a court of competent jurisdiction. NO
 INDEMNIFIED PERSON SHALL BE RESPONSIBLE OR LIABLE TO ANY OTHER
PARTY TO ANY LOAN DOCUMENT, ANY SUCCESSOR, ASSIGNEE OR THIRD PARTY
 B ENEFICIARY OF SUCH PERSON OR ANY OTHER PERSON ASSERTING CLAIMS
     i IVATIVELY THROUGH SUCH PARTY. POP. PDIRECT, PUNITIVE. EXEMPLARY
OR CONSEQUENTIAL DAMAGES WHICH MAY BE ALLEGED AS A RESULT OF


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  CREDIT HAVING BEEN EXTENDED, SUSPENDED OR TERMINATED UNDER ANY
  LOAN DOCUMENT OR AS A RESULT OF ANY OTHER TRANSACTION
  CONTEMPLATED HEREUNDER OR THEREUNDER. NEITHER TERMINATION NOR
  COMPLETION OF THIS AGREEMENT SHALL AFFECT THESE INDEMNIFICATION
  PROVISIONS WHICH SHALL THEN REMAIN OPERATIVE AND IN FULL FORCE AND
  EFFECT.

         2.7      Access. Borrower and Originator shall, during normal business hours, from time
  to time as frequently as Lender reasonably determines to be appropriate:(a) provide Lender and
 any of its officers, employees and agents complete and timely access to, and prompt and full
  cooperation from, its properties, facilities, computers, computer records, advisors and employees
 (including officers) of Borrower. Originator and to the Collateral to the extent related to the
  Assigned Receivables; and (b) permit Lender, and any of its officers, employees and agents. to
  inspect, audit and make extracts from Borrower's and Originator's books and records related to
  the Assigned Receivables. Borrower and Originator shall provide, at no cost to Lender, an
  employee or consultant to assure that Lender can access and retrieve all information in
  Borrower's cc•mputers and computer records related to the Assigned Receivables.

          2.8     Originator Power of Attorney. With respect to any check received by
  Originator from a Buyer in payment of an Assigned Receivable, Originator hereby grants Lender
  an irrevocable power of attorney to endorse any such check constituting proceeds of an Assigned
  Receivable with an endorsement from Originator to Borrower (if necessary) and with the
  restrictive endorsement For deposit only — PC Funding, LLC- in order that Lender may deposit
  such check in the account or accounts referenced in Section 2.2(b).

         2.9    Taxes. Any and all payments by Borrower hereunder or under the Promissory
  Notes shall be made free and clear of and without deduction for any and all present or future
  taxes. Borrower shall indemnify and pay Lender for the full amount of taxes (other than taxes on
  Lender's income) paid by Lender with respect to the transactions under this Agreement.

  3.     CONDITIONS PRECEDENT

         Lender may require as a condition to any Receivables Loan that Borrower provide
  documentation and information acceptable to Lender. In addition, upon execution of this
  Agreement. Borrower shall provide to Lender an opinion letter of Borrower's counsel in form
  and substance reasonably satisfactory to Lender.

  4.      REPRESENTATIONS AND WARRANTIES

          To induce Lender to make the Receivables Loans. Borrower makes the following
   representations and warranties to Lender, each and all of which shall survive the execution and
   delivery of this Agreement.

          4.1     Corporate Existence; Compliance with Lass. Borrower (a) is a limited liability
  company    duly  organized, validly existing and in good standing under the laws of Delaware;
  (b) is duly qualified to conduct business and is in good standing in each other jurisdiction where
   its ownership or lease of propert       „le conduct of its business requires such qualification;
  (c) has the requisite corporate power  and authority and the legal right to own, pledge, mortgage

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or otherwise encumber and operate its properties, to lease the property it operates under lease and
to conduct its business as now, heretofore and proposed to be conducted; (d) has all licenses,
permits, consents or approvals from or by, and has made all filings with, and has given all
notices to, all governmental authorities having jurisdiction, to the extent required for such
ownership, operation and conduct; (e) is in compliance with its certificate of formation and
limited liability company agreement: and (f) is in compliance with all applicable provisions of
law, except where the failure to comply, individually or in the aggregate, could not reasonably be
expected to have a Material Adverse Effect.

        4.2     Executive Offices; FEIN. The current location of Borrower's and Originator's
chief executive office and principal place of business is 7585 Equitable Drive, Eden Prairie,
Minnesota 55344, and neither Borrower nor Originator has had any other chief executive office
or principal place of business. Borrower's federal employer identification number is XX-XXXXXXX

        4.3     Corporate Power, Authorization, Enforceable Obligations. The execution,
delivery and performance by Borrower of the Loan Documents to which it is a party and the
 creation of all liens provided for therein: (a) are within Borrower's limited liability company
 power;(b) have been duly authorized by all necessary or proper limited liability company action;
(c) do not contravene any provision of Borrower's certificate of formation and limited liability
 company agreement;(d) do not violate any law or regulation. or any order or decree of any court
 or governmental authority; (e) do not conflict with or result in the breach or termination of,
 constitute a default under or accelerate or permit the acceleration of any performance required
 by. any indenture, mortgage, deed of trust, lease, agreement or other instrument to which
 Borrower is a party or by which Borrower or any of its property is bound:(f) do not result in the
 creation or imposition of any lien upon any of the property of Borrower other than those in favor
 of Lender pursuant to the Loan Documents: and (2) do not require the consent or approval of any
 governmental authority or any other Person. Each Loan Document constitutes a legal, valid and
 binding obligation of Borrower enforceable against it in accordance with its terms.

        4.4     Material Adverse Effect. No event has occurred. which alone or together with
other events, could reasonably be expected to have a Material Adverse Effect

        4.5      Ownership of Property; Liens. Borrower owns no material property other than
 the Assigned Receivables and related rights purchased or granted pursuant to the Sale
 Agreement. Borrower has good and marketable title to such assets, and none of such assets is
 subject to any liens not held by Lender or an Affiliate of Lender.

        4.6     Taxes. All tax returns, reports and statements, including information returns,
r-2ouired by any governmen:_l authori:\ to be filed by Borrower have been filed with the
appropriate governmental authority and all taxes have been paid prior to the date on which any
fine, penalty, interest or late charge may be added thereto for nonpayment thereof(or any such
fine, penalty, interest, late charge or loss has been paid).

5.      AFFIRMATIVE COVENANTS

         To induce Lender to make the Receivables Loans. Borrower agrees that from and after
 ..- date hereof and until the -acilit‘ ermination Date.



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         5.1      Maintenance of Existence and Conduct of Business. Borrower shall:(a) do or
 cause to be done all things necessary to preserve and keep in full force and effect Borrower's
  limited liability company existence, and its rights and franchises necessary to the proper conduct
 of its business;(b) continue to conduct Borrower's business solely for the purpose of conducting
  Receivables Sales financed by Lender or an Affiliate of Lender; (c) at all times maintain.
  preserve and protect all of Borrower's assets and properties used or useful in the conduct of its
  business, and keep the same in good repair, working order and condition in all material respects
 (taking into consideration ordinary wear and tear);(d)transact business only in Borrower's legal
  name: and (e) conduct Borrower's operations in a manner that complies with all of the terms and
  covenants in this Agreement and other Loan Documents.

         5.2      Books and Records. Borrower shall keep adequate books and records with
  respect to its business activities in which proper entries, reflecting all financial transactions, are
  made in accordance with generally accepted accounting principles consistently applied.
  Borrower shall deliver to Lender financial statements, reports, notices and other information
  regarding Borrower, Originator and Receivables Sales financed by Lender as Lender shall
  request in its discretion from time to time. Borrower shall promptly report to Lender the
  occurrence of any event that could reasonably expect to have a Material Adverse Effect,
  including any litigation,judgments or liens.

          5.3    Insurance. Borrower shall maintain, at its sole cost and expense, policies of
  casualty and liability insurance as are typically maintained by similar companies engaged in
  similar businesses, naming Lender as a loss payee and additional insured. In addition, Borrower
  shall maintain credit insurance, on an equal cost-shared basis with Lender unless otherwise
  agreed, with respect to any Receivables Loan to the extent and on the terms specified in the
  related loan proposal as accepted by Lender. In addition. Borrower with respect to such credit
  insurance, will take all appropriate steps to preserve and pursue all claims under such policies.
  In the event Borrower fails to maintain such insurance. Lender may. in its discretion. procure
  such insurance and charge the Borrower for the cost thereof (subject to such equal cost-sharing
  with respect to credit insurance).

          5.4    Compliance with Laws. Borrower shall comply with all federal. state, local, and
  foreign laws and regulations applicable to them, except to the extent that the failure to comply,
  individually or in the aggregate, could not reasonably be expected to have a Material Adverse
  Effect.

         5.5      Further Assurances. Borrower agrees that it shall and shall request any Seller
  and any Buyer to. at Borrower's expense and upon request of Lender, duly execute and deliver,
  or cause to be duly exect- and delivered. to Lender such further instruments and do and cause
  to be done such further acts as may be necessary or proper in the reasonable opinion of Lender to
  carry out the provisions and purposes of this Agreement or any other Loan Document; provided
  however, that Lender agrees to file a financing statement substantially in the form attached
  hereto as Exhibit C. Without limiting the foregoing. Borrower shall take all actions necessary
  such that the liens granted to Lender pursuant to the Loan Documents will at all times be fully
  perfected first priority liens in and to the Collateral described therein.




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       5.6      No Liens. Borrower shall cause the Originator to warrant to Borrower that, upon
payment to a Seller using the proceeds of a Receivables Loan which, taken together with any
contribution from the Originator, shall be used to pay a portion of the purchase price of the
related Receivables Sale, the Originator shall be the owner of Inventory subject to the related
Originator Purchase Order, free and clear of any adverse claims, liens and encumbrances other
than those in favor of Borrower or Lender.

        5.7    Operational Limitations. For at least one year and one day after the date that all
 Loans shall have been paid in full, Borrower shall comply with the following:

               (a)      Borrower shall own no assets, and will not engage in any business, other
 than the assets and transactions specifically contemplated by this Agreement.

               (b)      Borrower shall not incur any indebtedness or obligation, secured or
 unsecured, direct or indirect, absolute or contingent (including any guaranty of any such
 obligation), other than in connection with Receivables Sales financed by Lender or an Affiliate
 of Lender and as otherwise permitted under this Agreement.

                (c)      Borrower shall not make any loans or advances to any third party and shall
 not acquire obligations (other than pursuant to the Servicing Agreement and the Sale Agreement)
 or securities of any of its Affiliates.

               (d)     Borrower shall pay Borrower's debts and liabilities only from Borrower's
 assets.

                 (e)    Borrower shall do all things necessary to observe organizational
 formalities and preserve Borrower's existence and will not amend, modify or otherwise change
 its certificate of formation or limited liability company agreement, or suffer the same to be
 amended, modified or otherwise changed. without the prior wTitten consent of Lender.

              (0       Borrower shall maintain all of Borrower's books, records, financial
 statements and bank accounts separate from those of the Originator or any of its other Affiliates.

                 (g)      Borrower shall be, and at all times will, hold itself out to the public as a
 legal entity separate and distinct from any other entity (including Originator and any other
 Affiliate of Borrower) and shall correct any known misunderstanding regarding Borrower's
 status as a separate entity, shall conduct its business in the name of Borrower, and shall not
 identify itself or any of its Affiliates as a division or part of the other and shall maintain and
 t_hill=e separate invoices and checks.

              (h)      Borrower shall maintain adequate capital. as determined in Borrower's
 reasonable discretion, for the normal obligations reasonably foreseeable in a business of
 Borrower's size and character and in light of Borrower's contemplated business operations.

                (i)     Borrower shall not engage in or suffer any dissolution, winding-up,
 liquidation, consolidation or merger in whole or in part.




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                (1)     Borrower shall not commingle Borrower's funds or other assets with those
 of Originator or any other Affiliate of Borrower or any other person or entity.

                (k)      Borrower shall maintain Borrower's assets in such a manner that it will
  not be costly or difficult to segregate, ascertain or identif Borrower's individual assets from
  those of Originator or any other Affiliate or any other person or entity.

                (1)      Borrower shall not hold itself out to be responsible for the debts or
  obligations of any other person or entity (other than as contemplated by the Servicing Agreement
  and the Sale Agreement).

                (m) Borrower shall maintain an independent director as set forth in its limited
  liability company agreement.

                 (n)     Borrower shall maintain, at its sole cost and expense, policies of casualty
  and property insurance with respect to the Inventory which is subject to each Originator Purchase
  Order which shall (i) provide for coverage in an amount which shall be equal to the price for
  which the related Seller has agreed to sell such Inventory under the related Seller Purchase
  Order. (ii) be continuously in effect during the period from the date the Lender shall advance the
  proceeds of the related Receivables Loan to the Borrower through and including the date that the
  related Buyer shall irrevocably accept delivery of such Inventory and agree to be responsible for
  the purchase price therefor: (iii) name the Lender and its successors and assigns as loss payee
  parties thereunder; and (iv) otherwise be in form and substance acceptable to the Lender and
  shall be from one or more insurance companies acceptable to the Lender.

  6.     NEGATIVE COVENANTS

          To induce Lender to make the Receivables Loans, Borrower agrees that, without the prior
  v,Tirten consent of Lender, from and after the date hereof until one year and one day after the
  Facility Termination Date:

          6.1     Mergers, Subsidiaries, Etc. Borrower shall not directly or indirectly, by
  operation of law or otherwise,(a) form or acquire any subsidiary, or (b) merge with, consolidate
  with, acquire all or substantially all of the assets or capital stock of. or otherwise combine with or
  acquire, any Person; provided however, that the acquisition of any assets by Borrower pursuant
  to the Sale Agreement shall not be a violation of this covenant_

         6.2    Purchase Orders. Borrower shall not amend, modify. supplement, or assent to
  noncompliance with any material term. provision or condition of ari . Buyer Purchase Order, or
  permit Originator to do so.

         6.3     Investments; Loans and Advances. Borrower shall not make or permit to exist
  any investment in, or make, accrue or permit to exist loans or advances of money to, any Person,
  through the direct or indirect lending of money, holding of securities or otherwise.

          6.4   Indebtedness. Borrower shall not create, incur, assume or permit to exist any
  i ndebtedness r liabilities.        (a) obl-ations ovine to Lender or 1._) Other Lenders as
  described in Section 8.11; (b) contingent liabilities arising out of endorsements of checks and


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 other negotiable instruments for deposit or collection in the ordinary course of business, and (c)
 indebtedness or liabilities under the Servicing Agreement.

        6.5     Affiliate Transactions. Borrower shall not enter into or be a party to any
 transaction with any Affiliate other than payments to Affiliates permitted by Section 6.9 and as
 otherwise contemplated by this Agreement (including, without limitation, the Sale Agreement
 and the Servicing Agreement).

         6.6     Capital Structure and Business. Borrower shall not make any changes to its
 capital structure which results in Thomas J. Petters, directly or indirectly, owning less than 100%
 of the equity and financial interest of Borrower, or to its business objectives or purposes, or make
 any material change in its operations.

         6.7    Guaranteed Indebtedness. Borrower shall not create, incur, assume or permit to
 exist any obligation to guaranty any indebtedness or other obligation of any other Person in any
 manner except by endorsement of instruments or items of payment for deposit to the general
 account of Borrower.

        6.8      Liens. Borrower shall not create, incur, assume or permit to exist any lien on or
 with respect to the any of its properties or assets (whether now owned or hereafter acquired)
 except (i) liens in favor of Lender pursuant to the Loan Documents and liens in favor of Other
 Lenders, and (ii) liens for taxes not yet due.

         6.9     Restricted Payments. Borrower shall not make any Restricted Payment,
 provided that so long as no Event of Default has occurred and is continuing, Borrower may, with
 respect to the proceeds of any Receivables financed by Lender, after re-paying in full that portion
 of the obligations to Lender that relate to such Receivables, pay the remainder of the proceeds of
 that Receivable to Originator as distributions with respect to the equity of Borrower.

        6.10 Change of Corporate Name or Location. Borrower shall not (a) change its
 name or jurisdiction of organization, or (b)change its chief executive office, principal place of
 business, other business offices, warehouses or other locations, or the location of its records
 concerning any Collateral, in any case without at least 30 days' prior written notice to Lender
 and after completing or taking any reasonable action requested by Lender in connection
 therewith.

 7.     EVENTS OF DEFAULT: RIGHTS AND REMEDIES; TERM

         7.1     Events of Default. The occurrence of any one or more of the following events
 shall constitute an -Event of Default":

              (a)       Borrower (i) fails to make any required payment on any Receivables Loan
or any of the other obligations under the Promissory Notes when due and payable, unless such
due date has been extended in writing by Lender, and such failure remains unremedied for one
(1) business day; or (ii) fails to pay or reimburse Lender for any expense reimbursable under any
Loan Document within ten (10) days following Lender's demand for such reimbursement or
payment of expenses.



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                 (b)     Borrower or Originator shall fail or neglect to perform, keep or observe
  any other provision of any Loan Documents (other than any provision embodied in or covered by
  any other clause of this Section) and the same shall remain unremedied for a period ending on
  the first to occur of five (5) business days after Borrower or Originator shall receive written
  notice of any such failure from Lender or five (5) business days after Borrower or Originator
  shall become aware thereof; provided however, that if Originator or Borrower fails to transmit
  funds as required in Section 2.2(b), such five-day grace period shall not apply and there shall be
  no grace period.

                (c)       Any representation or warranty in any Loan Document or in any written
  statement, report, financial statement or certificate made or delivered to Lender by Borrower is
  untrue or incorrect in any material respect as of the date when made or deemed made.

                 (d)      Any assets of Borrower or Originator shall be attached, seized or levied
  upon. or come   within the possession of any receiver, trustee, custodian or assignee for the benefit
  of creditors of Borrower.

                   (e)     A case or proceeding shall have been commenced against Borrower or
  Originator (i) under Title II of the United States Code or any other applicable federal, state or
  foreign bankruptcy or other similar law; (ii) requesting the appointment of a custodian, receiver
   or trustee (or similar official) of Borrower or Originator or of any substantial part of its assets; or
  (iii) requesting the winding-up or liquidation of the affairs of Borrower or Originator, and such
   case or proceeding shall remain undismissed or unstayed for sixty (60) days or such court shall
   enter a decree or order granting the relief sought in such case or proceeding.

                  ()1       Borrower or Originator (i) shall file a petition seeking relief under Title
   1 1 of the United States Code, or any other applicable federal, state or foreign bankruptcy or other
   similar law; (ii) shall fail to contest in a timely and appropriate manner or shall consent to the
   institution of proceedings thereunder or to the filing of art.\ such petition or to the appointment of
   or taking possession by a custodian. receiver or trustee (or similar official) of Borrower or
   Originator or of any substantial part of its assets; (iii) shall make an assignment for the benefit of
   creditors; or (iv) shall take any action in furtherance of any of the foregoing; or (v) shall admit in
   writing its inability to, or shall be generally unable to, pay its debts as such debts become due.

                (g)      A final judgment or judgments for the payment of money shall be
   rendered against Borrower and the same shall not, within thirty (30) days after the entry thereof,
   have been discharged or execution thereof stayed or bonded pending appeal, or shall not have
   been discharged prior to the expiration of any such stay.

                  (h)      A Change of Control Date shall have occurred

                  (i)      Any other event shall have occurred that has a Material Adverse Effect.

           7.1     Remedies.

                  (a)If any Event of Default shall have occurred and he continuing, Lender
                        suspend or terminate this             respect to further Receivables
   Loans, and, upon written notice, terminate this Agreement (in which case the Facility

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Termination Date shall be the termination date set forth in such notice); (ii) declare all or any
 portion of the Promissory Notes due; and (iii) exercise any rights and remedies provided to
Lender under the Loan Documents and/or at law or equity. including all remedies provided under
the Code; provided, that upon the occurrence of an Event of Default specified in Sections 7.1
(d),(e) or (f), all of the obligations shall become immediately due and payable automatically
 without declaration, notice or demand by any Person. Lender's rights and remedies under this
 Agreement shall be cumulative and nonexclusive of any other rights and remedies which Lender
 may have under any other agreement, including the other Loan Documents, by operation of law
 or otherwise. Recourse to any Collateral shall not be required. Borrower hereby irrevocably
 appoints Lender and its successors and assigns as Borrower's attorney-in-fact, coupled with an
 interest, to take all actions and perform all obligations required of Borrower under this
 Agreement after the occurrence and during the continuance of an Event of Default.

               (b)     If any Event of Default shall have occurred and be continuing and if
 Lender determines that Originator is unwilling or unable to complete any inventory sale as
 required under any Originator Purchase Order or Buyer Purchase Order, then Lender or its
 successors and assigns may assume control of. and conduct and complete, such inventory sale
 pursuant to the terms of such Originator Purchase Order or Buyer Purchase Order, as the case
 may be.

        7.3     Term. The financing arrangements contemplated hereby shall be in effect until
 the Facility Termination Date. In addition to Lender's rights under Section 7.2(a)(i), either
 Borrower or Lender may also terminate this Agreement on thirty (30) days prior written notice,
 and the Facility Termination Date shall be the thirtieth day after such notice (unless otherwise
 agreed by Borrower and Lender); provided that such termination shall not affect: (a) Borrower's
 obligations to make any payments due and owing to Lender pursuant to this Agreement; and (b)
 the indemnification provisions under Section 2.6, all of which shall remain operative and in full
 force and effect. Upon payment in full in cash and performance of all of Borrower's obligations
 to Lender (other than indemnification obligations hereunder), Lender shall deliver to Borrower
 and Originator termination statements, release of Collateral and guaranties and other documents
 necessary or appropriate to evidence termination of the liens and guaranties securing payment of
 the amounts owed to Lender hereunder.

 8.     MISCELLANEOUS

         8.1     Complete Agreement; Modification of Agreement. The Loan Documents
 constitute the complete agreement between the parties with respect to the subject matter thereof
 and may not be modified. altered or amended except as set forth in Section 8.2 below. Any prior
 agreement, whether written or oral. between Borrower and Lender or any of their respective
 affiliates, predating this Agreement and relating to a financing of substantially similar form,
 purpose or effect shall be superseded by this Agreement.

        8.2      Amendments. No amendment, modification, or termination of any provision of
 any Loan Document, or any consent to any departure by Borrower therefrom, shall in any event
 be effective unless the same shall be in writing and signed by Lender and Borrower.




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         8.3     Fees and Expenses. Borrower shall reimburse Lender for all fees, filing fees.
  costs and expenses, including the fees, costs and expenses of counsel or other advisors for
  advice, assistance, or other representation in connection with:

                (a)      any litigation, contest, dispute, suit, proceeding or action (whether
         instituted by Lender, Borrower or any other Person as a party, witness or otherwise) in
         any way relating to the Collateral, any of the Loan Documents or any other agreement to
         be executed or delivered in connection therewith or herewith, including any litigation.
         contest, dispute, suit, case, proceeding or action, and any appeal or review thereof, in
         connection with a case commenced by or against Borrower or any other Person that may
         be obligated to Lender by virtue of the Loan Documents, including any such litigation.
         contest, dispute, suit, proceeding or action arising in connection with any workout or
         restructuring, of the Receivables Loans during the pendency of one or more Events of
         Default:

                (b)     any attempt to enforce any remedies of Lender against Borrower or any
         other Person that may be obligated to Lender by virtue of any of the Loan Documents.
         including any such attempt to enforce any such remedies in the course of any workout or
         restructuring of the Receivables Loans during the pendency of one or more Events of
         Default: and

                (c)      efforts to perfect, verify, protect, evaluate. assess. appraise, collect, sell,
         liquidate or otherwise dispose of any of the Collateral:

  including all attorneys' and other professional and service providers fees arising from such
  services, including those in connection with any appellate proceedings, and all expenses. costs,
  charges and other fees incurred by such counsel and others in any way or respect arising in
  connection with or relating to any of the events or actions described in this Section. all of which
  shall be payable, on demand, by Borrower to Lender. If Borrower shall fail to pay any of such
  items upon demand, interest under Section 2.4 shall apply to such items until payment in full.

         8.4     No Waiver. Lender's failure, at any time or times, to require strict performance
  by Borrower of any provision of this Agreement and any of the other Loan Documents shall not
  waive, affect or diminish any right of Lender thereafter to demand strict compliance and
  performance therewith. Any suspension or waiver of an Event of Default shall not. suspend,
  waive or affect any other Event of Default whether the same is prior or subsequent thereto and
  whether the same or of a different type. None of the undertakings, agreements, warranties,
  covenants and representations of Borrower contained in this .Agreement or any of the other Loan
  Documents and no default or Event of Default h% Borrower shall be deemed to have been
  suspended or waived by Lender, unless such waiver or suspension is by an instrument in writin2,
  signed by an officer of Lender and directed to Borrower specifying such suspension or waiver.

         8.5     Successors and Assigns. This Agreement and the other Loan Documents shall
  be binding on and shall inure to the benefit of Borrower. Lender and their respective successors
  and assigns (including a debtor-in-possession on behalf of Borrower or Originator). Borrower
  may not assigr. t-ansfer. hypothecate or otherwiy convey its rights, benefits, obligations OF
  duties hereunder or under any of the other Loan Documents without the prior express written


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consent of Lender. Any such purported assienment, transfer, hypothecation or other conveyance
by Borrower without the prior express written consent of Lender shall be void. The terms and
provisions of this Agreement are for the purpose of defining the relative rights and obligations of
Borrower and Lender with respect to the transactions contemplated hereby and no Person shall
be a third party beneficiary of any of the terms and provisions of this Agreement or any of the
other Loan Documents.

      8.6     GOVERNING LAW. THE LOAN DOCUMENTS SHALL BE GOVERNED
BY, AND CONSTRUED AND ENFORCED IN ACCORDANCE WITH, THE LAWS OF
THE STATE OF MINNESOTA WITHOUT REGARD TO THE CONFLICT OF LAWS
PRINCIPLES THEREOF AND ANY APPLICABLE LAWS OF THE UNITED STATES
OF AMERICA. BORROWER HEREBY CONSENTS AND AGREES THAT THE
STATE OR FEDERAL COURTS LOCATED IN HENNEPIN COUNTY, MINNESOTA
SHALL HAVE EXCLUSIVE JURISDICTION TO HEAR AND DETERMINE ANY
 CLAIMS OR DISPUTES BETWEEN BORROWER AND LENDER PERTAINING TO
 THIS AGREEMENT OR ANY OF THE OTHER LOAN DOCUMENTS OR TO ANY
!tlT7.7_1P. ARISING OUT OF OR RELATING TO THIS AGREEMENT OR ANY OF
 THE OTHER LOAN DOCUMENTS; PROVIDED, LENDER MAY BRING SUIT OR
 TAKE OTHER ACTION IN ANY OTHER JURISDICTION TO REALIZE ON THE
 COLLATERAL OR ANY OTHER SECURITY FOR THE OBLIGATIONS, OR TO
 ENFORCE A JUDGMENT OR OTHER COURT ORDER IN FAVOR OF LENDER.

        8.7     Notices. Except as otherwise provided herein, whenever it is provided herein that
any notice, demand, request, consent. approval, declaration or other communication shall or may
 be given to or served upon any of the parties by any other parties, or whenever any of the parties
desires to give or serve upon any other parties any communication with respect to this
 Agreement, each such notice, demand, request. consent. approval, declaration or other
communication shall be in writing and shall be deemed to have been validly served, given or
delivered (a) upon the earlier of actual receipt and three business days after deposit in the United
 States Mail, registered or certified mail, return receipt requested, with proper postage prepaid;
(b) upon transmission, when sent by email. telecopy or other similar facsimile transmission (with
 such email, telecopy or facsimile promptly confirmed by delivery of a copy by personal delivery
 or United States Mail as otherwise provided in this Section); (c) one business day after deposit
 with a reputable overnight courier with all charges prepaid; or (d) when delivered, if hand-
 delivered by messenger, all of which shall be addressed to the party to be notified and sent to:

 If to Borrower:

           PC Funding__ LLC
           7585 Equitable Drive
           Eden Prairie, MN 55344
           Attn: Thomas J. Petters
           Fax: 952-975-2295
           email: Tom.Petters@redtagbiz.com

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         Opportunity Finance, LLC
         60 South Sixth Street
         Minneapolis, MN 55402
         Attn: Jon R. Sabes
         Fax: 612-339-8922
         email: sabesjon@qwest.net

  or to such other address or person (or facsimile number)as may be substituted by notice given as
  herein provided.

         8.8     Counterparts. This Agreement may be executed in any number of separate
  counterparts, each of which shall collectively and separately constitute one agreement.

      8.9   WAIVER OF JURY TRIAL. THE PARTIES HERETO WAIVE ALL
  RIGHT TO TRIAL BY JURY IN ANY ACTION,SUIT, OR PROCEEDING BROUGHT
  TO RESOLVE ANY DISPUTE, WHETHER SOUNDING IN CONTRACT, TORT OR
  OTHERWISE, BETWEEN LENDER AND BORROWER ARISING OUT OF,
  CONNECTED WITH, RELATED TO, OR INCIDENTAL TO THE RELATIONSHIP
  ESTABLISHED AMONG THEM IN CONNECTION WITH, THIS AGREEMENT OR
  ANY OF THE OTHER LOAN DOCUMENTS OR THE TRANSACTIONS RELATED
  THERETO.

          8.10 No Joint Venture. Nothing contained herein shall be deemed or construed to
  create a partnership or joint venture between Borrower and Lender or Originator and Lender.

          8.11 Other Lenders. The parties contemplate that from time to time Borrower may
  enter into financing agreements with Affiliates of Lender ("Other Lenders"). Lender may act
  as an agent for Other Lenders and Lender may appoint one or more Other Lenders or other
  Affiliates of Lender to act as agent for Lender for such purposes under this Agreement as Lender
  shall designate in a written notice to Borrower. Borrower may not grant any Other Lender a lien
  on any Receivables Sale (or related asset) with respect to which Lender has made a Receivables
  Loan unless Lender consents to such grant in Nwitin(.7.. Any default or event of default under any
  financing agreement with any Other Lender shall constitute an Event of Default under this
  Agreement.

          8.12 Confidentiality. Lender agrees to use reasonable efforts (equivalent to the efforts
  Lender applies to maintain as confidential its own confidential information) to maintain as
  confidential all information provided by Borrower or Originator to Lender and designated as
  confidential: provided however, that Lender. ma% disclose such information to (i any entity
  providing financing to Lender or any assitmee of Lender (a "Funding Source"):       any credit-
  enhancement provider of (a) Lender, (b)      assignee of Lender. or (c) any Funding Source (a
  --Credit Enhancement Provider"); or (iii) any rating agency: provided further that Lender or
  any such other party or person may disclose such information to Persons employed or engaged
  bv Lender, such Funding Source, such Credit Enhancement Provider, or such rating agency in
  evaluating, approving, structuring or administering the Receivables Loans and the financing
  facility provided hereunder: provided however, that any such party or person (r, "'horn such
  i nformation \yid be provided agrees to maintain such information as confidential as set forth




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above, and provided that Lender or any such party or person may disclose such information (a)
as required or requested by any governmental authority or reasonably believed by Lender, any
Funding Source, any Credit Enhancement Provider, or any rating agency to be compelled by any
court decree, subpoena or legal or administrative order or process; (b) as, in the opinion of
counsel to Lender, any Funding Source, any Credit Enhancement Provider, or any rating agency
required by law; (c) in connection with the exercise of any right or remedy under the Loan
Document or in connection with any litigation to which Lender, any Funding Source, any Credit
Enhancement Provider or rating agency is a party; or(d) which ceases to be confidential through
no fault of Lender, any Funding Source, any Credit Enhancement Provider or any rating agency.

        8.13 Consent to Sale or Transfer. Borrower and Originator hereby consent, and
agree to be bound by, any sale, transfer, assignment or pledge of any or all right, title and interest
of Lender in, to or under the Receivables, Loans, Collateral, Loan Documents and any or all
related rights, privileges and entitlements therein, and hereby further consents to the Lender's
transfer, assignment, and pledge of any or all of its rights as a third-party beneficiary under the
Sale Agreement. Borrower and Originator further consent to, and agree to be bound by, any
subsequent sales. transfers, assignments or pledges of any or all of the foregoing by any
transferee, assignee or pledge of Lender.

         IN WITNESS WHEREOF, this Agreement has been duly executed as of the date first
 written above.

                                               PC F      DING. LLC


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                                                      resi ent



                                               OPPORTUNITY FINANCE. LLC



                                                    on R.   es
                                                   Chief'Manager and President




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                          ACKNOWLEDGMENT AND AGREEMENT

         The undersigned hereby consents to the foregoing Credit Agreement and agrees to be
  bound by, perform those obligations imposed on it by, and be responsible for the representations
  and warranties by it in, the Credit Agreement.


                                              PETTERS COMPANY,INC.
                                              a Minnesota corporation


                                              By:




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            EXHIBIT T-29

     INTENTIONALLY
        OMITTED
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            EXHIBIT T-30

   WITHHELD
  PURSUANT TO
PROTECTIVE ORDER
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            EXHIBIT T-31

   WITHHELD
  PURSUANT TO
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                                                                                 Page 1
 1                          JENNIFER WIKOFF
 2                 UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MINNESOTA
 3                           NO. 08-45257
 4   IN RE: PETTERS COMPANY, INC., et al.,)
                                           )
 5        Debtors.                          )
                                            )
 6                                          )
     DOUGLAS A. KELLEY, in his capacity as)
 7   the Trustee of the PCI Liquidating     ) Court File Nos.
     Trust,                                 ) 08-45258 (KHS)
 8                                          ) 08-45326 (KHS)
          Plaintiff,                        ) 08-45327 (KHS)
 9                                          ) 08-45328 (KHS)
         vs.                                ) 08-45329 (KHS)
10                                          ) 08-45330 (KHS)
     OPPORTUNITY FINANCE, LLC; OPPORTUNITY) 08-45331 (KHS)
11   FINANCE SECURITIZATION, LLC;           ) 08-45371 (KHS)
     OPPORTUNITY FINANCE SECURITIZATION     ) 08-45392 (KSH)
12   II, LLC; OPPORTUNITY FINANCE           )
     SECURITIZATION III, LC; INTERNATIONAL)
13   INVESTMENT OPPORTUNITIES, LLC; SABES )
     FAMILY FOUNDATION; SABES MINNESOTA     )
14   LIMITED PARTNERSHIP; ROBERT W. SABES;)
     JANET F. SABES; JON R. SABES; STEVEN )
15   SABES; DEUTSCHE                        )
     ZENTRALGENOSSENSCHAFTBANK AG; AND     )
16   THE    MINNEAPOLIS FOUNDATION,         )
                                            )
17        Defendants.                       )
     _____________________________________)
18
19
20              VIDEOTAPED DEPOSITION OF JENNIFER WIKOFF
21                        Amsterdam, Netherlands
22                     Thursday, November 29, 2018
23
24   REPORTED BY: RICH ALOSSI, RPR, CCRR, CSR NO. 13497
25   Job No. 150586

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                                                                                Page 37
 1                                    JENNIFER WIKOFF
 2           A       Correct.
 3                   Sort of correct.
 4           Q       Why do you say "sort of"?
 5           A       Because if it -- the tenor of the terms, as
 6   our portfolio grew, you would be -- maybe you didn't
 7   originate a deal, but you had a portfolio of ten deals
 8   that were generating an income.                      So it could be the
 9   same bonus.
10           Q       Because revenue was coming from deals that
11   had been originated in prior years; correct?
12           A       Correct.
13           Q       Did you yourself originate any deals?
14           A       I didn't.
15           Q       Just because that wasn't your role; correct?
16           A       That was not my role.
17           Q       Now, you said before -- just coming back to
18   understanding the business and issues of collateral.
19   You said that to understand -- if, in a particular
20   transaction, receivables were collateral, you would
21   want to understand what those receivables are; correct?
22           A       Yes.
23           Q       And you would want to make sure that those
24   receivables actually exist; correct?
25           A       Correct.

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                                                                                Page 38
 1                                    JENNIFER WIKOFF
 2           Q       And what about in a deal where the collateral
 3   is inventory?          Would you want to understand what the
 4   inventory is?
 5           A       Yes.
 6           Q       And would you want to confirm that the
 7   inventory exists?
 8           A       Yes.
 9           Q       And how would you go about confirming that
10   the inventory exists in those types of deals?
11           A       Well, you would visit a warehouse that was
12   housing the inventory.
13           Q       And you would physically look at the
14   inventory and make sure that it's real?
15           A       At a warehouse.           Correct.
16           Q       Is that referred to as "stepping on the
17   goods"?     Are you familiar with that term?
18           A       I am not familiar with that term.
19           Q       I heard that somewhere before.
20                   And in that case, you wouldn't rely only on
21   documentation showing that inventory exists; correct?
22           A       If you were financing inventory; correct.
23           Q       If you're not financing inventory but
24   financing receivables, is the existence of the
25   underlying products completely irrelevant?

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                                                      DZB045366.XLS
Opportunity Finance LLC
Portfolio Data

Todays Date:           12/31/2002

 Deal       Note             Note       Issuance   Org. Note   Maturity       UCC          UCC           Note
 No.        No.            Principal      Date       Term       Date      Filing Date   Filing No.       Rate

191     051101-01      $    1,900,000    5/11/01       120     #REF!                                     3.50%

192     051101-02      $    3,700,000    5/11/01       120     #REF!                                     3.50%

193     051601-01      $    3,400,000    5/16/01       120     #REF!                                     3.50%

194     060501-01      $    2,300,000    6/5/01        120     #REF!                                     3.50%

195     060501-02      $    2,273,000    6/5/01        120     #REF!                                     3.50%

196     060501-03      $    1,300,000    6/5/01        120     #REF!                                     3.50%

197     060501-04      $    4,200,000    6/5/01        120     #REF!                                     3.50%

198     060601-01      $    2,400,000    6/6/01        120     #REF!                                     3.50%

199     060701-01      $    3,000,000    6/7/01        120     #REF!                                     3.50%

200     062001-01      $    3,000,000    6/20/01       120     #REF!                                     3.50%

201     062801-01      $    3,600,000    6/28/01       120     #REF!                                     3.50%

202     062801-02      $    1,200,000    6/28/01       120     #REF!                                     3.50%

203     070301-01      $    5,000,000    7/3/01        120     #REF!                                     3.50%

204     071601-01      $    1,300,000    7/16/01       120     #REF!                                     3.50%

205     072301-01                                              #REF!                                     0.00%

206     072301-02      $    2,100,000    7/23/01       120     #REF!                                     3.50%

207     080101-01      $    6,000,000    8/1/01        120     #REF!                                     3.50%

208     080601-01                                              #REF!

209     080701-01      $    4,200,000    8/7/01        120     #REF!                                     3.50%

210     080801-01      $    1,500,000    8/8/01        120     #REF!                                     3.50%

211     081001-01      $    2,400,000    8/10/01       120     #REF!                                     3.50%

212     081001-02      $    2,700,000    8/10/01       120     #REF!                                     3.50%

213     081301-01      $    2,600,000    8/13/01       120     #REF!                                     3.50%

214                                                            #REF!



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Todays Date:          12/31/2002

Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC            Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.        Rate
215    081401-01      $ 2,800,000       8/14/01        120    #REF!                                      3.50%

216    081501-01      $   5,200,000     8/15/01       120     #REF!                                      3.50%

217    082101-01      $   2,700,000     8/21/01       120     #REF!                                      3.50%

218    082201-01      $   1,600,000     8/22/01       120     #REF!                                      3.50%

219    082201-02      $   2,900,000     8/22/01       120     #REF!                                      3.50%

220    082701-01      $   4,000,000     8/27/01       120     #REF!                                      3.50%

221    082701-02      $   2,000,000     8/27/01       120     #REF!                                      3.50%

222    090501-01      $   2,700,000     9/5/01        120     #REF!                                      3.50%

223    091701-01      $   4,000,000     9/17/01       120     #REF!       9/19/01      20011599247       3.50%

224    091701-02      $   1,300,000     9/17/01       120     #REF!                                      3.50%

225    092401-01      $   1,000,000     9/24/01       120     #REF!       9/26/01      20011671345       3.50%

226    092401-02      $   2,300,000     9/24/01       120     #REF!       9/26/01      20011670608       3.50%

227    092601-01      $   2,700,000     9/26/01       150     #REF!       9/28/01      20011709369       3.50%

228    092601-02      $   2,200,000     9/26/01       150     #REF!       9/28/01      20011709370       3.50%

229    100401-01      $   1,900,000     10/4/01       120     #REF!       10/8/01      20011771326       3.50%

230    101101-01      $   2,500,000    10/11/01       120     #REF!       10/17/01     20011886825       3.00%

231    101501-01      $   3,000,000    10/15/01       120     #REF!       10/17/01     20011886858       3.50%

232    102201-01      $   2,200,000    10/22/01       120     #REF!       12/13/01     20012439239       3.50%

233    102501-01      $   3,700,000    10/25/01       120     #REF!       10/29/01     20011981507       3.50%

234    103101-01      $   1,400,000    10/31/01       120     #REF!       11/5/01      20012069595       3.50%

235    103101-02      $   1,500,000    10/31/01       120     #REF!       11/5/01      20012069654       3.50%

236    103101-03      $   3,700,000    10/31/01       120     #REF!       11/5/01      20012069621       3.50%

237    092001-01      $   2,100,000     9/20/01       120     #REF!       9/21/01      20011627663       3.50%

238    110501-01      $   1,400,000     11/5/01       120     #REF!       11/13/01     20012124882       3.50%

239    110501-02      $   3,000,000     11/5/01       120     #REF!       11/13/01     20012124907       3.50%


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Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.    Rate
240    110901-01      $ 1,700,000       11/9/01        120    #REF!       11/15/01     20012168057   3.50%

241    111301-01      $   3,500,000    11/13/01       120     #REF!       11/15/01     20012168091   3.50%

242    111501-01      $   3,000,000    11/15/01       120     #REF!       11/19/01     20012190881   3.50%

243    111901-01      $   3,800,000    11/19/01       120     #REF!       11/21/01     20012221476   3.50%

244    112001-01      $   1,200,000    11/20/01       120     #REF!       11/27/01     20012261285   3.50%

245    112101-01      $   2,700,000    11/21/01       120     #REF!       11/26/01     20012266126   3.50%

246    112601-01      $     900,000    11/26/01       120     #REF!       11/28/01     20012280241   3.50%

247    112601-02      $   2,800,000    11/26/01       120     #REF!       11/28/01     20012280104   3.50%

248    113001-01      $   2,700,000    11/30/01       120     #REF!       12/3/01      20012320352   3.50%

249    113001-02      $   2,900,000    11/30/01       120     #REF!       12/3/01      20012320411   3.50%

250    120601-01      $   2,400,000     12/6/01       120     #REF!       12/10/01     20012403991   3.50%

251    121801-01      $   2,800,000    12/18/01       120     #REF!       12/18/01     20012534704   3.50%

252    010702-01      $   4,000,000     1/7/02        120     #REF!        1/4/02      20022630456   2.50%

253    011502-01      $   2,400,000     1/15/02       120     #REF!       1/15/02      20022715228   2.50%

254    011502-02      $   3,000,000     1/15/02       120     #REF!       1/15/02      20022715583   2.50%

255    011502-03      $   4,800,000     1/15/02       120     #REF!       1/15/02      20022715789   2.50%

256    012202-01      $   2,500,000     1/22/02       120     #REF!       1/17/02      20022785719   2.50%

257    012202-02      $   3,600,000     1/22/02       120     #REF!       1/17/02      20022785878   2.50%

258    012502-01      $   2,400,000     1/25/02       120     #REF!       1/24/02      20022843987   2.50%

259    012502-02      $   2,000,000     1/25/02       120     #REF!       1/24/02      20022844185   2.50%

260    012502-03      $   2,200,000     1/25/02       120     #REF!       1/24/02      20022844369   2.50%

261    020402-01      $   4,300,000     2/4/02        120     #REF!       1/31/02      20022924072   2.50%

262    020402-02      $   3,100,000     2/4/02        120     #REF!       1/31/02      20022924566   2.50%

263    020402-03      $   1,700,000     2/4/02        120     #REF!       1/31/02      20022925937   2.50%

264    020402-04      $   1,400,000     2/4/02        120     #REF!       1/31/02      20022926227   2.50%


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Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.    Rate
265    021102-01      $ 1,500,000       2/11/02        120    #REF!         2/8/02     20023018982   2.50%

266    021102-02      $   2,400,000     2/11/02       120     #REF!        2/8/02      20023019249   2.50%

267    021102-03      $   2,600,000     2/11/02       120     #REF!        2/8/02      20023017153   2.50%

268    021102-04      $   3,800,000     2/11/02       120     #REF!        2/8/02      ###########   2.50%

269    021102-05      $   3,300,000     2/11/02       120     #REF!        2/8/02      20023018258   2.50%

270    021102-06      $   1,300,000     2/11/02       120     #REF!        2/8/02      20023018649   2.50%

271    022002-01      $   3,400,000     2/22/02       120     #REF!       2/20/02      20023138389   2.50%

272    022002-02      $   3,700,000     2/22/02       120     #REF!       2/20/02      20023138345   2.50%

273    022002-03      $   3,000,000     2/22/02       120     #REF!       2/20/02      20023138334   2.50%

274    022002-04      $   2,200,000     2/22/02       120     #REF!       2/20/02      20023138323   2.50%

275    022002-05      $   1,700,000     2/22/02       120     #REF!       2/20/02      20023138286   2.50%

276    022802-01      $   3,000,000     2/28/02       120     #REF!       2/26/02      20023203965   2.50%

277    022802-02      $   2,500,000     2/28/02       120     #REF!       2/26/02      20023204107   2.50%

278    022802-03      $   3,000,000     2/28/02       120     #REF!       2/26/02      20023203172   2.50%

279    030602-01      $   2,300,000     3/6/02        120     #REF!        3/4/02      20023265024   2.50%

280    030602-02      $   1,750,000     3/6/02        120     #REF!        3/4/02      20023264929   2.50%

281    030802-01      $   2,000,000     3/8/02        120     #REF!        3/5/02      20023285842   2.50%

282    030802-02      $   3,600,000     3/8/02        120     #REF!        3/5/02      20023285716   2.50%

283    030802-03      $   3,000,000     3/8/02        120     #REF!        3/5/02      20023285750   2.50%

284    031302-01      $   4,000,000     3/13/02        120    #REF!       3/12/02      20023357444   2.50%

285    031302-02      $   3,500,000     3/13/02        120    #REF!       3/12/02      20023357488   2.50%

286    031302-03      $   2,600,000     3/13/02        120    #REF!       3/12/02      20023357525   2.50%

  287 031302-04       $   1,700,000     3/13/02        120    #REF!       3/12/02      20023357569   2.50%

288    031802-01      $   3,500,000     3/18/02       120     #REF!       3/14/02      20023384201   2.50%

289    032602-01      $   3,100,000     3/26/02       120     #REF!       3/22/02      20023474627   2.50%


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Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.    Rate
290    032602-02      $ 3,600,000       3/26/02        120    #REF!       3/22/02      20023474638   2.50%

291    032602-03      $   3,300,000     3/26/02       120     #REF!       3/22/02      20023474672   2.50%

292    040102-01      $   3,500,000     4/1/02        120     #REF!       3/28/02      20023528508   2.50%

293    040102-02      $   3,400,000     4/1/02        120     #REF!       3/28/02      20023528450   2.50%

294    040102-03      $   3,900,000     4/1/02        120     #REF!       3/28/02      20023528483   2.50%

295    040102-04      $   2,000,000     4/1/02        120     #REF!       3/28/02      20023528449   2.50%

296    041102-01      $   1,700,000     4/11/02       120     #REF!       4/10/02      20023669529   2.50%

297    041102-02      $   2,800,000     4/11/02       120     #REF!       4/10/02      20023671269   2.50%

298    041102-03      $   3,600,000     4/11/02       120     #REF!       4/10/02      20023670533   2.50%

299    042602-01      $   4,600,000     4/26/02       120     #REF!       4/25/02      20023841893   2.50%

300    042602-02      $   1,400,000     4/26/02       120     #REF!       4/25/02      20023841930   2.50%

301    042602-03      $   2,800,000     4/26/02       120     #REF!       4/25/02      20023841826   2.50%

302    050302-01      $   4,300,000     5/3/02         120    #REF!        5/1/02      20023913233   2.50%

303    050302-03      $   1,700,000     5/3/02         120    #REF!        5/1/02      20023913473   2.50%

304    050302-02      $   3,900,000     5/9/02        120     #REF!        5/9/02      20023913288   2.50%

305    050302-04      $   2,300,000     5/9/02        120     #REF!        5/9/02      20023913532   2.50%

306    050902-01      $   1,200,000     5/9/02        120     #REF!        5/9/02      20023995545   2.50%

307    050902-02      $   3,100,000     5/9/02        120     #REF!        5/9/02      20023995578   2.50%

308    050902-03      $   2,500,000     5/9/02        120     #REF!        5/9/02      20023995589   2.50%

309    050902-04      $   3,100,000     5/9/02        120     #REF!        5/9/02      20023995648   2.50%

310    052102-01      $   2,200,000     5/21/02       120     #REF!       5/20/02      20024108595   2.50%

311    052102-02      $   2,100,000     5/21/02       120     #REF!       5/20/02      20024108702   2.50%

312    052102-03      $   4,800,000     5/21/02       120     #REF!       5/20/02      20024108827   2.50%

313    052102-04      $   1,400,000     5/21/02       120     #REF!       5/20/02      20024108919   2.50%

314    052102-05      $   2,300,000     5/21/02       120     #REF!       5/20/02      20024108975   2.50%


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Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.    Rate
315    052102-06      $ 2,100,000       5/21/02        120    #REF!       5/20/02      20024109014   2.50%

316    053002-01      $   4,800,000     5/30/02       120     #REF!       5/29/02      20024199389   2.50%

317    053002-02      $   3,300,000     5/30/02       120     #REF!       5/29/02      20024199415   2.50%

318    053002-03      $   4,600,000     5/30/02       120     #REF!       5/29/02      20024199471   2.50%

319    053002-04      $   3,800,000     5/30/02       120     #REF!       5/29/02      20024199493   2.50%

320    060602-01      $   4,000,000     6/6/02         120    #REF!        6/4/02      20024260381   2.50%

321    060602-02      $   3,700,000     6/6/02         120    #REF!        6/4/02      20024260691   2.50%

322    060602-03      $   2,200,000     6/6/02         120    #REF!        6/4/02      20024260820   2.50%

323    060602-04      $   4,400,000     6/6/02         120    #REF!        6/4/02      20024260934   2.50%

324    061702-01      $   3,500,000     6/17/02        120    #REF!       6/13/02      20024355855   2.50%

325    061702-02      $   2,700,000     6/17/02        120    #REF!       6/13/02      20024355936   2.50%

326    061702-03      $   2,400,000     6/17/02        120    #REF!       6/13/02      20024355992   2.50%

327    061702-04      $   4,200,000     6/17/02        120    #REF!       6/13/02      20024358541   2.50%

328    062602-01      $   2,200,000     6/26/02        120    #REF!       6/25/02      20024467314   2.50%

329    062602-02      $   4,400,000     6/26/02        120    #REF!       6/25/02      20024467299   2.50%

330    062602-03      $   3,700,000     6/26/02        120    #REF!       6/25/02      20024467347   2.50%

331    070202-01      $   5,100,000     7/2/02         120    #REF!        7/2/02      20024521827   2.50%

332    071102-01      $   4,200,000     7/11/02        120    #REF!        7/9/02      20024587744   2.50%

333    071102-02      $   1,750,000     7/11/02        120    #REF!        7/9/02      20024587814   2.50%

334    071102-03      $   4,850,000     7/11/02        120    #REF!        7/9/02      20024587711   2.50%

335    071702-01      $   4,800,000     7/17/02        120    #REF!       7/16/02      20024644219   2.50%

336    071702-02      $   3,200,000     7/17/02        120    #REF!       7/16/02      20024644275   2.50%

337    071702-03      $   3,400,000     7/17/02        120    #REF!       7/16/02      20024644138   2.50%

338    072502-01      $   3,000,000     7/25/02        120    #REF!       7/23/02      20024703630   2.50%

339    072502-02      $   3,900,000     7/25/02        120    #REF!       7/23/02      20024703629   2.50%


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Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal         Date      Term       Date      Filing Date    Filing No.    Rate
340    080102-01      $ 2,250,000        8/1/02         120   #REF!       7/31/02      20024767047   2.50%

341    080102-02      $   3,600,000     8/1/02         120    #REF!       7/31/02      20024767081   2.50%

342    080102-03      $   2,100,000     8/1/02         120    #REF!       7/31/02      20024767003   2.50%

343    080502-01      $   3,100,000     8/5/02         120    #REF!        8/2/02      20024797213   2.50%

344    080702-01      $   2,600,000     8/7/02         120    #REF!        8/6/02      20024822644   2.50%

345    080702-02      $   2,800,000     8/7/02         120    #REF!        8/6/02      20024823439   2.50%

346    081402-01      $   2,900,000     8/14/02        120    #REF!       8/13/02      20024871483   2.50%

347    081402-02      $   2,300,000     8/14/02        120    #REF!       8/13/02      20024871599   2.50%

348    081402-03      $   2,100,000     8/14/02        120    #REF!       8/13/02      20024871359   2.50%

349    082102-01      $   5,500,000     8/21/02        120    #REF!       8/20/02      20024932383   2.50%

350    082202-01      $   3,900,000     8/22/02        120    #REF!       8/22/02      20024952075   2.50%

351    082802-01      $   3,200,000     8/28/02        120    #REF!       8/26/02      20024980029   2.50%

352    082802-02      $   3,600,000     8/28/02        120    #REF!       8/26/02      20024980100   2.50%

353    082802-03      $   4,400,000     8/28/02        120    #REF!       8/26/02      20024980155   2.50%

354    090502-01      $   2,800,000     9/5/02         120    #REF!        9/4/02      20025042644   2.50%

355    090502-02      $   5,200,000     9/5/02         120    #REF!        9/4/02      20025042699   2.50%

356    090502-03      $   1,900,000     9/9/02         120    #REF!        9/4/02      20025042714   2.50%

357    090902-01      $   4,300,000     9/9/02         120    #REF!        9/5/02      20025051654   2.50%

358    091802-01      $   1,950,000     9/18/02        120    #REF!       9/17/02      20025150116   2.50%

359    091802-02      $   4,800,000     9/18/02        120    #REF!       9/17/02      20025150208   2.50%

360    091802-03      $   1,950,000     9/18/02        120    #REF!       9/17/02      20025150024   2.50%

361    092502-01      $   2,150,000     9/25/02        120    #REF!       9/23/02      20025206872   2.50%

362    092502-02      $   2,550,000     9/25/02        120    #REF!       9/23/02      20025206909   2.50%

363    092502-03      $   2,100,000     9/25/02        120    #REF!       9/23/02      20025206932   2.50%

364    092502-04      $   4,850,000     9/25/02        120    #REF!       9/23/02      20025207015   2.50%


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Todays Date:          12/31/2002

Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.    Rate
365    092502-05      $ 3,950,000       9/25/02         120   #REF!       9/23/02      20025207093   2.50%

366    100202-01      $   4,050,000     10/2/02        120    #REF!       10/1/02      20025285743   2.50%

367    100202-02      $   2,400,000     10/2/02        120    #REF!       10/1/02      20025285994   2.50%

368    100202-03      $   3,250,000     10/2/02        120    #REF!       10/1/02      20025286088   2.50%

369    100202-04      $   2,900,000     10/2/02        120    #REF!       10/1/02      20025285651   2.50%

370    101002-01      $   5,850,000    10/10/02        120    #REF!       10/9/02      20025352596   2.50%

371    101002-02      $   3,800,000    10/10/02        120    #REF!       10/9/02      20025352677   2.50%

372    101002-03      $   1,500,000    10/10/02        120    #REF!       10/9/02      20025352736   2.50%

373    101002-04      $   2,150,000    10/10/02        120    #REF!       10/9/02      20025352482   2.50%

374    101602-01      $   3,900,000    10/16/02        120    #REF!       10/15/02     20025403404   2.50%

375    101602-02      $   4,700,000    10/16/02        120    #REF!       10/15/02     20025402712   2.50%

376    101602-03      $   5,350,000    10/16/02        120    #REF!       10/15/02     20025402767   2.50%

377    102302-01      $   4,900,000    10/23/02        120    #REF!       10/22/02     20025476120   2.50%

378    102302-02      $   4,800,000    10/23/02        120    #REF!       10/22/02     20025476201   2.50%

379    102302-03      $   2,050,000    10/23/02        120    #REF!       10/22/02     20025476256   2.50%

380    111202-01      $   1,450,000    11/12/02        120    #REF!       11/12/02     20025655029   2.50%

381    111202-02      $   2,650,000    11/12/02        120    #REF!       11/12/02     20025655096   2.50%

382    111202-03      $   3,400,000    11/12/02        120    #REF!       11/12/02     20025655155   2.50%

383    111202-04      $   5,200,000    11/12/02        120    #REF!       11/12/02     20025655203   2.50%

384    111202-05      $   2,600,000    11/12/02        120    #REF!       11/12/02     20025655270   2.50%

385    112102-01      $   3,800,000    11/21/02        120    #REF!       11/20/02     20025740777   2.50%

386    112102-02      $   2,850,000    11/21/02        120    #REF!       11/20/02     20025740766   2.50%

387    120402-01      $   1,750,000     12/4/02        120    #REF!       12/2/02      20025836298   2.50%

388    120402-02      $   4,150,000     12/4/02        120    #REF!       12/2/02      20025836313   2.50%

389    121102-01      $   3,000,000    12/11/02        120    #REF!       12/10/02     20025907924   2.50%


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Deal      Note            Note         Issuance   Org. Note   Maturity       UCC           UCC        Note
 No.      No.           Principal        Date       Term       Date      Filing Date    Filing No.    Rate
390    121102-02      $ 3,200,000      12/11/02         120   #REF!       12/10/02     20025907979   2.50%

391    121102-03      $   4,200,000    12/11/02        120    #REF!       12/10/02     20025908029   2.50%

392    121102-04      $   2,600,000    12/11/02        120    #REF!       12/10/02     20025907854   2.50%

393    121702-01      $   4,750,000    12/17/02        120    #REF!       12/16/02     20025970972   2.50%

394    121702-02      $   3,500,000    12/17/02        120    #REF!       12/16/02     20025970938   2.50%

395    121902-01      $   3,950,000    12/19/02        120    #REF!       12/17/02     20025994813   2.50%

396    121902-03      $   3,850,000    12/19/02        120    #REF!       12/17/02     20025994776   2.50%

397    121902-02      $   4,600,000    12/23/02        120    #REF!       12/17/02     20025994846   2.50%

398    122302-01      $   2,150,000    12/23/02        120    #REF!       12/19/02     20026009059   2.50%

399    122402-01      $   4,050,000    12/24/02        120    #REF!       12/23/02     20026043213   2.50%

400    122402-02      $   3,600,000    12/24/02        120    #REF!       12/23/02     20026039258   2.50%

401    122402-03      $   2,650,000    12/24/02        120    #REF!       12/23/02     20026039306   2.50%

402    123002-01      $   2,300,000    12/30/02        120    #REF!       12/27/02     20026079805   2.50%

403    123002-02      $   4,500,000    12/30/02        120    #REF!       12/27/02     20026079850   2.50%

404    123002-03      $   3,950,000    12/30/02        120    #REF!       12/27/02     20026079724   2.50%




Test #1               $            -                          1/0/00

Test #2               $            -                          1/0/00

Test #3               $            -                          1/0/00

Test #4               $            -                          1/0/00

Test #5               $            -                          1/0/00




TOTAL                 $ 640,973,000


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Opportunity Finance LLC
Portfolio Data
                                                                                              Added by
Todays 12/31/2002
       Date:                                                                                    Trustee

 Deal          Note       Issuance   Note        Goods        Approved          Goods           Gross     Approved         Goods
 No.         Principal      Date     Rate         Cost         Seller          Sale Price       Margin     Buyer         Description

 ####    $    2,400,000   1/25/02    2.50%   $ 2,449,207.45    Universal   $   2,816,486.21      13.04%      SAM'S    HP Electronics

 ####    $    2,000,000   1/25/02    2.50%   $ 2,111,532.75   Nationwide   $   2,428,028.40      13.04%   BOSCOV      Sony /Microsoft

 ####    $    2,200,000   1/25/02    2.50%   $ 2,255,287.50   Nationwide   $   2,593,566.56      13.04%        BJ'S   JVC Camcorder

 ####    $    4,300,000    2/4/02    2.50%   $ 4,421,665.60   Nationwide   $   5,084,915.44      13.04%      SAM'S    Pioneer HDTV

 ####    $    3,100,000    2/4/02    2.50%   $ 3,228,860.00   Nationwide   $   3,713,189.00      13.04%        BJ'S   Pionr HDTV/DVD

 ####    $    1,700,000    2/4/02    2.50%   $ 1,763,195.84   Nationwide   $   2,027,633.84      13.04%   BOSCOV      Delta Saw

 ####    $    1,400,000    2/4/02    2.50%   $ 1,451,600.00   Nationwide   $   1,669,340.00      13.04%        BJ'S   RCA TV

 ####    $    1,500,000   2/11/02    2.50%   $ 1,567,772.25    Universal   $   1,802,910.85      13.04%       REX     Philips TV

 ####    $    2,400,000   2/11/02    2.50%   $ 2,512,000.00    Universal   $   2,888,800.00      13.04%        BJ'S   Golf Sets

 ####    $    2,600,000   2/11/02    2.50%   $ 2,731,273.75    Universal   $   3,140,958.20      13.04%      SAM'S    Exercise Equip.

 ####    $    3,800,000   2/11/02    2.50%   $ 3,960,067.75   Nationwide   $   4,554,064.00      13.04%        BJ'S   Pnsc TV

 ####    $    3,300,000   2/11/02    2.50%   $ 3,467,357.95   Nationwide   $   3,987,436.90      13.04%   BOSCOV      Pnsc TV

 ####    $    1,300,000   2/11/02    2.50%   $ 1,355,387.25   Nationwide   $   1,558,693.30      13.04%      SAM'S    Sony TV

 ####    $    3,400,000   2/22/02    2.50%   $ 3,538,896.75   Nationwide   $   4,069,686.80      13.04%      SAM'S    BOSE DVD

 ####    $    3,700,000   2/22/02    2.50%   $ 3,854,418.00 NATIONWIDE     $   4,431,916.00      13.03%      SAM'S    SONY CAMCORDER

 ####    $    3,000,000   2/22/02    2.50%   $ 3,138,421.75 NATIONWIDE     $   3,609,173.35      13.04%        BJ'S   SONY TV

 ####    $    2,200,000   2/22/02    2.50%   $ 2,303,579.71 NATIONWIDE     $   2,639,431.36      12.72%   BOSCOV      LEATHER JACKETS



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Todays 12/31/2002
       Date:                                                                                   Trustee

 Deal        Note        Issuance    Note       Goods        Approved        Goods             Gross     Approved        Goods
  No.      Principal       Date      Rate        Cost         Seller        Sale Price         Margin      Buyer       Description
 ####    $ 1,700,000      2/22/02   2.50%   $ 1,834,113.09 NATIONWIDE     $ 2,136,610.69        14.16%    BOSCOV    TV COMPUTER STANDS

 ####    $   3,000,000   2/28/02    2.50%   $ 3,126,339.75 NATIONWIDE     $   3,595,283.25      13.04%     SAM'S    RCA TVs

 ####    $   2,500,000   2/28/02    2.50%   $ 2,609,062.50 NATIONWIDE     $   3,000,413.35      13.04%     SAM'S    JVC CAMCORDER

 ####    $   3,000,000   2/28/02    2.50%   $ 3,112,926.50        PAR     $   3,579,838.65      13.04%       BJ'S   WHIRLPOOL WASHER

 ####    $   2,300,000    3/6/02    2.50%   $ 2,420,927.50    Universal   $   2,784,055.25      13.04%   BOSCOV     PHILLIPS TV

280      $   1,750,000    3/6/02    2.50%   $ 1,837,337.75    Universal   $   2,112,914.25      13.04%       BJ'S   Phillips TV

281      $   2,000,000    3/8/02    2.50%   $ 2,100,821.85   Nationwide   $   2,415,870.20      13.04%     SAM'S    Bushnell

282      $   3,600,000    3/8/02    2.50%   $ 3,802,467.50   Nationwide   $   4,372,804.95      13.04%     SAM'S    Denon Audio

283      $   3,000,000    3/8/02    2.50%   $ 3,242,085.25    Universal   $   3,728,372.53      13.04%       BJ'S   Fitness Equipment

284      $   4,000,000   3/13/02    2.50%   $ 4,210,353.50   Nationwide   $   4,841,886.30      13.04%     SAM'S    Sony TV

285      $   3,500,000   3/13/02    2.50%   $ 3,605,198.00   Nationwide   $   4,145,975.45      13.04%     SAM'S    Toshiba TV

286      $   2,600,000   3/13/02    2.50%   $ 2,712,827.50   Nationwide   $   3,119,749.50      13.04%       BJ'S   Toshiba TV

  287    $   1,700,000   3/13/02    2.50%   $ 1,812,750.00    Universal   $   2,084,662.50      13.04%     SAM'S    Canon Printer

288      $   3,500,000   3/18/02    2.50%   $ 3,629,900.00   Nationwide   $   4,174,378.00      13.04%       REX    JVC Camera/Video

289      $   3,100,000   3/26/02    2.50%   $ 3,209,900.00   Nationwide   $   3,691,385.00      13.04%   BOSCOV     Bose Ent. System

290      $   3,600,000   3/26/02    2.50%   $ 3,676,125.00   Nationwide   $   4,227,543.75      13.04%     SAM'S    Hitachi TV

291      $   3,300,000   3/26/02    2.50%   $ 3,424,429.25   Nationwide   $   3,938,081.90      13.04%     SAM'S    Pioneer Receiver

292      $   3,500,000    4/1/02    2.50%   $ 3,623,894.25   Nationwide   $   4,167,476.35      13.04%       BJ'S   Bose Home Ent/DVD

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       Date:                                                                                    Trustee

 Deal          Note       Issuance   Note        Goods        Approved          Goods           Gross     Approved          Goods
 No.         Principal      Date     Rate         Cost         Seller          Sale Price       Margin     Buyer          Description

293      $    3,400,000    4/1/02    2.50%   $ 3,506,584.50   Nationwide   $   4,032,551.29      13.04%      SAM'S    Panasonic Camcorder

294      $    3,900,000    4/1/02    2.50%   $ 4,006,856.85   Nationwide   $   4,607,851.30      13.04%      SAM'S    Panasonic TV/DVD

295      $    2,000,000    4/1/02    2.50%   $ 3,151,157.00   Nationwide   $   3,623,816.30      13.04%   BOSCOV      RCA TV

296      $    1,700,000   4/11/02    2.50%   $ 1,789,565.25   Nationwide   $   2,057,906.65      13.04%      SAM'S    Panasonic Phone

297      $    2,800,000   4/11/02    2.50%   $ 2,963,329.05   Nationwide   $   3,407,815.44      13.04%        BJ'S   Sony Camcorder

298      $    3,600,000   4/11/02    2.50%   $ 3,732,379.40    Universal   $   4,292,190.21      13.04%      SAM'S    GE TV/Air Purifier

299      $    4,600,000   4/26/02    2.50%   $ 4,770,339.65    Par Group   $   5,485,851.78      13.04%      SAM'S    Whirlpool & Frigidaire Appliances

300      $    1,400,000   4/26/02    2.50%   $ 1,505,322.75   Nationwide   $   1,731,108.80      13.04%      SAM'S    Sony Personal Organizers

301      $    2,800,000   4/26/02    2.50%   $ 2,945,799.10    Universal   $   3,407,710.00      13.55%      SAM'S    Wilson Golf Club Sets

302      $    4,300,000    5/3/02    2.50%   $ 4,444,471.50   Enchanted    $   5,111,122.95      13.04%      Sam's    Polk & Yamaha Home Audio, Ze

303      $    1,700,000    5/3/02    2.50%   $ 1,786,500.00   Enchanted    $   2,054,475.00      13.04%        BJ's   Kitchenaid Mixers

304      $    3,900,000    5/9/02    2.50%   $ 4,072,186.25   Nationwide   $   4,683,003.00      13.04%      Sam's    Hitachi TVs

305      $    2,300,000    5/9/02    2.50%   $ 2,552,545.50   Nationwide   $   2,935,412.60      13.04%        BJ's   Panasonic Palmcorders

306      $    1,200,000    5/9/02    2.50%   $ 1,232,968.75   Enchanted    $   1,417,880.45      13.04%        Rex    GE TVs

307      $    3,100,000    5/9/02    2.50%   $ 3,259,126.50   Enchanted    $   3,747,968.10      13.04%     Boscov    Casio TV, Phillips TV, Pioneer H

308      $    2,500,000    5/9/02    2.50%   $ 2,642,500.16   Nationwide   $   3,036,557.21      12.98%     Boscov    Assorted Shoes

309      $    3,100,000    5/9/02    2.50%   $ 3,200,448.95   Enchanted    $   3,680,484.58      13.04%     Boscov    Sharp TVs



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       Date:                                                                                     Trustee

Deal        Note        Issuance    Note       Goods          Approved         Goods             Gross     Approved          Goods
 No.      Principal       Date      Rate        Cost            Seller        Sale Price         Margin     Buyer          Description
310     $ 2,200,000      5/21/02   2.50%   $ 2,341,091.10      Enchanted    $ 2,692,219.44        13.04%        BJ's   Alpine Auto CDs

311     $   2,100,000   5/21/02    2.50%   $ 2,178,850.00      Enchanted    $   2,505,677.50      13.04%        BJ's   Mitsubishi TVs

312     $   4,800,000   5/21/02    2.50%   $ 4,907,172.50     Nationwide    $   5,643,240.00      13.04%      Sam's    RCA TVs

313     $   1,400,000   5/21/02    2.50%             After 2nd Millennium
                                           $ 1,504,671.95                   $   1,730,223.80      13.04%        BJ's   Coleman Grills

314     $   2,300,000   5/21/02    2.50%   $ 2,427,176.75     Nationwide    $   2,791,246.20      13.04%     Boscov    Canon Digital Cameras

315     $   2,100,000   5/21/02    2.50%   $ 2,188,133.75      Enchanted    $   2,516,341.70      13.04%        Rex    Samsung TVs

316     $   4,800,000   5/30/02    2.50%   $ 4,979,381.75     Nationwide    $   5,726,273.18      13.04%        BJ's   Sony TVs

317     $   3,300,000   5/30/02    2.50%   $ 3,422,828.75     Nationwide    $   3,936,236.50      13.04%     Boscov    Sony Tvs

318     $   4,600,000   5/30/02    2.50%   $ 4,741,036.50      Enchanted    $   5,452,150.34      13.04%      Sam's    Sharp TVs

319     $   3,800,000   5/30/02    2.50%   $ 3,941,237.20      Enchanted    $   4,532,412.36      13.04%      Sam's    Panasonic TVs

320     $   4,000,000    6/6/02    2.50%   $ 4,104,593.25     Nationwide    $   4,720,275.65      13.04%      Sam's    Bose Speakers & Home Audio

321     $   3,700,000    6/6/02    2.50%   $ 3,818,673.00     Nationwide    $   4,391,447.14      13.04%      Sam's    Sony Camcorder

322     $   2,200,000    6/6/02    2.50%   $ 2,303,378.75     Nationwide    $   2,648,869.00      13.04%     Boscov    Sony Camcorder

323     $   4,400,000    6/6/02    2.50%   $ 4,589,297.00      Enchanted    $   5,094,101.16       9.91%        BJ's   Denon DVD & Home Audio

324     $   3,500,000   6/17/02    2.50%   $ 3,618,461.25      Enchanted    $   4,161,213.60      13.04%        BJ's   Panasonic TV

325     $   2,700,000   6/17/02    2.50%   $ 2,837,042.35      Enchanted    $   3,262,574.40      13.04%      Sam's    Zenith TV

326     $   2,400,000   6/17/02    2.50%   $ 2,504,611.30      Enchanted    $   2,880,280.33      13.04%        BJ's   HP Scanner/Printer

327     $   4,200,000   6/17/02    2.50%   $ 4,382,403.65     Nationwide    $   5,039,745.76      13.04%      Sam's    Sony TV

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Opportunity Finance LLC
Portfolio Data
                                                                                                 Added by
Todays 12/31/2002
       Date:                                                                                       Trustee

 Deal          Note       Issuance   Note        Goods          Approved           Goods           Gross     Approved          Goods
 No.         Principal      Date     Rate         Cost           Seller           Sale Price       Margin     Buyer          Description

328      $    2,200,000   6/26/02    2.50%   $ 2,405,899.75     Nationwide    $   2,766,769.15      13.04%        BJ's   Sony Home Audio

329      $    4,400,000   6/26/02    2.50%             After 2nd Millennium
                                             $ 4,596,896.50                   $   5,286,416.65      13.04%      Sam's    Pioneer & Denon Audio

330      $    3,700,000   6/26/02    2.50%   $ 3,965,755.00      Enchanted    $   4,560,595.94      13.04%        BJ's   Samsung TV&Camcorder

331      $    5,100,000    7/2/02    2.50%   $ 5,227,057.50     Nationwide    $   6,011,092.70      13.04%        BJ's   RCA TV

332      $    4,200,000   7/11/02    2.50%   $ 4,300,625.00      Enchanted    $   4,945,718.75      13.04%     Boscov    Mitsubishi TV

333      $    1,750,000   7/11/02    2.50%   $ 1,828,875.00      Enchanted    $   2,103,206.25      13.04%        Rex    Mitsubishi TV

334      $    4,850,000   7/11/02    2.50%   $ 4,978,966.25     Nationwide    $   5,725,792.50      13.04%      Sam's    RCA TV

335      $    4,800,000   7/17/02    2.50%   $ 4,930,363.60      Enchanted    $   5,669,894.21      13.04%      Sam's    Whirlpool Refrigerators

336      $    3,200,000   7/17/02    2.50%            After 2nd Millennnium
                                             $ 3,310,692.25                   $   3,807,269.05      13.04%      Sam's    Harman Kardon DVD&Receivers

337      $    3,400,000   7/17/02    2.50%   $ 3,533,873.75     Nationwide    $   4,063,921.50      13.04%        BJ's   Sony Camcorder, Printer, Camera

338      $    3,000,000   7/25/02    2.50%             After 2nd Millennium
                                             $ 3,242,084.00                   $   3,728,389.60      13.04%      Sam's    Dewalt Tool

339      $    3,900,000   7/25/02    2.50%             After 2nd Millennium
                                             $ 4,211,333.50                   $   4,842,992.05      13.04%      Sam's    Generac Generator

340      $    2,250,000    8/1/02    2.50%   $ 2,337,925.00     Nationwide    $   2,688,607.00      13.04%        Rex    Toshiba TV

341      $    3,600,000    8/1/02    2.50%   $ 3,696,862.50     Nationwide    $   4,251,388.90      13.04%      Sam's    Hitatchi TV

342      $    2,100,000    8/1/02    2.50%   $ 2,177,486.25      Enchanted    $   2,504,100.45      13.04%      Sam's    Yahama System

343      $    3,100,000    8/5/02    2.50%   $ 3,200,526.50     Nationwide    $   3,680,589.69      13.04%      Sam's    JVC Camcorder

344      $    2,600,000    8/7/02    2.50%   $ 2,687,742.50     Nationwide    $   3,090,894.30      13.04%     Boscov    Toshiba TV



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                                                                                               Added by
Todays 12/31/2002
       Date:                                                                                     Trustee

Deal        Note        Issuance    Note       Goods          Approved         Goods             Gross     Approved          Goods
 No.      Principal        Date     Rate        Cost           Seller         Sale Price         Margin     Buyer          Description
345     $ 2,800,000       8/7/02   2.50%   $ 2,878,307.50     Nationwide    $ 3,309,972.60        13.04%        BJ's   Kitchenaid Appl.

346     $   2,900,000   8/14/02    2.50%   $ 3,012,010.00     Nationwide    $   3,463,808.25      13.04%      Sam's    Sony TV

347     $   2,300,000   8/14/02    2.50%              After 2nd Millenium
                                           $ 2,410,996.50                   $   2,773,776.00      13.08%      Sam's    Palm Organizer

348     $   2,100,000   8/14/02    2.50%   $ 3,108,162.50     Nationwide    $   3,574,371.15      13.04%        BJ's   Exercise Equip.

349     $   5,500,000   8/21/02    2.50%   $ 5,663,376.25      Enchanted    $   6,512,864.40      13.04%      Sam's    Samsung TV

350     $   3,900,000   8/22/02    2.50%              After 2nd Millenium
                                           $ 3,987,967.50                   $   4,586,154.45      13.04%      Sam's    Sony System

351     $   3,200,000   8/28/02    2.50%   $ 3,309,899.50      Enchanted    $   3,806,371.75      13.04%     Boscov    Panasonic TV

352     $   3,600,000   8/28/02    2.50%   $ 3,675,021.00      Enchanted    $   4,226,245.85      13.04%        BJ's   Zenith TV

353     $   4,400,000   8/28/02    2.50%   $ 4,500,610.00     Nationwide    $   5,175,687.35      13.04%      Sam's    Canon Camera/corder

354     $   2,800,000    9/5/02    2.50%              After 2nd Millenium
                                           $ 2,874,352.50                   $   3,305,490.80      13.04%      Sam's    JVC VCR/TV/CD

355     $   5,200,000    9/5/02    2.50%   $ 5,322,951.00     Nationwide    $   6,121,373.34      13.04%        BJ's   RCA TV

356     $   1,900,000    9/9/02    2.50%   $ 1,987,784.25     Nationwide    $   2,285,923.11      13.04%        Rex    Sony Home Audio & Video

357     $   4,300,000    9/9/02    2.50%             After 2nd Millennium
                                           $ 4,437,500.00                   $   5,103,125.00      13.04%      Sam's    Hitachi TV

358     $   1,950,000   9/18/02    2.50%   $ 2,018,746.00      Enchanted    $   2,250,848.57      10.31%      Sam's    Sentry Safes

359     $   4,800,000   9/18/02    2.50%   $ 4,903,794.50      Enchanted    $   5,639,359.60      13.04%      Sam's    Denon/Bose System

360     $   1,950,000   9/18/02    2.50%              After 2nd Millenium
                                           $ 2,017,753.70                   $   2,320,400.22      13.04%     Boscov    Pioneer System

361     $   2,150,000   9/25/02    2.50%   $ 2,221,620.70      Enchanted    $   2,554,830.45      13.04%     Boscov    Audiovox Video/Monito

362     $   2,550,000   9/25/02    2.50%   $ 2,645,850.00     Nationwide    $   3,042,727.50      13.04%        BJ's   T. Bahama Clothing

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Todays 12/31/2002
       Date:                                                                                       Trustee

 Deal          Note       Issuance   Note        Goods          Approved           Goods           Gross      Approved         Goods
 No.         Principal      Date     Rate         Cost           Seller           Sale Price       Margin      Buyer         Description

363      $    2,100,000   9/25/02    2.50%   $ 2,165,066.25      Nationwide   $   2,489,817.00      13.04%      Boscov    Toshiba TV

364      $    4,850,000   9/25/02    2.50%   $ 4,953,233.75      Nationwide   $   5,696,202.40      13.04%       Sam's    Toshiba TV

365      $    3,950,000   9/25/02    2.50%   $ 4,074,338.50      Enchanted    $   4,685,464.95      13.04%       Sam's    Sharp TV

366      $    4,050,000   10/2/02    2.50%              After 2nd Millenium
                                             $ 4,136,294.70                   $   4,756,738.91      13.04%       Sam's    Radio & Heasets

367      $    2,400,000   10/2/02    2.50%              After 2nd Millenium
                                             $ 2,543,030.00                   $   2,924,474.00      13.04%         Rex    Sony Digital Camera


                                             Minimum
                                             Maximum
                                             Average
Test #1 $            -                       $           -                    $            -         SAM'S       SAM'S

Test #2 $            -                       $           -                    $            -      BOSCOV      BOSCOV

Test #3 $            -                       $           -                    $            -           REX        REX

Test #4 $            -                       $           -                    $            -           BJ'S        BJ'S

Test #5 $            -                       $           -                    $            -      COSTCO      COSTCO




TOTAL $ 336,550,000                          #############                    $404,505,432.14




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                                                                                 Page 1
 1                  UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MINNESOTA
 2                          NO. 08-45257
 3      IN RE: PETTERS COMPANY, INC., ET AL.
                           Debtors.
 4
        (Includes:                        Court File Nos.
 5      Petters Group Worldwide, LLC:       08-45258 (KHS)
        PC Funding, LLC:                    08-45326 (KHS)
 6      Thousand Lakes, LLC;                08-45327 (KHS)
        SPF Funding, LLC;                   08-45328 (KHS)
 7      PL Ltd., Inc.:                      08-45329 (KHS)
        Edge One, LLC:                      08-45330 (KHS)
 8      MGC Finance, Inc.:                  08-45331 (KHS)
        PAC Funding, LLC:                   08-45371 (KHS)
 9      Palm Beach Finance Holdings, Inc.) 08-45392 (KHS)
        DOUGLAS A. KELLEY, in his capacity
10      As the Trustee of the PCI Liquidating Trust,
11                          Plaintiff,
12                     V.
13      OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
        SECURITIZATION, LLC; OPPORTUNITY FINANCE
14      SECURITIZATION II, LLC; OPPORTUNITY FINANCE
        SECURITIZATION, III, LC; INTERNATIONAL INVESTMENT
15      OPPORTUNITIES, LLC; SABES FAMILY FOUNDATION;
        SABES MINNESOTA LIMITED PARTNERSHIP;
16      ROBERT W. SABES; JANET F. SABES; JON R. SABES;
        STEVEN SABES; DEUTSCHE ZENTRALGENOSSENSCHAFT BANK
17      AG; AND THE MINNEAPOLIS FOUNDATION,
18                           Defendants.
19      -----------------------------------------------------
20              VIDEOTAPED DEPOSITION OF THOMAS PETTERS
                   TAKEN ON BEHALF OF THE DEFENDANTS
21                         DECEMBER 11TH, 2018
                           LEAVENWORTH, KANSAS
22
23
24   Reported by: Mary Lynn Cushing, CSR #0677
25   Job No. 152529

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 1                                    THOMAS PETTERS
 2                   Q.        And you were asked earlier today if DZ
 3      Bank continued to finance transactions with PCB.                        Do
 4      you recall that?
 5                   A.        Yes.
 6                   Q.        And do you recall Mr. Preece
 7      testifying about financing of PCB transactions at
 8      trial?
 9                   A.        I think he said Polaroid, but it's
10      PCB.
11                   Q.        And do you recall him saying that they
12      were able to look at the goods in the Polaroid
13      transaction?
14                   A.        Yes.
15                   Q.        And that was a distinction from the
16      PCI transaction?
17                   A.        That is correct.
18                   Q.        So that would be with respect to
19      Polaroid's transactions or PCB deals, they were able
20      to inspect the inventory, right?
21                   A.        Right.      We owned Polaroid and we were
22      manufacturing Polaroid and you could walk in the
23      warehouse and look at it.
24                   Q.        Do you recall testifying at your trial
25      that the diverting business is one that is filled

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 1                                    THOMAS PETTERS
 2      with nonsensical excuses and stories?
 3                   A.        Saying what?
 4                   Q.        Nonsensical excuses and stories,
 5      something along that line?
 6                   A.        I could have said that.
 7                   Q.        Okay.
 8                   A.        I don't remember.
 9                   Q.        Do you recall testifying that when
10      you're dealing with diversion transactions, every
11      transaction you would find out that something was
12      wrong with the transaction?
13                   A.        Uh-huh.       I use to say there's always
14      hair on the deal.
15                   Q.        And that often transactions wouldn't
16      ship when they said they were going to ship?
17                   A.        That's exactly right.                  That's how this
18      whole thing started.
19                   Q.        And I think you -- do you recall
20      testifying that you were suppose to get brown, but
21      sometimes you would get green?
22                   A.        Yes.
23                   Q.        And sometimes it was suppose to be
24      eight inches and it would be 12 inches?
25                   A.        I don't remember that, but it sounds

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                                                                               Page 257
 1                                    THOMAS PETTERS
 2      like something --
 3                   Q.        And that people would send you bad
 4      inventories or issue you bad checks?
 5                   A.        We were offered or sometimes -- our
 6      own inventory was stolen twice from trailers.
 7      Stolen, and somebody else would try to sell them to
 8      us, our goods.
 9                   Q.        And so would you consider diversion or
10      diverting to be a very risky business?
11                   A.        To be a what?
12                   Q.        A very risky business.
13                   A.        Yes.
14                   Q.        One in which a lot of different things
15      could go wrong with the transaction?
16                   A.        If you weren't doing it from front to
17      end yourself, I mean yourself, a singular person is
18      the way it started out, then I would say, yes, I see
19      that.    I don't know.           I'd have to rethink that.
20                   Q.        Some things would often go wrong in
21      diversion transactions?
22                   A.        Yes.
23                   Q.        And sometimes goods would be
24      defective?
25                   A.        Defective, not what they said when

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                                                                               Page 258
 1                                   THOMAS PETTERS
 2      they sealed the trailer, stolen, thievery, all kinds
 3      of shortages.          It's not uncommon for electronic --
 4      trucks full of electronics to have the seal cut and
 5      try to --
 6                             REPORTER:        I'm sorry, I didn't hear
 7      what you said.          Have the seal cut and what?
 8                   A.        My apologies.
 9                             REPORTER:        The doors.
10                   A.        The seal cut on the truck.             They put
11      seals on the back of trucks when they closed the
12      doors.       We had every excuse in the world over the
13      years in the business of having no inventory in the
14      truck that was suppose to have inventory in the truck
15      to having stolen inventory to anything.
16                   Q.        (By Mr. Loigman)              So it wouldn't be
17      possible to have thousands of diverting deals
18      including electronic deals and never have anything go
19      wrong, would it?
20                   A.        No.
21                   Q.        And it wouldn't be possible?
22                   A.        Not in my life.
23                   Q.        It wouldn't be possible to always have
24      the goods delivered perfectly as advertised, right?
25                   A.        No.

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                                                                               Page 259
 1                                   THOMAS PETTERS
 2                             MR. HAVELES:            Sorry, I didn't hear the
 3      answer.
 4                   A.        I'm sorry, I said no.
 5                             MR. HAVELES:            Okay.
 6                   A.        I mean it happened.
 7                             MR. HAVELES:            No, I just didn't hear
 8      the answer.
 9                   A.        No, it did happen, but you said would
10      it be all the time, no.
11                   Q.        (By Mr. Loigman) And never have
12      defective goods or never have goods broken in
13      transit, that wouldn't be possible over thousands of
14      transactions?
15                   A.        It all happens.
16                   Q.        And so if a company financed hundreds
17      of deals with PCI, it would be implausible that there
18      would be no dilution or problems across any of those
19      deals?
20                             MR. HAVELES:            Objection, foundation.
21                   A.        I -- I would agree with that
22      consensus.
23                   Q.        (By Mr. Loigman) And anybody who knew
24      anything about the diversion business would
25      understand that, right?

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                                                                               Page 260
 1                                    THOMAS PETTERS
 2                             MR. HAVELES:            Objection, foundation.
 3                   A.        I know about the diversion business
 4      and my answer I'll give you is I would agree with
 5      that 100 percent.
 6                   Q.        (By Mr. Loigman)              Now we spoke earlier
 7      today about Deanna Munson, right?
 8                   A.        Yes.
 9                   Q.        And she was also known as Deanna
10      Coleman?
11                   A.        Right.
12                   Q.        And she was employed by PCI from about
13      1993 through 2008?
14                   A.        Yes.
15                   Q.        So that was for much of the company's
16      life?
17                   A.        Yes.
18                   Q.        And was she involved in the day-to-day
19      operations of the company for that entire time?
20                   A.        Very much so.
21                   Q.        Was she more involved in the
22      day-to-day operations of the company than you were?
23                   A.        Was she more involved?
24                   Q.        Yes.
25                   A.        Oh, yes, yes, she can tell you that.

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Opportunity Finance LLC
Portfolio Data
           11/13/2019
Todays Date:                                                                                           Added by
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                  F            H           R               AB              AD              AH           Trustee      AJ            AN

  Deal          Note        Issuance      Note            Goods          Approved        Goods          Gross     Approved       Goods
  No.         Principal       Date        Rate             Cost Petters Equity
                                                                          Seller        Sale Price      Margin     Buyer       Description


    258   $    2,400,000    1/25/2002      2.50%      $    2,449,207   Universal    $      2,816,486     13.04%   SAM'S      HP Electronics

    259   $    2,000,000    1/25/2002      2.50%      $    2,111,533   Nationwide   $      2,428,028     13.04%   BOSCOV     Sony /Microsoft

    260   $    2,200,000    1/25/2002      2.50%      $    2,255,288   Nationwide   $      2,593,567     13.04%   BJ'S       JVC Camcorder

    261   $    4,300,000     2/4/2002      2.50%      $    4,421,666   Nationwide   $      5,084,915     13.04%   SAM'S      Pioneer HDTV

    262   $    3,100,000     2/4/2002      2.50%      $    3,228,860   Nationwide   $      3,713,189     13.04%   BJ'S       Pionr HDTV/DVD

    263   $    1,700,000     2/4/2002      2.50%      $    1,763,196   Nationwide   $      2,027,634     13.04%   BOSCOV     Delta Saw

    264   $    1,400,000     2/4/2002      2.50%      $    1,451,600   Nationwide   $      1,669,340     13.04%   BJ'S       RCA TV

    265   $    1,500,000    2/11/2002      2.50%      $    1,567,772   Universal    $      1,802,911     13.04%   REX        Philips TV

    266   $    2,400,000    2/11/2002      2.50%      $    2,512,000   Universal    $      2,888,800     13.04%   BJ'S       Golf Sets

    267   $    2,600,000    2/11/2002      2.50%      $    2,731,274   Universal    $      3,140,958     13.04%   SAM'S      Exercise Equip.

    268   $    3,800,000    2/11/2002      2.50%      $    3,960,068   Nationwide   $      4,554,064     13.04%   BJ'S       Pnsc TV

    269   $    3,300,000    2/11/2002      2.50%      $    3,467,358   Nationwide   $      3,987,437     13.04%   BOSCOV     Pnsc TV

    270   $    1,300,000    2/11/2002      2.50%      $    1,355,387   Nationwide   $      1,558,693     13.04%   SAM'S      Sony TV

    271   $    3,400,000    2/20/2002      2.50%      $    3,538,897   Nationwide   $      4,069,687     13.04%   SAM'S      BOSE DVD
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272   $   3,700,000   2/20/2002   2.50%      $   3,854,418   NATIONWIDE$      4,431,916   13.03%   SAM'S    SONY CAMCORDER

273   $   3,000,000   2/20/2002   2.50%      $   3,138,422   NATIONWIDE$      3,138,422   0.00%    BJ'S     SONY TV

274   $   2,200,000   2/20/2002   2.50%      $   2,303,580   NATIONWIDE$      2,639,431   12.72%   BOSCOV   LEATHER JACKETS

275   $   1,700,000   2/20/2002   2.50%      $   1,834,113   NATIONWIDE$      2,136,611   14.16%   BOSCOV   TV COMPUTER

276   $   3,000,000   2/28/2002   2.50%      $   3,126,340   NATIONWIDE$      3,595,283   13.04%   SAM'S    RCA TVs

277   $   2,500,000   2/28/2002   2.50%      $   2,609,063   NATIONWIDE$      3,000,413   13.04%   SAM'S    JVC CAMCORDER

278   $   3,000,000   2/28/2002   2.50%      $   3,112,927   PAR          $   3,579,839   13.04%   BJ'S     WHIRLPOOL W

279   $   2,300,000    3/6/2002   2.50%      $   2,420,928   Universal    $   2,784,055   13.04%   BOSCOV   PHILLIPS TV

280   $   1,750,000    3/6/2002   2.50%      $   1,837,338   Universal    $   2,122,914   13.45%   BJ'S     Phillips TV

281   $   2,000,000    3/8/2002   2.50%      $   2,100,822   Nationwide   $   2,415,870   13.04%   SAM'S    Bushnell

282   $   3,600,000    3/8/2002   2.50%      $   3,802,468   Nationwide   $   4,372,805   13.04%   SAM'S    Denon Audio

283   $   3,000,000    3/8/2002   2.50%      $   3,242,085   Universal    $   3,728,373   13.04%   BJ'S     Fitness Equipment

284   $   4,000,000   3/13/2002   2.50%      $   4,210,354   Nationwide   $   4,841,886   13.04%   SAM'S    Sony TV

285   $   3,500,000   3/13/2002   2.50%      $   3,605,198   Nationwide   $   4,145,975   13.04%   SAM'S    Toshiba TV

286   $   2,600,000   3/13/2002   2.50%      $   2,712,828   Nationwide   $   3,119,750   13.04%   BJ'S     Toshiba TV

287   $   1,700,000   3/13/2002   2.50%      $   1,812,750   Universal    $   2,084,663   13.04%   SAM'S    Canon Printer

288   $   3,500,000   3/18/2002   2.50%      $   3,629,900   Nationwide   $   4,174,378   13.04%   REX      JVC Camera/Video

289   $   3,100,000   3/26/2002   2.50%      $   3,209,900   Nationwide   $   3,691,385   13.04%   BOSCOV   Bose Ent. System

290   $   3,600,000   3/26/2002   2.50%      $   3,676,125   Nationwide   $   4,227,544   13.04%   SAM'S    Hitachi TV
                    Case 10-04301    Doc 321    Filed 02/07/20 Entered 02/07/20 15:49:09        Desc Main
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291   $   3,300,000   3/26/2002     2.50%      $   3,424,429   Nationwide      $   3,938,082   13.04%   SAM'S       Pioneer Receiver

292   $   3,500,000    4/1/2002     2.50%      $   3,623,894   Nationwide      $   4,167,476   13.04%   BJ'S        Bose Home Ent/DVD

293   $   3,400,000    4/1/2002     2.50%      $   3,506,585   Nationwide      $   4,032,551   13.04%   SAM'S       Panasonic Camcorder

294   $   3,900,000    4/1/2002     2.50%      $   4,006,857   Nationwide      $   4,607,851   13.04%   SAM'S       Panasonic TV/DVD

295   $   2,000,000    4/1/2002     2.50%      $   3,151,157   Nationwide      $   3,623,816   13.04%   BOSCOV      RCA TV

296   $   1,700,000   4/11/2002     2.50%      $   1,789,565   Nationwide      $   2,057,907   13.04%   SAM'S       Panasonic Phone

297   $   2,800,000   4/11/2002     2.50%      $   2,963,329   Nationwide      $   3,407,815   13.04%   BJ'S        Sony Camcorder

298   $   3,600,000   4/11/2002     2.50%      $   3,732,379   Universal       $   4,292,190   13.04%   SAM'S       GE TV/Air Purifier

299   $   4,600,000   4/26/2002     2.50%      $   4,770,340   Par Group       $   5,485,852   13.04%   SAM'S       Whirlpool & Frigi

300   $   1,400,000   4/26/2002     2.50%      $   1,505,323   Nationwide      $   1,731,109   13.04%   SAM'S       Sony Personal O

301   $   2,800,000   4/26/2002     2.50%      $   2,945,799   Universal       $   3,407,710   13.55%   SAM'S       Wilson Golf Club Sets

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0

 0    $         -      1/0/1900     0.00%      $         -                 0   $         -          0           0                 0
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0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

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0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

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0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

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0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

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0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

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0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0

0   $   -      1/0/1900     0.00%      $        -           0   $        -            0        0   0
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    0     $         -      1/0/1900     0.00%      $           -        0   $           -         0           0   0

    0     $         -      1/0/1900     0.00%      $           -        0   $           -         0           0   0


Test #1   $         -      1/0/1900     0.00%      $           -        0   $           -         0   SAM'S       0

Test #2   $         -      1/0/1900     0.00%      $           -        0   $           -         0   BOSCOV      0

Test #3   $         -      1/0/1900     0.00%      $           -        0   $           -         0   REX         0

Test #4   $         -      1/0/1900     0.00%      $           -        0   $           -         0   BJ'S        0

Test #5   $         -      1/0/1900     0.00%      $           -        0   $           -         0   COSTCO      0

    0     $         -      1/0/1900     0.00%      $           -        0   $           -         0           0   0

    0     $         -      1/0/1900     0.00%      $           -        0   $           -         0           0   0

TOTAL     $ 122,150,000                            $   128,473,317          $   147,319,582
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                                                                                 Page 1
 2               UNITED STATES BANKRUPTCY COURT
 3                    DISTRICT OF MINNESOTA
 4                        NO. 08-45257
      -------------------------------------------------x
 5    In Re: Petters Company, Inc., et al.,
 6                            Debtors,
 7    (Includes:                            Court File Nos.
      Petters Group Worldwide, LLC;         08-45258 (KHS)
 8    PC Funding, LLC;                      08-45326 (KHS)
      Thousand Lakes, LLC;                  08-45327 (KHS)
 9    SPF Funding, LLC;                     08-45328 (KHS)
      PL Ltd., Inc.;                        08-45329 (KHS)
10    Edge One LLC;                         08-45330 (KHS)
      MGC Finance, Inc.;                    08-45331 (KHS)
11    PAC Funding, LLC;                     08-45371 (KHS)
      Palm Beach Finance Holdings, Inc.) 08-45392 (KHS)
12    -------------------------------------------------x
      DOUGLAS A. KELLEY, in his capacity as the Trustee
13    of the PCI Liquidating Trust,
14                                     Plaintiff,
15                vs.
16    OPPORTUNITY FINANCE, LLC, et al.,
17                                     Defendants.
18    -------------------------------------------------x
19          VIDEOTAPED DEPOSITION OF BRUCE MILLER
20            New York, New York
21            Friday, October 4, 2019
22
23    Reported by:
24    Amy A. Rivera, CSR, RPR, CLR
25    JOB NO. 167332

                           TSG Reporting - Worldwide   877-702-9580
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                                                                                Page 38
 1                                  BRUCE MILLER
 2                     MR. HAVELES:            Well, because there's
 3            nothing in here suggesting that DZ Bank was
 4            involved in negotiating a transaction.                       It's
 5            just describing it.
 6                     So how you characterized it as to what
 7            it reflects as opposed to transactions that
 8            were brought to it for financing.
 9                     MR. WALDMAN:            Okay.        And that's
10            helpful because that's not what I mean to
11            say.     Let me ask it a different way.
12      BY MR. WALDMAN:
13            Q.       Do these first two steps accurately
14    describe the part of the underlying transaction
15    that consisted of PCI's negotiation of the
16    purchase and sale of goods?
17            A.       Yes.
18            Q.       Okay.      And it's your understanding
19    that PCI claimed to negotiate with certain sellers
20    of goods and then to negotiate with certain buyers
21    of goods?
22            A.       Yes.
23                     MR. WALDMAN:            Okay.        You can actually
24            put that aside for the moment, but I will
25            probably refer back to it, so...

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                                                                                 Page 1
 1                     UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
 2
                                 CASE NO. 08-45257
 3
 4    IN RE:  PETTERS COMPANY, INC., et al.,
 5                  Debtors,
      (Includes:                             Court File Nos.
 6    Petters Group Worldwide, LLC;           08-45258 (KHS)
      PC Funding, LLC;                        08-45326 (KHS)
 7    Thousand Lakes, LLC;                    08-45327 (KHS)
      SPF Funding, LLC;                       08-45328 (KHS)
 8    PL Ltd., Inc.;                          08-45329 (KHS)
      Edge One LLC;                           08-45330 (KHS)
 9    MGC Finance, Inc.                       08-45331 (KHS)
      PAC Funding, LLC;                       08-45371 (KHS)
10    Palm Beach Finance Holdings, Inc.)      08-45392 (KHS)
11    DOUGLAS A. KELLEY, in his capacity
      as the Trustee of the PCI Liquidating
12    Trust,
13                   Plaintiff,
      vs.                                 ADV. NO. 10-04301
14
      OPPORTUNITY FINANCE, LLC; OPPORTUNITY FINANCE
15    SECURITIZATION, LLC; OPPORTUNITY FINANCE
      SECURITIZATION II, LLC; OPPORTUNITY FINANCE
16    SECURITIZATION III, LC; INTERNATIONAL INVESTMENT
      OPPORTUNITIES, LLC; SABES FAMILY FOUNDATION;
17    SABES MINNESOTA LIMITED PARTNERSHIP;
      ROBERT W. SABES; JANET F. SABES; JON R. SABES;
18    STEVEN SABES; DEUTSCHE ZENTRALGENOSSENSCHAFTBANK
      AG; AND THE MINNEAPOLIS FOUNDATION,
19
                    Defendants.
20    __________________________________________________/
21        VIDEOTAPED DEPOSITION OF THOMAS SHERIDAN HAY
22                  Palm Beach Gardens, Florida
                    Thursday December 6, 2018
23
24    Reported by: Darline Marie West, RPR, FPR
25    Job No. 151806

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                                                                               Page 264
 1                              THOMAS SHERIDAN HAY
 2    you.    Hang on one second.
 3                   MR. HAVELES:            It's Exhibit 17.
 4                   MR. WALDMAN:            Thank you, Mr. Haveles.
 5    BY MR. WALDMAN:
 6           Q.      It's Exhibit 17.               And I'm not going to ask
 7    you to read anything --
 8           A.      That's not a name that people were
 9    generally familiar with.                   Sixteen, 17.
10           Q.      Okay.      And I'm not going to ask you about
11    the document.         I'm just showing it to you to refresh
12    your recollection that we talked about it.
13                   And I think Mr. Haveles asked you if you
14    have signed down at the bottom as a director.                         And
15    that is -- that's your signature, as far as you know?
16           A.      Yes.
17           Q.      Okay.      Do you recall, did your -- to the
18    extent that you had a position as a director of PC
19    Funding, do you recall whether it had a set term,
20    say, a year, two years, three years?
21           A.      I don't.
22           Q.      Okay.      Do you recall being appointed to the
23    board of PC Funding, LLC?
24           A.      Well, I recall -- I mean, I signed this
25    paper.      I mean, that was an appointment, as it were.

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                                                                                 Page 265
 1                              THOMAS SHERIDAN HAY
 2    I mean --
 3          Q.       Okay.      Do you recall ever subsequently
 4    being reappointed to the board of PC Funding?
 5          A.       No.
 6          Q.       Okay.      Do you recall attending -- ever
 7    attending a meeting of the board of PC Funding?
 8          A.       No.
 9          Q.       PC Funding, LLC, didn't have regular board
10    meetings, so far as you recall?
11                   MR. HAVELES:            Objection.            Form.
12                   THE WITNESS:            I question how long this
13          even lasted.
14    BY MR. WALDMAN:
15          Q.       So the answer is, no, no regular board
16    meetings?
17                   MR. HAVELES:            He didn't indicate.            He
18          just kind of shook his head.
19    BY MR. WALDMAN:
20          Q.       Oh.   Sorry.
21                   Just so the record is clear:                       As far as you
22    recall, PC Funding did not have regular meetings of
23    the board of directors?
24          A.       That's true.
25          Q.       Okay.      Did you ever receive mail at an

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                                                                                  Page 266
 1                              THOMAS SHERIDAN HAY
 2    address specific to PC Funding?
 3          A.       No.
 4          Q.       Okay.      And do you recall PC Funding having
 5    a separate address from where you worked at Petters?
 6          A.       No.
 7          Q.       Do you remember anybody trying to call you
 8    at a number for PC Funding that --
 9          A.       No.
10          Q.       A number -- do you remember doing anything
11    in particular in your capacity as a director of PC
12    Funding?
13          A.       No.
14          Q.       Okay.
15          A.       It was nonexistent, virtually.                     I mean, to
16    the broader group of people.
17          Q.       And you were essentially a director in name
18    only; is that fair?
19                   MR. HAVELES:            Objection.            Leading.
20                   THE WITNESS:            I would say that's
21          correct.
22    BY MR. WALDMAN:
23          Q.       That's my first topic.                     I think you also
24    testified, generally, that you spent a fair amount of
25    time in the -- on the Petters real estate entity; is

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                                                                                 Page 272
 1                              THOMAS SHERIDAN HAY
 2                   THE WITNESS:            No, that -- that is
 3          correct.
 4    BY MR. WALDMAN:
 5          Q.       Okay.      And I actually -- sorry, I had one
 6    other question about PC Funding, or two other
 7    questions.
 8          A.       Yeah.
 9          Q.       The document that we looked at has two
10    other signatories.              It looks like Tom -- Tom Petters
11    and Benjamin Abadine.
12                   So far as you knew, were they also
13    directors, essentially, in name only?
14                   MR. HAVELES:            Objection.            Foundation.
15                   THE WITNESS:            No, Tom Petters, of
16          course, being -- well, Tom Petters, being
17          the principal and owner of the business, was
18          a more normal director, if you want to call
19          it that.         The other fellow, I've never met.
20    BY MR. WALDMAN:
21          Q.       Okay.      He wasn't at any of the nonexistent
22    board meetings?
23          A.       I don't know who he is.
24                   MR. HAVELES:            Objection.            Foundation.
25                   MR. WALDMAN:            Okay.        That's all I've

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            EXHIBIT T-55
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    In re:                           Court File No. 08-45257

    Petters Company, Inc., et al.,

    Debtors.

                                                Court File No.'s:
    (includes:
    Petters Group Worldwide, LLC;                     08-45258(GFK)
    PC Funding, LLC;                                  08-45326(GFK)
    Thousand Lakes, LLC;                              08-45327(GFK)
    SPF Funding, LLC;                                 08-45328(GFK)
    PL Ltd., Inc.;                                    08-45329(GFK)
    Edge One, LLC;                                    08-45330(GFK)
    MGC Finance, Inc.;                                08-45331(GFK)
    PAC Funding, LLC;                                 08-45371(GFK)
    Palm Beach Finance Holdings, Inc.)                08-45392(GFK)

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                     VIDEOTAPED DEPOSITION OF

                              JON R. SABES

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    Taken July 7, 2011                     By Paula Richter, RPR
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                           Document      Page 720 of 994
                 In re: Petters Company, Inc., et al., Debtors
                          JON R. SABES      July 7, 2011

                                          Page 86                                               Page 88
 1   A. I believe they are.                           1              (Exhibit 25 was marked for
 2   Q. Right. What I'd prefer to do, with you and    2     identification.)
 3     your counsel's permission, is have that        3              THE WITNESS: (Reviews document.)
 4     appended to the back of the beginning of       4   BY MR. LARSEN:
 5     Exhibit Number 23. Those are actually the      5   Q. Are you familiar with Exhibit 25?
 6     wire transfer instructions to Enchanted that   6   A. I am now.
 7     I had earlier alluded to. So that -- that      7   Q. Okay. Do you recall it as you sit here?
 8     should just be part of paragraph -- part of    8   A. Not really.
 9     Exhibit Number 23.                             9   Q. Did you speak with Heather Thayer regarding
10              And if the court reporter then       10     this independent director element of PC
11     would mark this December 7th, 2001, letter as 11     Funding?
12     Exhibit 24 and correct the old 24, that would 12   A. I don't recall a conversation specifically on
13     be helpful.                                   13     that.
14              (Exhibit 24 was re-marked for        14   Q. Okay. So when she refers within the text of
15     identification.)                              15     this December 13, 2001, e-mail to the
16   BY MR. LARSEN:                                  16     rent-a-director, was that the director being
17   Q. If you would now look with us as what we've 17      provided by Lord Securities Corp.?
18     more recently marked as Exhibit 24, a         18   A. I believe that's her reference.
19     December 7th, 2001 letter. Now, are you       19   Q. And did you ask her what she meant when she
20     familiar with Exhibit 24?                     20     said the rent-a-director?
21   A. I am.                                        21   A. I don't believe I did.
22   Q. Okay. And what is it?                        22   Q. This independent director, was he able to
23   A. It's an engagement letter from Lord          23     fulfill his fiduciary duties to PC Funding?
24     Securities Corporation preparing to designate 24              MR. PETROSINELLI: Object to the
25     an independent director for PC Funding, I     25     form.
                                          Page 87                                               Page 89
 1     believe, yes.                                  1             MR. KELLER: Same objection.
 2   Q. Okay. Now, was there a reason why PC Funding 2              THE WITNESS: I don't know.
 3     was going to utilize the services of an        3   BY MR. LARSEN:
 4     independent director?                          4   Q. Twenty-six, next in order.
 5   A. Yes.                                          5             (Exhibit 26 was marked for
 6   Q. And what was that reason?                     6     identification.)
 7   A. It was required as part of the charter of PC  7             THE WITNESS: (Reviews document.)
 8     Funding.                                       8   BY MR. LARSEN:
 9   Q. And why was it required as part of the        9   Q. And are you familiar with Exhibit 26?
10     charter of PC Funding?                        10   A. I am now.
11   A. It's my understanding that the charter of PC 11   Q. And, again, I'll ask you the same question.
12     Funding required a unanimous vote by all of   12     Do you have any recollection of it as you sit
13     its directors for a voluntary bankruptcy      13     here, sir?
14     filing.                                       14   A. Not necessarily.
15   Q. Okay. And that would have included a vote by 15   Q. I note an e-mail from you within this string,
16     its independent director, correct?            16     December 17th, 2001, 11:57 a.m. Does this
17   A. That's what I understood.                    17     address the independent director for both PC
18   Q. Now, did you know the independent director   18     Funding and also an independent director for
19     for PC Funding?                               19     Opportunity Finance Securitization?
20   A. No.                                          20   A. I'm -- I'm sorry. What -- what are you
21   Q. Okay. But that person was provided by Lord   21     referring to and asking me?
22     Securities Corporation; is that correct?      22   Q. Does your e-mail refer to an independent
23   A. That's correct.                              23     director for PC Funding and also one for
24   Q. Now let's take a look at Exhibit 25, if we   24     Opportunity Finance Securitization?
25     can.                                          25   A. Yes.
                                                                            23 (Pages 86 to 89)
                            Merrill Corporation - Minnesota
877-489-0367                                           www.merrillcorp.com/law
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                 In re: Petters Company, Inc., et al., Debtors
                          JON R. SABES      July 7, 2011

                                          Page 90                                               Page 92
 1   Q. And did it make any difference to you which 1     A. Yes.
 2     independent
        ndependent director was assigned to which of 2    Q. Okay. So was it apparent then to Opportunity
 3     those two companies?                           3     Finance at the time that all of the dollars
 4   A. No.                                           4     coming into that PC Funding account were
 5   Q. Now, next is Exhibit 27. And I'll just tell   5     sourced in PCI?
 6     you in advance, it's -- you'll have three      6   A. I don't know about sourced from PCI. We
 7     stapled sets of bank statements before you to  7     would look at the bank statement of PCI to
 8     be marked collectively as Exhibit 27, so I     8     trace their incoming wire, which would then
 9     don't make the same mistake I made just a      9     be forwarded to PC Funding. So it would
10     moment ago.                                   10     definitely flow through PCI to get to PC
11   A. Are you referring to --                      11     Funding.
12   Q. Yes, sir.                                    12   Q. And it would flow through PCI with respect to
13   A. -- these -- these statements?                13     every dollar that came into the PC Funding
14   Q. Yes, sir.                                    14     account?
15   A. Okay.                                        15   A. The retailer payment amount would flow
16             (Exhibit 27 was marked for            16     through PCI, yes, sir.
17     identification.)                              17   Q. Okay. And then would that also be the case,
18   BY MR. LARSEN:                                  18     as time elapsed, as reflected in the last two
19   Q. Now, Mr. Sabes, again, I will just represent 19     sets of bank statements that we have ending
20     to you that instead of giving you a           20     January 31, '06 and May 19, '08? And take
21     three-foot-high stack of bank statements,     21     your time and take a look at these.
22     I've selected a few from interspersed points  22             MR. PETROSINELLI: I don't
23     in time, okay? The first of those being a     23     understand the question. The question is:
24     statement of account ending December 31st,    24     Do all the incoming deposits into this
25     2003. Can you tell us who did this account    25     account reflected on these statements come
                                          Page 91                                               Page 93
 1     statement come to? Who was it sent to?         1     from PCI?
 2   A. This particular statement is addressed to     2              MR. LARSEN: Right, right.
 3     Steve Sabes at Opportunity Finance, LLC.       3              THE WITNESS: No. I mean, I --
 4   Q. And is this the account that was held in the  4     I'd have to study these accounts in
 5     name of PC Funding?                            5     greater -- these statements in detail to
 6   A. I don't believe it was. Let me look.          6     really know what's going on with them. It's
 7   Q. Absolutely.                                   7     hard for me to -- if you want, I can go study
 8   A. (Reviews document.) I stand corrected. It     8     them and try and tell you what I see going on
 9     may -- it may very well be the PC Funding      9     with them, but it's a little blurry and hard
10     account.                                      10     to read, but --
11   Q. And this is the account that the Account     11   BY MR. LARSEN:
12     Control Agreement pertained to perhaps?       12   Q. That -- that's fair enough.
13   A. That's correct, yeah.                        13   A. Yeah.
14   Q. And if we look to, within this first little  14   Q. Let me see if I can help narrow this down a
15     compilation of materials, the fifth page      15     little bit.
16     that's captioned Transactions From November 16     A. Thank you.
17     30th, '03 to December 31st, '03?              17   Q. I'm not trying to direct your attention to
18   A. The last page?                               18     one part of the exhibit as opposed to
19   Q. Actually, the second to the last page. It's  19     another, but for example, on the page that
20     got a Bates of 8115 in the lower right-hand   20     ends in the Bates number 11520, do you have
21     corner.                                       21     that page before you, sir?
22   A. Got it.                                      22   A. Yes, I do.
23   Q. Got it? Okay. We can see, can we not,        23   Q. For example, on January 11, 2006, is noted a
24     transactions coming in from Petters Company; 24      transfer from another trust.
25     is that correct?                              25   A. I'm sorry. On what date are you seeing
                                                                            24 (Pages 90 to 93)
                            Merrill Corporation - Minnesota
877-489-0367                                           www.merrillcorp.com/law
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Case 08-45257
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                    Doc 321       Filed 12/15/10
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                                  UNITED STATES DISTRICT COURT
                                      DISTRICT OF MINNESOTA

     UNITED STATES OF AMERICA,                        )
                                                      )
                              Plaintiff,              )
                                                      )
     v.                                               )          Civil No. 08-CV-5348 (ADM/JSM)
                                                      )
     THOMAS JOSEPH PETTERS, et al.;                   )
                                                      )
                              Defendants.             )


                               UNITED STATES BANKRUPTCY COURT
                                    DISTRICT OF MINNESOTA

     In re:                                                      Jointly Administered under
                                                                     Case No. 08-45257

     Petters Company, Inc., et al.,                                    Court File No. 08-45257

                                           Debtors.
                                                                       Court Files No.’s:
     (includes:
     Petters Group Worldwide, LLC;                                     08-45258 (GFK)
     PC Funding, LLC;                                                  08-45326 (GFK)
     Thousand Lakes, LLC;                                              08-45327 (GFK)
     SPF Funding, LLC;                                                 08-45328 (GFK)
     PL Ltd., Inc.;                                                    08-45329 (GFK)
     Edge One LLC;                                                     08-45330 (GFK)
     MGC Finance, Inc.;                                                08-45331 (GFK)
     PAC Funding, LLC;                                                 08-45371 (GFK)
     Palm Beach Finance Holdings, Inc.)                                08-45392 (GFK)

                                                                      Chapter 11 Cases
                                                                   Judge Gregory F. Kishel




                                      PwC INTERIM REPORT
                                       DECEMBER 15, 2010




     CONFIDENTIAL
Case 08-45257
Case 10-04301       Doc 808
                    Doc 321      Filed 12/15/10
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             402.    Our analysis continues and we anticipate providing a final report on our

     procedures and findings at a later date (as directed by the court). The information contained

     in this report is based on analyses completed through September 30, 2010. These

     observations may change based on our continuing analysis and/or the receipt of additional

     information or documentation.




     _________________________________

     Theodore F. Martens
     Partner, PwC


     December 15, 2010




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     CONFIDENTIAL
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                                              EXHIBIT 10

                Possible Uses of Interlachen Harriet Investments, Ltd. Funds

                                        Source: PwC Analysis




   Certain exhibits contain references to analyses, schedules, or appendices not included in this report.
Petters Company, Inc. (PCI) - M&I Bank Account (Account Number 1959018)
April 18, 2008 Transactions


      DATE                         PAYOR                                            PAYEE                             IN AMOUNT             OUT AMOUNT                     MATCHED_ENTITY
        4/18/2008 PCI                                             THOUSAND LAKES, LLC                                               -          4,233,267.50 THOUSAND LAKES, LLC
                                                                                                                                                                                                                                       Case




        4/18/2008 PCI                                             THOUSAND LAKES, LLC                                               -          4,663,823.75 THOUSAND LAKES, LLC
        4/18/2008 PCI                                             THOUSAND LAKES, LLC                                               -          5,054,380.00 THOUSAND LAKES, LLC
        4/18/2008 PCI                                             THOUSAND LAKES, LLC                                               -          5,889,097.50 THOUSAND LAKES, LLC
        4/18/2008 PCI                                             EDGE ONE CAPITAL LP                                               -          1,803,830.00 EDGE ONE, LLC
        4/18/2008 PCI                                             EDGE ONE CAPITAL LP                                               -          2,800,200.00 EDGE ONE, LLC
        4/18/2008 PCI                                             PC FUNDING, LLC                                                   -          3,830,321.90 PC FUNDING, LLC
                                                                                                                                                                                                                                       Case 10-04301
                                                                                                                                                                                                                                            08-45257




        4/18/2008 PCI                                             PC FUNDING, LLC                                                   -          4,466,553.35 PC FUNDING, LLC
        4/18/2008 INTERLACHEN HARRIET                             PCI                                                  50,000,000.00                       - INTERLACHEN
        4/18/2008 THOUSAND LAKES, LLC                             PCI                                                  10,719,716.50                       - THOUSAND LAKES, LLC
        4/18/2008 THOUSAND LAKES, LLC                             PCI                                                  11,880,283.50                       - THOUSAND LAKES, LLC
                                                                                                                                                                                                                                       Doc




        4/18/2008 PALM BEACH CAPITAL CORP                         PCI                                                      46,279.58                       - PALM BEACH FINANCE HOLDINGS, INC.
        4/18/2008 PCI                                             THOUSAND LAKES, LLC                                               -          2,575,800.00 THOUSAND LAKES, LLC
                                                                                                                                                                                                                                       Doc 321
                                                                                                                                                                                                                                           809




        4/18/2008 PCI                                             PC FUNDING, LLC                                                   -          5,044,395.00 PC FUNDING, LLC
        4/18/2008 PCI                                             PBFP HOLDINGS, LLC                                                -            323,422.92 PALM BEACH FINANCE HOLDINGS, INC.
        4/18/2008 PCI                                             PBFP HOLDINGS, LLC                                                -          2,838,870.75 PALM BEACH FINANCE HOLDINGS, INC.
        4/18/2008 PCI                                             PBFP HOLDINGS, LLC                                                -          4,395,740.75 PALM BEACH FINANCE HOLDINGS, INC.
        4/18/2008 PCI                                             PCI/REDTAGBIZ                                                     -          5,000,000.00 APRIVEN PARTNERS, LP
                                                                                                                                                                                                                    Filed




        4/18/2008 PCI                                             PCI/REDTAGBIZ                                                     -          5,379,166.67 APRIVEN PARTNERS, LP
        4/18/2008 PCI                                             PCI/REDTAGBIZ                                                     -          5,391,666.67 APRIVEN PARTNERS, LP
                                                                                                                                                                                                                   Document




        4/18/2008 PCI                                             THOUSAND LAKES, LLC                                               -          4,468,262.50 THOUSAND LAKES, LLC
                                                                                                                                                                                                                    Document




        4/18/2008 PCI                                             PCI/REDTAGBIZ                                                     -          5,000,000.00 APRIVEN PARTNERS, LP
                                                                                               4/18/2008 Total    $    72,646,279.58    $     73,158,799.26
                                                                                                                                                                                                                    Filed 02/07/20




                                                                                     Net Cash Inflow/ (Outflow)                         $       (512,519.68)
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                                                                                                                                                                                                 As of 9/30/2010
Petters Company, Inc. (PCI) - M&I Bank Account (Account Number 1959018)
April 22, 2008 Transactions


      DATE                         PAYOR                                            PAYEE                               IN AMOUNT              OUT AMOUNT                     MATCHED_ENTITY
        4/22/2008 NATIONWIDE INTERNATIONAL RESOURCES              PCI                                                      3,552,000.00                       -
                                                                                                                                                                                                                                          Case




        4/22/2008 ENCHANTED FAMILY BUYING COMPANY                 PCI                                                      4,000,000.00                       -
        4/22/2008 INTERLACHEN HARRIET                             PCI                                                     10,000,000.00                       - INTERLACHEN
        4/22/2008 THOUSAND LAKES, LLC                             PCI                                                      6,841,280.25                       - THOUSAND LAKES, LLC
        4/22/2008 THOUSAND LAKES, LLC                             PCI                                                     13,758,719.75                       - THOUSAND LAKES, LLC
        4/22/2008 PCI                                             METRO GEM, INC.                                                      -             97,211.92 METRO GEM, INC.
        4/22/2008 PCI                                             METRO GEM, INC.                                                      -            222,040.00 METRO GEM, INC.
                                                                                                                                                                                                                                          Case 10-04301
                                                                                                                                                                                                                                               08-45257




        4/22/2008 PCI                                             METRO GEM, INC.                                                      -          4,316,325.00 METRO GEM, INC.
                                                                                                                                                                FIDELIS FOUNDATION (F/K/A HARVEST
         4/22/2008 PCI                                            FIDELIS FOUNDATION                                                   -          5,427,550.55 FOUNDATION)
                                                                                                                                                                FIDELIS FOUNDATION (F/K/A HARVEST
                                                                                                                                                                                                                                          Doc




         4/22/2008 PCI                                            FIDELIS FOUNDATION                                                   -          5,561,904.17 FOUNDATION)
         4/22/2008 PCI                                            THOUSAND LAKES, LLC                                                  -          3,442,800.00 THOUSAND LAKES, LLC
                                                                                                                                                                                                                                          Doc 321
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         4/22/2008 PCI                                            THOUSAND LAKES, LLC                                                  -          3,829,856.25 THOUSAND LAKES, LLC
         4/22/2008 PCI                                            THOUSAND LAKES, LLC                                                  -          4,149,156.25 THOUSAND LAKES, LLC
         4/22/2008 PCI                                            THOUSAND LAKES, LLC                                                  -          5,457,555.00 THOUSAND LAKES, LLC
         4/22/2008 PCI                                            THOUSAND LAKES, LLC                                                  -          5,711,885.00 THOUSAND LAKES, LLC
         4/22/2008 PCI                                            PC FUNDING, LLC                                                      -             57,522.87 PC FUNDING, LLC
                                                                                                                                                                                                                       Filed




                                                                                                 4/22/2008 Total    $     38,152,000.00    $     38,273,807.01
                                                                                       Net Cash Inflow/ (Outflow)                          $      (121,807.01)
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                                                                                 Page 1
1                  UNITED STATES BANKRUPTCY COURT
                        DISTRICT OF MINNESOTA
2                           No. 08-45257
       -----------------------------------------------x
3      IN RE: PETTERS COMPANY, INC., et al.
4                      Debtors.
5      (Includes:                        Court File Nos.
       Petters Group Worldwide, LLC;      08-45258 (KHS)
6      PC Funding, LLC;                   08-45326 (KHS)
       Thousand Lakes, LLC;               08-45327 (KHS)
7      SPF Funding, LLC;                  08-45328 (KHS)
       PL Ltd., Inc.;                     08-45329 (KHS)
8      Edge One LLC;                      08-45330 (KHS)
       MGC Finance, Inc.;                 08-45331 (KHS)
9      PAC Funding, LLC;                  08-45371 (KHS)
       Palm Beach Finance Holdings, Inc.) 08-45392 (KHS)
10
                                Chapter 11 Cases
11                              Judge Kathleen H. Sanberg
       --------------------------------------------------
12
       Douglas A. Kelley, in his capacity
13     as the Trustee of the PCI Liquidating Trust,
14                       Plaintiff,
15         v.
16     Opportunity Finance, LLC, et al.,
17                       Defendants.
18     -------------------------------------------------
19
20              VIDEOTAPED DEPOSITION OF LANCE BREILAND
21                         Minneapolis, Minnesota
22                     Wednesday, February 27, 2019
23
24   Reported by:      Amy L. Larson, RPR
25   Job No: 154994


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                                                                                Page 194
1                                     BREILAND
2         foundation.
3                          THE WITNESS:         Yes.
4                          MR. LOIGMAN:         Okay.
5    BY MR. LOIGMAN:
6    Q.   And this chart shows that on this day here,
7         April 18th, 2008, Interlachen transferred
8         $50 million to PCI, right?
9    A.   Yes.
10   Q.   Okay.       And is that accurate, to your
11        understanding?
12   A.   Yes.       If I understand the question, yes,
13        that's accurate.
14   Q.   Okay.       And the chart shows that on the same
15        day, several transfers were made by PCI to
16        PC Funding, right?
17                         MR. HAVELES:         Objection;
18        leading --
19                         THE WITNESS:         I -- I see --
20                         MR. HAVELES:         -- no foundation.
21                         THE WITNESS:         Yeah, I see three
22        here off the top of my head.               So, yeah, if
23        three -- several means three, then, yes, I
24        see three transactions to or transfers to
25        PC Funding.


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                                                                               Page 195
1                                    BREILAND
2                         MR. LOIGMAN:         Okay.
3    BY MR. LOIGMAN:
4    Q.   And those transfers, as you can tell, appear
5         to total something over $13 million, right?
6                         MR. HAVELES:         Objection; leading.
7                         THE WITNESS:         Yes, right around
8         13.
9                         MR. LOIGMAN:         Okay.
10   BY MR. LOIGMAN:
11   Q.   Now, when -- when Interlachen lent
12        $60 million to PCI in April of 2018, was it
13        ever told that PCI would use the money being
14        loaned in this way?
15   A.   No, absolutely not.
16   Q.   You were told that Petters was going to use
17        the money to purchase TVs, right?
18   A.   That's correct.
19   Q.   Okay.      Did you ever authorize PCI to use
20        Interlachen to pay the money back to other
21        lenders?
22   A.   No.
23   Q.   Okay.      Now, you filed Proofs of Claim on
24        behalf of Interlachen in various of the
25        Petters bankruptcy cases, right?


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1                                    BREILAND
2    A.   Yes, we did.
3    Q.   Okay.      And among those Proofs of Claim, you
4         asserted claims on behalf of Interlachen
5         against various of the special purpose
6         entities that were related to Petters?
7    A.   Yes, that is correct.
8    Q.   Okay.      And one of those was PC Funding,
9         right?
10   A.   Yes.
11   Q.   Okay.      So let me ask you to take a look at
12        what was marked earlier today as Exhibit 6.
13                     And this is -- we already discussed
14        this this morning.          This is the Proof of
15        Claim that Interlachen filed in the
16        PC Funding bankruptcy, right?
17   A.   Yes, this was.
18   Q.   Okay.      Now, Interlachen didn't loan money
19        directly to PC Funding, did it?
20   A.   It did not.
21   Q.   Okay.      Let me ask you to turn to paragraph 6
22        and the attachment to the Proof of Claim
23        that's on page 2 of the attachment.
24   A.   (Complies.)
25   Q.   And do you -- and do you see in the -- the


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1                                    BREILAND
2         sentence that says, "Instead, PCI used
3         Interlachen's investment to fund Petters'
4         other business ventures, retire other debt
5         and personally enrich the owners and
6         executives of PCI, PGW, and others"?
7    A.   Yes, I see that.
8    Q.   Okay.      And where it says, "Retire other
9         debt," are you referring to PCI's use of
10        Interlachen's money to pay other lenders to
11        Petters?
12                        MR. HAVELES:         Objection; leading.
13                        THE WITNESS:         Yes, that's exactly
14        what we meant this to be.             We meant it to
15        encompass things like we see on the
16        April 18th transaction statement and the
17        April 22nd transaction statement where our
18        monies went in and all of the monies going
19        out, or substantially all the monies going
20        out, were monies going out to other investors
21        and not to go out to pay for the goods we
22        thought PCI was purchasing with our money.
23   BY MR. LOIGMAN:
24   Q.   And -- and -- and would that include the --
25        the payments that were being paid over to


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                                                                               Page 198
1                                    BREILAND
2         PC Funding?
3                         MR. HAVELES:         Objection; leading.
4                         THE WITNESS:         Absolutely.
5                         MR. LOIGMAN:         Okay.
6    BY MR. LOIGMAN:
7    Q.   And when PCI used Interlachen's money to pay
8         PC Funding and its lenders, did that cause
9         harm to Interlachen?
10                        MR. HAVELES:         Objection to
11        foundation.
12                        THE WITNESS:         Absolutely.
13                        MR. LOIGMAN:         Okay.
14   BY MR. LOIGMAN:
15   Q.   When you filed Interlachen's Proof of Claims,
16        was it your understanding that Petters was
17        operating PCI and his various special purpose
18        entities in one large conspiracy that was
19        harming the various lenders to Petters,
20        including Interlachen?
21                        MR. HAVELES:         Objection; leading.
22                        THE WITNESS:         Yes.    It was a
23        conspiracy -- it was my understanding it was
24        a conspiracy, and I'm sure there are numerous
25        other legal theories under which the special


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1                                    BREILAND
2         purpose entities were assisting, aiding,
3         abetting what Tom Petters was doing and what
4         PCI were doing to defraud people like us.
5    BY MR. LOIGMAN:
6    Q.   And when you filed Interlachen's claim
7         against PC Funding, did you believe it was
8         appropriate to file a claim against
9         PC Funding?
10   A.   Yes.
11   Q.   Okay.      I'll put that claim aside now.
12                     Prior to joining Interlachen, going
13        back in time, there's a period when you were
14        an attorney at the firm of Fredrikson &
15        Byron, right?
16   A.   That's correct.
17   Q.   And at that time, Tom Petters and some of his
18        companies were clients of Fredrikson & Byron?
19   A.   That's correct.
20   Q.   Okay.      And -- and you were staffed on some of
21        those matters for -- for Petters' companies?
22   A.   That's correct.
23   Q.   Okay.
24   A.   And, again, Petters companies being Petters
25        entities, not Petters Company, Inc.


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1                                    BREILAND
2         we were shown that transaction by Tom Petters
3         because he needed us and he needed a
4         financing party to help him, and he was,
5         therefore, willing to let us into what we
6         believed to -- to be one of the most
7         lucrative parts of his business, or at least
8         the bread and butter of how Tom Petters had
9         made his money.
10   Q.   And in that April 2008 transaction there
11        wasn't any intellectual property element, was
12        there?
13   A.   There was not.
14   Q.   And there wasn't any real estate element, was
15        there?
16   A.   That's correct.         Or any joint venture that
17        governed the real estate or -- or litigation
18        that -- that was the subject of -- you know,
19        that the IP was the subject of.
20   Q.   And those all would have been elements of the
21        transaction in August 2008?
22   A.   That's correct.
23   Q.   Prior to Petters' arrest and -- and the
24        collapse of PCI, did Interlachen ever receive
25        a single transfer from PCI or any related


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1                                    BREILAND
2         entity?
3    A.   It did not.
4    Q.   It lost its entire $60 million?
5                         MR. HAVELES:         Objection; leading.
6                         THE WITNESS:         Yes, that's correct.
7                         MR. LOIGMAN:         I have no further
8         questions.
9                         MR. HAVELES:         I have a few.
10                        THE WITNESS:         Okay.
11                        MR. HAVELES:         We don't need to
12        take a break.
13
14                             FURTHER EXAMINATION
15   BY MR. HAVELES:
16   Q.   Let me ask you to go back to Exhibit 44, the
17        exhibit that Mr. Loigman marked at the
18        inception of his examination.
19                    And you had testified you had seen
20        Exhibit 44 before.          Do you recall that?
21   A.   Yes.
22   Q.   When did you first see Exhibit 44?
23   A.   I believe I saw it when or shortly after the
24        PwC interim report was first released.
25   Q.   And how did you -- who -- who provided you a


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                         UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF MINNESOTA


In re:                                                     Jointly Administered under
                                                                Case No. 08-45257
     Petters Company, Inc., et al.

                      Debtors.                                   Case No. 08-45257


     (includes:                                                    Court File Nos.:
     Petters Group Worldwide, LLC;                                 08-45258 (GFK)
     PC Funding, LLC;                                              08-45326 (GFK)
     Thousand Lakes, LLC;                                          08-45327 (GFK)
     SPF Funding, LLC;                                             08-45328 (GFK)
     PL Ltd., Inc.;                                                08-45329 (GFK)
     Edge One LLC;                                                 08-45330 (GFK)
     MGC Finance, Inc.;                                            08-45331 (GFK)
     PAC Funding, LLC;                                              08-45371 (GFK)
     Palm Beach Finance Holdings, Inc.)                            08-45392 (GFK)

                                                                 Chapter 11 Cases
                                                              Judge Gregory F. Kishel


          FINDINGS OF FACT, CONCLUSIONS OF LAW AND ORDER
          CONFIRMING THE SECOND AMENDED CHAPTER 11 PLAN
                    OF LIQUIDATION DATED APRIL 8, 2016
______________________________________________________________________________

         WHEREAS, Douglas A. Kelley (“Kelley”), solely in his capacity as Chapter 11

Trustee1, Greenpond South, LLC, Ronald R. Peterson, solely in his capacity as the

Chapter 7 Trustee of Lancelot Investors Fund, LP, et al.2, and Barry E. Mukamal, solely

in his capacity as the Liquidating Trustee of the Palm Beach Finance Partners

Liquidating Trust and the Palm Beach Finance II Liquidating Trust, collectively, the

Plan Proponents, and as “proponent[s] of the plan” within the meaning of section 1129

1 Capitalized terms not defined herein shall have the meaning set forth in the Plan, a copy of which is

attached hereto as Exhibit A.
2 Ronald R. Peterson is the duly-appointed Lancelot Trustee (as defined in the Plan) in affiliated
bankruptcy cases venued in the Northern District of Illinois jointly administered as Case No. 08-28225.
                                                  1               NOTICE OF ELECTRONIC ENTRY AND
                                                                  FILING ORDER OR JUDGMENT
                                                                  Filed and Docket Entry made on 04/15/2016
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of the Bankruptcy Code, filed the Second Amended Chapter 11 Plan of Liquidation

dated April 8, 2016 (as such plan may be amended or modified from time to time,

together with all addenda, exhibits, schedules, supplements, or attachments, if any, the

“Second Amended Plan” or the “Plan”) [Docket No. 3263] which Second Amended Plan

modified the Amended Chapter 11 Plan of Liquidation dated February 22, 2016 (the

“First Amended Plan”). The Plan Proponents also filed the Amended Disclosure

Statement in Support of the Amended Chapter 11 Plan of Liquidation dated February

22, 2016 (“Disclosure Statement”) [Docket No. 3131]; and

      WHEREAS, the Bankruptcy Court held hearings to approve the Disclosure

Statement on February 17, 2017 and February 23, 2016 (collectively, the “Disclosure

Statement Hearing”) after which it entered an order (the “Disclosure Statement Order”)

[Docket No. 3142] on February 25, 2016, which, among other things, (i) approved the

Disclosure Statement as containing adequate information under section 1125 of the

Bankruptcy Code and Bankruptcy Rule 3017; (ii) established April 12, 2016, at 9:30 a.m.

(Central Time) as the date and time of the hearing pursuant to section 1129 of the

Bankruptcy Code to consider Confirmation of the Plan (the “Confirmation Hearing”);

(iii) approved the form and method of notice of the Confirmation Hearing (the

“Confirmation Hearing Notice”); and (iv) established certain procedures for soliciting

and tabulating votes with respect to the Plan; and

      WHEREAS, the Disclosure Statement, the First Amended Plan, the Disclosure

Statement Order, the appropriate form of Ballot(s) and the Trustee’s transmittal notice

and disclosure letter (collectively, the "Solicitation Package") were distributed by the

Chapter 11 Trustee to the Holders of Claims and Interests and other parties in interest

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in accordance with the Disclosure Statement Order as set forth in the Certificates of

Service filed with the Bankruptcy Court; and

      WHEREAS, the Chapter 11 Trustee, Lancelot Trustee, Palm Beach Liquidating

Trustee and Ark Discovery II Trustee filed a joint motion requesting temporary

allowance of claims for purposes of voting on the Second Amended Plan (the “Voting

Motion”) [Docket No. 3160]. On March 22, 2016, the Bankruptcy Court entered the

Order granting the Voting Motion which temporarily allowed the claims of Lancelot,

the Palm Beach Liquidating Trustee and Ark Discovery II, LP for the purpose of voting

to accept or reject the Second Amended Plan (the “Voting Order”) [Docket No. 3197];

and

      WHEREAS, the Chapter 11 Trustee filed a motion requesting temporary

allowance of claims of Ritchie Capital Management, Ltd. for purposes of voting on the

Second Amended Plan (the “Ritchie Voting Motion”) [Docket No. 3236]. On April 13,

2016, the Bankruptcy Court entered the Order granting the Ritchie Voting Motion

which temporarily allowed the claims of Ritchie Capital Management, Ltd. for the

purpose of voting on the Second Amended Plan (the “Ritchie Voting Order”) [Docket

No. 3285]; and

       WHEREAS, on April 8, 2016, the Plan Proponents filed the Second Amended

Plan, which includes their amendments to the First Amended Plan (the “Plan

Amendment”). See Second Amended Plan [Docket No. 3263] and the Ballot Acceptance

Motion [Docket No. 3264]; and

      WHEREAS, objections to confirmation of the Plan were filed and served by (i)

John Stoebner, as Chapter 7 Trustee in the Polaroid bankruptcy cases, Bky No. 08-44617

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et al. [Docket No. 3241] (the “Stoebner Objection”), (ii) DZ Bank AG, Deutsche Zentral

Genossenschaftsbank, Frankfurt am Main [Docket No. 3246] (the “DZ Bank Objection”],

(iii) Opportunity Finance, LLC and its related defendants [Docket No. 3247] (the

“Opportunity Finance Objection”) and (iv) the Epsilon/Westford Defendants [Docket

No. 3255] (the “Epsilon/Westford Objection” and, with the Stoebner Objection, the DZ

Bank Objection and the Opportunity Finance Objection, the “Objections”); and

       WHEREAS, on April 8, 2016, the Chapter 11 Trustee filed the Ballot Tabulation

Report summarizing the voting on the Plan [Docket No. 3265] (the “Ballot Report”). The

Ballot Report provides the results of the ballot tabulation for Class 3 claims entitled to

vote to accept or reject the Plan; and

       WHEREAS, the Chapter 11 Trustee filed his Memorandum of Law in his

response to the Objections (the “Objection Response”) [Docket No. 3267]; and

       WHEREAS, the Chapter 11 Trustee filed the Motion for an Expedited Hearing

and Motion for an Order Determining that Modifications of the Amended Plan

Complies with 11 U.S.C. § 1127 and Fed. R. Bankr. P. 3019(a) (the “Ballot Acceptance

Motion”) [Docket No. 3264] and on April 13, 2016, the Bankruptcy Court entered an

Order granting the Ballot Acceptance Motion [Docket No. 3286] and ruling that the

Holders of Claims who voted to accept the First Amended Plan are deemed to have

voted to accept the Second Amended Plan.

       NOW THEREFORE, based upon the Bankruptcy Court's review and

consideration of (i) the Plan, the Disclosure Statement and the Ballot Report and the

other pleadings of record and other documents before the Bankruptcy Court in

connection with the confirmation of the Plan, (ii) the Objections and the Objection

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Response and the Bankruptcy Court having found and determined that the Objections

are hereby overruled to the extent not otherwise resolved as set forth in this order, (iii)

the record of the Confirmation Hearing (including the statements of counsel in support

of confirmation at the Confirmation Hearing and all testimony proffered or presented

and evidence admitted at the Confirmation Hearing), (iv) the entire record of these

Chapter 11 Cases, and (v) the Bankruptcy Court finding that (A) notice of the Voting

Deadline, Objection Deadline, and Confirmation Hearing and the opportunity of any

party in interest to object were adequate and appropriate, in accordance with

Bankruptcy Rule 2002(b) and the Disclosure Statement Order, as to all parties affected

by the Plan and the transactions contemplated thereby, and (B) the legal and factual

bases presented at the Confirmation Hearing and as set forth in this Confirmation

Order establish just cause for the relief granted herein; and after due deliberation

thereon, and good cause appearing therefor, the Bankruptcy Court makes the following

findings of fact and conclusions of law and issues this Confirmation Order.

                   FINDINGS OF FACT AND CONCLUSIONS OF LAW3

THE COURT FINDS AND CONCLUDES THAT:

        A.      Jurisdiction; Venue; Core Proceeding. This Bankruptcy Court has

jurisdiction over the Chapter 11 Cases pursuant to 28 U.S.C. §§ 157 and 1334. Venue is

proper pursuant to 28 U.S.C. §§ 1408 and 1409. Confirmation of the Plan is a core

proceeding pursuant to 28 U.S.C. § 157(b)(2), and this Bankruptcy Court has jurisdiction

to determine whether the Plan complies with the applicable provisions of the

Bankruptcy Code, to determine whether the Plan should be confirmed and the

3 Findings of fact shall be construed as conclusions of law and conclusions of law shall be construed as

findings of fact when appropriate. See Fed. R. Bankr. P. 7052.
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presiding bankruptcy judge has the constitutional authority to enter a final order with

respect hereto.

      B.     Commencement of Bankruptcy Cases. Between October 11 and October

19, 2008, the Debtors filed voluntary petitions for relief under chapter 11 of the

Bankruptcy Code. The Debtors were and are qualified to be chapter 11 debtors under

section 109 of the Bankruptcy Code. By an Order dated October 22, 2008, the Cases were

jointly administered under In re Petters Company, Inc., Case No. 08-45257 [Docket No.

21]. On December 24, 2008 the Office of the United States Trustee for the District of

Minnesota appointed Kelley (the “Chapter 11 Trustee”) as the Chapter 11 Trustee for all

of the Debtors in the Bankruptcy Cases. On February 26, 2009 the Bankruptcy Court

approved Kelley’s appointment. Kelley is the duly-appointed Chapter 11 Trustee for

these Bankruptcy Cases.

      C.     Judicial Notice. The Court takes judicial notice of the dockets of the

Chapter 11 Cases (including the docket in each adversary proceeding in the jointly

administered Chapter 11 Cases) maintained by the Clerk of the Court and its duly-

appointed agents, including, without limitation, all pleadings and other documents

filed, all orders entered, and transcripts of, and all evidence and arguments made,

proffered, or adduced at, the hearings held before the Court during the pendency of the

Chapter 11 Cases (and the foregoing are deemed admitted into evidence). Any

resolutions of objections to Confirmation explained on the record at the Confirmation

Hearing are hereby incorporated by reference.

      D.     Standing. The Plan Proponents have standing under section 1121 of the

Bankruptcy Code to file a plan. The Plan is dated and identifies the entities submitting

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it, thereby satisfying Bankruptcy Rule 3016(a). The filing of the Disclosure Statement

with the Court satisfies Bankruptcy Rule 3016(b).

      E.     Filing of Chapter 11 Plan and Adequacy of Disclosure Statement. On

January 15, 2016, the Plan Proponents filed the initial Chapter 11 Plan of Liquidation

(the “Initial Plan”) [Dkt. No. 3078] and the initial Disclosure Statement (the “Initial

Disclosure Statement”) [Dkt. No. 3079]. A hearing to determine the adequacy of the

Initial Disclosure Statement was initially held on February 17, 2016, and continued to

February 23, 2016. As a result of the Disclosure Statement Hearing, certain revisions

were noted on the record to be made to the proposed Initial Plan and Initial Disclosure

Statement and the Court overruled objections to the adequacy of the Disclosure

Statement filed by General Electric Capital Corporation, Opportunity Finance, LLC and

related defendants, the Epsilon/Westford Defendants and DZ Bank AG and, Deutsche

Zentral Genosenschanfsbank, Frankfurt am Main. On February 22, 2016, after making

the revisions noted above and other revisions that resolved the remaining objections of

the US Trustee and Randall Seaver, as Chapter 7 Trustee of Petters Capital, LLC to the

adequacy of the Disclosure Statement, the Plan Proponents filed the First Amended

Plan and the Amended Disclosure Statement in Support of Chapter 11 Plan of

Liquidation (the “Amended Disclosure Statement”) and the US Trustee and Randall

Seaver withdrew their objections.

      F.     Transmittal and Mailing of Materials, Notice. The Chapter 11 Trustee

served the Solicitation Package, including the notice in conspicuous language that the

Plan provides for the continuation of existing injunctions and stays required by

Bankruptcy Rule 2002(c), upon all interested parties in compliance with the Disclosure

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Statement Order, the Bankruptcy Rules and the Local Bankruptcy Rules, and such

transmittal and service was adequate and sufficient. Notice of the Confirmation

Hearing and all deadlines in the Disclosure Statement Order was given in compliance

with the Bankruptcy Rules and the Disclosure Statement Order. Due, adequate and

sufficient notice of the Disclosure Statement, the First Amended Plan, and Confirmation

Hearing, together with all deadlines for voting on or objecting to the First Amended

Plan, has been given to known Holders of Claims and Interests, parties that requested

notice in accordance with Bankruptcy Rule 2002, all counterparties to unexpired leases

and executory contracts with the Debtors, and all taxing authorities listed on the

Debtors’ Schedules or claims register, in substantial compliance with Bankruptcy Rule

2002, 3017, and 3020, and the Local Rules, and no other or further notice is or shall be

required.

      G.     Solicitation. The Chapter 11 Trustee solicited votes for acceptance or

rejection of the First Amended Plan in good faith, and such solicitation complied with

sections 1125 and 1126 and all other applicable sections of the Bankruptcy Code and

Bankruptcy Rules 3017 , 3018 and 3019, the Disclosure Statement Order, and all other

rules, laws and regulations.

      H.     Plan Modification. On April 8, 2016, the Plan Proponents filed the Plan

Amendment, which was served on the service list. The Plan Amendment does not

materially or adversely affect or change the treatment of any Holders of Claims or

Interests. Accordingly, pursuant to Bankruptcy Rule 3019, the Plan Amendment does

not require additional disclosure under section 1125 of the Bankruptcy Code or re-

solicitation of acceptances or rejections under section 1126 of the Bankruptcy Code, nor

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does the Plan Amendment require that Holders of Claims or Interests be afforded an

opportunity to change previously cast acceptances or rejections of the Plan. Disclosure

of the Plan Amendment in the filing and service on April 8, 2016, and on the record at

the Confirmation Hearing, constitutes due and sufficient notice thereof under the

circumstances of the Chapter 11 Cases.

      I.        Burden of Proof. The Plan Proponents have met their burden of proving

the elements of sections 1129(a) and (b) of the Bankruptcy Code by a preponderance of

the evidence.

      J.        Substantive     Consolidation.       The   substantive   consolidation   of   the

previously consolidated Estate of Petters Company, Inc. with the Estate of Petters

Group Worldwide, LLC is just and proper under the Eighth Circuit Giller test. See In re

Giller, 962 796 (8th Cir. 1992), as applied by this Court previously in this case in In re

Petters Company Inc., 506 B.R. 784 (Bankr. D. Minn. 2013).

                1.       This Court has previously found that Thomas Petters operated a

Ponzi scheme through PCI and its wholly owned Special Purpose Entity (SPE)

subsidiaries. In re Petters, 506 B.R. at 800-802, 804-807. This Court previously and

thoroughly           analyzed   and     determined          that   Theodore      Martens       of

PricewaterhouseCoopers (“PwC”) is an expert qualified to testify regarding the issues

relating to the Ponzi scheme and the interrelatedness of the PCI and the SPEs, including

with respect to their corporate governance, financial dependence on the funds

generated by the Ponzi Scheme, and the cost, time and ability to unwind the accounting

records to account for the fraud. The Court finds that Theodore Martens is equally

qualified to opine on the interrelatedness of PGW with PCI and the SPEs, the role of

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PGW within the Ponzi scheme, the corporate governance of PGW and its financial

dependence on the Ponzi Scheme, and the cost, time and ability to account for the fraud

within the books and records of PGW and its subsidiaries.

             2.     Based on the testimony and evidence offered by the Chapter 11

Trustee through Theodore Martens, and Mark Laumann, the former controller of PGW,

the Court finds that the Chapter 11 Trustee established the first Giller factor--the

interrelatedness of PGW with the PCI and PCI SPE Debtors for which the bankruptcy

estates were substantively consolidated previously--weighs in favor of substantive

consolidation. The Court’s determination regarding the interrelatedness element is

based upon the following specific findings of fact:

             a)   The corporate data sheets confirm that PGW was wholly owned by
             Tom Petters, and as a result PCI and PGW were under common
             ownership.

             b)   PCI and PGW both maintained offices at 4400 Baker Road,
             Minnetonka, MN.

             c)     PCI funds would be used routinely to pay PGW expenses. The
             substantial dependence of PGW on PCI for funding its accounts payable
             and payroll is evidenced by the amount of PGW officers and employee
             salaries and bonuses that were funded, either directly or indirectly, by
             PCI.

             d)     Corporate records further evidence Tom Petters’ control over the
             PGW operations and ability to approve written actions and significant
             transactions that were dependent upon funds obtained from PCI from
             inception.

             e)     The testimony of Theodore Martens and Mark Laumann
             established that PGW was utilized by Tom Petters as a parent umbrella of
             approximately 99 subsidiaries that were held out by Tom Petters to the
             external world as operating entities, which were reflected on the
             Organizational Chart of PGW. PGW, however, was never designed to be
             an independent, revenue-generating company. Rather, PGW provided a
             set of “shared-services” to the PGW subsidiaries that PGW was not

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          capable of providing absent ongoing infusions of cash funds from PCI and
          the Petters Ponzi Scheme.

          f)     Thomas Petters was not only the sole owner of both PCI and PGW,
          but given PGW’s substantial dependence on PCI for funds, held a great
          deal of oversight, management, and control of both company’s operations.
          Tom Petters was able to direct PCI funds to be infused into and provided
          to PGW and its subsidiaries as and when needed and as approved by
          Thomas Petters.

          g)     PGW would also, in turn and under Thomas Petters’s direction or
          approval, forward funds obtained from PCI to its respective subsidiaries
          as needed.

          h)   PCI also would separately, on occasion, provide funds directly to
          PGW subsidiaries.

          i)    Internal correspondence of PGW employees and the testimony of
          Mark Laumann confirmed that PGW and its subsidiaries would routinely
          make cash funding requests to Deanna Munson (Coleman) of PCI on a bi-
          weekly basis in order to fund ongoing operations.

          j)     The testimony of Ted Martens established that PGW was not
          adequately capitalized in that the initial $10,020,000 million capital
          contribution into PGW was exhausted within approximately one year of
          operations and was never replenished. Because PGW in operation did not
          generate revenues in an amount sufficient to satisfy its accounts payable
          plus payroll, PGW early on became dependent on PCI to fund its
          operations. This empowered Thomas Petters to exercise further control
          over PGW and its ability to continue operations.

          k)      PGW and PCI did not abide by corporate formalities. An example
          of this corporate disregard includes the transactions involving the Ritchie-
          related entities, which advanced $189 million directly to PCI in 13
          transactions, from February 1, 2008 through May 9, 2008. Ten notes were
          issued under the name of PGW and Thomas Petters; two notes were
          issued under the name of PCI, PGW and Tom Petters; and two notes were
          issued under the name of PCI and Tom Petters. Regardless of the named
          issuer of the notes, all funds advanced on these transactions were paid
          directly to PCI. Simultaneously, PGW’s debt to PCI increased. No
          transfers were made directly from Ritchie to PGW, despite PGW being the
          named note issuer in the majority of instances. Emails between PGW
          employees and employees of Ritchie equally confirmed that advances of
          funds were directed into PCI bank accounts, rather than PGW accounts.


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              l)      Similar commingling and corporate disregard occurred on smaller
              scales, including for example the Dean Vlahos transactions, which reflect
              that although Dean Vlahos agreed to loan funds to PGW, the funds again
              were disbursed directly to PCI, as reflected on the PCI-PGW General
              Ledger.

              m)    Extensive commingling occurred between PGW and PCI.
              According to the testimony of Theodore Martens, throughout the period
              of PGW’s operations, a net cash position of in excess of $105,000,000 from
              PCI to PGW existed. This further confirms PGW’s substantial financial
              dependence upon PCI.

              n)     In 2007, PCI assigned and transferred to PGW more than 338
              million shares of preferred stock in Fingerhut Direct Marketing n/k/a
              Bluestem Brands (“Bluestem”). The Chapter 11 Trustee has received
              $134.8 million from dividends and the liquidation of the Bluestem stock.
              Today, the proceeds from the Bluestem stock are an asset of the PGW
              Estate in the amount of approximately $132,569,582.00. Upon the
              consolidation of the PCI and PGW estates, these proceeds ($132,569,582)
              would become an asset of the consolidated estate and would be available
              to the creditors of the consolidated entities. This would avoid litigation
              between the PCI and PGW estates on the propriety of the original stock
              transfer, a factor that weighs heavily in favor of substantively
              consolidating the estates of PGW and PCI.

              3.     With respect to the first Giller factor, interrelatedness, the evidence

established that PCI and PGW commingled funds and failed to properly account for

intercompany transactions. PGW’s business operations yielded little or no profit or

earnings. PGW was undercapitalized because its initial capitalization was depleted in

less than a year and its retained deficit grew exponentially over the years. In a process

of forensic accounting, it would be difficult and cost-prohibitive to reconstruct stand-

alone financial statements and accounting records from the inception of PGW and its

subsidiaries, to accurately reflect the intercompany transactions. The evidence further

established   that   substantive   consolidation   is   necessary   as   a   result   of   the

interrelatedness. Substantive consolidation will allow for approximately $132,000,000


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in assets within the PGW estate to be made available to the creditors of the consolidated

estate. Further, the testimony of Theodore Martens established that accounting for all

of the inter-company transfers that resulted from the interrelatedness would be a

significant, time-intensive, and costly task. Because the primary assets of the PGW

estate were sourced in an intercompany transfer with PCI, the interrelatedness factor

supports substantive consolidation in the consideration of equity. To the extent the

assets of PGW were funded by or provided by PCI, as a beneficiary of the Petters Ponzi

scheme, equity compels that those assets be available to the creditors of an estate

consolidated between PGW and PCI.

             4.     The Court further finds that the second and third Giller factors

equally warrant and require the substantive consolidation of PGW and PCI.            The

benefits of substantive consolidation significantly outweigh any harm to creditors,

because substantive consolidation will bring into the consolidated estate more than

$132,000,000 in assets for distribution to creditors of the consolidated estate.

Substantive consolidation will alleviate the need for any further accounting effort to

reconcile or resolve the complicated intercompany transfers as between PCI and PGW

and the PGW subsidiaries.      The benefits are not outweighed by harm to creditors.

Based upon the claims registers of the PCI and PGW bankruptcy cases, approximately

76% of the claims filed in the PCI Bankruptcy Case are duplicative of those filed in the

PGW Bankruptcy Case; and approximately 92% of the claims filed in the PGW

Bankruptcy Case are duplicative of the claims filed in the PCI Bankruptcy Case. Thus,

the claims registers in both cases confirm that a very significant number and amount of



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the claims filed in each case are duplicative; and as a result they will not be diminished

through the consolidation of the estates.

              5.     For all the foregoing reasons, and based upon a thorough review of

all the evidence, testimony and exhibits offered by the Chapter 11 Trustee, the Court

finds that the substantive consolidation of the estate of PGW with the previously

consolidated estates of PCI and the PCI SPEs is just, equitable, warranted and

necessitated by the historical interrelatedness of PCI and PGW, and it will benefit both

the creditors and administration of the bankruptcy estates in excess of any harm to

creditors that may result.

       K.     Ballot Report. Prior to the Confirmation Hearing, counsel for the Chapter

11 Trustee and the Creditors’ Committee tabulated the ballots and prepared the Ballot

Report filed by the Chapter 11 Trustee. All procedures used to tabulate the Ballots were

fair and conducted in accordance with the Bankruptcy Code, the Bankruptcy Rules, the

Local Bankruptcy Rules, and all other applicable rules, laws, and regulations.

       L.     Impaired Classes under the Plan. As set forth more fully in the Plan, the

Claims under Classes 3, 4, 5 and 6 are impaired under the Plan as that term is defined in

section 1124 of the Bankruptcy Code.

       M.     Impaired Classes Voting to Accept the Plan. As evidenced by the Ballot

Report, which certified both the method and results of the voting, the Claims treated

under Class 3 of the Plan for each of the PCI and PGW Debtors are impaired. The

Holders of Allowed Claims in Class 3 have voted to accept the Plan pursuant to the

requirements of sections 1124 and 1126 of the Bankruptcy Code. Thus, at least one

impaired class of Claims has voted to accept the Plan.

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       N.     Classes Deemed to Accept the Plan. The Claims treated under Class 1,

Class 2 and Class 2A of the Plan are not impaired under the Plan and are deemed to

have accepted the Plan pursuant to section 1126(f) of the Bankruptcy Code.

       O.     Classes Voting or Deemed to Reject the Plan. Pursuant to section 1126(g)

of the Bankruptcy Code, holders of Claims under Class 4, Class 5 and Class 6 of the Plan

are deemed to have rejected the Plan, because such holders are not entitled to receive or

retain any Distribution or property under the Plan on account of such Claims or

Interests. (the “Rejecting Classes”).

       P.     Plan Compliance with Bankruptcy Code (11 U.S.C. § 1129(a)(1)). For the

reasons stated below, the Plan complies with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules and the orders of

this Bankruptcy Court with respect to the Plan, thus satisfying the requirements of

section 1129(a)(1) of the Bankruptcy Code:

              (1)    Proper Classification (11 U.S.C. §§ 1122, 1123(a)(1)). In addition to
              Administrative Expense Claims, including Professional Claims, and
              Priority Tax Claims, which need not be classified, the Plan designates
              separate Classes of Claims and Interests. The Claims and Interests placed
              in each Class are substantially similar to other Claims and Interests, as the
              case may be, in each such Class. As stated above, substantive
              consolidation of the Debtors’ Estates is appropriate under section
              1123(a)(5)(C) of the Bankruptcy Code because the Debtors were operated
              as a single, unified fraudulent scheme and all creditors will benefit from
              such substantive consolidation. Substantive consolidation is likewise
              appropriate for the efficient administration of the Debtors’ estates. Valid
              business, factual, and legal reasons exist for separately classifying the
              various Classes of Claims and Interests created under the Plan, and such
              Classes do not unfairly discriminate between Holders of Claims and
              Interests. Thus, the Plan satisfies sections 1122 and 1123(a)(1) of the
              Bankruptcy Code.

              (2)     Specification of Unimpaired Classes (11 U.S.C. § 1123(a)(2)). Article
              III of the Plan identifies unclassified Claims that are unimpaired and the

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          treatment of those Claims. Article IV of the Plan identifies that Claims in
          Class 1, Class 2 and Class 2A are unimpaired, thereby satisfying section
          1123(a)(2) of the Bankruptcy Code.

          (3)    Specification of Treatment of Impaired Classes (11 U.S.C. §
          1123(a)(3)). Articles IV of the Plan specifies the Classes of Claims and
          Interests that are Impaired under the Plan and the treatment of Claims
          and Interests in those Classes. Accordingly, the Plan satisfies section
          1123(a)(3) of the Bankruptcy Code.

          (4)   No Discrimination (11 U.S.C. § 1123(a)(4)). The Plan provides for
          the same treatment for each Claim or Interest in each respective Class
          unless the holder of a particular Claim or Interest has agreed to a less
          favorable treatment of such Claim or Interest, thereby satisfying section
          1123(a)(4) of the Bankruptcy Code.

          (5)     Implementation of Plan (11 U.S.C. § 1123(a)(5)). Article VI of the
          Plan entitled “Substantive Consolidation” and Article VIII of the Plan,
          entitled “Implementation of the Plan,” set forth numerous provisions to
          facilitate implementation of the Plan, including, but not limited to, (i) the
          substantive consolidation of previously substantively consolidated estates
          of PCI and the SPEs and of PGW, (ii) the creation and governance of the
          Liquidating Trusts and appointment of LT Trustee, (iii) contribution of
          Trust Assets to the Liquidating Trusts, (iv) the approval of settlements, (v)
          procedures for making distributions, and (vi) the establishment of the PCI
          Liquidating Trust Committee and the BMO Litigation Trust Committee
          for the purpose, among others, of litigating the Causes of Action. The Plan
          provides adequate and proper means for its implementation, thereby
          satisfying section 1123(a)(5) of the Bankruptcy Code.

          (6)    Prohibition Against Issuance of Non-Voting Equity Securities and
          Provisions for Voting Power of Classes of Securities (11 U.S.C.
          § 1123(a)(6). The Plan contemplates the liquidation of the Debtors and the
          vesting of their assets in the PCI Liquidating Trust and the BMO Litigation
          Trust on the Effective Date. Accordingly, section 1123(a)(6) of the
          Bankruptcy Code is satisfied.

          (7)    Selection of Officers, Directors and the LT Trustee (11 U.S.C. §
          1123(a)(7)). The Plan contemplates the liquidation of the Debtors and the
          vesting of substantially all of their assets in the Liquidating Trusts on the
          Effective Date. The Plan properly and adequately discloses the identity
          and affiliation of all individuals proposed to serve on or after the Effective
          Date as PCI Liquidating Trustee and BMO Litigation Trustee. The
          appointment of such trustees is consistent with the interests of the holders
          of claims against and Interests in the Debtors, and with public policy.
          Pursuant to Sections 8.4 and 8.21 of the Plan, Kelley, not individually, but

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             solely as a fiduciary for the respective Liquidating Trusts, shall be the
             Trustee for each of the PCI Liquidating Trust and the BMO Litigation
             Trust. In his capacity as the Chapter 11 Trustee, Kelley has acted in a
             fiduciary capacity throughout these cases, and has led efforts to maximize
             value to the Estates. Thus, the Plan is consistent with the interests of
             creditors and equity security holders and with public policy, thereby
             satisfying section 1123(a)(7) of the Bankruptcy Code.

             (8)    Compliance with Bankruptcy Rule 3016. The Plan is dated and
             identifies the entities submitting it, thereby satisfying Bankruptcy Rule
             3016(a). The filing of the Disclosure Statement with the Court satisfies
             Bankruptcy Rule 3016(b). The Plan describes in specific and conspicuous
             language all acts to be enjoined under the Plan and identifies all entities
             that are subject to the injunctions set forth in Article X of the Plan in
             accordance with Bankruptcy Rule 3016(c).

             (9)     Compliance with Bankruptcy Rule 3018. The solicitation of votes to
             accept or reject the Plan satisfies Bankruptcy Rule 3018. The Solicitation
             Materials, including the Plan, were transmitted to all creditors entitled to
             vote on the Plan (i.e., holders of Impaired Claims, other than those in
             Classes deemed to reject the Plan pursuant to section 1126(g) of the
             Bankruptcy Code, sufficient time was prescribed for such Creditors to
             accept or reject the Plan, and the Solicitation Materials and related
             solicitation procedures comply with section 1126 of the Bankruptcy Code,
             thereby satisfying the requirements of Bankruptcy Rule 3018.

      Q.     Plan Proponents’ Compliance with Bankruptcy Code (11 U.S.C.

§ 1129(a)(2)). The Plan Proponents have complied with the applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Bankruptcy Rules and the orders of

this Bankruptcy Court with respect to the solicitation of acceptances or rejections of the

Plan, including, without limitation, sections 1123, 1125 and 1126 of the Bankruptcy

Code and Bankruptcy Rules 2002, 3017, 3018 and 3019, thus satisfying the requirements

of section 1129(a)(2) of the Bankruptcy Code.

      R.     Plan Proposed in Good Faith (11 U.S.C. § 1129(a)(3)). The Plan, and the

compromises and settlements embodied therein, has been proposed in good faith and

not by any means forbidden by law, thus satisfying the requirements of section

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1129(a)(3) of the Bankruptcy Code. In determining that the Plan has been proposed in

good faith, the Court has examined the totality of the circumstances surrounding the

filing of these Chapter 11 cases and the formulation of the Plan. The Plan was proposed

with the legitimate purpose of maximizing the value of the estates of each of the

Debtors and the recovery to Holders of Allowed Claims under the circumstances of

these Chapter 11 Cases.

      S.     Payment for Services or Costs and Expenses (11 U.S.C. § 1129(a)(4)). All

payments that have been made or are to be made by the Debtors, the Liquidating Trusts

or the LT Trustee under the Plan or by any person acquiring property under the Plan,

for services or for costs and expenses in, or in connection with, the Chapter 11 Cases, or

in connection with the Plan and incident to the Chapter 11 Cases, have been approved

by, or will be subject to the approval of, the Bankruptcy Court as reasonable, thus

satisfying the requirements of section 1129(a)(4) of the Bankruptcy Code.

      T.     Directors, Officers and Insiders (11 U.S.C. § 1129(a)(5)). The Plan

Proponents have made available all necessary information with respect to the identity

of individuals and entities proposed to serve after confirmation of the Plan. The PCI

Liquidating Trustee shall be appointed as each Debtor’s Chief Executive Officer in the

Plan, and the appointment to, or continuance in, such office of such individuals is

consistent with the interests of holders of Claims and Interests and with public policy,

thus satisfying the requirements of section 1129(a)(5) of the Bankruptcy Code.

      U.     No Rate Changes (11 U.S.C. § 1129(a)(6)). The Debtors’ business does not

involve the establishment of rates over which any regulatory commission has



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jurisdiction or will have jurisdiction after confirmation. Thus, section 1129(a)(6) of the

Bankruptcy Code is inapplicable to these Chapter 11 Cases.

      V.     Best Interest Test (11 U.S.C. § 1129(a)(7)). Section 1129(a)(7) of the

Bankruptcy Code requires that each holder of a Claim or Interest in an impaired class

accept the Plan, or receive or retain under the Plan property having a value, as of the

Effective Date of the Plan, that is not less than the amount that such holder would

receive on account of such Claim or Interest if such Debtor were liquidated under

Chapter 7 of the Bankruptcy Code. The Claims under Classes 3, 4, 5 and 6 are impaired

under the Plan. The Disclosure Statement and the other evidence proffered or adduced

at the Confirmation Hearing (i) are persuasive, credible and accurate as of the dates

they were prepared, presented or proffered, (ii) have not been controverted by other

evidence or challenged in any objection to confirmation of the Plan, and/or (iii)

establish that each holder of an impaired Claim in Classes 3, 4, 5 and 6 has either

accepted the Plan, or will receive or retain under the Plan property having a value, as of

the Effective Date of the Plan, that is not less than the amount that such holder would

receive or retain if such Debtor were liquidated under Chapter 7 of the Bankruptcy

Code on such date, thus satisfying the requirements of section 1129(a)(7) of the

Bankruptcy Code.

      W.     Acceptance or Rejection by Certain Classes (11 U.S.C. § 1129(a)(8)). Section

1129(a)(8) of the Bankruptcy Code requires that for each Class of Claims or Interests

under the Plan, such Class has either accepted the Plan or is not impaired under the

Plan. Claims in Classes 1, 2 and 2A are unimpaired and are deemed to have accepted

the Plan pursuant to section 1126(f) of the Bankruptcy Code. Class 3 has voted to accept

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the Plan in accordance with section 1126(c) of the Bankruptcy Code. The percentages of

Holders of Claims in Class 3 entitled to vote that voted to accept the Plan are as follows:

                                                       PCI
        Class Entitled to Vote            Percentage Accepting              Percentage Accepting
                                          (Dollar Amount)                   (Number of Claims)
        Class 3                           100%                              100%




                                                     PGW
        Class Entitled to Vote            Percentage Accepting              Percentage Accepting
                                          (Dollar Amount)                   (Number of Claims)
        Class 3                           99.99%                            93%




                                              COMBINED4
        Class Entitled to Vote            Percentage Accepting              Percentage Accepting
                                          (Dollar Amount)                   (Number of Claims)
        Class 3                           99.99%                            93%




The Holders of Claims and Interests in Classes 4, 5 and 6 are receiving no recovery on

account of their Claims and Interests and are deemed to have rejected the Plan.

        X.       Treatment of Administrative, Priority and Tax Claims (11 U.S.C.

§ 1129(a)(9)). The treatment of Administrative Expense and Priority Tax Claims

pursuant to Article III of the Plan satisfies the requirements of section 1129(a)(9) of the

Bankruptcy Code.

        Y.       Acceptance by Impaired Class (11 U.S.C. § 1129(a)(10)). The Plan has been

accepted by impaired Class 3, determined without consideration of any acceptance of



4 Includes ballots cast for both Debtors, without duplication for identical claims filed in each estate.

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the Plan by insiders, thus satisfying the requirement of section 1129(a)(10) of the

Bankruptcy Code.

      Z.     Feasibility (11 U.S.C. § 1129(a)(11)). Confirmation of the Plan is not likely

to be followed by the liquidation, or the need for further financial reorganization of the

Debtors, as the Plan is itself a liquidating plan that provides for the payment of all

Allowed Administrative and Priority Claims, as and to the extent required by the

Bankruptcy Code. Holders of Allowed Claims shall receive distributions consistent with

the priority scheme of the Bankruptcy Code and the provisions of the Plan, thus

satisfying the requirements of section 1129(a)(11) of the Bankruptcy Code.

      AA.    Payment of Fees (11 U.S.C. § 1129(a)(12)). The Chapter 11 Trustee has

paid, or will pay on the Effective Date, all amounts presently due under 28 U.S.C. §

1930, thus satisfying the requirements of section 1129(a)(12) of the Bankruptcy Code.

      BB.    Continuation of Retiree Benefits (11 U.S.C. § 1129(a)(13)-(16)). The Debtors

do not have any obligations with respect to retiree benefits, the Debtors are not required

to pay domestic support obligations, the Debtors are not individuals, and transfers of

property under the plan will be made in accordance with any applicable provisions of

nonbankruptcy law that govern the transfer of property by a trust that is not a

moneyed, business or corporation or trust. Therefore, the requirements of sections

1129(a)(13) - (16) of the Bankruptcy Code are inapplicable.

      CC.    No Unfair Discrimination; Fair and Equitable ((11 U.S.C. § 1129(b)).

Holders of Claims and Interests in the Rejecting Classes are Impaired and are deemed

to have rejected the Plan. The Plan Proponents have established that the Plan does not

discriminate unfairly and is fair and equitable with respect to the holders of Claims

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under each of Class 4, 5, and 6, thereby satisfying section 1129(b) of the Bankruptcy

Code.

        DD.   Binding on Rejecting Classes. Thus, the Plan may be confirmed

notwithstanding the Proponents’ failure to satisfy section 1129(a)(8) of the Bankruptcy

Code. Upon Confirmation and the occurrence of the Effective Date, the Plan shall be

binding upon the members of the Rejecting Classes.

        EE.   No Other Plan (11 U.S.C. § 1129(c)). The Plan is the only plan filed in these

Chapter 11 Cases, thereby satisfying section 1129(c) of the Bankruptcy Code.

        FF.   Good Faith Solicitation (11 U.S.C. § 1125(e)). The Plan Proponents have

solicited votes for the Plan in good faith and in compliance with the provisions of the

Bankruptcy Code. Based on the record before the Court in these Chapter 11 Cases, the

Plan Proponents and each of their respective agents, advisors, accountants, investment

bankers, consultants, attorneys, and other representatives have acted in good faith

within the meaning of section 1125(e) of the Bankruptcy Code in compliance with the

applicable provisions of the Bankruptcy Code and Bankruptcy Rules in connection with

all of their respective activities relating to the solicitation of acceptances of the Plan and

their participation in the activities described in section 1125 of the Bankruptcy Code and

are entitled to the protections afforded by section 1125(e) of the Bankruptcy Code and

the exculpation and release provisions set forth in Article XII of the Plan.

        GG.   Satisfaction of Confirmation Requirements. The Plan satisfies the

requirements for confirmation set forth in section 1129 of the Bankruptcy Code and the

conditions to confirmation set forth in Article X of the Plan.



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      HH.    Retention of Jurisdiction. Subject to the provisions of this Order, the

Bankruptcy Court finds that it may properly retain jurisdiction over the matters set

forth in section 1142 of the Bankruptcy Code and below:

               1.     Claims and Equity Securities. To hear and determine the allowance,
classification, priority, estimation or subordination of Claims or Equity Securities,
including the resolution of any and all objections by the Chapter 11 Trustee or the PCI
Liquidating Trustee or any other party in interest;

               2.     Causes of Action. To hear, determine and adjudicate on a non-
exclusive basis, any and all Trust Claims and BMO Litigation Trust Assets;

               3.    Injunction. To issue injunctions or take such other actions or make
such other orders as may be necessary or appropriate to restrain interference with the
Plan or its execution or implementation by any Person, to construe and to take any
other action to enforce and execute the Plan, the Confirmation Order, or any other order
of the Bankruptcy Court, to issue such orders as may be necessary for the
implementation, execution, performance and consummation of the Plan and all matters
referred to herein, and to determine all matters that may be pending before the
Bankruptcy Court in the Bankruptcy Cases on or before the Effective Date with respect
to any Entity;

             4.     Professional Fees. To hear and determine any and all applications
for allowance of compensation and expense reimbursement of Professionals for periods
before the entry of the Confirmation Order, and to resolve disputes concerning
Liquidating Trust Expenses, as provided for in the Plan;

               5.    Certain Priority Claims. To hear and determine the allowance and
classification of any Priority Tax Claims, Administrative Claims or any request for
payment of an Administrative Claim;

            6.      Dispute Resolution. To hear and resolve any dispute arising under
or related to the implementation, execution, consummation, interpretation or
enforcement of the Plan, Confirmation Order, or Liquidating Trust Agreements and the
making of distributions hereunder and thereunder or any agreement, instrument or
other document governing or relating to any of the foregoing;

              7.     Executory Contracts and Unexpired Leases. To hear and determine
any and all motions for the rejection, assumption, or assignment of Executory Contracts
or Unexpired Leases, and to determine the allowance of any Claims resulting from the
rejection of Executory Contracts and Unexpired Leases;

              8.    Actions. To hear and determine all applications, motions, adversary
proceedings (including the Adversary Proceedings), contested matters, actions, and any
other litigated matters instituted in the Bankruptcy Cases on behalf of the Debtors,
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including, but not limited to, the Causes of Action commenced by the Chapter 11
Trustee or an LT Trustee, and any remands;

             9.    General Matters. To hear and determine such other matters, and for
such other purposes, as may be provided in the Confirmation Order or as may be
authorized under provisions of the Bankruptcy Code;

              10.    Plan Modification. To modify the Plan under Section 1127 of the
Bankruptcy Code, remedy any defect, cure any omission, or reconcile any inconsistency
in the Plan or the Confirmation Order so as to carry out its intent and purposes;

              11.   Aid Consummation. To issue such orders in aid of consummation
of the Plan and the Confirmation Order notwithstanding any otherwise applicable non-
bankruptcy law, with respect to any Entity, to the full extent authorized by the
Bankruptcy Code;

              12.    Settlements. To hear and determine any matters concerning the
enforcement of the provisions of Article V of the Plan and any other releases,
exculpations, limitations of liability or injunctions set forth in and contemplated by the
Plan or settlements entered into by the Chapter 11 Trustee and any Person in the
Bankruptcy Cases;

             13.      Protect Property. To protect the Property of the Estates and
Property transferred to the PCI Liquidating Trust pursuant to the Plan from adverse
Claims or interference inconsistent with the Plan, including to hear actions to quiet or
otherwise clear title to such property based upon the terms and provisions of the Plan
or to determine a purchaser’s exclusive ownership of Claims and Causes of actions
retained and preserved under the Plan;

              14.   Abandonment of Property. To hear and determine matters
pertaining to abandonment of Property of the Estates or the PCI Liquidating Trust;

              15.    Taxes. To hear and determine matters concerning state, local and
federal taxes in accordance with Sections 346, 505 and 1146 of the Bankruptcy Code,
including any Disputed Claims for taxes and matters with respect to any taxes payable
by the Liquidating Trusts or any other trust or reserve as may be established in
furtherance of the Plan or the Liquidating Trust Agreements;

             16.    Implementation of Confirmation Order. To enter and implement
such orders as may be appropriate in the event the Confirmation Order is for any
reason stayed, revoked, modified or vacated;

             17.    Liquidating Trustee’s Exercise of Power. To enter and implement
such orders as may be appropriate to enforce the terms of the Plan or the Liquidating
Trust Agreements in order to resolve any disagreement between an LT Trustee and the
relevant Liquidating Trust Committee over any exercise of powers;


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              18.   Other Matters. To determine any other matters contemplated by
the Plan to the Bankruptcy Court after the Effective Date; and

            19.   Close the Bankruptcy Cases. To enter any Final Order closing the
Bankruptcy Cases.

       II.    Releases and Exculpation. Each of the release, indemnification, and

exculpation provisions set forth in Section 12.13 and 12.14 of the Plan (i) falls within the

jurisdiction of this Court under 28 U.S.C. §§ 1334(a), (b) and (d), (ii) are important

aspects of the Plan, and (iii) are fair, reasonable, and appropriate under the

circumstances of this case.

       JJ.    Modifications to the Plan. The modifications to the First Amended Plan

constitute do not materially adversely affect or change the treatment of any Claims or

Equity Interests. Accordingly, pursuant to Bankruptcy Rule 3019, such modifications do

not require additional disclosure under section 1125 of the Bankruptcy Code or

resolicitation of votes under section 1126 of the Bankruptcy Code, nor do they require

that holders of Claims or Equity Interests be afforded an opportunity to change

previously cast acceptances or rejections of the Plan, thereby satisfying the requirements

of section 1127 of the Bankruptcy Code.

       KK.    Assumption and Rejection. Article VII of the Plan governing assumption

and rejection of executory contracts and unexpired leases satisfies the requirements of

section 365(b) of the Bankruptcy Code.

       LL.    Objections. All parties have had a full and fair opportunity to litigate all

issues raised in the Objections, or which might have been raised, and the Objections

have been fully and fairly litigated and are either denied or resolved as set forth herein.




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IT IS ORDERED, ADJUDGED AND DECREED:

       1.     Confirmation. The Second Amended Plan dated April 8, 2016 and filed the

same day [Docket No. 3263], including all exhibits, provisions, terms and conditions

thereto and the Plan Amendment, is approved and confirmed under section 1129 of the

Bankruptcy Code. The terms of the Second Amended Plan are incorporated herein by

reference and are an integral part of this Confirmation Order.

       2.     References to Plan Provisions. The failure to specifically include or

reference any particular provision of the Plan in this Confirmation Order shall not

diminish or impair the effectiveness of such provision, it being the intent of the Court

that the Plan be confirmed in its entirety.

       3.     Modifications to the Plan. The modifications to the First Amended Plan as

provided in the Plan, meet the requirements of sections 1127(a) and (c) of the

Bankruptcy Code and do not adversely change the treatment of the Claim of any

creditor or any equity security holder within the meaning of Bankruptcy Rule 3019, and

therefore, no further solicitation or voting is required.

       4.     Objections. The Court hereby overrules or otherwise resolves the

Objections as follows: (i) the Stoebner Objection has been resolved through agreed-upon

language incorporated into this Confirmation Order; and (ii) to the extent not otherwise

resolved as set forth herein, the DZ Bank Objection, the Opportunity Finance Objection,

the Epsilon/Westford Objection and the DZ Bank Objection are each overruled on the

merits pursuant to this Order




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       5.     Severability. Each term and provision of the Plan, as it may have been

altered or interpreted by the Bankruptcy Court in accordance with section 12.22 of the

Plan, is valid and enforceable pursuant to its terms.

       6.     Plan Classification Controlling. The classifications of Claims and Interests

for purposes of the Distributions to be made under the Plan shall be governed solely by

the terms of the Plan.

       7.     Substantive Consolidation. The Plan Proponents’ motion for substantive

consolidation of the previously consolidated Estates of Petters Company, Inc. and

special purpose entities PC Funding, LLC, Thousand Lakes, LLC, SPF Funding, LLC, PL

Ltd., Inc., Edge One LLC, MGC Finance, Inc., PAC Funding, LLC, Palm Beach Finance

Holdings, Inc. with the Estate of Petters Group Worldwide, LLC, as made in Section 6.1

of the Plan, is granted. Subject to the occurrence of the Effective Date, pursuant to

section 1123 (a)(5)(C) of the Bankruptcy Code, the Estate of Debtor Petters Group

Worldwide, LLC shall be substantively consolidated with the Estate of Debtor Petters

Company, Inc. solely for purposes of administering the resulting consolidated Estate of

all of the Debtors in these cases, and to the sole effect that (a) all assets and liabilities of

the Debtors and their Estates shall be pooled, and (b) any and all Intercompany Claims

shall be disregarded. Accordingly, duplicative Claims Filed against the Debtors,

including guaranty claims, claims sounding in tort that purport to recover the same, or

substantially the same, damages as other Claims, and Claims that purport to establish

joint and several liability, shall be disallowed upon the Effective Date, and the Holder of

any Claims shall receive a single recovery from the Consolidated Debtors on account of

any such joint or duplicative obligations. The treatment of the Estates as if they were

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substantively consolidated solely for the purpose of administering the Consolidated

Estates and making distributions under this Plan shall not, and shall not be deemed to,

affect or constitute a waiver of the mutuality requirement for setoff under Section 553 of

the Bankruptcy Code, except to the extent otherwise expressly waived by the Chapter

11 Trustee or the PCI Liquidating Trustee in writing. All Claims, Causes of Action or

rights of the Chapter 11 Trustee under applicable law to avoid transfers of the property

of any of the Debtors are and shall be preserved under the Plan.

      8.     Binding Effect. The Plan, and all compromises and settlements

contemplated thereby or incorporated by reference therein, shall be binding upon and

inure to the benefit of the Plan Proponents, the Debtors, the PCI Liquidating Trustee,

the PCI Liquidating Trust Committee, the BMO Litigation Trustee, the BMO Litigation

Trust Committee, any entity acquiring or receiving property or a distribution under the

Plan, and any present and former Holder of a Claim against or Equity Interest in the

Debtors, including all governmental entities, whether or not the Claim or Equity

Interest of such holder (a) is impaired under the Plan or (b) has accepted the Plan.

Pursuant to sections 1123(a) and 1142(a) of the Bankruptcy Code and the provisions of

this Confirmation Order, the Plan, and all Plan-related documents shall apply and be

enforceable notwithstanding any otherwise applicable non-bankruptcy law.

      9.     Clarification Regarding Certain Plan Provisions:

             Dissolution of Debtors. Until each of the Debtors are dissolved in

accordance with state law, or merged, as the case may be, the PCI Liquidating Trustee

will be appointed the Chief Executive Officer of each Debtor to administer any Retained



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Assets pursuant to section 8.3 of the Plan for the benefit of the applicable Liquidating

Trusts.

      10.    Distributions;   Reserves.   The   provisions   of   the   Plan   governing

Distributions, reserves and the procedures for resolving and treating Disputed Claims

under the Plan are approved and found to be fair and reasonable.

      11.    Liquidating Trusts. On or prior to the Effective Date, the PCI Liquidation

Trust Agreement and the BMO Litigation Trust Agreement shall be executed, and all

other necessary steps shall be taken to establish the Liquidating Trusts without any

requirement of further action by the Chapter 11 Trustee. The Liquidating Trusts shall be

established for the sole purpose of liquidating and distributing their respective assets

with no objective to continue or engage in the conduct of a trade or business. This

Confirmation Order authorizes (a) the creation and implementation of the PCI

Liquidating Trust and the BMO Litigation Trust in accordance with the terms of this

Confirmation Order, the Plan, and the Liquidating Trust Agreements, (b) in accordance

with Section 8.4 of the Plan, the appointment of Douglas A. Kelley as the PCI

Liquidating Trustee, (c) in accordance with Section 8.21 of the Plan, the appointment of

Douglas A. Kelley as the BMO Litigation Trustee, and (d) the PCI Liquidating Trustee

and the BMO Litigation Trustee to accomplish the purposes of the respective

Liquidating Trusts as set forth in the Plan and each of the Liquidating Trust

Agreements, notwithstanding any otherwise applicable nonbankruptcy law.

      12.    Vesting of Assets. Pursuant to Article VIII of the Plan, and except as

otherwise provided in the Plan, on the Effective Date, or as soon thereafter as

practicable, the Trust Assets shall be transferred to the respective Liquidating Trusts.

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Upon transfer of the Trust Assets to the respective Liquidating Trusts, except as

otherwise provided in the Liquidating Trust Agreements, the Debtors and the Estates

shall have no interest in or with respect to the Trust Assets or the Liquidating Trusts;

provided, however, that, notwithstanding such transfer to the Liquidating Trusts, any

claims belonging to any of the Debtors or the Estates shall not be merged, but shall be

deemed asserted on behalf of, each applicable Estate holding such claim immediately

prior to contribution, and shall remain separate and distinct from other Estates in

connection with the prosecution thereof. From and after the Effective Date, (i) the PCI

Liquidating Trustee may dispose of the PCI Liquidating Trust Assets free of any

restrictions of the Bankruptcy Code but solely in accordance with the provisions of the

Plan and the PCI Liquidating Trust Agreement, and (ii) the BMO Litigation Trustee may

dispose of the BMO Litigation Trust Assets free of any restrictions of the Bankruptcy

Code but solely in accordance with the provisions of the Plan and the BMO Litigation

Trust Agreement. Assets transferred to the Liquidating Trusts shall not revest in the

Debtors or the Estates on or following the Confirmation Date or Effective Date. As of

the Effective Date, all assets of the Debtors, the Estates, the PCI Liquidating Trust and

the BMO Litigation Trust shall be free and clear of all Claims and Encumbrances, except

as provided in the Plan and this Confirmation Order.

      13.    Retained Assets. Certain assets of the Debtors set forth on Exhibit D to the

Plan will not be Contributed Assets and will not be included in the Asset Contribution

to the Liquidating Trusts, but shall be retained by the Debtors on the Effective Date and

subsequently contributed to the PCI Liquidating Trust following their administration



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and monetization by the PCI Liquidating Trustee in his capacity as the Debtors' chief

executive officer

       14.    Transfers of Property. The Transfers of property by the Chapter 11

Trustee: (i) to the Liquidating Trusts (a) are and will be legal, valid and effective

transfers of property, (b) vest and will vest the LT Trustee and the Liquidating Trusts

with good title to such property free and clear of all liens, charges, Claims,

encumbrances or interests, except as expressly provided in the Plan or Confirmation

Order, (c) do not and will not constitute avoidable transfers under the Bankruptcy Code

or under applicable bankruptcy or non-bankruptcy law, and (d) do not and will not

subject the Liquidating Trusts or the LT Trustee to any liability by reason of such

transfer under the Bankruptcy Code or under applicable non-bankruptcy law,

including, without limitation, any laws affecting successor, transferee or stamp or

recording tax liability; and (ii) Holders of Claims or Equity Securities under the Plan are

for good consideration and value.

       15.    Assumption or Rejection of Executory Contracts and Unexpired Leases (11

U.S.C. § 1123(b)(2)). In accordance with Section 7.1 of the Plan, on the Effective Date, all

executory contracts and unexpired leases of the Debtors shall be deemed rejected in

accordance with, and subject to, the provisions and requirements of sections 365 and

1123 of the Bankruptcy Code, except those executory contracts and unexpired leases

that (i) previously shall have been assumed, assumed and assigned, or rejected by the

Chapter 11 Trustee, (ii) previously shall have expired or terminated pursuant to their

own terms before the Effective Date, or (iii) are the subject of a pending motion to

assume or reject on the Confirmation Date. Entry of this Confirmation Order shall

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constitute approval of such rejections pursuant to sections 365(a) and 1123 of the

Bankruptcy Code.

      16.    Bar Date for Rejection Damage Claims. Pursuant to Section 7.2 of the Plan,

if the rejection of an executory contract or unexpired lease by any of the Debtors

pursuant to the Plan results in damages to the other party or parties to such contract or

lease, a Claim for such damages, if not previously evidenced by a filed proof of Claim,

shall be forever barred and shall not be enforceable against the Debtors, the PCI

Liquidating Trust, the PCI Liquidating Trustee, the BMO Litigation Trust, the BMO

Litigation Trustee or any property to be distributed under the Plan unless a proof of

claim is filed with the Bankruptcy Court and served upon the PCI Liquidating Trustee

or the BMO Litigation Trustee on or before the date that is 30 days after the later of (a)

entry of an order approving the rejection of such Executory contract or unexpired lease,

or (b) entry of the Confirmation Order, or the claimant shall be forever barred from

receiving a Distribution or otherwise being treated as a creditor in these Chapter 11

Cases in respect of such Claim.

      17.    Bar Date for Administrative Expense Claims. Notwithstanding section 3.4

of the Plan, any requests for payment of Administrative Expense Claims must be filed

with the Bankruptcy Court and served on the Chapter 11 Trustee or the PCI Liquidating

Trustee, as applicable, and its counsel, the Creditors’ Committee or the PCI Liquidating

Trust Committee, as applicable, and its counsel and the other notice parties no later

than thirty (30) days after the Effective Date for all other Administrative Claims (the

“Administrative Expense Claims Bar Date”). Any requests for payment of

Administrative Expense Claims that are not properly filed and served by the

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Administrative Expense Claims Bar Date shall be forever barred, estopped, and

enjoined from asserting such Claim against the Debtors, the Estates, the Liquidating

Trusts or their respective property and from participating in distributions under the

Plan on account thereof, and any such Claim shall be deemed discharged as of the

Effective Date.

      18.    Professional Fee Claims. All final requests for payment of Professional Fee

Claims pursuant to sections 327, 328, 330, 331, 503(b), or 1103 of the Bankruptcy Code

must be made by application filed with the Bankruptcy Court and served on the

Chapter 11 Trustee or the PCI Liquidating Trustee, as applicable, and its counsel, the

Creditors’ Committee or the PCI Liquidating Trust Committee, as applicable, and its

counsel, and such other Entities who are designated by the Bankruptcy Rules no later

than sixty (60) days after the Effective Date. Any requests for payment of a Professional

Fee Claim that is not properly filed and served by the Professional Fee Claims Bar Date

shall be forever barred, estopped, and enjoined from asserting such Claim against the

Debtors, the Estates, the Liquidating Trusts or their respective property and from

participating in distributions under the Plan on account thereof, and any such Claim

shall be deemed discharged as of the Effective Date

      19.    General Authorizations. Pursuant to the Plan, the Chapter 11 Trustee, the

PCI Liquidating Trustee, the BMO Litigation Trustee or the Liquidating Trust

Committees, as the case may be, shall be authorized to execute, deliver, file, or record

such documents, instruments, releases, and other agreements and to take such actions

as may be necessary or appropriate to effectuate and further evidence the terms and

conditions of the Plan. Except as otherwise provided in the Plan or the Liquidating

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Trust Agreements, the LT Trustee, and the members of the Liquidating Trust

Committees, and their agents and attorneys are authorized and empowered to issue,

execute, deliver, file or record any agreement, document, or security, and to take any

action necessary or appropriate to implement, effectuate and consummate the Plan in

accordance with its terms, or take any or all corporate actions authorized to be taken

pursuant to the Plan, and any release, amendment, or restatement of any bylaws,

certificates of incorporation or other organization documents of the Debtors, whether or

not specifically referred to in the Plan, without further order of the Court, and any or all

such documents shall be accepted by each of the respective state filing offices and

recorded in accordance with applicable state law and shall become effective in

accordance with their terms and the provisions of state law.

       20.    Corporate Action. Prior to, on, or after the Effective Date (as appropriate),

all matters that would otherwise require approval of the stockholders, members,

directors or managers of one or more of the Debtors shall be deemed to have occurred,

or shall occur upon the action of the Chief Executive Officer of the Debtors, and shall be

in effect prior to, on, or after the Effective Date (as appropriate) pursuant to the

applicable law of the states in which the Debtors are incorporated or formed without

any requirement of further action by the stockholders, members, directors or managers,

as applicable, of the Debtors. Upon the Effective Date, the PCI Liquidating Trustee shall

be appointed as the Debtors’ Chief Executive Officer and charged with administering

and monetizing the Retained Assets and transferring the applicable proceeds of the

Retained Assets to the PCI Liquidating Trust or BMO Litigation Trust pursuant to the

Plan and the Liquidating Trust Agreements.

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      21.    Plan Documents. There being no objections to any of the Plan Documents

contemplated by the Plan, and any amendments, modifications and supplements

thereto, and all documents and agreements introduced therein or contemplated by the

Plan (including all exhibits and attachments thereto and documents referred to therein),

the execution, delivery and performance thereof by the Chapter 11 Trustee are

authorized and approved without need for further corporate action or further order or

authorization of the Court.

      22.    Term of Injunctions and Automatic Stay. Pursuant to Section 12.11 of the

Plan, unless otherwise expressly provided in the Plan or the Confirmation Order, all

injunctions or stays provided for in the Chapter 11 Cases under sections 105 or 362 of

the Bankruptcy Code or otherwise, and in existence on the Confirmation Date, shall

remain in full force and effect until the Bankruptcy Cases are closed; provided;

however, that, if any Avoidance Actions pursued by the PCI Liquidating Trustee are

dismissed pursuant to a Final Order or withdrawn, all injunctions or stays arising under

or entered during the Bankruptcy Cases under Sections 105 or 362 of the Bankruptcy

Code, or otherwise, including under this Plan, shall be deemed to have been lifted with

respect thereto and such claims may be pursued by Promissory Note Lenders directly

without further order of the Bankruptcy Court.

      23.    Injunction. Except as otherwise specifically provided in the Plan or the

Confirmation Order, all Entities who have held, hold, or may hold Claims, rights or

Causes of Action against or Equity Securities in the Debtors, other than governmental

entities and agencies exercising their police or regulatory powers, are precluded and

permanently enjoined from taking any of the following actions against the Covered

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Parties, the Estates, the Retained Assets, the Liquidating Trusts, or any Trust Assets on

account of any such Claims or Equity Securities, whether or not such Person is the

Holder of a Claim that is Impaired or Allowed and whether or not such Person has

affirmatively voted to accept the Plan: (a) commencing or continuing, in any manner or

in any place, any claim, action or other proceeding of any kind (whether directly,

indirectly, derivatively or otherwise); (b) enforcing, attaching, collecting, or recovering

by any manner or means any judgment, award, decree, or order; (c) creating, perfecting,

or enforcing any Lien or encumbrance of any kind; (d) the assertion of any Claims

released in or by the Plan; and (e) commencing or continuing in any manner or in any

place, any action that does not comply with or is inconsistent with the provisions of the

Plan; provided, however, that (x) nothing contained herein shall preclude such Persons

from exercising their rights pursuant to and consistent with the terms of the Plan, and

(y) any rights of setoff or recoupment, to the extent valid, are preserved, and (z) except

as otherwise provided in the Plan, no Holder of any Claim or Equity Security shall be

deemed to have released the Debtors in any way for accepting the terms of the Plan or

accepting distributions pursuant to the Plan.

       24.    Disallowance of Certain Claims. John Stoebner, as the Chapter 7 Trustee

of PBE Corporation f/k/a Polaroid Corporation (the “PBE Trustee”), filed a motion

seeking to allow a timely proof of claim in the PCI Bankruptcy Case (the “PBE Claim

Motion”) [Docket No. 2664]. A hearing on the PBE Claim Motion is rescheduled for

April 26, 2016. On March 30, 2016, the PBE Trustee filed Claim No. 117 in the PCI

Bankruptcy Case in the amount of $31,093,806.74 (“PBE Claim 117”). Unless otherwise

agreed between the PBE Trustee and the LT Trustee, section 9.2 of the Plan deeming

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Claims filed after the applicable Bar Date to be deemed disallowed on the Effective Date

will not apply to PBE Claim 117. Until entry of a Final Order regarding the PBE Claim

Motion determining whether PBE Claim 117 is or is not deemed timely filed, PBE Claim

117 will be treated as a Disputed Claim under the Plan.

       25.    Settlements, Compromises and Releases. Pursuant to section 1123(b)(3)(A)

of the Bankruptcy Code and Bankruptcy Rule 9019(a), the Court approves the following

settlements pursuant to the Plan as in the best interests of Creditors and the Estates, fair,

equitable, and reasonable, and made in good faith:

              a)     The Lancelot Settlement. The Lancelot Settlement is authorized and

       approved, and the terms thereof are binding on the Chapter 11 Trustee, the

       Lancelot Trustee, the Liquidating Trusts and the LT Trustee. In accordance with

       the terms of the Lancelot Settlement, Lancelot (i) will pay the amount of

       $10,495,000 as the Lancelot Payment in resolution of the Lancelot Avoidance

       Action, which amount will be paid, at such Creditor’s option, either by (x) Cash

       payment from such Creditor to the Estates on the Effective Date or (y)

       withholding of such amount from the first distributions to be made from the PCI

       Liquidating Trust and (ii) Lancelot will have an Allowed Class 3 General

       Unsecured Claim in the amount of $764,620,000.00 plus the amount of the

       Lancelot Payment.

              b)     The Palm Beach Settlement. The Palm Beach Settlement is

       authorized and approved, and the terms thereof are binding on the Chapter 11

       Trustee, the Palm Beach Trustee, the Liquidating Trusts and the LT Trustee. In

       accordance with the terms of the Palm Beach Settlement, the Palm Beach Trustee

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     (i) will pay the amount of $8,100 as the PBF Payment and $5,095,000 as the PBF II

     Payment in resolution of the Palm Beach Avoidance Action, which payments will

     be made, at such Creditor’s option, either by (x) Cash payment from such

     Creditor to the Estates on the Effective Date or (y) withholding of such amount

     from the first distributions to be made from the PCI Liquidating Trust, and (ii)

     the PBF Claim will be Allowed as a Class 3 General Unsecured Claim in the

     amount of $85,987,311.00 plus the amount of the PBF Payment and PBF II , will

     have an Allowed Class 3 General Unsecured Claim in the amount of

     $565,755,364.00 plus the amount of the PBF II Payment.

           c)     The   Interlachen   Settlement.   The   Interlachen   Settlement   is

     authorized and approved, and the terms thereof are binding on the Chapter 11

     Trustee, Interlachen, the Liquidating Trusts and the LT Trustee. In accordance

     with the terms of the Interlachen Settlement, the Interlachen Claim shall be

     Allowed as a Class 3 Claim in the amount of $60,000,000 and shall be entitled to

     treatment identical to other Allowed Class 3 General Unsecured Claims

           d)     The Ark Discovery Claim Settlement. The Ark Discovery Claim

     Settlement is authorized and approved, and the terms thereof are binding on the

     Chapter 11 Trustee, the Ark Discovery Trustee, the Liquidating Trusts and the

     LT Trustee. In accordance with the terms of the Ark Discovery Claim Settlement,

     the Ark Discovery Claim will be Allowed as a Class 3 General Unsecured Claim

     in the aggregate amount of $107,207,101.00; provided, however, notwithstanding

     the treatment provided for in Section 4.3 or otherwise of the Plan, the Ark

     Discovery Trustee will be paid the amount of $8,400,000 as a one-time fixed

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       distribution on the Initial Distribution Date pursuant to the Plan in full

       satisfaction of the Allowed Ark Discovery Claim and thereafter, no further

       distributions shall be made on account of the Ark Discovery Claim.

              e)     The Petters Capital Settlement. The Petters Capital Settlement is

       authorized and approved, and the terms thereof are binding on the Chapter 11

       Trustee, the Petters Capital Trustee, the Liquidating Trusts and the LT Trustee. In

       accordance with the terms of the Petters Capital Settlement, (i) Claim No. 2 of

       PCI in the Petters Capital Chapter 7 Case filed as a General Unsecured Claim in

       the amount of $107,850,221 will be Allowed as a General Unsecured Claim in the

       Petters Capital Chapter 7 Case in the reduced amount of $106,807,721, which is

       the net amount after setoff of Claim No. 50 filed by the Petters Capital Chapter 7

       Trustee in the PCI Bankruptcy Case in the amount of $1,042,500, (ii) the following

       Claims Filed by the Petters Capital Trustee, Claim No. 47 in the PGW Bankruptcy

       Case in the amount of $259,534,414, Claim No. 50 Filed in the PCI Bankruptcy

       Case in the amount of $1,042,500 and Claim No. 17 Filed in the Thousand Lakes

       Bankruptcy Case in the amount of $1,500,000,000 shall be withdrawn by the

       Petters Capital Chapter 7 Trustee and the Claim filed by the Chapter 11 Trustee

       as Claim No. 3 Filed of PGW in the Petters Capital Chapter 7 Case in the amount

       of $3,019,058 will be withdrawn by the Chapter 11 Trustee.

       26.    Notice to PBE Trustee. Consistent with Bankruptcy Rule 9019, the PCI

Liquidating Trustee shall give not less than 21 days’ notice to the PBE Trustee with

respect to any proposed compromise or settlement of any of the following: (i) Douglas

A. Kelley, Trustee v. Opportunity Finance, LLC, et al., Adv. P. No. 10-04301, (ii) Douglas A.

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Kelley, Trustee v. Opportunity Finance, LLC, Adv. P. No. 10-04375, (iii) Ritchie Capital

Management, LLC, et al., v. Opportunity Finance, LLC, et al., Case No. 27-CV-13-17424

(Minn. D. Ct., Henn. Co.), and (iv) Douglas A. Kelley, Trustee v. JPMorgan Chase & Co., et

al., Adversary Proceeding No. 10-04446.

      27.    Releases, Exculpation and Limitation of Liability. Pursuant to section

1123(b)(3)(A) of the Bankruptcy Code and Bankruptcy Rule 9019(a), the releases,

exculpations and injunctions set forth in the Plan, including, but not limited to, the

releases set forth in section 12.14 of the Plan and the exculpation and limitation of

liability provisions set forth in section 12.13 of the Plan and implemented by this

Confirmation Order, are incorporated in this Confirmation Order as if set forth in full

herein, are approved as fair, equitable, reasonable and in the best interests of the

Debtors and their Estates, Creditors and interest holders, are approved in their entirety,

and the terms of such provisions shall have the same full force and effect an power of

enforcement as an order of this Court.

      28.    Effects of Confirmation; Immediate Effectiveness; Binding Effect. Upon

satisfaction of all conditions precedent including but not limited to those set forth in

Article X of the Plan, the Plan Proponents are hereby authorized but not directed to

make the Plan effective and to consummate the Plan at any time following entry of this

Confirmation Order. On the Effective Date, the provisions of the Plan and this

Confirmation Order shall be binding against the Debtors, the Estates, the Chapter 11

Trustee, the Liquidating Trusts, the LT Trustee, any and all holders of Claims against or

Interests in the Debtors, including all governmental entities or recording offices

(irrespective of whether such Claims or Interests are impaired under the Plan or

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whether the holders of such Claims or Interests accepted, rejected or are deemed to

have accepted or rejected the Plan), any and all non-debtor parties to executory

contracts or unexpired leases with the Debtors, and any and all entities that are parties

to or are subject to the settlements, compromises, releases, discharges and injunctions

described in the Plan, and any parties in interest. Accordingly, as permitted by

Bankruptcy Rule 3020(e), the stay for a fourteen (14) day period provided by such rule

is hereby abrogated in its entirety. Upon the occurrence of the actions to be taken on the

Effective Date, the Plan shall be deemed to be substantially consummated under section

1101 of the Bankruptcy Code.

       29.    Non-Occurrence of Effective Date. If the Effective Date has not occurred

within the time provided in Section 10.5 of the Plan, upon written notification

submitted by a majority of the Plan Proponents, the Plan Proponents may seek an order

from the Court directing that this Confirmation Order be vacated and that the Plan be

declared null and void in all respects.

       30.    Securities Laws Exemption. The beneficial interests in the Liquidating

Trusts (i.e. the rights of holders of Allowed Claims to receive distributions under the

Plan) are exempt from the provisions of section 5 of the Securities Act of 1933, as

amended, and any state or local law requiring registration for the offer, issuance,

distribution or sale of a security by reason of section 1145(a) of the Bankruptcy Code.

The beneficial interests in the Liquidating Trusts shall not be certificated.

       31.    Exemption from Certain Taxes. Pursuant to section 1146(a) of the

Bankruptcy Code, (a) the issuance, transfer, or exchange of notes or equity securities

under the Plan; (b) the creation of any mortgage, deed of trust, lien, pledge, or other

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security interest; (c) the making or assignment of any lease or sublease; or (d) the

making or delivery of any deed or other instrument of transfer, or in connection with,

the Plan, any merger agreements; agreements of consolidation, restructuring,

disposition, liquidation or dissolution; deeds; bills of sale; and transfers of tangible

property, shall not be subject to any stamp tax, recording tax, transfer tax, or other

similar tax exempted under section 1146(a) of the Bankruptcy Code.

       32.    Dissolution of the Creditors’ Committee. On the Effective Date, the

Creditors’ Committee shall be dissolved and its members shall be deemed released of

all their duties, responsibilities and obligations in connection with these Chapter 11

Cases and the Plan and its implementation except for the limited purposes of filing any

remaining fee applications. The retention or employment of the Creditors’ Committee's

attorneys, accountants and other agents shall terminate. except for the limited purposes

of filing any remaining fee applications.

       33.    Notice of Entry of Confirmation Order. The Plan Proponents or their

authorized agent shall serve notice of (a) entry of this Confirmation Order, (b) the last

date to file Administrative Claims, and (c) the last date to file Professional Fee Claims

substantially in the form annexed hereto as Exhibit 1, which form is hereby approved,

as required by Bankruptcy Rule 3020.

       34.    Retention of Jurisdiction. Pursuant to sections 105(a) and 1142 of the

Bankruptcy Code, and notwithstanding the entry of this Confirmation Order or the

occurrence of the Effective Date, this Court, except as otherwise provided in the Plan or

herein, shall retain exclusive jurisdiction over all matters arising out of or related to the



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Chapter 11 Cases and the Plan to the fullest extent permitted by law, including, but not

limited to, the matters set forth in Article XI of the Plan.

       35.    Inconsistency. In the event of an inconsistency between the Plan and any

other agreement, instrument, or document intended to implement the provisions of the

Plan, the provisions of the Plan shall govern unless otherwise expressly provided for in

such agreements, instruments, or documents. In the event of any inconsistency between

the Plan, any agreement, instrument or document intended to implement the Plan and

this Confirmation Order, the provisions of this Confirmation Order shall govern.

       36.    Enforceability. Pursuant to Bankruptcy Code sections 1123(a), 1141(a) and

1142(a) and subject to the occurrence of the Effective Date, the provisions of this

Confirmation Order, the Plan, the Plan Amendment and all Plan-related documents

shall apply and be enforceable notwithstanding any otherwise applicable non-

bankruptcy law.

       37.    Effect of the Confirmation Order and Plan on Prior Agreements and Court

Orders. Except as expressly provided herein, entry of this Confirmation Order shall not

supersede or rescind any prior Orders of the Bankruptcy Court approving agreements

in which the Chapter 11 Trustee and the PBE Trustee are parties, including but not

limited to: (a) the Coordination Agreement by and among the Chapter 11 Trustee, the

Receiver, the United States and the PBE Trustee and approved by the Bankruptcy Court

on September 14, 2010 [Docket No. 453], (b) the Settlement Agreement by and between

the Chapter 11 Trustee and the PBE Trustee regarding recoveries on Claims against the

Opportunity Finance Defendants and approved by the Bankruptcy Court on May 28,

2013 [Docket No. 1923], (c) the Joint Reimbursement and Recovery Agreement by and

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among the Chapter 11 Trustee, the PBE Trustee and Randall Seaver, as the Chapter 7

Trustee of Petters Capital, CM/ECF
                            LLC, including the amendment
                                     New Attorney        thereto, with
                                                    Registration   andeach havingUser Inform
                                                                       Change
been approved by orders entered by the Bankruptcy Court [Docket Nos. 741 and 2421]
                     If you are registering for CM/ECF please check the New Participant box and co
                     typing
regarding the allocation  of in all fields.
                              costs         A user name
                                      and recoveries       and password
                                                       in joint litigation will be issued
                                                                            against       to you. If you are c
                                                                                      JPMorgan
                     registered in CM/ECF please check the Change Account Information box, ente
                     name
Chase & Co. and related     then enter
                         defendants,       only
                                         and (d)information   you
                                                 the Settlement     want changed
                                                                 Agreement           inbetween
                                                                                by and  your account.

the Chapter 11 Trustee, the PBE Trustee,
                                   New Asset   Based Resource Group, LLC as
                                         participant                        successor
                                                                          Change  account inform

to Acorn Capital Group,
                    LastLLC and other parties, having been approved
                         Name                                       by order of the
                                                           First Name

Bankruptcy Court [Docket
                   Middle No.  999] and as approved on Bar
                          Initial                      appeal.
                                                           ID In addition, the

Confidentiality Stipulation signed in January 2016 by and between Douglas A. Kelley as
                       Date of admission to practice before the U.S. District Court for the District of Minnesota

the Chapter 11 Trustee and the PBE Trustee and other parties shall remain in full force
                     Address 1
and effect.
                       Address 2
              April 15, 2016
Dated: ______________________________
                    City
                                                         /e/ Gregory F. Kishel
                       Phone                        _________________________________

                                                Gregory F. Kishel
                       Primary email for noticinChief
                                                g
                                                      United States Bankruptcy Judge

                       Secondary email address (s) for noticing

                       If someone in your firm is already certified you can be certified immediately. Name of
                       certified attorney, if applicable.

                       Please select how you want to receive email notices. Select only one which will b
                       default for all filings.
                              Send a notice for each filing.            Send a Daily Summary Report

                       Please select one of the following email formats. The default is Html format.
                             Html format for Netscape or ISP email service
                             Text format for cc:Mail, GroupWise, other email service

                       If you are currently registered in CM/ECF and want to change your password, please
                       enter the new password below. The password must be 6 or more characters and/or
                       numbers.                                  Enter again

                                               44
                       Click SUBMIT or attach as a PDF document and email to Woody_Parks@mnb.uscourts
                       and Margaret_Dostal-Fell@mnb.uscourts.gov. Please refer registration or change of inf
                       questions to Woody Parks at 612-664-5236 or Margaret Dostal-Fell at 612-664-5273.
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                         EXHIBIT 1




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                   THE UNITED STATES BANKRUPTCY COURT
                      FOR THE DISTRICT OF MINNESOTA


In re:                                        Jointly Administered under
                                                   Case No. 08-45257
PETTERS COMPANY, INC., ET AL.,

                   Debtors.                        Case No. 08-45257

(includes:                                          Court File Nos.:
Petters Group Worldwide, LLC;                       08-45258 (GFK)
PC Funding, LLC;                                    08-45326 (GFK)
Thousand Lakes, LLC;                                08-45327 (GFK)
SPF Funding, LLC;                                   08-45328 (GFK)
PL Ltd., Inc.;                                      08-45329 (GFK)
Edge One LLC;                                       08-45330 (GFK)
MGC Finance, Inc.;                                  08-45331 (GFK)
PAC Funding, LLC;                                    08-45371 (GFK)
Palm Beach Finance Holdings, Inc.)                  08-45392 (GFK)

                                                   Chapter 11 Cases
                                                Judge Gregory F. Kishel


     NOTICE OF (I) ENTRY OF ORDER CONFIRMING DEBTORS’ SECOND
AMENDED CHAPTER 11 PLAN OF LIQUIDATION UNDER CHAPTER 11 OF THE
 BANKRUPTCY CODE, (II) THE EFFECTIVE DATE, (III) THE ADMINISTRATIVE
  CLAIMS BAR DATE, AND (IV) THE PROFESSIONAL FEE CLAIMS BAR DATE
______________________________________________________________________________
TO ALL CREDITORS, EQUITY HOLDERS AND OTHER PARTIES IN
INTEREST:

        PLEASE TAKE NOTICE that on April ___, 2016 (the “Confirmation Date”), the
United States Bankruptcy Court for the District of Minnesota entered its Order (the
“Confirmation Order”) confirming the Amended Chapter 11 Plan of Liquidation as
defined in the Confirmation Order (the “Plan”) in the above-captioned bankruptcy
cases. [Docket No. ____].

       PLEASE TAKE FURTHER NOTICE that, pursuant to, and as defined in, the Plan,
the Effective Date of the Plan is April ___, 2016.

       PLEASE TAKE FURTHER NOTICE that several important deadlines are
established under the Plan and which deadlines are based upon the Effective Date of
the Plan. These deadlines include:
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              Doc3305
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     1.     _______________, 2016, is the deadline for any Person asserting a
            Professional Fee Claim to file a fee application with the Court. Any
            Professional Fee Claim not filed on or before this deadline shall be forever
            barred.

     2.     _______________, 2016, is the deadline for any Person asserting an
            Administrative Claim to file a claim with the Court. Any Administrative
            Claim not filed on or before this deadline shall be forever barred.

     3.     _________________, 2016 is the deadline for asserting Claims arising as a
            result of the rejection of a contract or lease. Any such Claim not filed on or
            before this deadline shall be forever barred.



DATED:    April __, 2016                LINDQUIST & VENNUM LLP

                                        By:

                                        Daryle L. Uphoff (0111831)
                                        James A. Lodoen (0173605)
                                        George H. Singer (0262043)
                                        Adam C. Ballinger (0389058)
                                        Jeffrey D. Smith (0387035)

                                        4200 IDS Center
                                        80 South Eighth Street
                                        Minneapolis, MN 55402-2274
                                        (612) 371-3211
                                        (612) 371-3207 (facsimile)

                                        duphoff@lindquist.com
                                        jlodoen@lindquist.com
                                        gsinger@lindquist.com
                                        jsmith@lindquist.com
                                        aballinger@lindquist.com

                                        ATTORNEYS FOR
                                        DOUGLAS A. KELLEY,
                                        AS THE CHAPTER 11 TRUSTEE
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 2                   UNITED STATES BANKRUPTCY COURT
 3                        DISTRICT OF MINNESOTA
 4
 5   ________________________________________________________
     In re:                             Jointly Administered
 6                                         Case No. 08-45257
     PETTERS COMPANY, INC., et al.,
 7

             Debtors.
 8

     (includes:                              Court File Nos.
 9   PETTERS GROUP WORLDWIDE, LLC             08-45258 (KHS)
     PC FUNDING, LLC                          08-45326 (KHS)
10   THOUSAND LAKES, LLC                      08-45327 (KHS)
     SPF FUNDING, LLC                         08-45328 (KHS)
11   PL LTD., INC.                            08-45329 (KHS)
     EDGE ONE, LLC                            08-45330 (KHS)
12   MGC FINANCE, INC.                        08-45331 (KHS)
     PAC FUNDING, LLC                         08-45371 (KHS)
13   PALM BEACH FINANCE HOLDINGS, INC.)       08-45392 (KHS)
14                                          Chapter 11 Cases
                                    Judge Kathleen H. Sanberg
15   ________________________________________________________
16   CAPTION CONTINUED ON THE NEXT PAGE
17
18
19           VIDEOTAPED DEPOSITION OF RONALD PETERSON
20                       Chicago, Illinois
21                  Thursday, February 7, 2019
22
23   Reported by:
24   PAULA CAMPBELL, CSR, RDR, CRR, CRC
25   JOB NO. 154481

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                                                                                  Page 45
 1                                 R. PETERSON
 2                   If you could, please turn to Page 3 and
 3    look at Paragraph 9 of this document.                            Paragraph 9
 4    reads as follows, "Beginning on or about
 5    February 26, 2008, after Thousand Lakes had been
 6    delinquent in repaying various notes, Bell joined
 7    the ponzi scheme.            Bell, through the management
 8    companies including LIM, and Petters, through PCI,
 9    concocted a series of round trip payments to conceal
10    Thousand Lakes' delinquencies.                       On multiple
11    occasions Bell and his management companies,
12    including LIM, sent fund money directly to PCI under
13    the pretense that money was for investment in a new
14    note.    PCI then returned the money to the fund's
15    accounts, typically on the same day, to satisfy one
16    or more outstanding notes owed to the funds."
17                   Did you believe that these allegations were
18    true at the time you authorized this complaint to be
19    filed?
20          A.       Yes.
21          Q.       And do you recall the basis for the facts
22    alleged in that paragraph?
23          A.       The sources that I gave you in previous
24    testimony.
25          Q.       Has your understanding changed since the

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                                                                                   Page 46
 1                                 R. PETERSON
 2    filing of the complaint?
 3           A.      Yes.
 4           Q.      And in what respect?
 5           A.      We could never establish that Bell had
 6    knowledge of the Petters ponzi scheme.                           And where
 7    the term "ponzi scheme" became confusing is that
 8    Bell, in his round tripping, could be considered its
 9    own ponzi scheme.            But one of the things that has
10    always tantalized me in this case was whether Bell
11    knew what Petters was doing.
12                   And that's why I had the interview with
13    Deanna Coleman in April of 2010.                         And we could never
14    establish that Bell had such knowledge.                           And Bell
15    denies that he had such knowledge when I interviewed
16    him.
17           Q.      If you could now please look at --
18           A.      Can I change my testimony, please?                     You
19    asked me about my interviews with Bell.                           After he
20    got out of prison, we were prosecuting actions
21    against professionals, and I did sit down with Ed
22    Joyce and Bell, and we interviewed them with respect
23    to that -- that type of litigation against the
24    professionals.            I had forgotten about it, because it
25    was after everything was over.

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                                                                                 Page 1
 1                            DEIKEL
 2             UNITED STATES BANKRUPTCY COURT
                     DISTRICT OF MINNESOTA
 3   -------------------------------------------------
     In re                          Jointly Administered
 4                                     Case No. 08-45257
 5    Petters Company, Inc., et al.,
 6                         Debtors.
 7    (includes:                         Court File Nos.
      Petters Group Worldwide, LLC;        08-45258(KHS)
 8    PC Funding, LLC;                     08-45326(KHS)
      Thousand Lakes, LLC;                 08-45327(KHS)
 9    SPF Funding, LLC;                    08-45328(KHS)
      PL Ltd., Inc.;                       08-45329(KHS)
10    Edge One LLC;                        08-45330(KHS)
      MGC Finance, Inc.;                   08-45331(KHS)
11    PAC Funding, LLC;                    08-45371(KHS)
      Palm Beach Finance Holdings, Inc. 08-45392(KHS)
12
                                       Chapter 11 Cases
13                            Judge Kathleen H. Sanberg
     -------------------------------------------------
14    Douglas A. Kelley, in his
      capacity as the Trustee of
15    the PCI Liquidating Trust,
16                Plaintiff,
                                        ADV. NO. 10-04301
17      VS.
18    Opportunity Finance, LLC,
      Opportunity Finance
19    Securitization, LLC;
      Opportunity Finance
20    Securitization III, LLC;
      International Investment
21    Opportunities, LLC; Sabes
      Family Foundation; Sabes
22    Minnesota Limited
      Partnership; Robert W.
23    Sabes; Janet F. Sabes; Jon
      R. Sabes; Steven Sabes;
24    Deutsche
      Zentralgenossenschaftbank
25    AG; and The Minneapolis
                           TSG Reporting - Worldwide   877-702-9580
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 1                                           DEIKEL
 2              then the proceedings continued as follows:)
 3                       THE VIDEO OPERATOR:                     And we are back
 4              on the record at 4:48 p.m.
 5                                   EXAMINATION
 6       BY MR. WALDMAN:
 7              Q.       Welcome back, Mr. Deikel, and thank
 8       you very much for your time today.                           I only have
 9       a couple of quick questions.
10                       I think you testified during the
11       deposition that in connection with the
12       $10 million loan that you made, you met one or
13       more times with Mr. Petters and I think
14       Mr. Discala; is that fair?
15              A.       Yes.
16              Q.       Okay.       And during those meetings,
17       you got an understanding that the loan that you
18       were going to make was going to be used to fund
19       the purchase and sale of electronics; is that
20       correct?
21              A.       That is correct.
22              Q.       Okay.
23                       MR. CHIACHETTI:                 Objection; form.
24    BY MR. WALDMAN:
25              Q.       And did you get that

                           TSG Reporting - Worldwide   877-702-9580
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 1                                           DEIKEL
 2       understanding -- you got that understanding
 3       from Mr. Petters and from Mr. Discala; is that
 4       right?
 5              A.       Yes.
 6                       MR. CHIACHETTI:                 Objection to form.
 7    BY MR. WALDMAN:
 8              Q.       And in making the loan to them, did
 9       you rely on that representation?
10              A.       Yes.
11              Q.       Okay.       And did you at a certain
12       point learn that that representation was false?
13                       MR. CHIACHETTI:                 Objection to form.
14                       THE WITNESS:              Yes.
15    BY MR. WALDMAN:
16              Q.       And in making the loan, ultimately
17       were you damaged by -- in connection with
18       making the loan and in connection with the
19       misrepresentations made by Mr. Petters and
20       Mr. Discala, were you subsequently damaged
21       through the loss of funds?
22              A.       Yes.
23                       MR. CHIACHETTI:                 Objection;
24              foundation, leading.
25                       MR. WALDMAN:              It's Cross.        I can

                           TSG Reporting - Worldwide   877-702-9580
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                            UNITED STATES BANKRUPTCY COURT
                                  DISTRICT OF MINNESOTA
_____________________________________________________________________________________________
In re
                                                          Jointly Administered under
                                                             Case No. 08-45257

Petters Company, Inc., et al.,                                    Court File No. 08-45257
                           Debtors.
                                                                  Court File Nos.:
(Includes:
Petters Group Worldwide, LLC;                                     08-45258 (KHS)
PC Funding, LLC;                                                  08-45326 (KHS)
Thousand Lakes, LLC;                                              08-45327 (KHS)
SPF Funding, LLC;                                                 08-45328 (KHS)
PL Ltd., Inc.;                                                    08-45329 (KHS)
Edge One LLC;                                                     08-45330 (KHS)
MGC Finance, Inc.;                                                08-45331 (KHS)
PAC Funding, LLC;                                                 08-45371 (KHS)
Palm Beach Finance Holdings, Inc.)                                08-45392 (KHS)

                                                          Chapter 11 Cases
                                                          Judge Kathleen H. Sanberg
_____________________________________________________________________________________________
Douglas A. Kelley, in his capacity as the
Trustee of the PCI Liquidating Trust,

                                      Plaintiff,

vs.                                                               ADV. NO. 10-04301
Opportunity Finance, LLC; Opportunity Finance
Securitization, LLC; Opportunity Finance
Securitization II, LLC; Opportunity Finance
Securitization III, LLC; International Investment
Opportunities, LLC; Sabes Family Foundation;
Sabes Minnesota Limited Partnership; Robert W.
Sabes; Janet F. Sabes; Jon R. Sabes; Steven
Sabes; Deutsche Zentralgenossenschaftsbank AG;
and The Minneapolis Foundation,

                                      Defendants.


                                Expert Report of Andrew D. Richmond
                                            July 5, 2019




                                       __________________________________
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scheme to the Federal Bureau of Investigation, Petters and his various corporate entities either
were or appeared to be legitimate and successful.
14.     Beginning in approximately 1996, Petters induced numerous parties to lend money
directly to PCI or to one or more Special Purpose Entities (“SPEs”) that he created, owned and
controlled to finance the purported purchase of merchandise, such as electronic goods or other
wholesale inventory that manufacturers were purportedly unable to sell to retail stores.2 Lenders
were told that PCI would “divert” or sell these goods to “big box” retailers, such as Costco and
Sam’s Club.3 Lenders were also told that they had an interest in the receivable created by the
sale of the goods to the big box retailer and the payment of the receivable would fund the
repayment of their loan (often referred to as a promissory note) plus interest.4
15.     Petters and his co-conspirators fabricated a variety of documents to support the non-
existent merchandise deals. For example, the fraudsters created two false purchase orders
(“P.O.s”) for each purported deal, one showing that PCI had purchased goods from a “vendor”
and one showing that PCI had re-sold the same goods at a profit to a retailer.5 These “vendors”
were, in fact, entities operated by co-conspirators who were actively assisting in the execution
and concealment of the fraud.6 The two primary “vendors” utilized in the scheme were
Nationwide International Resources (hereafter “Nationwide”), operated by Larry Reynolds, and
Enchanted Family Buying Company (hereafter “Enchanted”), operated by Michael Catain.7
P.O.s associated with alleged purchases of goods from Nationwide and Enchanted were
fabricated by co-conspirators Deanna Coleman (also known as Deanna Munson) and Robert
White, both longtime employees of PCI.8
16.     During the duration of the scheme, PCI’s primary source of cash came from various
outside parties (such as Opportunity Finance, Lancelot, Metro Gem, Epsilon, and Acorn) that
loaned funds via promissory notes offered by several PCI-owned SPEs such as PC Funding,


2
  In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, pp.6-7, 11; Opportunity Finance, LLC
Trade Finance Loan-Backed Conduit Facility Disclosure Book, 9/17/01, DZB017635-667 at 635.
3
  In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 11.
4
  In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 11.
5
  Deposition of Deanna Coleman, 11/15/18, (“Coleman Deposition”), pp. 48-49.
6
  In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, pp. 11-12.
7
  In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, pp. 11-12.
8
  Trial Testimony of Deanna Coleman in U.S.A. v. Petters, 11/2/09-11/4/09, (“Coleman Trial Testimony”), pp. 532,
549-550; Trial Testimony of Robert White in U.S.A. v. Petters, 11/5/09-11/6/09, 11/10/09, (“White Trial
Testimony”), p. 1179.
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                  2.       PCI External Collusion

75.      A few key individuals and entities outside of PCI were also implicated in the fraud
scheme and its concealment. This type of participation by parties outside of the organization is
called external collusion. External collusion is an effective concealment technique that makes
fraud schemes more difficult to detect by non-participants (both inside and outside the
organization). For example, the Petters fraud was executed with assistance from two entities that
claimed to be wholesalers of consumer goods, Nationwide and Enchanted.173 Nationwide and
Enchanted were the alleged vendors from which Petters arranged to purchase goods to be sold to
retailers.174
                           a)       Larry Reynolds – Nationwide

76.      Nationwide was owned and operated by Larry Reynolds. Reynolds caused a bank
account to be opened in Nationwide’s name that was the recipient of investor/lender funds.175
Reynolds pled guilty to one count of conspiracy to commit money laundering and was sentenced
to over 10 years in prison.176
                           b)       Michael Catain – Enchanted

77.      Enchanted was owned and operated by Michael Catain. Catain caused a bank account to
be opened in Enchanted’s name that was the recipient of investor/lender funds.177 Catain pled
guilty to one count of conspiracy to commit money laundering and was sentenced to seven years
and six months in prison.178
78.      The involvement and close coordination of these external third parties was critical to the
execution and concealment of the Petters fraud scheme. Co-conspirators at PCI worked closely
with Reynolds and Catain to execute and conceal the fraud. For example, when PCI directed
investor/lender funds to Nationwide or Enchanted, they often received an email from PCI
indicating how much would be received and how much should be returned.179 The difference
between the amount received by Nationwide or Enchanted and the amount returned to PCI was

173
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 11.
174
    Fourth Amended Complaint, ¶¶ 82-84.
175
    Fourth Amended Complaint, ¶ 83.
176
    Sentencing Judgement in U.S.A. v. Larry Reynolds, pp. 1-2.
177
    Fourth Amended Complaint, p. ¶ 83.
178
    Sentencing Judgement in U.S.A. v. Michael Catain, pp. 1-2.
179
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, pp. 12-13.
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Reynolds’s and Catain’s “commission” (bribe) for allowing the money to move through their
accounts.180 According to the Plaintiff, Nationwide’s and Enchanted’s commissions on each
fake transaction gave the appearance of a legitimate transaction.181

                 3.       The Impact of Internal and External Collusion

79.     ACFE research indicates that collusion makes fraud more difficult to detect. In my
opinion, collusion involving senior management, key customers and/or vendors to conceal a
scheme is especially significant. This type of collusion not only overrides the internal controls
within the organization, it also overrides important external controls over the organization. In
my opinion, the combined and coordinated internal and external collusion among a small group
of co-conspirators was a critical aspect of the concealment of the scheme from individuals inside
and outside of PCI who were not recruited to participate in the scheme.

        C.       PCI and the Petters Related Companies had a Complicated Corporate
                 Structure that Concealed Roles, Responsibilities and the Flow of Funds

80.     According to PwC in its Interim Report, “the sheer complexity of the Petters Ponzi
Scheme [was] staggering, involving dozens of Petters Entities (including two charitable
foundations), hundreds of bank accounts, and spanning more than 10 years.”182 According to an
organizational chart of all the Petters-related entities included in the audit work papers of Eide
Bailly, there were 54 different entities within the Petters enterprise.183 This organizational chart
reflects 24 separate entities underneath “Thomas J. Petters”.184 These 24 entities in-turn have
another 27 separate entities as subsidiaries.185 The companies were almost entirely owned by
Petters as the sole shareholder.186 In addition, there were three charitable foundations reflected
on the organizational chart.187


180
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, pp. 12-13.
181
    Fourth Amended Complaint, ¶ 85.
182
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 119.
183
    Organization Chart of Thomas J. Petters, EB002092. Eide Bailly was the auditor of Thousand Lakes. There is a
note included on this organization chart indicating that it was not completely up to date at the time. Wehmhoff
Deposition, pp. 172-177.
184
    Organization Chart of Thomas J. Petters, EB002092.
185
    Organization Chart of Thomas J. Petters, EB002092.
186
    Organization Chart of Thomas J. Petters, EB002092.
187
    Organization Chart of Thomas J. Petters, EB002092.
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                  1.       Overview of the Various Petters Entities


81.       A separate organization chart dated June 18, 2003 located within PwC’s files, reflects
several entities organized under Petters Group, LLC.188 Many of these entities were legitimate
operating businesses. For example, this organizational chart includes the following
companies:189
          uBid, Inc.
          RedTag, LLC
          2J Group, LLC
          Petters Consumer Brands, LLC
          Petters International, Inc. / Petters Consumer Brands International, LLC
          Integrity Marketing & Sales, LLP
          Vision Media Group, LLP
          Liquid8 Records

82.       In addition to the entities above organized under Petters Group, LLC, PCI (the primary
entity involved with the fraud) formed and owned several different SPEs. These SPEs were used
by PCI as part of the financing structure with certain lenders. For example, the following SPEs
were deemed by PwC to have been part of the Petters fraud scheme:190
          MGC Finance, Inc.
          PL Ltd., Inc.
          SPF Funding, LLC
          PC Funding, LLC
          Edge One, LLC
          PAC Funding, LLC
          Thousand Lakes, LLC
          Palm Beach Finance Holdings, Inc.




188
    Petters Group, LLC and IOC’s, 6/18/03, Kelley_Micro_0004738.
189
    Petters Group, LLC and IOC’s, 6/18/03, Kelley_Micro_0004738.
190
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 7.
                                                                                              Page 35
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                  2.       The Use of the Corporate Structure to Conceal Misconduct


83.      The complicated corporate structure of the Petters-related entities masked the flow of
funds and made it difficult for non-participating employees and those external to the organization
to detect the scheme. As part of its investigation into the finances of the Petters-related entities,
PwC identified 648 separate bank accounts related to the Petters enterprise that PwC had to
evaluate.191 From this listing of bank accounts, PwC ultimately identified a total of 87 accounts
from 21 banks through which both fraudulent and legitimate activity occurred.192
84.       In addition to the multitude of bank accounts through which fraudulent and legitimate
transactions flowed, the Petters-related entities also maintained several disparate accounting
software systems. PwC identified at least the following different accounting software systems in
use at Petters-related entities and Polaroid at the time of the raid: QuickBooks, Epicore, and
SAP.193

                  3.       The Impact of Complicated Corporate Structure

85.      Petters and his co-conspirators appear to have utilized the complicated corporate structure
of the Petters enterprise to make it more difficult for innocent insiders and outsiders to uncover
the scheme. In my opinion, the design and utilization of a complex corporate structure can
conceal roles, responsibilities and the flow of funds of an enterprise and can be an integral part of
the concealment of fraud. A complex corporate structure such as the Petters enterprise: (1) limits
the amount of information available to various internal and external parties; and (2) makes it
more difficult to trace and understand corporate transactions, thereby reducing the risk of non-
participants both inside and outside of the enterprise discovering the scheme.

         D.       The Participants Concealed the Improper Use of Investor/Lender Funds

86.      To avoid detection of their scheme, fraudsters need to conceal the impact of any
misapplied cash or misappropriated assets. One common concealment technique used in asset
misappropriation schemes such as the Petters fraud is for the fraudsters to use multiple transfers


191
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 31.
192
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 33.
193
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 31.
                                                                                                Page 36
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lower dollar values) while the falsified “after alteration” statements reflected high account
activity (more transactions and higher dollar values), consistent with the existing promissory
notes.
112.       I identified the before and after versions of a PCI Highland Banks statement for the
month of January 2000.259 Both statements are on the same “Highland Banks” letterhead,
correspond to the same client (Petters Company, 7585 Equitable Drive, Eden Prairie, MN
55344), reflect the same account number (Highland Commercial Account #3004853), and reflect
the same date range (January 1st – January 31st, 2000). However, the falsified version added
numerous fictitious cash transactions to make it appear that the inventory deals were valid.260
113.       I also identified evidence in the record that the altered bank statements (rather than the
valid versions) were provided to investors, lenders and accounting firms. For example, an
altered Highland Banks PCI bank statement from January 2000 appears in a fax from Coleman to
Frank Vennes, another PCI lender, dated September 20, 2000.261 In her trial testimony, Coleman
specifically testified about preparing fabricated bank statements to send to Vennes.262

                  4. Falsified PC Funding Financial Statements and Related Documents

114.       In addition to creating false PCI financial statements, Petters and his co-conspirators also
created false financial statements and related business records for the various SPEs that were
utilized as part of the scheme. For example, for PC Funding, the SPE that was established for
the Opportunity Finance transactions,263 the following documents were created and/or
manipulated by the fraudsters and provided to PC Funding’s independent external auditors:
           False unaudited PC Funding financial statements presenting “accounts receivables” on
            the balance sheets associated with fake sales to retailers;264




259
    Original Highland Banks Statement for Petters Company, 1/1/00-1/31/00, Kelley_Micro_0131798; Falsified
Highland Banks Statement for Petters Company, 1/1/00-1/31/00, Kelley_Micro_0276180-181.
260
    Original Highland Banks Statement for Petters Company, 1/1/00-1/31/00, Kelley_Micro_0131798; Falsified
Highland Banks Statement for Petters Company, 1/1/00-1/31/00, Kelley_Micro_0276180.
261
    Falsified Highland Banks Statement for Petters Company, 1/1/00-1/31/00, Kelley_Micro_0276180-182. See
Original Highland Banks Statement for Petters Company, 1/1/00-1/31/00, Kelley_Micro_0131798 for the original
statement.
262
    Coleman Trial Testimony, pp. 651-652.
263
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 62.
264
    See for example BPK&Z Audit File, 3/11/04, Kelley_Micro_0125992-254 at 185-187.
                                                                                                       Page 47
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           PC Funding bank statements showing false cash activity (for example, deposits
            associated with purported cash receipts from the sale of goods);265
           False PC Funding Amended and Restated Certificate of Formation;266
           False PC Funding Board Resolutions;267
           False Certificate Regarding Opinion of Counsel;268
           False Sale Agreement between PCI and PC Funding;269
           False Security Agreement between PC Funding and Opportunity Finance;270 and
           False Servicer Agreement between PC Funding and Petters Company, Inc.271
115.       For years 2002 through 2007, PC Funding issued audited financial statements. For
example, for the fiscal years ended 2002 and 2003, PC Funding retained Blanski Peter Kronlage
& Zoch, P.A. (“BPK&Z”) to perform an audit of its financial statements.272 In the BPK&Z
Independent Auditor’s Report dated March 11, 2004, BPK&Z reported the following:
           BPK&Z conducted its audits of PC Funding’s 2002 and 2003 financial statements in
            accordance with GAAS;
           GAAS required BPK&Z to plan and perform the audits to obtain reasonable assurance
            about whether PC Funding’s financial statements were free from material misstatement;
           PC Funding’s only assets at year-end 2002 and 2003 were $171.6 million and $47.5
            million of outstanding Accounts Receivable. The Accounts Receivable were purchased
            from PCI, a related party to PC Funding. The receivables originated from the sale of
            specific goods by PCI to PCI’s customers.
           In BPK&Z’s opinion, the financial statements of PC Funding were fairly presented in
            conformity with GAAP.273
116.       During the audits of its financial statements, PC Funding’s management repeatedly lied
to its auditors. For example, on March 11 and 12, 2004, BPK&Z interviewed White and Indahl

265
    See for example BPK&Z Audit File, 3/11/04, Kelley_Micro_0125992-254 at 133.
266
    See for example BPK&Z Permanent File Index, 3/12/03, Kelley_Micro_0126457-552 at 462-463.
267
    See for example BPK&Z Permanent File Index, 3/12/03, Kelley_Micro_0126457-552 at 475-476.
268
    See for example BPK&Z Permanent File Index, 3/12/03, Kelley_Micro_0126457-552 at 521-522.
269
    See for example BPK&Z Permanent File Index, 3/12/03, Kelley_Micro_0126457-552 at 523-531.
270
    See for example BPK&Z Permanent File Index, 3/12/03, Kelley_Micro_0126457-552 at 533-545.
271
    See for example BPK&Z Permanent File Index, 3/12/03, Kelley_Micro_0126457-552 at 548-552.
272
    See for example BPK&Z Independent Auditor’s Report of 2003 and 2002 P.C. Funding, L.L.C. Financial
Statements, 3/11/04, Kelley_Micro_0125995-005 at 997.
273
    See for example BPK&Z Independent Auditor’s Report of 2003 and 2002 P.C. Funding, L.L.C. Financial
Statements, 3/11/04, Kelley_Micro_0125995-005 at 997-998, 003.
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regarding “risks of fraud” and “how the company addresses those risks.”274 White falsely
represented that he was not aware of any risks of fraud affecting PC Funding.275 In addition, on
March 15, 2004, PC Funding issued a (false) management representation letter to BPK&Z
claiming that PC Funding’s financial statement were fairly stated and management had no
knowledge of fraud.276

                  5. Impact of the Falsification of Financial Records

117.     In my opinion, the false PCI and PC Funding financial records were critical aspects of the
concealment of the Petters fraud scheme. The co-conspirators were able to anticipate the types
of financial records that they would need to falsify for various parties in order to conceal the
fraud and actively assisted Petters with altering/fabricating the requisite documents. Petters and
his co-conspirators were able to make it appear that PCI was both solvent and profitable through
the falsified documents, which presented a false picture of PCI’s and PC Funding’s financial
condition to potential investors, existing investors, lenders, non-participating employees, and
outsiders such as DZ Bank.277

         G.       Concealment of the Fraud by Creating False Promissory Notes and
                  Supporting Deal Documents

118.     To perpetuate the fraud, Petters and his co-conspirators fabricated a variety of documents
in addition to financial statements, bank statements and tax documents to mislead investors,
lenders, and other third parties. These falsified documents were given to investors such as
Opportunity Finance, lenders such as Autobahn, and their agents such as DZ Bank and U.S.
Bank to maintain the illusion that the inventory deals were real. Each investor entered into a
promissory note executed by Petters that included a unique note number, the beginning date of
the note, the investment amount, the name of the borrower, name of the note holder, interest rate,
and the maturity date.278

274
    See for example BPK&Z Audit File, 3/11/04, Kelley_Micro_0125992-254 at 090-094.
275
    See for example BPK&Z Audit File, 3/11/04, Kelley_Micro_0125992-254 at 090-094.
276
    See for example BPK&Z Audit File, 3/11/04, Kelley_Micro_0125992-254 at 045-047.
277
    See for example, Wikoff Deposition, pp. 338-344 and Exhibit 31 discussing DZ Bank’s receipt of the PC
Funding 2002 audited financial statements.
278
    In re: Petters Company, Inc., et al. Debtors, PwC Interim Report, 12/15/10, p. 41; In re: Petters Company, Inc., et
al. Debtors, Affidavit of Theodore F. Martens Regarding (1) the Existence of the Petters Ponzi Scheme and (2) the
Identification of Persons and Entities that Received Transfers in Furtherance of the Ponzi Scheme, 10/24/14, p. 6.
                                                                                                                Page 49
